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    Abatement Plan for Addressing the Opioid Crisis in Lake County and Trumbull County



                  Expert Witness Report of G. Caleb Alexander, MD, MS



                                      April 16, 2021
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I.   BACKGROUND AND QUALIFICATIONS OF AUTHOR
1.   My name is G. Caleb Alexander. I am a practicing general internist and Professor of Epidemiology and
     Medicine at Johns Hopkins Bloomberg School of Public Health. I have been retained by Plaintiffs to
     provide my scientific expertise regarding the opioid epidemic, nationally and in the Ohio communities of
     Lake County and Trumbull County (the “Communities”). I have been asked to discuss ways to abate or
     reduce the harms caused by the opioid epidemic, which has devastated the Communities. I have also been
     asked to estimate the size of specific populations that may require abatement interventions within the
     Communities over a 15-year period, from 2021 to 2035, and to provide recommended cost estimates for
     certain abatement interventions (generally medical costs); the remaining costs are provided in the expert
     report of local economist Dr. Harvey Rosen. In his report, Dr. Rosen also calculates the total cost of my
     recommended abatement plan.

2.   As a physician, I am responsible for the primary care of approximately 250 patients, most of whom live
     in and around Baltimore County. I have clinic one half-day per week and I am also responsible for patient
     care matters that arise at other times. The patients that I see range from young adults to nonagenarians
     (aged 90 – 99 years), and as a primary care physician I oversee their acute, preventive, and chronic needs,
     which include conditions such as asthma, diabetes, hypertension, osteoporosis, chronic pain, anxiety, and
     depression. While I do not specialize in the care of patients with opioid use disorder (OUD), a I have
     patients in my practice with OUD who I co-manage with addiction specialists, and I care for patients who
     have lost family members to fatal opioid overdoses.

3.   In contrast to my work as a physician, as a pharmacoepidemiologist, I focus on “the study of the uses and
     effects of drugs in well-defined populations.” 1 Pharmacoepidemiology is a bridge discipline that
     combines insights and tools from clinical medicine, pharmacology, and epidemiology to generate
     fundamental new knowledge regarding the utilization, safety, and effectiveness of prescription drugs. It
     also concerns itself with understanding the effects of pharmaceutical policy, such as regulatory or
     payment policies that influence prescription drug use. As a pharmacoepidemiologist, much of my work
     has focused on the nature, quality, and determinants of prescription drug utilization in the United States,
     although I have also conducted or participated in many investigations examining the safety of specific
     products. I have used many different data for this work, often data that has already been assembled for
     other purposes, such as administrative claims data from health plans or large national surveys.




a
 Definitions of terms such as “opioid use disorder,” “addiction,” “non-medical opioid use,” and “misuse” are provided in the Expert
Report of Dr. Anna Lembke.
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     opioids-related litigation and, in some cases, provided deposition testimony, in both state and federal
     courts as outlined in Appendix C.

9.   I received a B.A. cum laude from the University of Pennsylvania (Philosophy) in 1993, an M.D. from
     Case Western Reserve University in 1998, and an M.S. from the University of Chicago in 2003. A more
     complete description of my qualifications is found in my curriculum vitae. I performed this work through
     Monument Analytics, a health care consultancy that I cofounded that is separate and distinct from Johns
     Hopkins, and I was assisted during this process by Monument Analytics’ employees and consultants. My
     rate of compensation for this matter is $900 per hour. I am also reimbursed for my out-of-pocket expenses.
     I am not compensated based on the outcome of this matter nor the substance of my report.

10. The opinions and conclusions in this report are based on the information and documentation that was
    available to me at this time, and they are my own, rather than those of Johns Hopkins University. I reserve
    the right to supplement and revise these perspectives based on additional evidence or information that is
    made available to me after the date of this report.




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II. DATA SOURCES, METHODOLOGY AND OPINIONS
11. In preparing this report, I reviewed materials from a number of sources, including: Bates-stamped
    documents and deposition testimony in this case provided to me by counsel; published reports regarding
    the epidemic; information derived from other local and national sources; and peer-reviewed literature,
    whitepapers, reports from public health authorities, non-profit organizations, and other publicly available
    sources. I, along with some of my team members, have also spoken with local stakeholders including:
   x    Lauren Thorp, MS, Director of Recovery & Youth Programs at Trumbull County Mental Health &
        Recovery Board
   x    April Caraway, Executive Director at Trumbull County Mental Health & Recovery Board
   x    Kim Fraser, MS, Executive Director at Lake County Board of Alcohol, Drug Addiction and Mental
        Health Services
    Many of my findings are based on prior investigations that my team and I have either performed or
    synthesized, such as knowledge contained in Appendix A and in citations such as references #1-#54. A
    complete list of the documents I consulted in preparing this report is provided as Appendix D.

12. Several prior reports, such as the Community Health Improvement Plans for Lake 55 and Trumbull 56
    Counties, Trumbull County Community Health Assessments, 57 , 58 Ohio Substance Abuse Monitoring
    (OSAM) Network reports,59 and the Recovery Ohio Advisory Council Initial Report60 are relevant to my
    report given their authorship and focus. The population estimates presented in my Redress Models,
    enclosed as Appendix E, are derived from data from local government entities (e.g., Ohio Department of
    Mental Health and Addiction Services [OhioMHAS]), federal agencies (e.g., Centers for Disease Control
    and Prevention [CDC], Substance Abuse and Mental Health Services Administration [SAMHSA],
    Department of Justice), community-based organizations, peer-reviewed publications, and both my and
    others’ expert opinion. The selection of each estimate was driven by the strength of evidence and
    appropriateness of the data for the specific context at hand. I discuss my approach to evaluating evidence
    further in Paragraphs #15 and #16. Overall, I took a conservative approach to derive the population
    estimates included in my Redress Models.

13. The layout of my Redress Models mirrors the layout of this report. For each abatement intervention, I list
    the estimated size of the target population, how it was derived and the sources that I used. For example, I
    used data from the United States Fire Administration and Ohio Department of Public Safety to estimate
    the number of first responders (firefighters, emergency medical technicians [EMTs] and paramedics, and
    police officers) in the Communities that should be provided with naloxone and trained regarding its use.
    For each abatement category, I first estimate the size of each relevant population for 2021 and then I
    project how these populations are likely to change over a fifteen-year period from 2021 through 2035. For
    example, I project changes in the number of first responders using annual employment growth rates based
    on data from the Ohio Department of Job and Family Services. More information regarding the sizes of
    different populations, as well as the methods that I used to project them over time, is provided within the
    Redress Models.

14. In addition to the Redress Models, I was asked to review the literature on certain potential indicators of
    high risk opioid distribution and describe their evidence base. See Appendix F.

15. In all cases, my review of the scientific evidence base was based on a stepwise process building on the
    foundation of literature regarding the opioid epidemic that I was already aware of. To supplement this, I
    reviewed the content of additional academic and governmental studies, including both their reference lists
    as well as subsequent reports that have cited them. I also reviewed reports such as those discussed in
    Paragraph #11 for additional sources of scientific information. Finally, in some instances, additional
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     candidate articles were identified based on keyword searches of major bibliographic databases such as
     PubMed. In evaluating studies, I used a number of qualitative criteria that are often useful in evaluating
     the strength of scientific evidence supporting a given scientific finding or claim. These include factors
     such as the publishing journal, authorship team, affiliated institutions, funding source(s), data source(s),
     methodologic approach, and interpretation. b The “Hill Criteria” (strength of association, consistency,
     specificity, temporality, biological gradient, plausibility, coherence, experiment, and analogy) are also an
     important means of evaluating the strength of causal inference possible from a given scientific study, and
     I have applied these criteria as well.61

16. For some remedies to abate the opioid epidemic in the Communities, such as OUD treatment or naloxone
    distribution and training, the evidence base is vast, with thousands of peer-reviewed manuscripts
    examining this matter. In these settings, formal evidence syntheses were often available, typically
    systematic reviews that represent a pre-specified, transparent, reproducible, highly structured approach to
    curating and critically appraising the totality of information required to address a carefully specified
    question. Because of their comprehensiveness and rigor, such evidence syntheses are often regarded as at
    the top of the “evidence pyramid.”62 For some abatement interventions, I also used information available
    from authoritative sources such as the CDC, National Institute on Drug Abuse (NIDA), or SAMHSA.

17. There is widespread consensus in both clinical and public health communities that the abatement measures
    identified in this report are effective in reversing opioid-related morbidity and mortality. The measures
    discussed herein are consistent with Governor DeWine’s RecoveryOhio Advisory Council, 63 and have
    been put forth by numerous consensus panels, task forces, professional society organizations and others.
    Disagreement about these solutions, when present, has tended to focus more on the priority of the
    interventions given limited funding (e.g., how much should be spent on law enforcement vs. medications
    for addiction treatment [MAT]), 64 as well as in some cases, the potential unintended effects of some
    interventions. Fortunately, there is a large evidence base to guide the selection of interventions that should
    be undertaken in the Communities, and also a recognition of the critical point, as expressed by former
    Congressman John Delaney, “that the cost of doing nothing is not nothing.” 65

18. I conclude that an opioid epidemic currently exists within Lake County and Trumbull County. This
    epidemic continues to result in high levels of opioid-related morbidity and mortality as described in this
    report and in materials that I have reviewed to prepare it. I further conclude, based on my experience in
    epidemiology, clinical medicine, and public health, my extensive application of these fields to the opioid
    epidemic and my analysis in this case, including review of the local Communities’ materials, that I am
    able to determine what additional evidence-based and evidence-informed measures and approaches should
    be used to reduce opioid-related harms. These measures and approaches are described below. The specific
    utilization and combination of measures should be subject to the opinions of stakeholders, policy-makers,
    and subject matter experts in the Communities.

19. The next sections of my report discuss indicia of the opioid epidemic in the United States as well as the
    Communities. After that, I discuss principles that should govern an effective response, misconceptions
    that must be addressed, and the importance of customizing abatement efforts to the needs of the
    Communities’ unique culture and heritage.




b
  Neither these criteria nor the Hill Criteria are absolute. Rather, they serve as contextual factors that provide qualitative information
that can be useful in examining the credibility of scientific claims.
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III. INDICIA OF OPIOID CRISIS AND ABATEMENT EFFORTS IN LAKE COUNTY AND
     TRUMBULL COUNTY
20. Between 1992 and 2010, the volume of opioids prescribed in the U.S. increased by approximately 400
    percent. 66 Rates of addiction, overdose deaths, and many other opioid-related harms increased in
    parallel.67 Between 1999 and 2019, nearly 500,000 individuals in the U.S. died from an opioid overdose. 68
    In 2017 alone, an estimated 47,600 people died in the U.S. from opioids, more than from motor vehicle
    accidents, suicide, gun violence, or deaths at the peak of the AIDS epidemic. 69 For each year between
    2015 and 2017, life expectancy in the U.S. declined, fueled in part by the epidemic. 70 The origins of the
    present-day national opioid epidemic are described further in the Expert Report of David Herzberg.




21. As observed nationally and within Ohio, there was first a rise in prescription opioid-related deaths in the
    early 2000s, followed by a rapid increase in heroin overdose deaths beginning in 2010, and a sharp
    increase in fentanyl overdose deaths in 2016 (Figure 2). 71,72 The impact of illicit fentanyl has been
    especially severe in the Communities, relative to other areas in the U.S. 73,74 There is a clear link between
    non-medical use of prescription opioids and subsequent heroin or illicit fentanyl use, as heroin and
    fentanyl are close chemical analogues to prescription opioids.75 Several studies estimate that 70-80% of
    current heroin users report non-medical prescription opioid use prior to initiating heroin. 76,77 However, a
    recent study of individuals with OUD in Ohio found that nearly 90% of participants used prescription
    opioids prior to initiating heroin.78 In 2019, over four in five (83.7%) overdose deaths in Ohio involved
    an opioid and over three in five (76.2%) overdose deaths involved fentanyl. 79 Though the number of
    overdoses decreased slightly during 2018 and 2019 from the all-time high in 2017, Ohio has experienced
    a sharp surge in opioid overdose deaths between March and June 2020. 80 Within three months, the opioid
    overdose death rate increased to 11 per 100,000 Ohioans, more than the previous 10-year high of 10.87
    per 100,000 in 2017.

22. Fortunately, according to data from the Ohio Automated Rx Reporting System (OARRS), the
    Communities have experienced a decrease in the average number of opioid pills per resident. For example,
    in Lake County, the average number of opioid pills exceeded 60 per resident each year between 2010 and
    2014; followed by a decrease to an average of 30.7 pills per resident in 2019. 81 Similarly, between 2010
    and 2014, the average number of opioid pills exceeded 88 per resident per year in Trumbull County;
    followed by a decrease to an annual average of 71.9 pills per resident in 2017 and 52.5 in 2019. However,
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    the magnitude of decrease in opioid doses per patient, rather than per capita, has been smaller. For
    example, between 2010 and 2019, the number of opioid pills per patient in Lake County decreased from
    271.8 to 218.2. The number of opioid pills per patient have remained around 30% higher in Trumbull
    County than Ohio overall, with 346.6 pills per patient in 2010 and 322.8 pills per patient in 2019. From
    2014 to 2019, the age adjusted drug overdose death rate was 1.6 times higher in Trumbull County than
    Ohio overall (53.3 vs 33.6 per 100,000, respectively). 82,83

23. Like many Ohio communities, Lake and Trumbull Counties have experienced a devastating loss of life
    due to opioid overdoses. For example, from 2014 to 2019, the age adjusted drug overdose death rate was
    slightly higher in Lake County than Ohio overall (34.7 vs 33.6 per 100,000, respectively). 84 Between 2015
    and 2016, the number of individuals that died from heroin and fentanyl overdoses in Lake County doubled
    from 38 to 81.85 The number of individuals who died from heroin and fentanyl overdose remained high in
    2017 (80 deaths) followed by a decrease in 2018 (61 deaths). However, between February and June 2020,
    the Lake County General Health District reports that the number of drug overdoses has increased by 77%
    from 31 to 55.86

24. Trumbull County has also been hard hit. Between 2014 and 2016, the number of individuals that died
    from heroin and fentanyl overdoses in Trumbull County tripled from 32 to 94. 87 The number of individuals
    who died from heroin and fentanyl overdose remained high in 2017 (107 deaths) followed by a decrease
    in 2018 (65 deaths). According to the Trumbull County Coroner’s Office, fentanyl was involved in 91%
    of the drug overdose deaths in 2019.88 ED visits for suspected drug overdose peaked in 2017 at 1,272
    visits (or a rate of 139.3 per 10,000 ED visits), followed by a decrease in 2018 and 2019 to 645 and 952
    visits (or a rate of 82.8 and 98.1 per 10,000 ED visits, respectively). 89 In 2018-2019, four to five percent
    of the adult population in Trumbull County, reported that they misused prescription opioids within the
    previous six months.90

25. Families and children within the Communities have also been impacted by the opioid epidemic. Between
    2016 and 2018, the number of neonatal abstinence syndrome (NAS) increased from 24 to 28 in Lake
    County and from 46 to 55 in Trumbull County. 91,92 Though much is still unknown regarding the long-term
    trajectories of children with NAS, young children born with NAS have increased risk of socio-behavioral
    abnormalities93 and poorer school performance94 indicating that neurocognitive and physical effects may
    persist through adolescence and require expanded services into adulthood. 95 There has also been an
    increase in the number of children being placed in foster care or kinship care, such as being raised by
    grandparents. In a briefing of the opioid epidemic’s impact on children services in Ohio, the Public
    Children Services Association of Ohio reported a 62% increase in the number of children in Ohio placed
    in custody with a relative between 2010 and 2016. 96

26. Harms from the opioid crisis have not gone unchecked, and despite a severe lack of resources, the
    Communities have nevertheless mobilized in many ways to address these challenges, including through
    prevention efforts such as take-back programs; naloxone distribution and training through Project DAWN;
    and treatment such as through the provision of medications for addiction treatment (MAT). Similarly,
    concerns regarding the effect of OUD on pregnant women, new mothers and infants have led to efforts in
    the Communities’ systems of care to manage OUD among expectant mothers and their offspring. In
    addition to universal screening of pregnant women, MAT is available to women through the Maternal
    Opioid Medical Support (MOMS). Within Trumbull County, the Alliance for Substance Abuse Prevention
    (ASAP) Coalition, a project of the Trumbull County Mental Health and Recovery Board that was founded
    approximately 15 years ago, works as a bridge between substance abuse support services, treatment
    providers, and other members of the community to try to prevent and address substance use. 97 Their goals
    are to reduce substance use in the community, decrease overdose, and increase treatment referrals. 98

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27. Despite these gains, many barriers persist, many programs and initiatives are vastly under-resourced, and
    there are other signs that the epidemic is as active as ever. 99 As described in a June 2019-January 2020
    surveillance report from the Ohio Substance Abuse Monitoring (OSAM) Network, individuals that misuse
    opioids reported a decrease in the supply of unadulterated heroin and an increase in fentanyl and fentanyl
    mixing with other drugs.100 These findings may reflect the changing preferences of people who use drugs
    and growing tolerance to opiates.101 According to the OSAM Networks report, treatment providers in the
    region have observed that patients will use “heroin” and “fentanyl” interchangeably as well as an increase
    in young users of heroin in the Cleveland region following the introduction of fentanyl. Additionally,
    people with OUD in Ohio report using methamphetamine and other substances to alleviate their opiate
    withdrawal symptoms,102 which in turn, increases the prevalence of polysubstance use. This is further
    reflected in a study of individuals with OUD in Ohio, which found that nearly nine in ten reported using
    illicit opioids prior to initiating methamphetamine use,103 highlighting the need to provide comprehensive
    and adaptable treatment services for individuals in the Communities. c,104

28. As we105 and others106,107,108 have argued, the novel SARS-CoV-2 coronavirus (COVID-19) pandemic
    injects new urgency into efforts to address the opioid epidemic, given that it comes at a time when our
    country’s response to the opioid epidemic was just starting to coalesce. One major concern is that the
    pandemic has disrupted care, including access to medications for addiction treatment, for many with
    opioid use disorder. Fortunately, SAMHSA, 109 the Drug Enforcement Administration,110 and the Center
    for Medicare and Medicaid Services have responded by relaxing or clarifying rules and regulations so as
    to allow for greater provision of take-home methadone, remote prescription of controlled substances and
    reimbursement for telehealth services. Another concern is that many individuals with OUD have chronic
    comorbid conditions, as well as tobacco use, which place them at higher risk from critical illness or death
    should they become infected with COVID-19. 111 Yet a third major concern arises from the fact that
    addiction is “a disease of isolation.” For an already marginalized group, social distancing and other
    measures instituted in response to the global pandemic pose particularly profound risks. As we argue in
    our recent analysis, referring to response efforts underway to meet the needs of those impacted by the
    opioid epidemic, “These efforts will require new partnerships, unprecedented use of technology, and the
    dismantling of antiquated regulations. The greatest strength of the treatment system has always been
    compassion and care for the most vulnerable—qualities needed now more than ever.” 112




c
 Thus, the increasing presence of synthetic opioids in illicit drugs such as cocaine and methamphetamine, as well as rising stimulant-
related deaths, has raised new concerns. As discussed elsewhere (e.g., Part VI), polysubstance use is common among individuals
with OUD. While a comprehensive review of other use disorders (e.g., tobacco, alcohol, stimulants) is beyond the scope of this
report, abatement approaches to reduce opioid-related harms must be informed by the presence of other use disorders among many
with OUD.
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V. ABATEMENT FRAMEWORK
31. There are three major categories of remedies that must be undertaken to address the opioid epidemic in
    the Communities.d,e First, we must improve the opioid prescription practices and the treatment of pain,
    since opioid oversupply has been a key driver of the epidemic.118,119 Second, we must identify and treat
    individuals with OUD. This is important because even if prescription opioids were to be responsibly
    marketed, promoted, and used beginning tomorrow, there are still thousands of individuals with OUD in
    the Communities, many of whom require active treatment and all of whom deserve access to care if and
    when treatment or recovery services are sought. Third, we must customize abatement remedies for specific
    subpopulations of the Communities, including: pregnant women, new mothers, and infants; adolescents
    and young adults; families and children; the homeless and those with housing insecurity. We must also
    address the large number of individuals who may misuse opioids but who do not yet fulfil formal criteria
    for OUD.

32. No single abatement remedy that is proposed can fully address the oversupply of opioids and associated
    morbidity and mortality in the Communities; there are no magic bullets, and this underscores the
    importance of intervening comprehensively as noted in the Community Health Improvement Plans for
    Lake120 and Trumbull121 Counties. Also, some of the abatement remedies discussed may interact with one
    another in synergistic fashion, and successful implementation of some strategies may be dependent upon
    the simultaneous intervention of other strategies. For example, initiatives to decrease stigma and educate
    law enforcement and other community members about addiction may increase the demand for treatment,
    while expansions in treatment capacity to meet such demand may decrease rates of active OUD, which in
    turn may decrease overdose deaths and the need for naloxone. The dynamic nature of the epidemic, as
    well as the potential for these sorts of interactions, speaks to the vital need for surveillance and leadership
    as outlined in Section 1F. This will maximize the ability of communities to respond effectively to near
    real-time intelligence regarding key parameters of the epidemic and thus to use, and redirect, resources to
    maximize their public health value.

33. Some abatement approaches may be framed in the context of looking forward ten or fifteen years. f
    However, the legacy of the opioid epidemic will endure in the Communities far beyond that. This is
    because while OUD can be treated and may remit, it is not curable, and some individuals with OUD will
    require treatment indefinitely. 122,123,124 Others have acquired HIV and/or hepatitis C as a result of an
    addiction that began with prescription opioids, 125 , 126 and they may require indefinite care for these
    comorbid conditions. Foster care for those orphaned by the epidemic, child protective services, and
    services for children impacted by opioid use in utero must be resourced to address the needs of children
    and young adults as they grow and develop. Opioid use and its sequela also contribute to intergenerational
    trauma that propagates throughout time. For many, living healthy, productive lives in recovery is an active
    process, and thus to be successful, individuals must be supported with long-term resources to maximize
    their opportunities for success.




d
  Other interventions are important in addressing the epidemic yet beyond the scope of this report, such as changes to coverage and
reimbursement policies so as to improve options for pain treatment and reduce financial barriers to OUD treatment.
e
 While there are other ways to classify potential remedies, the elements within these remedies are remarkably consistent across
different abatement proposals put forth locally and nationally, reflecting the widespread consensus about what needs to be done.
f
 This medium-term view strikes a balance – it is long enough to support infrastructure development and several cycles of planning
and evaluation while avoiding some of the uncertainty entailed in trying to anticipate the magnitude of sequelae from the epidemic
that may last decades or even generations.
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34. Here and throughout, while I suggest remedies that should be included as part of a comprehensive
    abatement plan, and while I consider programs that are already underway, I leave it to the Communities g
    to determine the degree to which further investment should be undertaken.

    For each of the categories below, in the following sections of my report, I provide background and scientific
    context, components of the proposed abatement interventions corresponding to each category, and
    concluding thoughts. Population estimates for each category are provided in the Redress Models
    (Appendix E).

    x   Category 1: Prevention – Reducing Opioid Oversupply and Improving Safe Opioid Use
           1A. Health Professional Education
           1B. Patient and Public Education
           1C. Safe Storage and Drug Disposal
           1D. Community Prevention and Resiliency
           1E. Harm Reduction
           1F. Surveillance, Evaluation, and Leadership

    x   Category 2: Treatment – Supporting Individuals Affected by the Epidemic
           2A. Connecting Individuals to Care
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    x   Category 3: Recovery – Enhancing Public Safety and Reintegration
           3A. Public Safety
           3B. Criminal Justice System
           3C. Vocational Training, Education, and Job Placement
           3D. Mental Health Counseling and Grief Support

    x   Category 4: Addressing Needs of Special Populations
           4A. Pregnant Women, New Mothers, and Infants
           4B. Adolescents and Young Adults
           4C. Families and Children
           4D. Homeless and Housing Insecure Individuals
           4E. Individuals with Opioid Misuse




g
 Stakeholders include, but are not limited to, public health and law enforcement; treatment providers and systems; behavioral
health providers and systems; educators; community advocates; employers; payers; and the courts.
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CATEGORY 1: PREVENTION – REDUCING OPIOID OVERSUPPLY AND IMPROVING SAFE
OPIOID USE
The goal of this category is to reduce the widespread oversupply of prescription opioids in the Communities
so as to decrease injuries and deaths from these products. h This is important because the oversupply of
prescription opioids during the past two decades has been an important driver of the opioid epidemic, both
locally and nationally.i Harm from this oversupply arises from many points in the continuum of care, ranging
from how clinicians treat pain to the diversion of opioids throughout the supply chain.

A. Health Professional Education
The goal of this remedy is to train health care providers, including prescribers and other health care personnel
– including those employed by the Lake and Trumbull Counties – such as dispensers (pharmacists) and
emergency medical technicians (EMTs), regarding the appropriate use of opioids in clinical practice, as well
as how to identify and appropriately respond to patients who may have OUD. This is important because
historically, many providers have overestimated the effectiveness of opioids and/or underestimated their risks.
This has contributed to the oversupply of opioids, not only with respect to whether they are used at all, but also
with respect to the dose and duration of use. In addition, OUD is often not recognized in clinical practice, and
even when recognized, the delivery of treatment and recovery services often falls short.
35. One of the most systematic and well-studied approaches to direct training of prescribers, sometimes
    referred to as “academic detailing,” should also be employed. Academic detailing is a method of evidence-
    based, interactive outreach to prescribers that uses trained personnel to make face-to-face visits with
    clinicians to promote optimal prescribing and improve the quality of patient care. Established in the
    1980’s, there are dozens of studies that provide evidence of its value, 127,128,129,130 including a recent
    investigation indicating large decreases in opioid prescribing following a multi-level intervention that
    included academic detailing. 131 A systematic review of the impact of provider education, the most
    comprehensive assessment of its kind, concluded that this strategy results in significant improvements in
    prescribing quality, 132 and this narrative is consistent with a large literature overview examining the
    effectiveness of interventions to shape prescriber behavior. 133
36. In addition to the numerous studies summarizing the evidence base for academic detailing outlined above,
    some studies have also examined the potential impact of such education on opioid-related measures. For
    example, a quality improvement study comparing a six-month pre-intervention baseline with a 16-month
    post-intervention period ending in April 2018 at a regional health system in Maryland documented a nearly
    40% decrease in the overall opioid prescription rate, a 60% decrease in the quantity of opioids prescribed
    per visit, and a reduction in the strength of opioids prescribed following a public and provider education
    campaign. 134 Patient satisfaction surrounding pain management in the emergency department also
    improved. Similarly, a multi-modal intervention between 2010 and 2015 using surveillance, academic
    detailing, and clinical decision support tools within Kaiser Permanente Southern California was associated
    with a 30% reduction of high-dose opioids, 98% reduction in large quantity (i.e., over 200 pills) opioid
    dispensing, and a 72% reduction of long-acting and extended-release opioids among 3.2 million adults in
    the Kaiser Permanente Southern California system. 135
37. Academic detailing has also been used to increase naloxone use. 136 , 137 For example, an analysis of
    Veterans Affairs (VA) facilities between 2014 and 2017 found that facilities that received academic
    detailing had a rate of naloxone prescribing that was five times higher than their counterparts. 138 Of the

h
 This category excludes consideration of Drug Enforcement Agency (DEA) quotas, controlled substance scheduling and other
mechanisms the federal government may use to reduce supply of opioids or precursors in the marketplace.
i
 Reductions in opioid oversupply will also decrease opioid demand, since opioids are highly habit forming, tolerance quickly
develops and a substantial minority of individuals receiving chronic opioids develop OUD.
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     estimated increase of 15,000 naloxone prescriptions among facilities receiving academic detailing, two-
     thirds went to patients at a high risk of overdose due to the quantity or type of opioids prescribed. Another
     study, of 40 primary care providers in San Francisco, found that those receiving detailing had a ten-fold
     higher rate of prescribing naloxone than their counterparts; 139 physician participants reported that as a
     result of the educational outreach, they were able to open new conversations with patients to promote safer
     and more compassionate care.
38. Efforts to reduce the oversupply of opioids should be coupled with information regarding the principles
    of sound pain management, including through a focus on comprehensive assessments, multidisciplinary
    management, and functioning rather than pain levels per se. Opioids represent just one of a large number
    of pharmacologic and non-pharmacologic treatments that providers and patients may use for the treatment
    of pain. Alternative pharmacologic treatments include acetaminophen, non-steroidal anti-inflammatories
    (NSAIDs), antidepressants, anticonvulsants, and topical analgesics; 140 while non-pharmacologic
    treatments for pain include increasing physical activity or exercise, physical therapy, occupational therapy,
    chiropractic care, and psychological interventions.141 In addition, the care of pain among those already
    engaged in opioid misuse or with OUD requires additional skill and training given the need for clinical
    management of both.
39. Training on the management of patients who have been maintained on chronic opioids is also important,
    especially the subset of patients on high-dose opioids (e.g., greater than 90 morphine milligram
    equivalents per day). Since patients using opioids chronically are physically dependent on them, j they
    must not have their opioids abruptly discontinued, nor should tapering be performed unilaterally. An
    increasing number of guidelines for tapering opioids among these individuals are available. 142,143 These
    guidelines include information on when tapering should be considered among patients on long-term opioid
    treatment, which often occurs when adverse effects or the risk of adverse effects (e.g., sedation,
    drowsiness, constipation, nausea) outweigh potential benefits with respect to reductions in pain and
    improvements in physical, psychological and/or social functioning. 144 The guidelines also speak to the
    optimal management of individuals who, based on taper failure, may fulfil criteria for persistent opioid
    dependence and who may be best managed through long-term opioid treatment, such as buprenorphine or
    methadone.
40. While there are many criteria that could be used to select physicians who should receive academic
    detailing, a conservative approach would be to focus on approximately 10% of all active, ambulatory
    patient-care prescribers – those that account for the highest prescribed opioid volume. k Because opioid
    prescribing is highly skewed, such a focus, properly designed, could reach prescribers accounting for the
    majority of opioids in the marketplace. For example, we previously found that fewer than 5% of
    prescribers in Florida accounted for approximately two-fifths of opioid prescriptions and two-thirds of
    opioid volume during a given calendar year. 145 Similarly, a study of workers compensation claims in
    California indicated that approximately 87% of opioid volume was accounted for by the top 10% of
    prescribers.146

41. Since academic detailing should target high volume prescribers in the Communities, it must be based on
    information regarding specific individuals’ prescribing behaviors. One source of such information would
    be Ohio’s Prescription Drug Monitoring Program (PDMP), created by the Ohio Board of Pharmacy, the

j
 Within a few weeks or less, all patients using opioids develop physical dependence, a predictable neurochemical change associated
with sustained use. By contrast, addiction is far less predictable, represents compulsive use despite harm, and is often associated
with impairment in social, psychological and/or physical functioning.
k
 While this discussion focuses on ambulatory care, an increasing number of evidence-based guidelines are also available for the
post-surgical setting, where opioids have also been heavily oversupplied; an academic detailing program should also be considered
for these prescribers as well.
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     Ohio Automated Rx Reporting System (OARRS).147 The OARRS is available to both prescribers and
     pharmacists, with information on controlled substances, gabapentin, life-threatening drug combinations
     (e.g., benzodiazepines and opioids), and identifies patients that use multiple doctors. 148 The OARRS
     contains county-level information and is integrated with electronic medical records and pharmacy
     dispensing systems. An alternative source of similar data would be from a market intelligence firm, such
     as Symphony Health or IQVIA. These companies license data regarding prescription drug prescribing to
     pharmaceutical companies and other clients, and may represent a source of more efficiently gathered,
     possibly better curated and more timely information regarding both physician and non-physician
     prescribers (e.g., advanced nurse practitioners, physicians’ assistants). 149

42. The value of provider education lies in the quality of the information that is delivered. Thus, the
    information must be of the highest quality and from the most reputable sources. A natural foundation for
    this effort would be the 2016 Centers for Disease Control and Prevention (CDC) Guideline for Prescribing
    Opioids for Chronic Pain, given the credibility of the CDC, the extraordinary rigor that was exercised in
    its development, as well as the widespread endorsement that it has received. 150,l This Guideline, which has
    been supplemented by more recent, CDC-funded systematic reviews, 151 could be cross-referenced with
    other guidelines and sources used by established provider education programs already underway on
    opioids.152 Locally, the OhioMHAS provides Opioid Prescribing Guidelines, including information for
    health care providers on acute pain management, non-terminal chronic pain, and patient screening tools. 153
    These guidelines are published by the Ohio Board of Pharmacy in partnership with healthcare and
    professional organizations from across Ohio.154 In addition to delivering information about best practices,
    academic detailing should also include reports so that individual prescribers or dispensing pharmacists
    can review and critically evaluate their own prescribing or dispensing patterns relative to peers at local,
    regional, and national levels, as well as identify instances of prescribing or dispensing that may warrant
    closer and more critical evaluation.

43. Provider education has to deliver a limited number of focused messages or it will not be effective. The
    CDC Guideline for Prescribing Opioids for Chronic Pain includes twelve scientifically supported "clinical
    reminders" that can be used as a basis for provider education modules:
       1) Opioids are not first-line or routine therapy for chronic pain;
       2) Establish and measure goals for pain and function;
       3) Discuss benefits and risks, as well as the availability of non-opioid therapies with patients;
       4) Use immediate-release opioids when starting opioid therapy;
       5) Start with the lowest effective dosage and use caution when titrating the dose (avoid increasing dosages
           by ≥ 90 morphine milligram equivalents/day);
       6) When treating acute pain, prescribe quantities no greater than what is needed for the expected duration
           of pain that is severe enough to warrant opioids (often no more than 3 days);
       7) Follow-up and re-evaluate risks and benefits with patients as they continue opioid therapy, and should
           the harms of continued opioid therapy outweigh the benefits, taper to a lower dosage or taper and
           discontinue opioid therapy;
       8) Evaluate risk factors for opioid-related harms and incorporate risk mitigation strategies into treatment
           regimens;
       9) Utilize the OARRS data to determine whether a patient is receiving other therapies that put them at
           risk;
       10) Urine drug testing should be utilized to assess for the presence of other medications and illicit
           substances;

l
 While the 2016 CDC Guideline is one of the most comprehensive, authoritative and widely cited opioid guidelines, any academic
detailing program as part of an abatement remedy should be based on an assessment of the most current and suitable sources of
information for such a program. These guidelines will be updated by the CDC in 2021.
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       11) Avoid concurrent benzodiazepine and opioid treatment; and
       12) Arrange treatment for patients with opioid use disorders. 155

44. The 2016 CDC Guideline improves upon clinical guidelines that emerged from the liberalization period
    in the 1990s in several important ways. For example, in 1997, the American Academy of Pain Medicine
    and the American Pain Society issued a consensus statement that endorsed the use of opioids to treat
    chronic, non-cancer pain, arguing that “studies indicate that the de novo development of addiction when
    opioids are used for the relief of pain is low.”156 By contrast, the 2016 CDC Guideline underscores the
    risks of addiction and other adverse events related to prescription opioids, recommends lower dosages,
    focuses on improving safe use among all, rather than “high-risk,” patients, and provides more specific
    guidance regarding how to best monitor opioid use and establish thresholds for stopping them in the setting
    of unfavorable risks/benefit balance.157

45. The National Resource Center for Academic Detailing (NaRCAD), a center aimed to support clinical
    outreach education programs, provides an extensive directory of established provider education programs,
    including a section for those dedicated to opioid safety. 158 For example, Alosa Health is a non-profit that
    has deep experience in this area conducting state- and nationwide campaigns. 159,160 While pharmaceutical
    companies and pharmacy benefit managers (PBMs) both have extensive workforces available for direct
    prescriber outreach, neither would be credible in this setting given the conflicts of interest that would be
    posed. Instead, provider education programs typically recruit physicians, nurses, pharmacists or other
    individuals with a background in related health disciplines to conduct outreach.

46. Regardless of the detailer’s background, it is essential that educators have no potential commercial
    conflicts of interest, have a background in a health discipline such as medicine or pharmacy, and receive
    rigorous training on how to conduct this outreach. Lack of clinical knowledge may cripple the detailer’s
    credibility with the prescriber, making it difficult to establish a strong relationship that promotes rational
    prescribing. Furthermore, it is also important that the outreach is repeated over time, with follow-up visits
    to encourage positive changes and reinforce key messages.

47. In addition to academic detailing of prescribers, broader health professional education should also be
    considered for at least four types of health care providers in the Communities:
      x Licensed prescribers (beyond those selected for academic detailing based on high opioid prescribing),
         such as physicians, dentists, nurse practitioners, and physicians’ assistants, are important to target
         because they issue prescriptions for opioids and other analgesics.
      x Nurses, especially in settings such as Emergency Departments, urgent care, and other clinical areas
         where opioids are commonly used, should be targeted because they are in an influential position to
         shape the culture of pain management and to raise awareness about evidence-based methods to
         identify and treat pain and OUD.
      x Dispensers, or pharmacists, should be targeted because they dispense opioids and are increasingly
         responsible for implementing drug utilization management policies and practices designed by payers
         and PBMs.
      x Emergency medical technicians (EMTs) are important to reach because they are often the first point
         of contact with individuals who have overdosed, and thus in a key position to bridge a common
         treatment gap that contributes to low rates of evidence-based treatment for OUD, namely, individuals
         who are resuscitated but not connected with OUD treatment.

48. Resources permitting, education of other health care personnel, such as pharmacy technicians and physical
    therapists, should also be undertaken. Since opioid oversupply, as well as OUD, are both so common,
    these personnel also regularly engage with patients who have a high likelihood of being harmed by the

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    epidemic, and thus they too are in a position to support a required cultural shift in the paradigm of pain
    and OUD identification and management in the U.S.

49. In addition, while training and professional development of health care personnel such as doctors, nurses
    and EMTs is vital, additional educational capacity-building, as well as technical assistance, must be
    employed if the opioid epidemic is to be successfully addressed in the Communities. For example,
    hospitals, health systems, integrated delivery networks, physician practices, long-term care facilities, and
    other health care institutions and organizations should work diligently to incorporate educational
    programming and professional development services that assist in raising awareness and disseminating
    knowledge regarding the drivers of the opioid epidemic, as well as the role of their respective institutions
    in addressing it. In some instances, such programming may be delivered through Continuing Medical
    Education (CME), Continuing Nursing Education (CNE), or similar vehicles, although it is important that
    any such programming be scrupulously developed and monitored to minimize the potential for bias that
    might jeopardize the quality and impact of such materials. 161 Locally, the OhioMHAS offers an online
    opioid curriculum focused on evidence-based practices surrounding addiction, prevention, screening, and
    MAT implementation across a broad range of clinical settings. 162 Health systems play an especially
    important role given their broad reach and ability to promulgate evidence-based guidelines, as well as to
    engage in opioid stewardship. 163 Technical assistance to the courts, law enforcement, substance use
    treatment providers, and other stakeholders should also be provided so as to ensure that these entities are
    kept abreast of the changing contours of the epidemic and the most relevant advances in prevention,
    treatment, and recovery.

50. Components of abatement interventions. The top prescribers (physicians, dentists, nurse practitioners, and
    physician assistants) in the Lake and Trumbull Counties, as defined by prescribed opioid volume, should
    be the focus of a comprehensive academic detailing program. In each given year, prescribers who meet
    the inclusion criteria for being a top prescriber should be visited multiple times by preferably the same
    academic detailer. In addition to well-trained academic detailers, an effective academic detailing program
    should include experts who continuously develop and modify the detailing approach so as to be responsive
    to the clinicians they are visiting as well as to reflect the dynamic nature of the epidemic, advances in pain
    management and current clinical guidelines. Educational programming should also be aligned and
    coordinated with other types of provider outreach taking place within the Communities, such as the effort
    to expand SBIRT among Ohio health providers.164 The program will also require administrative staff who
    will facilitate tasks as such scheduling and communication, travel itinerary, production/printing of
    modules, and other tasks. Moreover, CME and CNE programs should be provided to all prescribers in the
    Communities annually, building on the courses offered by OhioMHAS. Additional programs should also
    be developed to address the education and training needs of non-prescribers such as licensed practical
    nurses, pharmacists, and paramedics, although I have not included these quantitative estimates in my
    Redress Models.

51. In conclusion, abatement programs within the Communities should include health professional education.
    Efforts such as academic detailing are feasible and can be highly scaled as well; numerous state-wide and
    even national provider education programs promoting safe prescribing have been conducted during the
    past two decades, including across Pennsylvania (e.g., Department of Aging Pharmaceutical Assistance
    Contract for the Elderly [PACE] Academic Detailing Program),165 Massachusetts (e.g., Boston Medical
    Center's Transforming Opioid Prescribing in Primary Care), 166 and the United States Department of
    Veterans Affairs (e.g., National Academic Detailing Service). 167 Many health systems, including large
    integrated delivery networks such as Kaiser Permanente, 168 have also executed such programs. Careful
    review of the evidence indicates that academic detailing works and would be an effective abatement tool
    for the Communities,169 and it should be combined with broader health professional education as discussed
    above.
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B. Patient and Public Education
The goal of this remedy is to raise awareness and activate patients and the general public in the Communities
regarding the risks of opioids as well as the prevalence and treatability of OUD. Patient and public education
can help to address the fact that many people do not understand the risks of opioids or that OUD is a treatable
brain disease. It can also help to reduce stigma, which serves as a profound barrier to treatment.

52. Patient education is an important method of improving the safe use, storage, and disposal of opioids, since
    there are important shortcomings in patients’ knowledge regarding these matters. For example, the 2016
    CDC Guideline highlights the importance of clinicians discussing with patients the known risks and
    realistic benefits of opioid therapy before initiating treatment. 170 Other professional societies and
    organizations, such as the Veterans Administration/Department of Defense Clinical Practice Guideline for
    Opioid Therapy for Chronic Pain, also emphasize the importance of patient education as part of a multi-
    faceted strategy to maximize the risk/benefit value of opioids in clinical practice. 171

53. In contrast to public education, which is addressed below, clinicians play an especially important role in
    educational outreach targeting patients who may be using opioids or otherwise at risk for opioid-related
    adverse events. However, clinicians themselves must be equipped to conduct such education, and their
    preparation for this can be maximized through academic detailing or other educational outreach as
    previously described. The Ohio Department of Health provides multiple resources for providers, such as
    the Opioid Pain Management Toolkit, with information on guidelines for prescribing opioids in multiple
    care settings.172 Additional educational materials have been developed by the CDC to promote safer opioid
    use and minimizing the risk of overdose;173 SAMHSA’s Opioid Overdose Prevention Toolkit includes a
    module providing safety advice for patients and family members; 174 and other organizations, such as the
    American College of Surgeons, 175 have developed their own messaging that can be used to educate
    patients regarding different aspects of the opioid epidemic.

54. Public education is also a crucial component in abating the epidemic, and one important way to conduct
    such education is through mass media campaigns. When properly designed and branded, such campaigns
    can deliver “sticky” messages, that is, messages that are concrete, memorable, contagious and therefore,
    impactful.176 Such messaging can serve as part of an effective intervention to positively change health
    behavior.177,178 Despite this, not all mass media campaigns have been successful in achieving their desired
    impact,179 and their success is dependent on several factors including the level and duration of investment
    made, the planning that goes into the campaign, and the availability of concurrent treatment and other
    services. A mass media campaign may include a variety of media, including television, radio, billboards,
    and social media. Though there is limited literature on mass media campaigns focusing on opioids, there
    is robust information from campaigns on alcohol, tobacco, and other illicit substances.

55. A number of these campaigns can be used as models when designing campaigns to address the opioid
    epidemic. For example, Idaho's Meth Project was aimed at reducing methamphetamine use through a
    comprehensive approach of public service announcements, community outreach, public policy
    approaches, and in-school lessons. Following the campaign's initiation in 2007, Idaho experienced a 56%
    decline in meth use amongst teens.180 The U.S. Food and Drug Administration's (FDA) award-winning
    youth tobacco prevention campaign, “The Real Costs,” is another example of a relatively recent mass
    media campaign. This campaign was launched nationally on multiple platforms, including TV, radio,
    print, and social media. The campaign was focused on reaching youths, 12 to 17 years old in the U.S.,
    who were open to trying smoking or were already experimenting with smoking. In 2014-2016, high
    exposure to the campaign was associated with a 30% decrease in the risk of smoking initiation amongst
    youths.181


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56. Several mass media campaigns addressing the opioid epidemic have been conducted nationwide. 182,183
    For example, in January 2017, then New Jersey Governor Chris Christie rolled out the ReachNJ initiative
    aimed at raising awareness about the availability of new addiction treatment services in New Jersey. 184
    The initiative included television ads airing on New Jersey, New York, and Philadelphia television
    stations. As of January 2018, more than 18,600 people had called the ReachNJ hotline, with the frequency
    of calls at least three-times higher in April-June 2017, when television and radio ads were on air, compared
    to July-August, when only digital ads were used.185 A second, 2017 CDC-funded program used video
    advertisements, radio advertisements, digital materials, and print materials to increase awareness and
    knowledge about the risks of prescription opioids.186 Piloted in Ohio, Oregon, Rhode Island, and West
    Virginia, over 70% of individuals exposed to campaign materials correctly identified the campaign’s
    message of preventing misuse of prescription opioid pain medications and over 50% linked this to the
    goal of preventing overdose deaths. A third example was designed to raise awareness about a new law
    increasing naloxone access and providing legal protection for people who call 911 to report an overdose.
    This state-wide media campaign in North Carolina focused on leveraging inexpensive platforms such as
    social media, printed flyers, public service announcements, and local media and was reported as effective
    in building connections with the local community and helping the organization become established as “the
    go-to expert for local media” regarding the epidemic.187

57. Within Trumbull County, the Alliance for Substance Abuse Prevention (ASAP) Coalition conducts
    regular educational and prevention outreach in the community. 188 For example, the Coalition disseminates
    educational materials to address stigma, provides tools that parents can use to discuss substance use with
    their children, and maintains a directory of treatment and recovery supports within Trumbull County. In
    Lake County, Kim Fraser, the Executive Director of the Lake County Board of Alcohol, Drug Addiction
    and Mental Health Services, has conducted extensive outreach within the community to educate the public
    and address the drivers of stigma.189 In addition to Ms. Fraser’s work, the Lake-Geauga Recovery Centers
    administers the Education Program, which provides an 8-hour class to participants seeking to learn about
    addiction, prevention and recovery.190 Topics covered include substance use, the disease concept, non-
    medical prescription drug use and the effects on substance use disorders on families.

58. Components of abatement interventions. A mass media campaign using platforms such as TV, radio,
    billboards, print, and social media should target all individuals aged 12 years and older who reside in the
    Communities, since they represent the population at risk. As per CDC guidelines, a minimum of 75% to
    85% of the target population should be reached by the campaign. 191 The mass media campaign should
    have a simple, effective message that has been developed by communication and content experts and that
    has been piloted and pretested using methods such as focus groups.

59. In conclusion, abatement programs within the Communities should include investments in educational
    campaigns targeting patients and the general public. Multimedia campaigns should include experts in
    health communications and public safety and be carefully designed to fully address widely prevalent yet
    insidious stigma that erodes effective community responses to the epidemic, treating addiction as a willful
    choice or moral failure, and cleaving off addiction and its treatment from other health care. 192 These
    campaigns must also educate the general public both about the risks of opioids as well as the prevalence
    of OUD and its responsiveness to treatment. In addition, they should include messaging around the safe
    storage and disposal of opioids, since many individuals receiving opioids do not report having received
    such information.193




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C. Safe Storage and Drug Disposal
This remedy respects the principle of intervening comprehensively along the prescription opioid supply chain,
including addressing enormous stockpiles of opioids in homes within the Communities, by providing
individuals in the Communities with convenient opportunities to safely store and discard unused medicines.

60. Safe storage and drug disposal guidelines are a critical component of public education since the improper
    storage and disposal of unused prescription opioids is a widely recognized public health concern and an
    important component of the current opioid epidemic. Our own work suggests an increased risk of opioid
    initiation among household members of those prescribed opioids194 – including an increased risk of opioid
    overdose among adolescents and young adults.195 In a 2017 systematic review that my colleagues and I
    published in JAMA Surgery, 67-92% of surgical patients reported having unused opioids after surgery,
    and in two studies examining storage safety, 73-77% of patients did not store their opioids in locked
    containers, resulting in a large reservoir of opioids which contributes to the misuse of these products. 196
    Other studies also support the assertion that the safe storage and proper disposal of opioids is
    uncommon.197 The failure to safely store and dispose of unused opioids extends beyond surgical settings
    and contributes to the diversion of opioids as well as their non-medical use. 198 For example, of the 11.4
    million individuals in the U.S. reporting opioid misuse in 2017, more than four in five (83%) reported that
    they bought, were given, or stole opioids from individuals who were in turn prescribed these drugs by a
    licensed prescriber.199
61. Safe storage and drug disposal guidelines must be accompanied by increased availability of drug disposal
    programs, since these programs provide one avenue for proper disposal of unused opioids. 200 Some
    disposal programs are based on periodic events. For example, the U.S. Drug Enforcement Administration
    (DEA) hosts short-term events wherein temporary collection sites are set up for the safe disposal of unused
    prescription medicines. Held on September 25, 2010, the DEA conducted the first-ever national drug take-
    back day, collecting over 121 tons of medications at more than 4,000 sites nationwide. 201 The DEA’s most
    recent National Take Back Day was on October 24, 2020, and included the participation of 4,153 law
    enforcement personnel and 4,587 collection sites collecting a total of 492.7 tons of prescription drugs. 202
    Since the inception of the semiannual National Take Back days, sites have collected a total of 6,842.4 tons
    of prescription drugs for safe disposal. During the most recent Take Back Day, 59,455 pounds of unwanted
    prescription drugs were collected across 266 sites in Ohio. 203
62. Other disposal programs are based on permanent collection sites authorized by the DEA, such as within
    pharmacies or law enforcement facilities (Figure 4, next page). In Lake County, the Lake County General
    Health District and Lake County Solid Waste District administer the Pharmaceutical Drug Collection and
    Disposal Program. 204 Across the County, there are seven permanent collection sites located at the:
    Eastlake Police Department; Lake County Sheriff Office; Lakeland Police Department; Madison
    Township Police Department; Mentor Police Department; Willoughby Hills Police Department; and
    Willoughby Police Department. In Trumbull County, the ASAP Coalition promotes information on
    disposal packets for safe at-home disposal and the location of permanent collection sites. 205 Drug disposal
    packets are available at no cost across eleven sites in Trumbull County that include: public libraries; police
    departments; fire departments; health clinics; and recovery centers. 206 Across Trumbull County, there are
    15 permanent collection sites located in police departments and the St. Joseph Warren Hospital. 207
63. Unless disposal programs are convenient, they are unlikely to be widely used, and the use of pharmacies
    as part of a “reverse logistics” program, where the standard distribution system is reversed to return unused
    or unwanted product, has many efficiencies.208 Some authorized collection sites may also provide mail-
    back options to assist patients in disposing unused medicines, especially for homebound patients or others
    with special needs. Local pharmacies may also provide free deactivation packets that individuals can use
    to deactivate their unused controlled substances before discarding them in the trash.

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64. Although patients may favorably perceive drug disposal programs, 209 historically, permanent collection
    sites have been uncommon due to administrative, legal, and economic barriers. As of 2017, the United
    States Government Accountability Office reported that only 2,233 of 89,550 eligible entities (2.5%), such
    as pharmacies, hospitals/clinics, narcotic treatment programs, reverse distributors, distributors, and
    manufacturers, were registered as authorized collectors of unused prescription drugs. 210
65. Despite their importance, historically, drug disposal programs have only re-collected a small proportion
    of the total number of controlled substances dispensed, with collected drugs also including a mix of other
    medications such as antibiotics, oral contraceptives, and cardiovascular treatments. 211 Furthermore, the
    U.S. FDA directs that certain prescription medicines, such as opioids, should be immediately flushed
    down the toilet when no drug disposal program option is readily accessible. 212 Patient and pharmacist
    education regarding how to properly dispose of opioids is important. In the absence of drug disposal
    programs, other routes of disposal include mixing unused opioids with inedible garbage (e.g., cat litter) or
    using specialized chemicals that trap the unused pills in a non-divertible and biodegradable matrix. 213
66. Components of abatement interventions. Existing efforts in Lake County and Trumbull County should be
    supported and promoted through varied means ranging from pharmacy posters or informational stickers
    on pill bottles to the promotion of drug disposal events to increasing the number of programs within
    pharmacies and health systems. Staffing needs will vary based on the magnitude of work involved. There
    are four major components to consider when establishing and maintaining a drug disposal program: (1)
    promotion; (2) staffing; (3) equipment and supplies; and (4) disposal. 214,215 Equipment, supplies, and
    frequency of disposal will depend upon the volume of drugs collected, which can be estimated based on
    the population of the Communities. For context, prior studies of drug-take back initiatives based in
    pharmacies and police departments in rural counties report approximately 600 pounds of medications are
    collected a year.216,217
67. In conclusion, abatement programs within the Communities should include investments to educate
    individuals regarding safe opioid storage and disposal, as well as to expand the availability and
    convenience of drug disposal programs. While periodic “take-back” days, such as those coordinated with
    the DEA, are impactful, such episodic programs should be complemented by accessible permanent
    collection sites that are continuously operated. In addition to placing take back kiosks within Police
    Departments, programs should be implemented throughout community pharmacies as well as urgent care
    centers, hospitals and health systems. For select populations, such as homebound elderly or others with
    special needs, it may also be helpful to invest in mail-back options and/or the distribution of biodegradable
    technologies that allow for safe and convenient at-home disposal.




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D. Community Prevention and Resiliency
The goal of community prevention and resiliency programs is to form coalitions that can identify needs and
trends within communities, and to implement evidence-based, culturally-responsive interventions that reflect
the values, capacities and expressed needs of local communities. These programs seek to strengthen social
bonds and promote healthy behaviors. In doing so, these programs bolster the resiliency of a community, in
part by helping to mitigate the clinical, social and economic impact of the opioid epidemic in the Lake and
Trumbull Counties.

68. Prevention science. The field of prevention science has flourished in the past few decades and it offers
    important lessons for the Communities. This is because a growing body of scientific evidence
    demonstrates that problematic behaviors of individuals, such as among adolescents, can be mitigated
    through prevention efforts. Through these scientific investigations, researchers have also identified risk
    and protective factors, which has allowed for rigorously-designed experimental evaluations of
    administratively feasible, community-based interventions.218,219,220 While many such interventions have
    focused on violence or delinquency, others have addressed substance use disorders and demonstrate
    enduring benefit.221,222

69. Community coalitions. Many approaches to primary prevention of substance use disorder (SUD) have
    been proposed, including in Ohio. Some of the most promising are based on the use of community
    coalitions. 223,224 The use of such coalitions provides one pragmatic and tested framework to identify
    community prevention needs, and to effectively implement durable, evidence-based interventions that
    command broad community support. Such efforts are designed to field durable, evidence-informed, and
    administratively feasible interventions that engage a diverse community coalition, and that effectively
    draw upon existing assets to meet the expressed needs of local communities. 225 The broader community
    includes many entities that would be strong partners in such efforts, such as those from the business sector
    who may be key to implementing recovery-supportive workplaces (see Section 3C). Local nonprofits and
    government organizations, including the local Alcohol, Drug Addiction, and Mental Health Services
    (ADAMHS) boards, contain the local knowledge necessary to coordinate this effort in collaboration with
    outside researchers, community residents, and other stakeholders. This is similar to the objectives and
    efforts undertaken by Trumbull County’s ASAP Coalition.

70. One prominent collaborative approach that coalitions can use to develop and implement effective
    programs is the Communities that Care (CTC) model. The CTC model, which has been used to prevent
    or reduce substance use, delinquency and/or other risk behaviors, 226 provides a structure for engaging
    stakeholders and establishing a shared vision for the community. CTC provides tools to survey community
    members regarding pressing local needs and provides one well-studied process to pursue specific and
    measurable goals in partnership with experienced intervention researchers. Rather than being proscriptive,
    the CTC model provides local communities with a menu of evidence-based approaches, from which the
    coalitions can identify specific interventions and strategies in the formulation, and iterative evaluation, of
    a community action plan to address local needs.

71. CTC’s effectiveness was tested in the Communities Youth Development Survey (CYDS), a randomized
    control trial of 24 urban and rural communities in seven states (Washington, Illinois, Kansas, Colorado,
    Maine, Oregon, and Utah).227 Outcomes by grade 12 were compared among youth who had received CTC
    interventions between fifth and ninth grade, and youth who resided in control communities. Youth within
    the CTC treatment group were significantly more likely to have refrained from any alcohol, tobacco, or
    other drug use, and were significantly less likely to have committed an act of
    delinquency.228,229,230,231,232,233,234 At an average inflation-adjusted cost of roughly $633 per youth, CTC


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    has demonstrated cost-effectiveness, returning an estimated $5.30 for every dollar invested through
    reduced crime and criminal justice costs and other benefits to local communities. 235,236

72. Components of abatement interventions. Community resiliency coalitions should be implemented, or
    continue to be supported, within Lake County and Trumbull County. These coalitions should build on the
    areas of need, identifying key stakeholders, evaluating and implementing evidence-based programs using
    a systematic and iterative process such as the CTC framework. There are five major components to
    consider when moving forward with a community prevention and resiliency plan: (1) staffing; (2)
    assembling pertinent stakeholder coalitions; (3) surveying community members to identify needs and
    assets; (4) formulating and implementing a community action plan; and (5) evaluating processes and
    outcomes associated with the community action plan. Staff devoted solely to the implementation and
    coordination of community prevention efforts will ensure efficiency and prevent duplication. These
    prevention programs should incorporate the data collected by a proposed team dedicated to reviewing and
    coordinating abatement programs and respond to the current and future needs of the community.
    Furthermore, a brick-and-mortar space dedicated to community prevention efforts, including stakeholder
    meetings, youth activities and prevention programs, may help to mitigate logistical barriers to
    implementing evidence-based programs that promote community resiliency.

73. In conclusion, abatement efforts in the Communities should encompass coalition building that focuses on
    promoting community resiliency. Programs that strengthen social bonds and promote health behaviors
    will help to heal the community-level trauma caused by the opioid epidemic. Frameworks such as CTC
    that incorporate measurable goals, are guided by local data and trends, and select evidence-based
    prevention programs have reduced substance use and reinforced social bonds within communities. A
    robust evidence base exists for the effectiveness and economic benefits of such efforts.




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E. Harm Reduction
The goal of harm reduction is to implement evidence-based interventions that “meet people where they are
at,” as compared to zero-tolerance approaches that criminalize opioid use, propagate stigma, and serve as a
barrier to accessing treatment. Such approaches recognize the formidable barriers that often prevent people
from seeking treatment or achieving full recovery; harm reduction will decrease individual and societal harms
from the opioid epidemic in the Communities.

74. Harm reduction refers both to a set of general principles used to underpin policies concerning the way that
    societies respond to drug problems and to specific interventions. A defining feature of these approaches
    is their focus on harms associated with opioid use rather than the prevention of such use per se. Harm
    reduction approaches can target individuals as well as the structural (e.g., drug paraphernalia laws) 237 and
    environmental (e.g., physical environment) contexts which engender harm.

75. Harm reduction can be contrasted with approaches that prioritize the singular prevention of drug use,
    which often are embodied in “zero tolerance” enforcement approaches. 238 Empirical evidence has
    demonstrated short-comings of the U.S. “War on Drugs,” 239,240 including its failure to reduce the demand
    for drugs241,242 or decrease drug-associated violence243 while leading to the disproportionate incarceration
    of people of color and the urban poor. Such findings underscore the need for innovative, evidence-based
    approaches to address OUD and other harms stemming from non-medical opioid use. An important
    component of any comprehensive response to the opioid epidemic includes scaled-up harm reduction
    services targeting people who are actively using drugs. There are two main harm reduction approaches
    that are relevant to the opioid epidemic and discussed below, syringe services programs and drug checking
    services; naloxone is discussed separately in Section 2E of this report.

76. Syringe services programs (SSPs) are designed to provide clean syringe access and disposal to people who
    inject drugs (PWID). Such programs were scaled up in the U.S., Europe, and Australia in the 1990’s and
    2000’s to help reduce the transmission of blood-borne infectious diseases as discussed in Section 2C
    below. The U.S. Public Health Service has long recommended to have a clean syringe for every injection,
    effectively increasing the “coverage” of sterile injection equipment.244 Through extensive research over
    three decades, SSPs have been associated with reductions in risky syringe sharing behaviors, 245,246,247 as
    well as rates of HIV,248,249,250,251 hepatitis B, and HCV.252 A study by the National Institutes of Health
    found that syringe exchange programs are associated with a reduction in risk behaviors as high as 80%
    among injection drug users.253 A systematic review of SSP studies, including many from the U.S., found
    that SSPs are associated with a 32% reduction in the transmission of HIV and approximately a 50%
    reduction in HCV incidence among PWID.254

77. Unlike other states, Ohio law requires approval from county prosecutors prior to the implementation of
    an SSP.255 As of August 2019, there were 20 SSPs operating in Ohio. 256 In 1995, the first SSP opened in
    Cleveland, Ohio, followed by another in Portsmouth in 2011 and Cincinnati in 2014. 257 Since 2015, 17
    additional SSPs have been implemented across Ohio, offering services that include: syringe exchange,
    wound care, HIV and HCV testing, chronic disease screening, fentanyl testing strips, and linkage to
    treatment for substance use disorder. The program in Lucas County also offers screening for human
    trafficking and food insecurity.258 Overall, Ohio SSPs report that the community and law enforcement
    response has been positive overall across counties that include, but are not limited to: Athens, Summit,
    Jefferson, Greene, Marion, Darke, Zanesville-Muskingum, and Lorain. 259 Some communities and law
    enforcement agencies have shown mixed responses, or were slower to support the programs, however,
    many program leaders feel that additional education of the evidence-base and outreach within the
    communities would help to improve public opinion.


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78. Mobile harm reduction programs are one tool to significantly improve access for hard-to-reach
    populations, including those that do not have access to transportation or who may reside in rural areas.
    Mobile SSPs are already in use in other Ohio locations, including an SSP in Dayton. 260 A review of twelve
    HIV Outreach programs which included harm reduction services found that clients who accessed mobile
    units were 86-times more likely to receive an HIV test than those who accessed other sites. 261 The authors
    noted that mobile outreach increased recognition and opportunities to initiate conversations with new
    clients and such outreach may increase the likelihood that an individual will enter treatment.

79. SSPs also save communities money in the long term by preventing disease transmission, reducing
    overdose and injury associated with drug use, and increasing the likelihood of linking individuals with
    substance use disorder treatment. 262,263 This is because SSPs generally include onsite evaluation and
    referrals for substance use disorder treatment for an otherwise difficult to access population. As of October
    2017, there were an estimated 310 SSPs in 42 U.S. states and Washington, D.C. 264 Despite anecdotes to
    the contrary,265 SSPs do not increase illegal drug use or crime. For example, analyses of such programs in
    New York City and Baltimore indicate no difference in crime rates between areas with and areas without
    SSPs, including trends in arrests and violent crimes.266,267

80. SSPs often provide medical services for PWID, many of whom are marginalized and may have otherwise
    very limited access to ambulatory care. In addition to doctors, nurses, and social workers, such care may
    include peer recovery coaches, whose potential value and services are discussed in Section 2A. Clinical
    services delivered as part of SSPs may include care for acute conditions such as upper respiratory
    infections, chronic conditions such as diabetes or cardiovascular diseases, or most commonly, preventive
    screening and other preventive interventions such as flu shots or other vaccinations. Such programs may
    also include family planning services. Individuals who test positive for HIV, HCV, or both should be
    referred for treatment. Positively identified individuals will require access to necessary health care
    including effective antiretrovirals and direct-acting antiviral treatments that treat HIV and HCV,
    respectively, as well as treatment for their underlying OUD, including access to MAT and other treatments
    for opioid use disorder.

81. Drug checking services enable people who use drugs to have the content of their drugs chemically
    analyzed, allowing them to make informed decisions about use.268,269 Drug checking, a method pioneered
    in Europe, has the potential to introduce the concept of product safety into the unregulated illicit drug
    supply in the U.S. Currently, its use in the U.S. has been limited to raves or similar parties, primarily for
    the testing of 3,4-methylenedioxy-methamphetamine (MDMA, or “ecstasy”). Recently, some U.S. SSPs
    have begun distributing fentanyl testing strips originally designed for testing urine samples. Such
    “fentanyl checking” allows users to objectively determine whether their drug samples contain fentanyl or
    fentanyl analogues. Though some may argue that the widespread prevalence of fentanyl decreases the
    utility of drug checking machines or fentanyl testing strips, there remain key reasons to support testing:
    (1) drug supply and composition is not consistent over time and circumstances may change in the
    Communities; (2) testing serves as a reminder for intravenous drug use (IVDU) hygiene, including
    acquiring extra doses of naloxone or consuming drugs with a friend present; and (3) it can identify
    counterfeit pills. This is important in part because the drug market is unstable and prone to dramatic
    fluctuations in product composition.270 As such, drug check machines allow individuals to check for other
    cutting agents that may cause injury or death.

82. In 2019, 1,070 Ohioans died of an unintentional overdose that involved fentanyl, representing 76% of all
    unintentional drug overdose deaths.271 Given that 83.7% of 2019 Ohio overdose deaths involved an opioid,
    fentanyl is responsible for a significant mortality. During the same year, nine out of ten people who died
    of a drug overdose in Trumbull County had fentanyl in their system. 272 While few evaluations of fentanyl
    testing services have been performed, recent assessments suggest a high degree of acceptability and
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    potential utility among PWID,273,274,275 and early evidence suggests checking for fentanyl in drug samples
    at SSPs, police departments, and other relevant sites may help guide appropriate responses to the changing
    nature of the opioid epidemic. For example, a study conducted in Greensboro, North Carolina, found that
    43% of people who inject drugs reported a change in drug use behavior and 77% indicated increased
    perceived overdose safety by using fentanyl test strips.276 At a harm reduction site in British Columbia,
    Canada, 36% of participants reported planning to reduce their drug dose while 11% planned to dispose of
    their drug after testing for fentanyl.277 These findings were mirrored in a study of PWID in Baltimore,
    Boston, and Providence, which found that over half of respondents would utilize fentanyl testing every
    day.278 In Dayton, Ohio, a survey of SSP clients found that one in five did not use their drug supply after
    it tested positive for fentanyl, and of those who used the drug differently, two in three reported that they
    used a lesser quantity.279

83. Despite these positive impacts on the health of Ohioans, positive response from many of the local
    communities and law enforcement agencies, and the substantial evidence-base to support SSPs, harm
    reduction services are underutilized both in the Communities and Ohio overall. 280 Important barriers to
    scaling up these services in the Communities including insufficient funding as well as the absence of broad
    community support, which in turn is driven in part by pervasive stigma. 281 In addition to providing
    preventive services that reduce the burden of disease, such as skin and soft tissue infections, HIV, HCV,
    and chronic diseases, and offering a source for individuals to be linked to treatment, harm reduction
    programs can also reduce stigma by providing education to the community. 282 It is important to note that
    there is no evidence to support that harm reduction services (e.g., SSPs) encourage and enable drug use. 283

84. Components of abatement interventions. Leaders of Lake and Trumbull Counties should consider
    investing in harm reduction services to provide access to clean syringes and injection equipment, safe
    disposal of used syringes, and screening and referral services to PWID, particularly for those who use
    heroin and fentanyl. SSPs should provide continuous services at consistent locations and hours using
    different approaches including permanent SSP sites and mobile SSP units, generally vans. Investment in
    establishing or expanding fentanyl testing services is also needed to mitigate some of the risks – including
    overdose and death – associated with fentanyl use or fentanyl laced drugs. Two main channels of fentanyl
    testing services should be considered: fentanyl test strips and drug checking machines. Fentanyl test strips
    should be available for use or distribution at SSPs, homeless shelters, and other relevant locations to
    achieve optimal coverage and reduction in harm. Given their low cost, fentanyl testing strips should be
    distributed to all individuals that use illicit substances in the Communities. Drug checking machines, such
    as Fourier transform infrared spectrometers (FTIRs), are needed to track and document changes in the
    illicit drug supply to inform timely responses by health officials and law enforcement. At minimum, SSPs,
    police departments, and medical examiners may all benefit from the use of such drug checking machines.

85. In conclusion, abatement programs in the Communities should include resources to further support harm
    reduction. Given the success of SSPs in Ohio, the substantial evidence base in promoting public health,
    and established cost-effectiveness in preventing the spread of disease and linking individuals to treatment,
    SSPs should be implemented in Lake County and Trumbull County. SSPs, including outreach, delivery
    of non-OUD care, and referral for treatment, should be expanded sufficiently so as to reach the broadest
    population of individuals who inject drugs in the Communities. Such programs should include increased
    availability of drug checking services to assist users in knowing when fentanyl may be present within drug
    supplies. It is also crucial that outreach, advertising, and education be incorporated into the SSPs in order
    to reach clients and provide awareness in the Communities.




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F. Surveillance, Evaluation, and Leadership
The goal of surveillance is to convert local data to actionable intelligence at a local level by gathering, curating,
and disseminating timely information about key dimensions of the epidemic to public health officials, policy-
makers, and other stakeholders. This is important because the absence of timely, granular information about
the epidemiology of opioid use, addiction, and overdose at a local level has limited the ability of stakeholders
to rapidly design, iterate and evaluate targeted interventions to address the epidemic in the Communities.
However, in addition to surveillance, leadership – including comprehensive planning and multi-agency
coordination – is important in order to maximize efficient use of constrained resources to address the epidemic.

86. The opioid epidemic is a complex phenomenon with many different dimensions and impacts, and while it
    continues to change and evolve at a national and state level, at a local level these changes have often been
    even more profound. One consequence of this is that policy-makers and public health officials such as
    those leading the Communities need timely and accurate information on key parameters they can use to
    make informed decisions about resource allocation. 284 For example, the deployment, targeting and
    evaluation of academic detailing programs depends vitally on timely information regarding opioid
    prescribing across prescribers. Similarly, naloxone distribution and training should be designed based on
    the relative incidence, causes and outcomes of overdose within small, well-defined geographic areas.

87. These methods of assessing the opioid epidemic are important and should be expanded to include other
    important dimensions of the crisis including measures that allow for near real-time, integrated assessment
    of prevention, treatment, and recovery within the Communities. Such data can be drawn from medical,
    behavioral and criminal justice systems, and include, but not be limited to, measures such as: opioid and
    non-opioid analgesic prescribing, OUD treatment capacity, MAT use and persistence, non-fatal and fatal
    opioid overdose events, naloxone distribution and use, criminal justice offense type, sentencing, treatment
    received while under court supervision (e.g., mandated treatment) and reoffending rates. Valuable
    information – relevant to the Communities – can be compiled from national, state and local levels. For
    example, clinical information can be derived from OARRS, emergency medical services, and hospital and
    emergency administration data. The Ohio Department of Health publishes the drug overdose data, NAS
    trends, and ED visits for suspected drug overdoses.285 Additionally, since 2000, the OSAM Network has
    published semiannual reports on substance use trends across eight subregions in Ohio and Targeted
    Response Initiatives to help guide additional interventions. 286 These reports are generated through focus
    groups and qualitative interviews of individuals affected by the opioid epidemic: people who actively use
    drugs, those who are in recovery, family members of those with OUD, and community professionals that
    work to address OUD. Behavioral health data can be drawn from sources such as the minimum data sets
    that are directly collected by all Single State Authorities (e.g., state agencies on drug abuse) for specialty
    treatment programs and from Medicaid programs, as well as from sources such as the Drug Enforcement
    Agency’s National Technical Information Service (NTIS) database of waivered prescribers and state and
    federal databases on specialty treatment providers (e.g., the SAMHSA treatment locator which is updated
    annually and provides street addresses for treatment programs). Criminal justice data can be derived from
    the Ohio Department of Rehabilitation and Corrections.

88. There is no question that the collection, curation, and integration of these data will require substantial
    cooperation, effort, and tenacity. Many of these data systems are maintained by different private or public
    entities, and in some cases, significant administrative, legal, and cultural barriers will have to be overcome.
    However, there is tremendous promise in such efforts, especially since the effects of the opioid epidemic,
    and remedies to abate it, extend across medical, behavioral, and criminal justice systems. Linkage of these
    data will provide a more comprehensive understanding of the current issues associated with the epidemic
    and identify areas where local communities should focus.


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89. For example, consider the case of policing, where public health oriented policing interventions, such as a
    focus on overdose deaths, use of naloxone, education regarding addiction and stigma, and treatment on
    demand, can play an important role in reducing opioid-related injuries and overdose deaths. 287 Routine
    tracking of measures that evaluate these and other approaches can be used for a number of purposes
    including to establish benchmarks, allocate resources, and evaluate the success of new initiatives with
    respect to process, such as how many doses of naloxone have been dispensed, and outcomes, such as how
    many overdoses have been reversed. Medical examiner data is another important source of information to
    be incorporated into any surveillance system. However, medical examiners must work within the
    constraints of their operating budget, and as observed in the Communities, 288 the increasing number of
    overdose deaths has strained medical examiner offices.

90. Surveillance must be combined with leadership and a cohesive, multidisciplinary team should coordinate
    a given community’s response across multiple agencies, departments and stakeholders and be based on a
    comprehensive needs assessment. Representation, and appropriate staffing, from key entities such as the
    medical, behavioral and criminal justice systems within the community is vital. The overall effectiveness
    of a community’s response will rest in part upon the relationships among those coordinating the effort,
    and the overall coherence and shared vision among relevant parties. This team should meet regularly to
    review programs and policies, as well as assess surveillance data and emerging evidence from the field.
    In addition to serving as liaisons to their respective organizations, as well as more broadly championing
    the community’s strategic response, the team should troubleshoot, redirecting resources and re-
    engineering how individuals with chronic pain, non-medical opioid use or OUD are identified and
    managed within relevant systems of care.

91. Components of abatement interventions. Abatement efforts in Lake County and Trumbull County should
    build upon the current surveillance and data sources, such as OSAM drug trend reports, by allocating
    sufficient resources to support a dedicated team of professionals to review and synthesize data, and to
    make recommendations for abatement efforts. This team, may include individuals such as epidemiologists,
    data scientists, and community liaisons, such as law enforcement experts and community advocates,
    should focus on: (1) improving the timeliness, quality, coordination and integration of existing data
    streams (e.g., surveys, mortality records, etc.); (2) conducting opioid-specific surveillance activities to
    better understand key aspects of the dynamic nature of the epidemic that are not visible through existing
    data channels; (3) enhancing the accessibility, visibility, and shareability of data related to the epidemic
    through multi-agency coordination, preparation of reports and data summaries, creation of dashboards,
    and responses to data requests from relevant stakeholders; and (4) performing comprehensive evaluations
    of interventions and proposing evidence-based recommendations so as to maximize further returns. Given
    their role in surveillance systems, medical examiners should also be supported in the Communities so as
    to alleviate the strain caused by the increasing number of deaths and reduce the turnaround time for
    toxicology testing. Quality surveillance data and dissemination is key to identifying and responding to
    changing needs within the Communities.

92. In conclusion, abatement programs in the Communities should include resources to support the further
    development and management of state-of-the-art surveillance programs that can serve as mission control
    centers as remedies are deployed, iteratively refined and evaluated. Such resources should allow for
    relevant data from a variety of local, state, and national sources to be gathered, curated, integrated and
    analyzed, and in turn, reported back out using a variety of different approaches customized to the specific
    needs of key stakeholders such as public health officers, treatment providers, and law enforcement
    officials. Remedies should also include resources to support the leadership that will be needed for a well-
    coordinated, longitudinal, multi-stakeholder initiative.


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CATEGORY 2: TREATMENT – SUPPORTING INDIVIDUALS AFFECTED BY THE EPIDEMIC
This category of my Abatement Plan seeks to better identify individuals with OUD in the Communities and to
remove clinical, economic, and social barriers diminishing their access to comprehensive, coordinated high-
quality care. m One important principle is to close treatment gaps. However, many other interventions are
necessary in addition to the closure of treatment gaps, including a transformation of the delivery system of
care in the Communities so that it “mainstreams” addiction care and delivers it as consistently and
compassionately as it does care for pediatric cancer or amyotrophic lateral sclerosis (ALS).

A. Connecting Individuals to Services and Care
The goal of this remedy is to address the widespread treatment gaps that prevent so many from seeking or
being retained in care. For example, studies show that some individuals who overdose in the field are not
formally evaluated or successfully linked with treatment, 289,290 while many others, even if brought to an
Emergency Department are discharged rather than transferred to an inpatient induction/rehabilitation facility,
enrolled in an intensive outpatient (IOP) program or initiated on MAT.291 There are opportunities to improve
the identification and treatment of individuals with OUD within each of these settings. Because of this,
multiple methods are needed to connect people to services, ranging from helplines, peer-recovery coaches and
transportation assistance to “bridge programs” and Quick Response Teams designed for those newly
encountering the health care system due to an opioid overdose or other acute opioid-related harm. n

93. Helplines. Helplines have been used as an effective tool for delivering information to people in crisis for
    decades, assisting callers by linking individuals to care and resources to address their individual
    circumstance. Helplines serve as an inexpensive, efficient, and immediate source of information for
    individuals affected by SUD. The Lake County Alcohol, Drug Addiction, and Mental Health Services
    (ADAMHS) offers the Compass Line, which is designed to streamline access to treatment. 292 Between
    2012 and 2018, the Compass Line made over 8,000 referrals to behavioral health resources. 293 Ideally,
    helplines should be a 24-hour phone, text, and chat line designed to streamline the process of accessing
    treatment for SUD and behavioral health. Staff should be comprised of social workers that provide direct
    transfers to withdrawal management facilities and referrals to inpatient treatment, sober living homes,
    medications for addiction treatment, outpatient therapy and support groups. After linking callers to
    resources, staff should follow up with callers at designated intervals to ensure their needs are being met.
    Since 2015, one such helpline in West Virginia has helped more than 41,000 individuals access
    treatment.294 In 2019, more than 11,000 individuals called the helpline, of which 75% called on behalf of
    themselves and 13% called on behalf of a family member. Opioids were the most commonly used
    substance among helpline callers (40%). Over 14,000 callers have received a “warm hand-off” to a service
    provider,295 nearly 2% were referred to MAT, and 43% were referred to detoxification centers; of those
    seeking detoxification, many were able to enter a program within 24-hours. 296 Staff are also available to
    assist callers with enrolling in Medicaid or private health insurance. The helpline is one tool to address
    barriers for those with OUD in finding treatment, timely linkage and entry into treatment. Importantly, the
    helpline is another source of data for policy-makers to identify trends in drug use, treatment needs and
    capacity building.

94. Coaches. Peer recovery coaches provide another promising and cost-effective model to engage and serve
    individuals with OUD.297,298 Paraprofessionals with lived experience in recovery can assist patients in
    accessing medication treatment, can help navigate barriers to treatment engagement and retention, such

m
  It is also important to consider individuals with opioid dependence and non-medical use who may not yet fulfil formal criteria for
an OUD; I consider these individuals in Section 4E.
n
 Ensuring adequate staffing of social workers, case managers, and addiction counselors in clinical, behavioral, criminal justice,
and community settings is also vital and discussed elsewhere in my report
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    as provider stigma and transportation. Peer recovery coaches can draw upon their lived-experience and
    methods such as motivational interviewing to strengthen individuals’ motivation to seek treatment and to
    remain engaged. Coaches may provide a number of different types of resources or support to individuals
    with OUD, ranging from psychological support to connections to recovery communities, activities, and
    events.299 Two systematic reviews examining the impact of peer-recovery services suggest the positive
    impact that such services can have on those with substance use disorders. 300,301 Peer recovery coaches
    should be integrated into programs and organizations within the Communities, including the Ohio
    Criminal Justice System and Harm Reduction Programs. Further expansion and integration of peer
    recovery coaches into programs, such as reentry programs and drug courts, are important in order to
    connect individuals with OUD to services and treatment in the Communities. The OhioMHAS currently
    offers a 40-hour training and certification for peer recovery coaches. 302

95. Medical Social Workers. Medical social workers address the psychosocial needs of an individual, such as
    housing or transportation, that increase the likelihood of continuing treatment and recovery. Within the
    Communities, social workers should be integrated within the continuum of medical care for OUD to
    alleviate community resources and ensure wrap-around care. The intensity of social work intervention
    will vary based on the needs of the population and duration that they have been in care. For example,
    pregnant women who are newly linked to treatment will require more intensive social work and case
    management services, which can be tapered down after two-years in care (see Section 4A). Additionally,
    social workers are also effective in services for families and children (Section 4C), homeless individuals
    and those who are housing insecure (Section 4D), reentry and reintegration programs (Section 3B), and
    for individuals newly entering OUD treatment (Section 2B). Expanding case management to these
    populations would ensure that individuals will not “fall through the cracks,” improving treatment and
    recovery outcomes.

96. As health care has become more specialized and fragmented, social workers are also needed to coordinate
    care and facilitate communication between members of the health team. This is important both for the
    treatment of OUD and for preventing opioid misuse among patients treated for pain. In addition to
    ensuring smooth transitions between different levels of care, case managers can assist clients in setting
    treatment goals. One community-based, behavioral intervention trial found that compared to passive
    referral, individuals who received case management were 50% more likely to engage in treatment with
    MAT within seven days.303

97. Transportation. Transportation, particularly in rural communities, represents a significant barrier for those
    with OUD to access and adhere to treatment. 304 Because of this, the Lake County ADAMHS Board offers
    a transportation call line that helps individuals who rely on public transportation get to their ADAMHS
    system behavioral health appointments.305 Though public transportation may be available within cities,
    those that live outside urban centers may not have consistent or reliable transportation needed to attend
    treatment, thereby reducing the likelihood that they will be able to adhere to treatment. 306 However,
    transportation needs remain for other individuals as well, such as those accessing harm reduction services
    or for pre- and post-natal appointments for women with OUD. Providing travel vouchers, reimbursing taxi
    or ride-sharing costs, or providing gas cards are additional options to improve access to such services. 307

98. Emergency Department Bridges. The Emergency Department represent a key setting to link individuals
    to treatment after an overdose. One randomized control trial found that patients who received ED-initiated
    MAT were two-times more likely to be engaged in treatment one-month after intervention, compared to
    patients that received a Brief Negotiation Interview or referral alone (78% vs 37-45%, respectively). 308
    While patients in all three intervention groups reported lower HIV risk behaviors, those that received ED-
    initiated MAT had lower self-reported opioid use one-month after baseline. In reviewing the response to
    the outbreak of 26 opioid-overdoses within a six-hour window in the City of Huntington, West Virginia
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    in August 2016, public health officials recognized that failing to link individuals to treatment during their
    ED visit was a missed opportunity and break in the continuum of care. 309 In nearby Mahoning County,
    local EDs have also initiated bridge programs to decrease the time between overdose and initiation of
    treatment. 310 Adequate expansions in infrastructure are needed to increase treatment capacity to meet
    current demand as well as to accommodate individuals who will be connected to care through an
    increasing number of initiatives.

99. Quick Response Teams (QRTs). Sometimes known as a Drug Abuse Response Team (DART), these
    teams generally consist of a first responder, addiction counselor, and peer recovery coach, and they are
    designed both for first response to narcotic-related emergencies, as well as to approach overdose victims
    during “recovery windows,” a 48- to 72-hour period following an overdose when individuals may be most
    amenable to entering treatment. These teams are similar to rapid-response, mental health evaluation teams;
    QRT’s or DART’s are focused specifically on overdoses or other opioid-related emergencies. A QRT
    includes addiction counselors and target individuals who may have had a recent overdose but who are not
    experiencing an active emergency. 311 In Trumbull County, the Newton Falls Police Department
    implemented a QRT in addition to their Safe Passages program, wherein both programs seek to link
    individuals to treatment.312 In the same year, Lake County also established a QRT, comprised of a law
    enforcement professional, paramedic or firefighter, and behavioral health professional. 313 Other QRTs in
    the region have included a paramedic, peer recovery coach and social worker or member from the faith-
    based community.314 Following referrals from EMS or family and friends, the QRT seeks to make contact
    with the individual, and if they accept treatment, the QRT arranges for them to quickly enter treatment. If
    the QRT is unable to make contact, they leave treatment information behind. The Lake County QRT
    reports that 30% of those who the QRT has attempted to contact have accepted treatment or are already
    in treatment.315 This QRT is composed of professionals from the Lake County Sheriff’s Office; Lake
    County Alcohol; Drug Addiction and Mental Health Services Board; Signature Health; the Perry Joint
    Fire District; Perry Village Police Department; and Concord Township Fire Department. 316,317,318 Because
    of their timely response as well as multidisciplinary composition, these teams are one means of helping to
    strengthen the community-individual relationship as well as to bridge one treatment gap that prevents
    many individuals with OUD from seeking care.

100. Components of abatement interventions. A 24-hour helpline, with text, chat, and voice capability should
     be available in Lake and Trumbull Counties. In addition to their use in clinical settings, peer recovery
     coaches should be incorporated in locations where they are highly likely to interact with individuals with
     OUD such as drug courts, reentry programs, recovery houses, and opioid treatment programs. April
     Caraway reports319 that efforts, such as Bridge programs in EDs, should be expanded in the Communities
     in order to reduce the time that and individual enters into treatment and initiate MAT. Transportation for
     services including and adjacent to OUD treatment should be provided. Finally, given the success and
     positive response to QRTs, they should be adequately staffed and resourced proportional to the burden of
     non-fatal overdoses. Each QRT should consist of an addiction counselor, first responder, and peer
     recovery coach. QRTs should be rapidly notified of overdoses in a timely manner so as not to miss the
     window when they are most effective; QRTs also must have access to and maintain a follow-up database
     to keep track of individuals connected to care.

101. In conclusion, abatement programs in the Communities must support both the linkage of individuals to
     care and their retention once in treatment and recovery. Helplines, QRTs, peer recovery coaches,
     transportation initiatives and Bridge programs are effective and established tools to link individuals to
     treatment. Since people who use drugs may be difficult to reach, efforts that build rapport and maximize
     the quality of interactions are crucial. There are also key reachable moments, such as during
     hospitalization and “recovery windows” following an overdose, when people who use drugs may be most
     amenable to initiating treatment. Retention in treatment must be supported by transportation assistance
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and other measures to increase access, ensuring smooth transitions across the continuum of care and
through peer-support.




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B. Treatment for Opioid Use Disorder
Though there have been efforts to scale up treatment within the Communities for those with OUD, more
investments are needed so as to fulfill the overarching goal of this remedy: the provision of readily accessible
treatment to patients with OUD. Such treatment should include access to FDA-approved MAT for use in
individuals with OUD, since these are efficacious treatments that not only reduce the likelihood of opioid use,
but also the risk of overdose, criminal activity, and the transmission of infectious disease. 320 However, not
everyone with OUD requires MAT, and even when it is provided, it should be part of a full continuum of care,
including care that addresses other acute, chronic, and preventive needs.

102. The FDA has approved three medications for the treatment of OUD and the choice of medication should
     be tailored to the unique needs of each individual.
          1) Methadone is an opioid agonist, which means it can activate opioid receptors in the brain and
              provide pain relief similar to other opioids. It can prevent withdrawal symptoms, reduce cravings
              and block the euphoric effects of other opioids. However, due to federal regulations, its
              dispensing for OUD is limited to certified opioid treatment programs, serving as a barrier to
              broader use.321
          2) Naltrexone is an opioid antagonist that blocks the effects of other narcotics. Provided as a daily
              pill or monthly intramuscular injection, it can be prescribed in ambulatory settings and does not
              have any abuse or diversion potential.322 However, it cannot be administered to individuals with
              opioids in their systems, since doing so will precipitate abrupt opioid withdrawal. 323
          3) Buprenorphine is a partial agonist and partial antagonist of the opioid receptor, with significantly
              lower potential to produce euphoria or respiratory depression than other opioids. Appropriately
              waivered physicians may prescribe buprenorphine in offices, community hospitals, or
              correctional facilities. 324 While the main form of buprenorphine for OUD is an orally
              administered combination of buprenorphine and naloxone (the latter of which is an opioid
              reversal agent as described in Section 2E), other formulations of buprenorphine are likely to be
              FDA approved in the years to come.325

103. Historically, some have opposed MAT based on a number of misconceptions, including that it is invariably
     diverted (it is not, and when diversion does occur, it is often to avoid the dysphoria of opioid withdrawal
     including symptoms such as agitation, anxiety, muscle aches, nausea, and vomiting), o or that it is simply
     substituting one addiction for another (it is not).326 Rather, MAT increases social functioning and retention
     in treatment, allowing individuals a better opportunity to reintegrate within their families and communities
     and to transition from active addiction through treatment into recovery. 327,328 It is also associated with a
     wealth of other positive outcomes, including decreased opioid use and improved survival. 329 Because of
     this, its use is supported by numerous authoritative sources, including the CDC, National Institutes of
     Drug Abuse, American Society of Addiction Medicine, and SAMHSA. It is also supported by global
     authorities such as the World Health Organization, which includes buprenorphine and methadone as
     Essential Medicines.330 However, as I discuss further in Paragraph #108, MAT is not a stand-alone therapy
     nor does everyone require it; when it is used, it must be accompanied by other clinical interventions as
     part of comprehensive care for those with OUD.

104. Despite the potential of MAT to help address the opioid epidemic, it is severely underutilized. For
     example, an analysis of 2012-2013 data from the National Epidemiologic Survey on Alcohol and Related
     Conditions (NESARC) indicated that fewer than one in five individuals with non-medical prescription

o
  Even the need for such defense of MAT underscores the marked stigma and asymmetry that exists between OUD and other diseases;
for example, it is hard to imagine a setting where the use of inhalers for asthma, insulin for diabetes, or even psychotropics for mental
illness, would be met with such skepticism or outright opposition.
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     OUD were ever treated, 331 and rates of use of MAT within publicly funded treatment programs have
     historically been low. 332,333 Combined with low use of MAT even within programs offering it, some
     estimates are that as few as one in ten individuals with OUD receive MAT. 334 Worsening matters further,
     treatment courses are often short, with rates of treatment discontinuation and relapse high, 335 and even
     periods of MAT use are often punctuated by the receipt of prescriptions for non-MAT opioids,
     underscoring common and serious lapses in care even for those accessing these treatments. 336,337 The
     situation is further complicated in the Communities, where there is a lack of public transportation for
     individuals who live outside of more urban areas.

105. A 2018 study from Massachusetts provides useful context for the benefits of MAT in decreasing
     mortality.338 In this analysis of adults who survived an overdose between 2012 and 2014, in the 12 months
     after an overdose, 11% received methadone, 17% received buprenorphine, and 6% received naltrexone.
     The median duration of treatment was short, between one to five months. Both methadone and
     buprenorphine utilization were associated with decreased opioid-related and all-cause mortality. p Thus,
     this study underscores: (a) large gaps in MAT adoption; (b) high discontinuation rates; and (c) the life-
     saving benefit of methadone and buprenorphine.

106. There are many barriers that account for the large gap between the number of individuals with OUD and
     the proportion that are treated with MAT. Underlying these barriers are misconceptions about the nature
     of OUD and the effectiveness of MAT, as well as other concerns such as those identified in Paragraph
     #103. In a 2019 study based on national surveys, my colleagues at the Johns Hopkins Bloomberg School
     of Public Health found that only about one in three substance use treatment facilities offered MAT in
     2016, and fewer than one in sixteen (6.1%) offered all three treatment medications.339 There is also a large
     shortage in the number of providers who are equipped to provide care for those with addiction. 340,341
     Finally, the costs of MAT, as well as other treatments for OUD, have historically been an impediment for
     many individuals who might otherwise seek care. 342 While our own work, 343,344 and that of others, 345
     suggests that health plans are increasingly modifying their coverage and reimbursement policies so as to
     address the opioid epidemic, many individuals with OUD still face economic barriers to treatment, with a
     2016 Department of Defense estimate of the costs of MAT346 exceeding that of diabetes mellitus ($3,560)
     or kidney disease ($5,624).347

107. Overcoming these economic and structural barriers is just the first step in achieving the potential for high
     quality OUD care.348 This is because there is enormous stigma associated with opioid addiction, which
     discourages patients from seeking treatment and discourages clinicians from providing it (also see
     Paragraph #106).349 While OUD is a brain disease, it is often framed as a moral failing instead; treatment
     systems remain marginalized rather than “mainstreamed”; language about “legitimate pain” and “junkies”
     and “getting clean” perpetuates such marginalization; and many features of the criminal justice system’s
     intersection with OUD also contribute to the persistent organizational failures that are seen. 350

108. Investments in the treatment infrastructure must be made along a full continuum of care, from overdose
     reversal to support that enables long-term recovery. Individuals with OUD need regular contact with
     health care professionals responsible for supervising their pharmacologic and/or behavioral treatments,
     screening for adverse events or treatment failures, and delivering supportive care and psychological
     counselling. In many ways, such a model is no different than a model of care for someone with asthma or
     diabetes. These diseases, and their treatments, cannot be managed in a vacuum. Medications, whether
     MAT or treatments for other chronic diseases, should be provided in the context of a therapeutic

p
 The authors speculated several reasons they may not have observed a statistically significant benefit with naltrexone, including a
small sample and short duration of use, with most patients receiving it for a single month. In addition, the study was unable to
differentiate oral from intramuscular naltrexone.
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    relationship where risk factor attenuation, supportive counseling, medication monitoring, and attention to
    other health care needs take place. In the case of OUD, the delivery of structured social support and
    counseling may be especially important, given that these engagements assist patients in establishing the
    social reconnection that can be critical to long-term recovery. Treatment must also recognize the
    importance of screening and treatment for infectious diseases such as hepatitis C and HIV, 351 as well as
    attending to chronic pain, other substance use disorders, and mental illness, all of which are common
    among individuals with non-medical opioid use or OUD. 352

109. In addition, no single treatment is right for everyone, and not every individual with a history of OUD
     should be treated with MAT. For example, some people have a remote history of OUD and while they
     retain a lifelong sensitivity and vulnerability to opioids, just as an alcoholic does to alcohol, many of these
     individuals are living productive, successful lives in recovery without MAT. Some individuals have been
     treated with MAT but successfully tapered off of such treatment while maintaining a healthy recovery
     through abstinence-based, 12-step programs such as Narcotics Anonymous, psychological counselling,
     and supportive therapy, or combinations of these or other approaches. The 12-step program has deep roots
     in the Communities given their proximity to Akron, OH, the birthplace of the 12-step program. 353

110. There are many different models for expanding access to OUD treatment within the Communities, and
     this remains an area of rapid growth and program evaluation nationwide. For example, Office-Based
     Opioid Treatment (OBOT) allows for physicians completing a waiver program to prescribe buprenorphine
     for OUD within primary care settings; the Medicaid Health Home Model integrates MAT and behavioral
     health treatments with primary care for people with OUD; and the Hub-and-Spoke Model triages patients
     between primary care clinics for the treatment of uncomplicated OUD (the “spokes”) and centralized
     clinics equipped to care for patients requiring methadone or whose complex behavioral and medical needs
     exceed those routinely provided in primary care settings (the “hub”). 354 Other models are based on ED
     Bridge Programs as described in Section 2A.355

111. Models that rely more heavily on telemedicine for MAT supervision are also increasingly common, given
     the ongoing COVID-19 pandemic. For example, my colleagues and I estimated a 7,360% increase in the
     prevalence of telemedicine visits for OUD from April to June of 2020 compared to the same timeframe in
     2019. 356 Beyond the pandemic, telemedicine may increase the accessibility of MAT and treatment
     retention by overcoming transportation barriers as well as making MAT more available in settings where
     there are shortages of health care providers. Of course, despite the potential benefits of telemedicine, there
     are several reasons that it may not be a suitable means of clinical care for particular individuals, such as
     those uncomfortable with the technology or with complex comorbid illness where face-to-face evaluation
     may be especially important.

112. Treatment programs differ along many dimensions, such as the degree to which they focus on the delivery
     of pharmacotherapy, behavioral services, care integration, and community-based education or outreach.
     It is important that some programs are designed to deliver care to individuals who have initiated MAT, or
     “induction,” in low-barrier settings such as syringe services programs or EDs, given that the
     marginalization and social isolation of some of these individuals increase their likelihood for relapse or
     treatment discontinuation. The optimal program for a given city or county will depend upon a variety of
     different factors including the adequacy of the primary care and specialty workforce, urbanicity, and
     existing infrastructure devoted to addiction treatment.

113. Most individuals with OUD who are entering treatment can be managed either in an ambulatory or
     intensive outpatient (IOP) setting, although initial evaluation and appropriate triage is important so as to
     optimize each individual’s likelihood of successful treatment and recovery. IOP programs typically
     provide for several hours of patient engagement four to five days per week for a period of several weeks,
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       and may include services ranging from individual, group and/or family counseling to case management to
       vocational training and employment services.357 A minority of individuals with OUD require inpatient
       hospitalization for initiation of treatment, such as when acute illness (e.g., pneumonia or soft tissue
       infection), advanced comorbid disease (e.g., heart failure or liver failure) or uncontrolled psychiatric
       illness (e.g., bipolar affective disorder) makes ambulatory or IOP treatment unfeasible.

114. Additionally, there is a subset of individuals who require intensive care due to their co-occurring mental
     health conditions and other factors, such as recurring incarceration and/or homelessness, which complicate
     their treatment. For these individuals, the Assertive Community Treatment (ACT) model has been shown
     to be effective in improving their treatment outcomes and ultimately cost-effective to the community
     overall. 358 , 359 , 360 , 361 , 362 , 363 Through this model, an interdisciplinary team with a psychiatrist, two
     psychiatric nurses, two employment specialists, q two SUD specialists, a peer recovery coach, an
     administrative program staff, and social workers or other masters or doctoral level professionals, work
     with clients to provide comprehensive and intensive services. 364 These services include assistance with
     activities of daily living, substance use and mental health treatment, employment support services and
     developing other recovery skills, administration and monitoring prescriptions, and provision of
     interventions with support networks as needed.

115. In Lake County, Lake-Geauga Recovery Centers offer residential treatment programs.365 In 2019, 171
     county residents were served by the residential treatment supportive housing programs. 366 During this
     time, 52% of women and 57% of men completed residential treatment, meeting all treatment milestones.
     This rate of completion is higher than the national average of 40% to 44%. 367 Additionally, the majority
     of individuals who completed residential treatment, maintained sobriety a year after completing residential
     treatment.368 In Trumbull County, Compass Family and Community Services provides ACT and other
     residential treatment services. 369 Meridian HealthCare also provides comprehensive OUD treatment
     including withdrawal management, residential treatment, and supportive housing. 370,371

116. Components of abatement interventions. In conjunction with support to efficiently connect individuals to
     treatment as described in Section 2A, treatment capacity and infrastructure in Lake and Trumbull Counties
     should be expanded to meet the needs within the Communities. Individuals with OUD in the Communities
     should have timely access to appropriate treatment based on their need, whether ambulatory, IOP,
     residential, or inpatient care. It is crucial that individuals with OUD receive high-quality care to maximize
     retention and outcomes. Additional efforts should also focus on reaching and providing treatment to
     vulnerable populations such as adolescents, individuals both within and newly released from the criminal
     justice system, and individuals who are homeless. Since such individuals are less likely to utilize
     ambulatory practice for preventive or chronic care needs, interventions such as mobile health care teams
     can serve an important role in increasing access to and continuity of care. The Communities should also
     continue to scale telehealth services for MAT induction and continuation, 372 in part given the rurality of
     Trumbull County. ACT teams should also be supported within the Communities to improve treatment
     outcomes for hard-to-treat individuals.

117. In conclusion, abatement programs within the Communities should include further investments in the
     treatment system so as to allow for the provision of additional comprehensive, coordinated high-quality
     care for individuals with OUD, including access to services for the identification and management of
     acute, chronic and preventive care needs.373 Only a minority of residents who could benefit from treatment
     are receiving it, and more must be done to connect individuals to appropriate services. Such investments
     should also be targeted at each specific point where gaps occur or individuals otherwise experience
     unacceptably high rates of relapse or loss to follow-up, ranging from the identification and triage of

q
    I do not include employment specialists in my Redress Models as I consider these services to be subsumed in Section 3C.
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patients after non-fatal overdose to the expansion of induction and IOP programs to the provision of
compassionate, evidence-based care for individuals living in recovery.




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C. Managing Complications Attributable to the Epidemic
The goal of this abatement remedy is to provide unfettered access to high quality, longitudinal, compassionate
and comprehensive treatment to individuals in the Communities with OUD who have complications from the
disorder. Such complications include chronic infectious diseases, such as hepatitis C (HCV) or HIV, acquired
through the sharing of needles during injection drug use, as well as endocarditis and valvular heart disease,
complications from blood-borne bacterial infections that can seed the heart valves and cause significant
morbidity and mortality.

118. An estimated 4.1 million people in the U.S. are infected with HCV 374 and 1.1 million are infected with
     HIV, with about 25% of HIV cases co-infected with HCV.375, 376 Individuals that are co-infected with HIV
     and HCV have a greater risk for chronic liver disease and liver-related death than individuals living with
     HIV alone. While studies suggest only a small proportion of individuals with non-medical opioid use
     progress to heroin,377 there are nevertheless millions of individuals who report such non-medical opioid
     use in the United States. Injection drug use (IDU) is a primary risk factor for the acquisition and
     transmission of both HCV and HIV, and the opioid epidemic has resulted in a sharp increase in both of
     these diseases. From 2012 to 2016, the CDC estimated acute HCV infections increased by approximately
     70%,378 and states with the highest rate of new HCV infections, such as West Virginia, Kentucky, and
     Tennessee, were also among those that have been hardest hit by the opioid epidemic. 379 Several studies
     have reported significant associations between the opioid epidemic and HCV. 380,381

119. In 2019, 148 Ohioans were diagnosed with HIV associated with injection drug use, representing 15% of
     all new HIV diagnoses.382 In the same year, only 7% of new HIV diagnoses in the United States were
     among PWID. Within the subregion of Ohio that contains Trumbull County, fewer than half (43%) of
     people living with HIV were linked to care within 30 days of diagnosis in 2019; in Ohio overall, nearly
     three in four (74%) people newly diagnosed with HIV were linked to care within 30 days. 383 In 2019,
     10.8% of people living with diagnosed HIV in Lake County acquired HIV due to injection drug use. 384

120. One example of a microcosm illustrating the interconnectedness of the opioid epidemic and HIV and HCV
     infections was seen in rural Scott County, Indiana. In 2015, this rural county experienced a community
     outbreak of HIV, and by April 2016, there were 188 confirmed cases of HIV infection, of which 92%
     were coinfected with HCV. 385 The Indiana State Department of Health led an investigation into this
     outbreak and determined it to be linked to the injection of the prescription opioid oxymorphone. 386 This
     outbreak also highlighted the vulnerabilities of communities to handle these crises. r Based on the criteria
     established by the CDC, Lake and Trumbull Counties are considered at-risk of an HIV outbreak and are
     already experiencing an HCV outbreak associated with injection drug use. 387

121. Individuals in the Communities with OUD should be targeted for HCV and HIV screening and referral,
     since the effectiveness and cost-effectiveness 388 of screening for HCV and HIV is well-established. There
     are many opportunities for screening individuals with OUD, including at EDs, residential or outpatient
     treatment facilities, syringe services programs, and jails and prisons. In particular, efforts should be
     focused on screening individuals who inject drugs and share injection equipment. The CDC recommends
     such individuals be tested for HIV annually;389 HCV screening should also be performed annually and
     jointly with HIV screening,390 allowing for the effective use of existing infrastructure and resources to
     address both diseases. Additionally, integrating HCV and HIV testing and counseling programs may
     reinforce prevention education messages to reduce risky behavior among high-risk populations such as
     PWID.391

r
 Of note, NIDA cites the implementation of a syringe services program as a major factor helping to bring this HIV outbreak under
control. (Available at: https://www.drugabuse.gov/about-nida/noras-blog/2016/12/syringe-exchange-programs-are-part-effective-
hiv-prevention)
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122. It is crucial that HCV and HIV screening is effectively linked to post-test services and support including
     treatment and counseling, since the performance of screening without proper and effective referral
     channels could lead individuals to miss out on timely initiation of prophylaxis and treatment, which may
     accelerate disease progression and lead to an increased transmission rate within the community. The
     safety and effectiveness of HCV treatment has improved markedly during the past few years with several
     new FDA-approved medications. Current HCV treatments usually require just 8 to 12 weeks of oral
     therapy and can cure over 90% of patients with few side effects. 392 Early HCV treatment helps to prevent
     or limit the development of cirrhosis, lowering the risk of developing liver cancer, liver failure, and other
     complications in addition to limiting the risk of HCV transmission to sexual partners or children,
     increasing survival, and improving quality of life.393 As a result, HCV treatment is cost-effective.394,395
     However, patients can be re-infected with HCV, reinforcing the need for SSPs to be easily accessible to
     prevent the spread of HCV.

123. Timely HIV treatment is also important as it significantly improves survival and quality of life, limits HIV
     transmission, and slows the progression of the disease. 396 HIV is a chronic condition that currently requires
     lifelong treatment and monitoring, and as a result, continued treatment services are critical as lapses in
     care could lead to suboptimal outcomes and continued HIV transmission. 397

124. Endocarditis is another rare but serious complication of OUD and has long been regarded as one of the
     major causes of morbidity and mortality among those who inject drugs. 398 Infective endocarditis (IE), or
     infection and inflammation of the heart valves and lining of the heart chambers, is caused by bacteria
     entering the blood stream and attacking heart valves. Acute endocarditis is especially severe and common
     among PWID and often results in additional infection, or septic emboli, of the kidneys, lungs, and brain. 399
     In one recent report, hospitalizations for endocarditis increased twelve-times among individuals with drug
     dependence in North Carolina between 2010 to 2015; one-third of individuals were infected with HCV
     and the average cost of each hospitalization exceeded $50,000.400 In another report using the Health Care
     and Utilization Project National Inpatient Sample (HCUP-NIS), the proportion of IE-related
     hospitalizations that were attributable to IVDU increased from 7.0 to 12.1% between 2000 and 2013,
     which the authors noted “appear to mirror those of the intertwined prescription opioid, heroin, HCV, and
     overdose epidemics throughout the country.”401 These findings are important because of the morbidity
     associated with the disease, with estimates of in-hospital mortality as high as 11 to 26% and 5-year
     mortality as high as 12 to 50%.402,403,404 Compared to IE patients that did not inject drugs, PWID with IE
     have a significantly higher likelihood of open cardiac surgery, longer hospital stays and nearly 1.5-times
     higher hospital costs.405 Additionally, a study from Boston, Massachusetts found that despite PWID being
     younger and having fewer cardiovascular risk factors than non-PWID with IE, PWID patients had nearly
     a four-times higher risk of valve-related complications.406 Among individuals with IE involving the right
     side of the heart, injection drug use was noted among approximately one-third (29.5%) of individuals in
     a literature review of 262 individuals from 2008 to 2013. 407

125. One nationwide study found the overall incidence rate of IE associated with IVDU increased over 250%
     between 2009 (30 per 10,000 cases) and 2016 (79 per 10,000 cases). 408 Another study at The Ohio State
     University Wexner Medical Center, found a 436% increase in IE cases associated with IVDU, from 33 to
     177 between 2012 and 2017.409,410 The majority of these cases were due to heroin IVDU. Nearly half
     (49%) of the patients were re-hospitalized and 40% relapsed; between 2012 and 2017, the death rate
     increased from 9% to 25%.411

126. Endocarditis treatment initially requires inpatient hospitalization and intravenous antibiotic
     administration. In some cases, the damage to the heart valve is so severe that it must be replaced surgically.
     Unfortunately, complications such as lack of response to antibiotics or embolization that causes strokes
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    may occur, and also prove fatal. These cases pose a high burden on hospitals in the Communities because
    of their social and clinical complexity and because of the very high risk of rehospitalization if IVDU is
    not discontinued. However, hospitalization represents an opportunity for delivery of addiction counseling,
    enrollment in treatment, and education on harm reduction strategies.

127. Many barriers will have to be overcome to consistently provide high quality, longitudinal, compassionate
     and comprehensive treatment to individuals with complications from OUD such as those described above.
     For example, one study surveyed 333 patients living with HIV between 2007 and 2008 to examine barriers
     to support service use and factors associated with need and unmet need for services. 412 The analysis found
     that 71% of patients reported needing at least one supportive service. Barriers to accessing such services
     included lack of information (47% reported not knowing where to go or who to call); administrative
     burdens (33% reported the system too confusing and/or the wait list too long); and financial or logistical
     barriers (18% reported treatment too expensive and/or transportation problems). A survey of individuals
     with HCV, including some also with HIV, between November 2013 and July 2015, found that over 93%
     of participants wanted HCV treatment but approximately half were unable to spend anything out of pocket
     for their treatment.413 In addition to cost, participants also reported that access to medications and provider
     reluctance delayed treatment initiation.

128. Components of abatement interventions. Proactive surveillance, screening efforts, and treatment for
     complications attributable to the opioid epidemic should be supported in Lake and Trumbull Counties.
     Based on the scientific evidence for HIV and HCV prevention and treatment, all individuals with OUD,
     especially those who inject drugs, should be screened annually for HIV and HCV. Additionally,
     individuals who test positive for HIV or HCV, or have acquired HIV or HCV because of the opioid
     epidemic, should receive comprehensive health care for their disease. This not only includes medications
     for HIV or HCV, but also care for other associated acute, chronic and preventive needs. In addition to
     intravenous antibiotics and other direct clinical care, those with infectious endocarditis attributable to the
     opioid epidemic should also be linked with OUD treatment and recovery services upon hospital discharge.

129. In conclusion, the opioid epidemic has had many ripple effects, and transmission of HIV and HCV among
     people who use drugs has flourished in settings such as Lake County and Trumbull County due to
     increases in the number of individuals with OUD. Fortunately, HIV and HCV are well understood
     diseases, and effective treatments, and in the case of HCV, curable ones, exist. Many barriers must be
     overcome to achieve the widespread screening and treatment that is required to abate these elements of
     the opioid epidemic within the Communities, and individuals with other costly and complex sequela of
     the epidemic, such as infectious endocarditis, also require special clinical care, coordination and support.
     As with other programs proposed in my abatement plan, these components have a favorable return on
     investment and will help individuals avoid preventable adverse events related to these infectious diseases.




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D. Workforce Expansion and Resiliency
The goal of this remedy is to expand the healthcare workforce, since the Communities benefits from well-
trained healthcare professionals who are equipped to deliver services for those living with chronic pain and/or
OUD. The workforce must be trained and equipped to meet the needs of residents in the Communities, and to
provide evidence-informed services to address the social and medical harms associated with the opioid
epidemic.

130. Workforce training and expansion. A well-trained healthcare workforce is central to any program to
     address prevention and treatment of OUD and other morbidity and mortality arising from the opioid
     epidemic. Also, workforce expansion is a necessary, readily-overlooked component of any effort to build
     treatment infrastructure.414 A well-trained workforce can follow evidence-informed guidelines for pain
     treatment, can help to provide medication for OUD treatment,415 and can address a variety of health needs
     arising from the opioid epidemic. Complementary mechanisms can help to prepare the workforce,
     including greater training through existing graduate health professional education programs (Section 1A),
     as well as capacity-building through expansion of existing infrastructure and the creation of new programs
     for health care professionals and paraprofessionals.416

131. Workforce assessment. Given the scope of the challenge, the Communities should consider a systematic
     workforce assessment to determine gaps in the available supply and core competencies of the clinical and
     social service workforce available to address the opioid epidemic. Such an assessment would explore the
     available supply of managerial and administrative professionals, nurse and medical practice leaders, social
     workers and case managers, recovery coaches and paraprofessionals available to assist people with OUD.
     The assessment would explore the workforce’s core technical and cultural competencies regarding
     pertinent OUD treatment and service interventions.

132. MAT providers. Across the U.S., many providers do not prescribe buprenorphine to their maximum
     patient limit. Additionally, providers may not be evenly dispersed and accessible across Lake and
     Trumbull Counties. Measures to address known organizational barriers and to improve provider
     confidence and expertise in addressing addiction may be helpful in addressing these challenges. For
     example, some communities have found success in establishing comprehensive clinics where community
     providers can dedicate time to seeing patients for addiction treatment that is distinct and separate from
     their regular practice.417 Although such an effort continues to segregate addiction care, in some settings
     it has increased provider capacity and given support to health care professionals. Greater deployment of
     nurse practitioners with primary care expertise may also help to expand patient access to MAT. 418

133. Pain specialists. Any workforce assessment can also help to evaluate the level of community need for
     additional pain specialists. Such individuals may include both physicians and non-physicians who are
     well trained, highly experienced and knowledgeable about integrative care that combines pharmacologic
     and non-pharmacologic treatments for pain. This is particularly important within the Communities, where
     the average age of the population is older than the rest of Ohio. 419, 420 Additionally, a study of 356
     individuals with OUD in Dayton, OH, found that over half (55.9%) report chronic pain, 421 highlighting
     the need to treat chronic pain with alternatives for prescription opioids for individuals with OUD.
     Furthermore, the Lake County Community Health Improvement Plan noted that men in the labor,
     maintenance, and trade occupations are at a higher risk of drug overdose death. 422 Given the increased risk
     of injury and chronic pain associated with these occupations and high prevalence of chronic pain among
     older populations, it is clear that there is a need for additional specialists to treat pain and reduce the
     reliance on prescription opioids.



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134. Compassion Fatigue and Workforce Resiliency. Compassion fatigue has been referred to as the “cost of
     caring” with symptoms that mirror post-traumatic stress disorder. 423 Repeated exposure to traumatic
     experiences, such as multiple overdoses and overdose-related deaths among young people, impact
     emergency responders emotionally, behaviorally, interpersonally and physically. Compassion fatigue and
     burnout result in increased turnover and decreased empathy. A survey of behavioral health and emergency
     preparedness responders found that nearly three in four (72%) were at risk of compassion fatigue and
     nearly one in five (19%) were at risk of burnout.424 Importantly, fewer than one in four (22%) had high
     resilience, which is associated with decreased likelihood of compassion fatigue and burnout. Programs to
     build resilience, self-efficacy and a supportive social network among first responders are crucial to
     promoting a safe and healthy community. The City of Huntington’s Compass project serves as one such
     program; it focuses on developing tools and a foundation to cope with high-stress situations, such as self-
     care skills, wellness resources, and nutrition and exercise. 425 A literature review of 25 studies assessing
     interventions to reduce burnout found that a combination of person-level (e.g., mindfulness, self-care,
     coping) and organization-directed interventions (e.g., professional support systems or “buddy systems,”
     workplace policies) found positive effects and reduced burnout lasted for at least one year, whereas the
     positive effects of person-level interventions alone lasted for only six-months. 426

135. Components of abatement interventions. As noted in the local Community Health Improvement Plans,
     there is a need to expand the healthcare workforce within Lake and Trumbull Counties. There are four
     major components to an expanded health care professional and paraprofessional workforce: (1)
     conducting a workforce assessment to determine key staff and training needs in the Communities; (2)
     expanding the number of MAT providers; (3) expanding the number of medical social workers (4) creating
     and expanding programs that address burnout/compassion fatigue. Medical social workers should be
     expanded and incorporated into EDs within the Communities, where they can assist in linking individuals
     to treatment and community resources. In order to maintain the workforce resiliency within the
     Communities, compassion fatigue programs should be made available for first responders and
     professionals whose clients have OUD or are affected by the opioid epidemic such as nurse practitioners.

136. In conclusion, an effective response to the opioid epidemic must include investments in the Communities’
     healthcare workforce to address prevention as well as evidence-based pain and OUD treatment. The
     workforce must include medical social workers in order to provide wrap-around services and address the
     psychosocial needs of individuals with OUD and their families. Finally, programs should be supported
     and deployed to ensure the resiliency of the current and future workforce.




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E. Distributing Naloxone and Providing Training
The goal of this remedy is to expand upon and support the efforts of the naloxone distribution and training that
is currently being done in the Communities. This is important because naloxone is an opioid antagonist, or
"blocker,” that can save lives by safely and rapidly reversing opioid overdoses. However, its costs, stigma, and
other barriers have historically limited accessibility to those in need.

137. Naloxone works by binding to opioid receptors and blocking respiratory depression and other effects of
     prescription opioids and heroin, or illicit fentanyl, if someone has opioids in their system. It comes in three
     FDA-approved formulations: injectable, autoinjector delivered, and nasal spray (“Narcan”). Though
     injectable naloxone is the least expensive, use of the injectable formulation requires professional training.

138. Naloxone is a non-scheduled prescription medicine rather than a controlled substance, and there is
     widespread consensus that naloxone distribution and training represent an important method to reduce
     opioid-related overdose.427 In a randomized controlled trial, intranasal naloxone reversed heroin overdose
     successfully in 82% of patients,428 and naloxone distribution and training programs have also shown over
     80% effectiveness at reversing overdoses in community settings. 429,430 In a systematic review of take-
     home naloxone programs for individuals likely to witness an opioid overdose, naloxone was associated
     with successful overdose reversals in 96.3% of the patients (2,249 successful overdose reversals among
     2,336 administrations).431 It is important to note that there is no evidence to support that naloxone use
     encourages and enables drug use.432,433

139. Many other community-level evaluations have been performed. For example, a study of 19 geographically
     distinct cities and towns in Massachusetts found that opioid overdose death rates were 27% to 46% lower
     in communities where overdose education and naloxone distribution had been implemented. 434 A study
     of a naloxone distribution program in North Carolina suggested that counties in the state that distributed
     naloxone kits had a 10% to 12% lower opioid overdose death rates compared to their counterparts,
     avoiding 352 overdose deaths between 2013 to 2016. A recent study found that states that allow direct
     dispensing of naloxone by pharmacists (or, “direct authority”) were associated with a significantly reduced
     rate of fatal opioid-overdoses.435 Public lock boxes, similar to boxes with automated external defibrillators
     (AEDs), containing naloxone have been implemented in Rhode Island and Ohio, and are one method to
     ensure community access of naloxone where overdoses may frequently occur (e.g., libraries). 436

140. Within the Communities, naloxone distribution and training are provided through Project DAWN (Deaths
     Avoided With Naloxone).437 Through this program, participants receive a take-home naloxone kit and
     training on: recognizing the signs and symptoms of an overdose; distinguishing different types of
     overdoses; performing rescue breathing; contacting emergency medical services; and administering
     intranasal naloxone. From my discussion with Lauren Thorp, I learned that this program received publicity
     when it was first implemented in the Communities. Additional outreach and media coverage must continue
     to ensure its use and attendance by community members. Between 2017 and 2018, Trumbull County
     distributed over 800 take-home naloxone kits to community members through Project DAWN. 438

141. Despite its benefits, naloxone distribution and training will have a finite impact on the opioid epidemic.
     Not all overdoses are witnessed by someone willing and able to administer naloxone. In addition, the long-
     term public health impact of naloxone programs depends on what happens after an overdose is
     successfully reversed. 439 For example, successfully revived individuals remain vulnerable to future
     overdose and death, and individuals who overdose once have escalating risks of future overdoses. After
     naloxone, individuals may temporarily or permanently abstain from use, continue as active users, obtain
     addiction treatment, overdose again, or die of other causes. Naloxone distribution must be accompanied
     by direct training, and its role in reversing overdoses should also be considered for inclusion in educational

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     campaigns. Ultimately, the outcomes of an overdose reversal depend upon the availability and
     comprehensiveness of OUD treatment, other mortality risks, and background factors. These factors
     underscore the importance of a comprehensive abatement approach.

142. Components of abatement interventions. Efforts to support naloxone distribution, training, and use can be
     categorized in four distinct channels in Lake and Trumbull Counties.s First, first responders, such as law
     enforcement officers, firefighters, and paramedics and emergency medical technicians (EMTs), should be
     provided with naloxone and training, since these individuals often serve as the initial point of contact with
     those who have overdosed. Second, EDs within the Communities should have sufficient naloxone doses
     for hospitalized overdose cases and doses to expand access to take-home naloxone once patients are
     discharged. Third, high-risk patients, such as those who are maintained on chronic, high-dose prescription
     opioids or who have already experienced a non-fatal overdose, should be prescribed naloxone and trained
     on how to administer it. Such individuals can be reached through ambulatory and community-based
     programs, or as is already done by the QRTs in Lake County and Newton Falls, on follow up visits after
     an overdose. In many cases, such training should also include their social network, caregivers, and/or
     family members, given the likelihood that these individuals would be most likely to respond to an
     overdose. Another group of high-risk individuals who should receive naloxone are individuals who have
     OUD and were recently incarcerated and upon release from incarceration. For example, a study in North
     Carolina examined the difference in opioid overdose death rates between former inmates and general
     residents found that former inmates were 40 times more likely to die of an opioid overdose than someone
     in the general population.440 Finally, naloxone should be distributed throughout the Communities in public
     lock boxes, similar to automatic external defibrillators which are routinely available in movie theaters,
     malls, schools, airports, and houses of worship. This will improve the capacity of bystander rescuers to
     save the lives of opioid overdose victims.

143. In conclusion, abatement programs within the Communities should ensure that naloxone is readily
     available to all in need, including first responders and high-risk patients, as well as distributed effectively
     in public spaces. Naloxone distribution should be accompanied by direct training, and its role in reversing
     overdoses should also be considered for inclusion in educational campaigns as discussed elsewhere herein.
     Community outreach and media campaigns should be continuously run to increase awareness and
     knowledge of naloxone availability and training.




s
 Additional formulations and continued innovation in the naloxone market are likely, and abatement remedies should remain flexible
to keep pace. For example, a new naloxone formulation may be developed that has a significant comparative advantage over currently
available formulations.

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CATEGORY 3: RECOVERY – ENHANCING PUBLIC SAFETY AND REINTEGRATION
A. Public Safety
Law enforcement officers are in a key position to help reverse the opioid epidemic in the Communities as they
respond to overdoses and engage in public health oriented policing interventions. Despite this, police
departments, as with other local agencies, have been stretched thin because of the demands of the opioid
epidemic, diminishing their ability to address other public safety needs. The abatement interventions proposed
in this report, combined with the expansion of social workers and mental health personnel in the Communities,
will address or prevent many of the calls that police and other first responders currently have to respond to.
However, in addition to expansion of treatment and mental health services, there is also a need for a greater
number of specialized detectives who can focus on the opioid epidemic, as well as stigma reduction training
and pretrial diversion, that can equip the broader police force responding to it.

144. Training to reduce stigma. Since law enforcement officers are often the first responders to an overdose, it
     is important to support law enforcement within Lake and Trumbull Counties to have the training and
     confidence to appropriately respond.t Similar Crisis Intervention Team (CIT) training has been conducted
     extensively throughout the Communities, including 11 Police Departments throughout Trumbull County,
     the Trumbull County Sheriff’s Department, and the City of Mentor Police Department in Lake
     County.441,442 While not focused on opioid overdose per se, CIT training for officers to reduce stigma
     related to behavioral health crises has been effective at improving officers’ attitudes toward individuals
     with mental health issues 443,444 and self-efficacy in handling these calls. 445,446 Such training has also
     reduced arrests and use of force,447 and increased referrals for services during a mental or behavioral health
     crisis. 448,449 Such training, which should be repeated at regular intervals, may reduce stigma by law
     enforcement towards people with OUD, increase the likelihood that individuals will call 911 for help, and
     improve referrals for services and/or treatment.

145. Pretrial Diversion. Pretrial diversion, sometimes referred to as Law Enforcement Assisted Diversion
     (LEAD), offers eligible individuals who would otherwise be arrested for drug-related charges the
     opportunity to instead access community-based services and/or treatment. 450 These programs are unique
     in that they occur pre-booking so that if an individual who qualifies for the program chooses to enroll,
     they do not have an arrest on their record if they complete program requirements. Qualifications are
     typically based on having committed a low-level drug offense and factors such as the amount of drugs
     possessed, absence of any intent to distribute, absence of disqualifying criminal history such as violent
     crime, and are determined by a social worker/mental health professional that is embedded in the police
     department.451 Thus, in contrast to drug courts, LEAD participants never enter the criminal justice system
     and they are enrolled in the program instead of being charged with a crime. Diversion programs reflect
     partnerships between law enforcement and local behavioral health systems to enroll individuals in
     appropriate services. u LEAD pretrial jail diversion programs are designed to expedite treatment for
     individuals with substance use disorders while reducing strain on the criminal justice system.

146. Seattle created the first LEAD program and early evaluation results suggest improved outcomes for
     participants including housing, employment, and reduced recidivism. 452 , 453 For example, LEAD
     participants with suspected low-level drug offenses had fewer arrests and felony charges, shorter jail time,
     and less interaction with the legal and judicial system.454,455 Additionally, participants were twice as likely
     to have been sheltered, 90% more likely to have permanent housing, and almost half were either employed

t
  Law enforcement officers within prisons and detention centers should also undergo similar training, given high rates of stigma in
these settings as well.
u
  Such programs extend and formalize informal diversion that may take place when, for example, law enforcement bring an
individual who overdosed to an Emergency Department rather than detention facility for evaluation, treatment and referral to
treatment.
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    or in vocational training. 456 Despite differences in state laws and client intake processes, there are
    examples of successfully implemented LEAD programs, modeled after Seattle’s experience. 457 For
    example, a West Virginia LEAD program reports that half of the individuals contacted by the LEAD
    program have entered some form of treatment. 458 Since approximately half of inmates will re-enter
    custody despite currently available rehabilitation opportunities, 459 LEAD programs are one important
    means of reducing the rate of individuals with low-level drug offenses from being incarcerated and
    addressing environmental factors that contribute to repeat offenses among individuals with OUD. As with
    CIT training, law enforcement officers require training that should be repeated at regular intervals to
    maximize their familiarity and expertise with the conduct of LEAD. As of December 2019, West Virginia
    LEAD programs have diverted more than 250 people from the criminal justice system; 66% percent of
    program participants have not been re-arrested. 460

147. Specialized opioid units. Some police departments have created specialized units to address the opioid
     epidemic. These units, such as one in Cleveland, Ohio, 461 are often comprised of detectives, sometimes
     within homicide or narcotics units, who work to link together overdose incidents across the city by
     identifying similar contacts, sources, dealers or other features between overdose events. These units treat
     sites of overdoses as crime scenes and work to track back to dealers and build cases for prosecution to
     bring down higher level supply sources for opioids.462 The optimal specific size and composition of these
     units, as with other components of an effective law enforcement response to the epidemic, will depend
     upon many features of the local community, including the size and urbanicity of the jurisdiction as well
     as the burden of prescription opioids, heroin, and illicit fentanyl.

148. Components of abatement interventions. LEAD programs should formally be established in police
     departments in the Lake and Trumbull Counties in order to divert as many qualified individuals as
     possible. The optimal size of any LEAD program depends upon the size of the population served by a
     police department and the burden of the epidemic within the community. Additionally, police departments
     should create specialized overdose units to investigate and disrupt higher-level opioid trafficking. As with
     LEAD programs, the size of specialized opioid units will depend on local factors such as levels of drug
     trafficking and the size of population served by the police departments. It is important that police and
     correctional officers receive continuous stigma reduction training, so they are better prepared when
     interacting with individuals with OUD or who have overdosed.

149. In conclusion, law enforcement plays a vital role in an effective public safety response to the opioid
     epidemic, and abatement programs in the Communities should include resources to support a variety of
     different functions. While the specific needs of local law enforcement could extend beyond the areas
     identified above, at a minimum, resources should be committed to ensure adequate support training to
     reduce stigma, pretrial diversion, and one or more specialized overdose units.




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B. Criminal Justice System
The criminal justice system is a major thoroughfare for individuals with opioid addiction and represents an
opportunity to identify and link those individuals to treatment, reducing their risk of overdose and recidivism
while improving their societal reintegration. This remedy also focuses on ways that the criminal justice system
can positively impact the opioid epidemic in the Communities, such as by building upon the Drug Courts and
reentry programs in Lake and Trumbull Counties.

150. The opioid epidemic has burdened the U.S. criminal justice system with a surge of inmates, increasing
     health care costs associated with OUD and producing high rates of overdose and recidivism. Data from
     the Department of Justice suggest over half of the incarcerated population nationwide has a substance use
     disorder,463 approximately one in four state prisoners nationwide between 2007-2009 reported prior heroin
     or opioid use,464 and by some estimates, as many as one-fourth to one-third of individuals with heroin
     addiction are estimated to pass through the criminal justice system each year. 465 Similarly, a study of
     individuals with OUD in Akron, Ohio, found that nearly one-third (30.9%) of respondents had been
     incarcerated within the previous six months. 466 A 2015 intake study by the Ohio Department of
     Rehabilitation and Correction reports that four in five (80.3%) inmates reported recent substance use or
     treatment for substance use.467

151. Treatment for OUD. Nationally, fewer than 20% of individuals with substance use disorders in the
     criminal justice system receive treatment,468 and what treatment is received is often inadequate. According
     to the Federal Bureau of Justice Assistance, as of August 2017, only 30 of the 5,100 (0.6%) prisons and
     jails in the U.S. offered opioid users methadone or buprenorphine, 469 despite evidence that such treatment
     improves treatment entry and retention after release if arrangements exist to continue treatment. 470
     Because of this, induction facilities and access to MAT, as well as other treatments along the continuum
     of care, are important for those incarcerated in jails, prisons or juvenile detention facilities. While MAT
     should be made available to anyone with OUD, such treatments are especially important for high priority
     populations such as pregnant women with OUD and individuals already on MAT prior to incarceration.
     471
         Within the Lake County Adult Detention Center, the Jail Treatment Program is offered by Crossroads
     Health and is an intensive outpatient level of care. 472 In 2018, more than 350 individuals received
     treatment for OUD through the Jail Treatment Program.473

152. Drug courts. There is substantial evidence regarding the role that drug courts can play in diverting non-
     violent offenders from the criminal justice system to the treatment system, where their needs can be more
     effectively addressed. 474 These programs represent special court dockets that provide judicially-
     supervised substance use treatment in lieu of incarcerating individuals with drug-related offenses. The
     President’s Commission on Combatting Drug Addiction and the Opioid Crisis included a recommendation
     that the “DOJ [Department of Justice] broadly establish federal drug courts within the federal district court
     system in all 93 federal judicial districts.” Further, the Commission reported “States, local units of
     government, and Indian tribal governments should apply for drug court grants established by 34 U.S.C. §
     10611. Individuals with a SUD who violate probation terms with substance use should be diverted into
     drug court, rather than prison.”475

153. One of several sources of evidence to support the efficacy of drug courts is a comprehensive review
     commissioned by the U.S. Department of Justice that examined drug courts in the U.S.; the report, which
     was also supported by the Office of National Drug Control Policy (ONDCP) of the Executive Office of
     the President, found that the combination of comprehensive treatment services and individualized care
     provided by drug courts is an effective way to provide treatment to criminal offenders with substance use
     disorders. 476 A study conducted by the U.S. Department of Justice found that drug court participants
     reported less drug use, lower rates of positive drug tests, and fewer rearrests than comparable offenders

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    who did not participate in drug courts. 477 Though treatment investment costs are higher for individuals
    participating in drug courts, the reduced recidivism resulted in an average savings of $5,680 to $6,208 per
    offender. Additionally, a meta-analysis of 154 studies found that adult drug courts reduced drug-related
    recidivism from 50% to 37%.478

154. Reentry programs. Individuals released from prisons and jails face a multitude of issues that make their
     reintegration into the community challenging, including substance use or mental health problems and
     having no or little qualifications and skills that make them employable. 479,480 To address this issue, many
     jurisdictions in the U.S. have developed and implemented reentry programs that include substance use
     treatment, mental health services, transitional housing, education and job readiness assistance, and
     employment services.481,482 A study of young offenders aged 16 to 25 years enrolled in the Substance Use
     Treatment and Reentry (STAR) Program in Los Angeles found over 70% were still employed a year after
     initiating the program, self-reported arrests were below 15%, and there was a reduction in substance abuse
     among participants that reported drug use at intake.483 A study of Florida inmates between January 2006
     and December 2008, found that reentry and transitional substance use programs had some of the largest
     effects on increasing employment and reducing recidivism.484 In 2018, the Council of State Governments
     Justice Center, sponsored by the U.S. Department of Justice, released guidelines for “Best Practices for
     Successful Reentry for People Who Have Opioid Addictions” that describe efforts local agencies can
     implement to ensure successful reentry.485 Successful reentry programs must simultaneously assess the
     need for, and deliver to participants, supportive services and programs across a number of dimensions,
     including housing, education, employment, health and well-being, and family reunification and support. 486

155. Components of abatement interventions. Abatement efforts should focus on expanding the capacity of the
     Lake County and Trumbull County Drug Courts so that enough spaces are available to divert and treat as
     many qualified individuals with OUD as possible. Juvenile drug courts should also be expanded in the
     Communities to prevent the negative effects of early incarceration. For these efforts to be successful, the
     Courts must be equipped with a sufficient number of court dockets, support staff and wrap-around services
     including social workers and case managers. Additionally, all individuals (re)entering the criminal justice
     system should be screened for OUD and individuals who need treatment must receive appropriate care,
     including MAT, while incarcerated. Inmates released while still receiving treatment should be closely
     linked to agencies and organizations that provide treatment upon reentry to avoid lapses in treatment and
     suboptimal treatment outcomes. Moreover, individuals with OUD released from jails or prisons should be
     linked to existing reentry programs that provide transitional housing for those who are at a high risk of
     homelessness, social services, and jobs/vocational training. Efforts in the Communities should focus on
     expanding capacity to accommodate those in need of reentry programs and should invest in creating and
     expanding programs to provide comprehensive social services.

156. In conclusion, a large proportion of individuals with OUD, or who have otherwise been impacted by the
     opioid epidemic, come into contact with the criminal justice system each year, including within the
     Communities. Because of this, as well as the demonstrated benefit of interventions such as MAT, drug
     courts, reentry programs and jobs training for those with OUD, many further investments are needed. Such
     investments will not only be of direct benefit to the participating individuals, but also of broader societal
     benefit as they strengthen families, enhance community reintegration and help local areas hard hit by the
     epidemic to recover.




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C. Vocational Training, Education, and Job Placement
The goal of this remedy is to promote economic development to make gainful employment readily available
to individuals in the Communities with OUD or who have been otherwise impacted by the opioid epidemic.
This is important because of the complex but beneficial relationship between employment and recovery. 487

157. Jobs training and placement services for individuals with OUD. The opioid epidemic has been particularly
     profound in many parts of America that have simultaneously experienced significant economic decline,
     including Ohio communities such as Lake County and Trumbull County. While the relationship between
     economic hardship and opioid morbidity and mortality is complex,488,489 there is widespread consensus
     that jobs training is important for under- and unemployed individuals with OUD. 490 Unemployment is a
     significant risk factor for substance use and relapse, and OUD is itself a significant employment barrier,
     yet not491 a qualifying condition for federal disability programs. 492,493 Many people living with OUD face
     other employment barriers, including educational challenges 494 and co-occurring physical or mental health
     challenges, that may be addressed in vocational services, including those offered within addiction
     treatment. 495 For these reasons, comprehensive treatment programs, as well as diversion and reentry
     programs, often include vocational training and job placement. It is important that vocational training
     programs incorporate pre-employment preparation, gradually increasing hours and work responsibility,
     and ongoing support from counselors and peers. 496 Existing data suggest that vocational services within
     substance use disorder treatment are cost-effective, 497 though such programs face many barriers in
     creating successful paths to employment. Trials are now underway to explore the effectiveness of
     alternative models.498

158. Expanded job opportunities to meet local needs created or worsened by the opioid epidemic. There is also
     widespread consensus that the opioid epidemic itself has created new challenges with implications for the
     healthcare workforce within affected communities. These challenges may be met through proper training
     and deployment of health care professionals and paraprofessionals. Workforce needs span the spectrum
     from community health workers to case managers to child protection staff, social workers, nurses, and
     other professionals able to serve individuals and families directly affected by OUD. Some of these roles,
     such as peer navigators, can be effectively performed by individuals with lived experience of OUD. 499500
     Other roles can be filled by other residents in the Communities.

159. Recovery-supportive workplaces. Incorporating peer support and case management services, or mentor
     support within workplaces, have been linked to successful workplace reintegration. 501 Employers can
     foster workplace environments that welcome individuals in recovery, and that seek to reduce addiction
     stigma.502 Employers can anticipate and address predictable challenges employees may face. For example,
     they can make available onsite or telehealth counseling for both scheduled and on-demand recovery
     support. To reduce both absenteeism and missed appointments, employers can facilitate peer support
     groups designed around workers’ daily schedules. Work sites can openly support MAT, and ensure that
     health plans comply with the letter and spirit of mental health and addiction parity requirements which are
     intended to ensure proper access to Suboxone and other therapies. 503 Other measures, such as
     incorporating vocational rehabilitation counselors (i.e., peer recover coaches or case managers) can help
     ensure support for both workers and employers. 504

160. Accountability and safety measures. To be effective and sustainable, public workplace policies must
     address the needs and preferences of local employers. Such measures may include policies to promote
     drug- and alcohol-free workplaces. Accountability measures within recovery-supportive workplaces
     sometimes include drug testing and other measures to ensure safety in specific roles such as those
     involving operating heavy machinery. Although such policies might appear to disadvantage people with
     experience of OUD, evidence-based, transparent policies that address safety505 and productivity concerns

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    lessen employers’ incentives to implicitly or explicitly discriminate against job applicants and workers on
    the basis of substance use disorders.

161. Individualized employment supports. Many people living with co-occurring mental illness and SUD
     experience particularly severe employment barriers. These individuals may benefit from individual
     placement and support (IPS) models that include individualized long-term supports. A strong body of
     research supports the effectiveness of IPS in assisting individuals with serious mental illness to obtain
     competitive employment.506,507 Many participants in these randomized trials experienced co-occurring
     substance use disorders. Although the specific elements of such interventions vary, the IPS model includes
     several core elements, including being open to anyone who wants to work and focusing on employment
     within the competitive labor market rather than within a sheltered or segregated setting. To avoid the
     stigma of prolonged joblessness, IPS focuses on rapid job search integrated with other service
     interventions. Participants receive individualized long-term supports which, if necessary, are integrated
     with addiction or mental health treatment. Within randomized trials that compare IPS with usual
     interventions, IPS participants display higher employment rates and higher incomes, and appear to
     experience higher quality of life.508

162. Addressing obstacles to education and employment. Structural barriers exist that prohibit individuals in
     recovery from returning to education or gaining employment. One method to address this is through the
     use of scholarships that help pay for school or vocational training, in conjunction with mentorship while
     in school. Programs to support students that are at risk of dropping out of school, who share many of the
     challenges experienced by students recovering from substance abuse, have proven effective. For example,
     two randomized controlled trials have shown that the Accelerated Study in Associate Program – through
     academic, personal, and financial support – is effective at improving the graduation rate among low-
     income students that would otherwise be at increased risk of not completing their degree. 509 , 510 , 511
     Separately, “Ban the Box” is a program that addresses barriers to entering the workplace and has benefited
     individuals with lived experience in the criminal justice system. 512 These programs prohibit prospective
     employers from inquiring about an applicant’s criminal history on an initial job application; the term refers
     to the box that individuals are sometimes asked to check on an application as to whether they have a
     criminal record. Within the Communities, a modified version of “Ban the Box,” may balance the interests
     of employers and workers. For example, Lake or Trumbull County might prohibit requiring job applicants
     to supply information regarding arrests that do not result in convictions, misdemeanor convictions, or
     arrests for drug offenses that reflect personal use rather than more serious infractions. 513

163. Within the Communities, multiple efforts have been initiated to reach out to the business community.
     Operation Resolve is a program operated by Leadership Lake County, the Lake County ADAMHS Board,
     and the Lake County Opiate Task Force, which provides presentations to employers on substance
     misuse.514,515 Within Trumbull County, the ASAP Coalition works with local employers and the Chamber
     of Commerce to address barriers for individuals with SUD to both gaining and remaining in
     employment.516 Additionally, the COMPASS Family and Community Services organization offers job
     training and placement through the Workforce Development program. 517

164. Components of abatement interventions. Vocational rehabilitation programs should be supported within
     Lake and Trumbull Counties. An effective jobs and vocational training program should include jobs
     training and placement services specifically deployed for individuals living with OUD. Additionally,
     consideration should be given to expanding job opportunities for all residents of the Communities to meet
     local needs created or worsened by the opioid epidemic. Programs should incorporate skill assessment
     and training, linkage with education and support, mentorship, and problem solving and coping skills in
     order to respond appropriately to workplace stressors.

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165. In conclusion, an effective response to the challenge of OUD must include job opportunities and
     vocational training for members of the Communities. These efforts must include vocational services
     within substance use disorder treatment and related specific services for individuals living with OUD.
     These efforts should also include broader initiatives to serve all community residents to meet local needs
     created or worsened by the opioid epidemic.




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D. Mental Health Counseling and Grief Support
The goal of this remedy is to ensure that mental health services, including counselling for individuals with
mental illness as well as the bereaved, are available to all who may be in need within the Communities. This
is important because historically these services have not always been readily available within the Communities,
and yet the opioid epidemic has created unprecedented demand for such care.

166. The opioid epidemic has resulted in a high number of deaths among young people in Lake County and
     Trumbull County, which has impacted the mental health of individuals within the Communities. In
     addition to the pain of losing a loved one, addiction and trauma further complicate the grieving process.
     Grief support is necessary to help bereaved family members deal with questions that may include “Why
     did the person die from an overdose?” “Did the person intend to die?” and “Was the death preventable?”518
     Death of a loved one from an overdose may be especially difficult to process because of “disenfranchised
     grief,” resulting from lack of societal acknowledgement and support of a bereaved person’s loss. 519 Such
     disenfranchisement may be partly driven by stigma, including attitudes ultimately internalized by the
     bereaved that blame the decedent or their loved ones for the death. 520 Of course, grief is but one of many
     potential psychological impacts of the opioid epidemic on loved ones of those with OUD; friends and
     family members may also experience depression, dysthymia, anger, anxiety, post-traumatic stress, or other
     psychological sequela.

167. As discussed elsewhere in this report (Section 4A and Section 4C), children have also been uniquely
     affected by the epidemic and unfortunately, many children in the Communities have suffered adverse
     psychological sequela. Because of this, they too are in need of expanded, state-of-the-art mental health
     services. Children that have been exposed to trauma, such as parental substance abuse, separation, or
     death, can have difficulty in school due to problems thinking, learning, and concentrating; trust issues or
     difficulty forming attachment; lack of impulse control; or behavioral issues such as fighting or running
     away.521 Depression and anxiety also manifest differently in children than they do in adults, and may
     include symptoms such as irritability, changes in eating or sleep patterns, and self-injury or self-
     destructive behavior.522

168. One way to classify childhood trauma associated with the opioid epidemic are through adverse childhood
     experiences (ACEs), such as emotional neglect, loss of a parent or substance abuse within the household,
     that increase the likelihood of subsequent mental and physical health problems. 523 Specifically, ACEs
     disrupt neurodevelopment which results in socioemotional and cognitive impairment; this impairment
     results in maladaptive behaviors (e.g., the adoption of risky behaviors such as substance abuse) and later
     the development of disease, disability, or social problems. 524 A 2014 study of ACEs experienced by West
     Virginia adults found that nearly one in three adults experienced substance use in their childhood homes. 525
     The same analysis reported a dose-response relationship between the number of ACEs and depression;
     where one-fifth of adults that had one ACE also had depression, nearly half of adults with four or more
     ACEs reported depression. Trauma-informed mental health care can address some of these vulnerabilities
     by promoting coping and adaptive behaviors key to early neurodevelopment and the prevention of future
     morbidity and substance use. Additional protective factors to address ACEs are discussed in Section 1D
     and Section 4B.

169. Addressing mental health needs within the Communities is important to prevent future opioid use and to
     address harms caused by the opioid epidemic. As noted throughout this report (e.g., Section 1A and
     Section 2D), expanding services for pain management – including mental health counseling – is essential
     to reducing demand for opioids. Chronic pain and mental health disorders have a bidirectional
     relationship, where pain can worsen mental health, and vice-versa. 526 A population-based study of
     randomly selected adults, found that study participants with neck or back pain were 2.5 times more likely

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    to experience depression within the following 12-months. 527 Conversely, participants who were pain-free
    and had depression at the start of the study were four-times more likely to develop pain within 12-months
    than were participants who did not have depression at baseline. However, there are multiple barriers,
    including stigma, to accessing mental health treatment. A 2018 study found that, among those who were
    unable to access mental health treatment, 38% reported cost and lack of affordability, 21% did not know
    where to go for services, and 20% did not have adequate health insurance coverage for mental health
    services.528

170. Similar to many other areas in the U.S., the Communities have a shortage of mental health services for
     low-income individuals.529 However, with sufficient resources, there are programs that the Communities
     can use to address exposure to trauma and violence among children via the school system. For example,
     the Handle With Care program in West Virginia improves communication and collaboration between law
     enforcement, schools and childcare agencies and mental health providers. 530 The program also seeks to
     connect families, schools, and communities to trauma-focused mental health services. In particular, social
     workers embedded in schools are instrumental in delivering trauma-informed counseling and wraparound
     services to children and adolescents in the Communities.

171. Bereaved parents and family members often require additional support to process and address their
     “disenfranchised grief.” However, when they receive proper support in the years following a death due to
     substance use, many family members can attain “posttraumatic growth” following the traumatic event. 531
     Such growth occurs when positive psychological change results from exceptionally challenging life
     events. Grief support is key to facilitating this growth, where bereaved family members can process the
     complex emotions of stigma, guilt, anger, shock, and grief among individuals with shared experiences or
     understanding. While support networks may not be beneficial for everyone, it is important to have
     facilitators or counselors that can reorient individuals who may be “stuck” replaying memories or
     emotions from the past and identify new possibilities in life moving forward. 532 Within the Lake County,
     the Lake-Geauga Recovery Centers provide Grief Support Groups, which are offered at no cost to parents,
     spouses, partners, children, siblings, or friends recovering from the loss of a loved one to drugs and/or
     alcohol.533

172. Cognitive Behavioral Therapy (CBT) is the most frequently used psychological intervention for adults
     with chronic pain. Such approaches seek to improve mental health and well-being by identifying and
     changing maladaptive thoughts, emotions, and behaviors. Randomized trials of CBT for pain patients
     indicate that CBT can produce significant improvement in chronic pain and functional limitations. 534
     Many patients also benefit from mindfulness-based stress reduction, and from acceptance-based
     therapies,535 such as Acceptance and Commitment Therapy, that combines acceptance and mindfulness to
     promote psychological adaptability and behavior change. Clinicians and mental health counselors who
     treat children can provide most effective care when they receive additional training to address
     developmental needs within a trauma-informed approach. 536

173. Components of abatement interventions. The Communities should expand the availability of mental health
     counseling for individuals with chronic pain, children affected by the opioid epidemic, and bereaved
     family members. Grief support interventions should include a blend of support groups led by mental health
     counselors as well as one-on-one sessions with mental health professionals. Faith-based support groups
     may also benefit individuals and families in the Communities. Behavioral interventions for those with
     chronic pain include cognitive behavioral therapy and acceptance-based therapies, and professionals
     should be included on multidisciplinary pain management teams.



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174. In conclusion, abatement efforts within the Communities should provide for mental health counseling for
     children affected by the epidemic, individuals with chronic pain or current mental illness. Abatement
     should also include grief support services for bereaved family members. Providing mental health
     counseling within the Communities is necessary to address both the harms caused by the opioid epidemic
     and to prevent future opioid use from chronic pain and risk-taking or maladaptive coping behaviors among
     youth.




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CATEGORY 4: ADDRESSING NEEDS OF SPECIAL POPULATIONS
Many groups of individuals have been uniquely affected by the opioid epidemic, in the Communities and
beyond, including the homeless, pregnant women, children and adolescents, and families affected by the
epidemic. Other important subpopulations, such as women 537 or those living in rural areas,538 have also been
impacted in unique ways. While some abatement remedies, such as naloxone distribution and training,
generally need not be highly customized, there are other remedies that should be carefully designed with
specific populations in mind.

A. Pregnant Women, New Mothers, and Infants
This abatement remedy focuses on pregnant women and new mothers who have chronic opioid dependence,
opioid misuse or OUD, as well as infants born with neonatal opioid withdrawal syndrome (NOWS), a condition
among newborns that is a consequence of in utero exposure to opioids. (NOWS is also sometimes referred to
neonatal abstinence syndrome [NAS], although the latter is a less specific term that in certain contexts may
refer to in utero exposure to other substances such as alcohol or tobacco.) As with other special populations,
pregnant women, new mothers, and their newborns are important to consider because of the ways that
abatement remedies should be designed to address their unique needs and vulnerabilities. v

175. The opioid epidemic has severely impacted pregnant women, new mothers, and infants. Approximately
     15% of commercially insured women and 22% of women on Medicaid filled an opioid prescription during
     their pregnancy between 2000 and 2011. 539,540 This is important because the rate of NOWS has increased
     as opioid prescribing has increased. For example, in an analysis of hospital discharges from 2009 to 2012,
     the estimated rate of NOWS increased from 3.4 to 5.8 per 1000 hospital births nationwide. 541 A longer
     time horizon provides similar evidence, with estimates of the diagnosis of NOWS increasing from 1.2 to
     8.0 per 1,000 live births between 2000 and 2014 nationwide; during this time period, some states
     experienced as large as a ten-times increase.542

176. Both SAMHSA and the American College of Obstetricians and Gynecologists (ACOG) have provided
     similar recommendations for targeting and treating pregnant women and neonates impacted by the opioid
     epidemic, including with respect to prenatal screening for opioid use among women who are pregnant,
     MAT treatment for pregnant women with OUD, neonatal care for neonates born with NOWS, and
     residential transition programs for pregnant women and new mothers with OUD who have limited social
     supports.543,544 Though individual models may differ for the immediate and long term care of children and
     mothers affected by opioids, generally the most successful models incorporate: (1) dyadic or family-
     centered models, that provide direct care for both children exposed to opioids and medical and addiction
     care to help parents maintain recovery; (2) comprehensive pediatrics programs, with multidisciplinary and
     long-term care for children, linked with care for parents as needed; and (3) specific developmentally-
     focused pediatrics programs, that provide longitudinal developmental evaluations and support. 545
     Researchers and health providers have emphasized the importance of maintaining family relationships
     (i.e., family-centered treatment), which improves health and socioemotional outcomes for women and
     children.546,547

177. Prenatal screening. SAMHSA and ACOG strongly recommend screening pregnant women for substance
     use disorders including OUD. ACOG specifically recommends universal screening as part of obstetric
     prenatal care visits, and both suggest using validated screening tools such as the National Institute on Drug
     Abuse’s Quick Screen or Substance Use Risk Profile–Pregnancy (SURP-P). 548 Both organizations also
     suggest screening be incorporated into an algorithm such as SBIRT or STIR as discussed in Paragraph

v
  Additional testimony and evidence regarding these populations is provided by Dr. Nancy Young in her expert report; I
incorporate some of this evidence into my Redress Models for pregnant women, new mothers and infants.
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    #189.549 The decision to initiate MAT upon an initial visit, as compared with referral for follow-up care,
    should be informed by a number of factors, including the context of the visit, stability and preferences of
    the patient, and availability and likelihood of suitable follow-up.

178. MAT treatment. SAMHSA and ACOG suggest pregnant women with OUD be treated with MAT. This is
     partly due to concerns that other treatment approaches, such as abstinence, pose an increased risk of fetal
     injury or demise. MAT treatment should focus on the provision of buprenorphine and methadone, rather
     than naltrexone, since there is less information on how naltrexone may impact fetal development. Such
     treatment is important in custodial as well as community settings, and fortunately, the Maternal Opioid
     Medical Support (MOMS) Program provides MAT, medical, and behavioral health care to postpartum
     women.550

179. Neonatal care. Expression of NOWS is widely variable, though long-term complications may include poor
     neurological and motor development.551 Infants at risk of presenting with NOWS may require specialized
     care such as hospitalization within a neonatal intensive care unit, although it is difficult to predict the
     severity of withdrawal symptoms a given newborn is likely to have.552 For example, Lily’s place is one
     program in West Virginia, where babies with prenatal drug exposure who need additional treatment are
     discharged to Lily’s Place from the ICU for observational, therapeutic and pharmacologic care to ease
     withdrawal symptoms.553 Lily’s Place offers care in a community-based setting, using a team of peer
     recovery coaches, social workers, and health professionals that focus on preparing the infant to rejoin their
     families.

180. Residential transition programs. Pregnant women and new mothers also need stable environments for their
     own health, their babies’ health, and for the best chance for positive treatment outcomes. A stable
     environment includes long-term housing, child-care, access to transportation, all within a family-oriented
     and supportive environment. Some pregnant women with OUD will require residential treatment because
     of limited economic capital and/or serious medical illness or behavioral health needs. When possible, it is
     important to include additional members of the family (e.g., partner) in treatment or residential programs,
     because when family members progress through treatment, the short- and long-term outcomes for children
     and parents improve.554 In addition to recovery housing for families, additional step-down and transitional
     housing services need to be expanded in the Communities.

181. In Lake County, the Lake-Geauga Recovery Centers operates Nevaeh Ridge, a six-bed facility for
     pregnant women and women with children aged five years and under, who have SUD and receive
     outpatient services at Lake Geauga Recovery Centers’ Mentor Outpatient office. 555 Services provided
     include pre-natal care, individual and intensive group counseling, dual-diagnosis services, vocational
     training, and workforce preparation.

182. Psychosocial supports. The majority of pregnant women and new mothers with OUD have experienced
     significant traumas, such as a history of sexual assault and/or domestic violence. 556 Pregnant women and
     new mothers must be provided with psychosocial supports to cope with past traumas, the life-changes of
     a newborn, and progression through recovery in order to successfully remain in recovery. Women should
     also be taught life-skills and provided with job skill and education courses. Wrap-around services for
     pregnant women, new mothers, and infants such as, childcare for appointments, assistance with basic
     needs, and case management are crucial for treatment retention and success. Family navigators may also
     be used to provide intensive case management to each family, through a family needs assessment,
     individualized plan, and providing guidance through the available services and resources.

183. Components of abatement interventions. Existing efforts for universal prenatal screening and specialized
     care for pregnant women, new mothers, and infants should continue to be supported and expanded where
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    needed. Pregnant women who are diagnosed with OUD must receive adequate treatment and medical care
    as soon as possible, with continued treatment after they deliver. Additionally, all infants born exposed to
    opioids should receive developmental support through special education beginning immediately after
    birth. Pregnant women with OUD and new mothers of infants exposed to opioids should receive intensive
    biopsychosocial services and, if needed, housing. Lower intensity biopsychosocial services should be
    offered following the period of intensive biopsychosocial services.

184. In conclusion, abatement programs in the Communities should include resources for pregnant women,
     new mothers, and neonates impacted by the epidemic. Such resources are described more thoroughly by
     Dr. Nancy Young in her expert report, but generally should include: services to identify and treat pregnant
     women with OUD as early as possible; longitudinal services to support women and address modifiable
     risk factors throughout their pregnancy; clinical and behavioral interventions in the peri- and post-partum
     period; hospital and child welfare resources to comply with the Child Abuse Prevention and Treatment
     Act to ensure a plan of safe care is implemented for the infant and family or caregiver before the infant is
     discharged from the hospital; and follow-up services to optimize care for the mother-child dyad following
     hospital discharge, including the required developmental assessment for early intervention if the child is
     placed in out-of-home care. When possible, the entire family should receive treatment and family-
     strengthening interventions in order to promote long-term socioemotional health.




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B. Adolescents and Young Adults
The goal of this remedy is to address the direct impact of opioid use, addiction, and overdose on children,
adolescents, and young adults in the Communities, including prevention programs that delay initiation or
escalation of opioid use as well as screening and treatment programs that are customized to the unique needs
of these special populations.

185. Children and adolescents are uniquely vulnerable to the consequences of non-medical opioid use, and as
     the opioid epidemic has flourished, many children and adolescents have been exposed. In 2005,
     approximately 1.7 million (6.9%) of adolescents aged 12 to 17 years nationwide reported past year non-
     medical use of pain relievers and 166,000 (0.6%) fulfilled formal diagnostic criteria for OUD. 557
     Fortunately, rates of non-medical use of opioids have declined, although even in 2018, 695,000 (2.8%) of
     adolescents reported such past year non-medical opioid use and 108,000 (0.4%) had OUD. 558 Such use
     has occurred at high rates within the Communities.

186. The American Society of Addiction Medicine recognizes adolescents (aged 11-21 years), as a special
     population of interest with respect to substance use disorders. 559 Not only has early initiation of drug use
     been strongly associated with a constellation of adverse consequences, such as poor peer and familial
     relationships, and entanglements with the juvenile justice system, 560 but the ongoing brain development
     in adolescents during this period of time makes them highly vulnerable to substance use disorders. 561
     Because of their vulnerability and future potential, prevention and early detection of substance use
     disorders in youths should be heavily prioritized to minimize the short- and long-term consequences
     associated with drug use at an early age.

187. Several school-based or family-based prevention programs have successfully delayed or prevented
     initiation or escalation of drug use in youths. 562,563,564 For example, the Life Skills Training (LST), a
     widely used school-based module, has been demonstrated in several controlled studies to reduce substance
     use amongst adolescents.565 The impact of LST may be enhanced when coupled with the Strengthening
     Families Program (SFP), a family-based intervention designed to develop and support family bonds and
     communication. Greater investment should be made in the continued dissemination, implementation and
     evaluation of these and other evidence-based programs that are focused on primary prevention through
     education of broad populations regarding the nature of OUD, risks of non-medical opioid use, and
     availability of treatment and recovery support.

188. Treatment for adolescents with substance use disorder requires a unique approach and should be delivered
     by individuals with specialized training in the care of this population. For example, unlike older adults
     who have often spent years coping with substance use accompanied by a deterioration in psychosocial
     domains such as loss of job or family, adolescent users tend to present at treatment after only a few years
     of addiction. In contrast to adults with substance use disorders, adolescents’ drug use is often driven by
     different factors (e.g., familial discord), may be subject to different environmental influences (e.g., peer
     effects), and may compromise psychological and social development. 566

189. A subset of adolescents participating in prevention programs will be identified as high risk. These
     individuals should be further evaluated through formal screening. While some have advocated for
     Screening, Brief Intervention, and Referral to Treatment (SBIRT) as a method of formal screening, SBIRT
     was developed primarily for alcohol use disorder and concerns with its application to opioids have been
     raised. For example, some evaluations of SBIRT have failed to demonstrate meaningful increases in
     abstinence and the effect in positive studies is often modest. 567 In addition, SBIRT is predicated upon the
     availability of follow-up treatment and the motivation of the individual to seek it, and the “brief
     intervention” of SBIRT was designed for behavioral treatments, which overlooks FDA-approved

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    pharmacotherapies for OUD. Because of this, Screening, Treatment Initiation and Referral (STIR) has
    been proposed,568 and demonstrated to achieve better outcomes than SBIRT in at least two randomized
    trials, one focused on tobacco dependence569 and the other on OUD.570

190. Use of MAT is recommended for adolescents with severe opioid use disorders. Buprenorphine and
     naltrexone may provide more suitable treatments for adolescents than methadone, since these can be
     administered in office-based treatment settings. Furthermore, one of several evidence-based psychosocial
     therapies should be used simultaneously with MAT when treating adolescents with substance use
     disorders. One type of psychosocial therapy is family-based therapy, which aims to reduce the adolescent's
     drug use by involving the youth’s family members in the treatment process. This mode of therapy
     facilitates the development of emotional support and communication strategies in order to address issues
     such as antisocial behavior or dysfunctional family interactions.

191. In Trumbull County, the ASAP Coalition provides training, education, and prevention activities for
     families and children in schools.571 Additionally, the ASAP Coalition utilizes results from the PRIDE
     survey, which identifies drug trends among elementary, middle, and high school students. 572,573,574 In Lake
     County, outreach and prevention education are also offered through the ADAMHS Board, in partnership
     with the Lake County Opiate Task Force.575,576,577

192. Components of abatement interventions. School-based prevention interventions should be expanded in
     Lake County and Trumbull County, and target adolescents in areas identified as having high rates of opioid
     burden, including overdose deaths and misuse rates. These programs should also identify adolescents at a
     high risk of opioid misuse or OUD for further screening. The estimates provided for this category are
     based on needs for screening rather than direct treatment; a subset of those screened will require
     pharmacologic and in some cases, inpatient, residential or intensive outpatient OUD treatment. The costs
     of such interventions are subsumed elsewhere (e.g., Section 2B, “Treatment for Opioid Use Disorder”).

193. In conclusion, abatement programs in the Communities should include resources to reach at-risk children
     and adolescents through school and community-based youth programs. In addition to screening and
     primary prevention programs to teach and reinforce positive life skills, resources should also be committed
     to the care of children and adolescents with non-medical opioid use or OUD, which may require expansion
     of personnel with customized expertise in this area, as well as resources to support the expansion of both
     pharmacologic and non-pharmacologic treatment and recovery services.




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C. Families and Children
The goal of this remedy is to improve the resources available to support children in the Communities who have
been orphaned by the epidemic, as well as to assist children and their families who have otherwise been
impacted and who may be served through child protective services. As with Section 4A, additional testimony
and evidence are provided by Dr. Nancy Young in her expert report, which I also incorporate for certain
populations in the Redress Models for this section.

194. The opioid epidemic has severely impacted many families, and at times, forced children to be separated
     from parents and placed in foster care. In 2017, there were nearly 443,000 children in foster care in the
     U.S., an increase of 46,000 children since 2012. 578 Much of this increase is attributable to the opioid
     epidemic.579 Of the 273,000 children that entered foster care in 2016, over 92,000 (34%) were placed in
     out-of-home care wherein parental substance use was reported as a factor in the reason for removal. 580
     However, states vary in reporting on this variable and these data are considered an undercount of the
     prevalence of substance use among child welfare cases nationwide. 581,582,583 Vastly more children – as
     many as one in eight – live in a household with one or more parents who have a history of past year
     substance use disorder.584

195. While the precise number of foster care placements that are directly due to opioids is unknown, a recent
     mixed-methods study commissioned by the U.S. Department of Health and Human Services provides
     additional context.585 Geographic regions of the country with higher rates of overdose deaths and drug-
     related hospitalizations also have higher child welfare caseloads, as well as more severe and complex child
     welfare cases. In addition, many key informants reported worsening conditions, such as overdose deaths
     and caseload numbers, between 2015 to 2017. The report also identified many barriers to treatment of
     impacted families, including misunderstanding and mistrust of MAT, piecemeal substance use
     assessments, shortages of family-friendly treatment, and an increasing shortage of foster care homes. The
     report concluded that while these findings may not represent every geographic region or state, they
     nevertheless suggest how the opioid crisis has taken an unusual toll on an already strained child welfare
     system.

196. Children entering the foster care system, including those whose entry has been driven by the opioid
     epidemic, have both medical and non-medical needs. Federal and state governments often provide support
     to guardians of foster children for non-medical needs such as food, clothing, and housing. Many children
     in foster care also have special health care needs, given the high prevalence of chronic medical,
     developmental, and mental health problems, most of which predate placement in foster care. 586 Lastly,
     approximately 21-23% of children exiting foster care are adopted. 587 Though some adoption costs are
     offset with government subsidies, the adoption process can nevertheless impose a heavy economic burden
     on some families.

197. Child protective services (CPS) includes a variety of interventions that are undertaken by state agencies
     charged with optimizing the health and welfare of otherwise vulnerable infants, children, and adolescents.
     Such services include the investigation of reports of child abuse or neglect as well as the delivery of
     services, such as specialized case management and multisystemic or other family-based therapy, to
     support children and families where abuse or neglect has taken place or is likely. One such approach is
     Parent-Child Interaction Therapy (PCIT), an evidence-based and family-centered treatment approach that
     supports the development of parenting skills while reducing negative parent-child interactions. There is a
     broad evidence-base supporting the value of PCIT in achieving a host of positive outcomes including
     decreased parental stress and use of corporal punishment and increased parent-child interactions. 588 Both
     PCIT and, more broadly, CPS are based on several underlying principles including a recognition that a


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    safe and permanent home is the best location for children to be raised and that most parents want to be
    good parents to their children. 589

198. In Lake County, the Kinship Navigator Program aims to help grandparents and other family members who
     have custody of children due to another family member’s substance use. This program offers caregivers
     personalized information, as well as referrals to other supports and resources in Lake County. 590 In
     Trumbull County, many grandparents and other kinship caregivers are linked to support and information
     through the ASAP Coalition.591 Across Ohio, virtual support groups are increasingly common and found
     through the Ohio Grandparent/Kinship Coalition.592

199. Components of abatement interventions. CPS agencies in Lake County and Trumbull County should be
     adequately funded to deal with cases related to opioid use and prioritize permanency for children impacted
     by the epidemic. Children who enter or are in foster care or are adopted due to familial opioid use or
     overdose must receive adequate medical care and comprehensive social services to address their needs.
     Adoption costs and adoption-related expenses of children who were adopted due to familial opioid use or
     overdose should be covered. Children in foster care or who are adopted and qualify for PCIT should
     receive it.

200. In conclusion, abatement programs in the Communities should include resources to support the needs of
     children who have been orphaned by the epidemic or who have lost a parent, whether or not they have
     entered the foster care system. In addition, abatement remedies should include resources, including
     intensive case management and access to therapy, to support the needs of children and adolescents who
     may have entered child protective services or otherwise come to the attention of social services
     organizations due to the opioid epidemic.




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D. Homeless and Housing Insecure
The goal of this abatement remedy is to focus on individuals with OUD in the Communities who may be
homeless or housing insecure. In order to be successful, abatement programs within the Communities must be
deployed to address the unique and pressing clinical and public health needs of these often marginalized
populations.

201. Homelessness and housing insecurity are traumatic experiences that threaten individuals’ economic,
     psychological, social, and spiritual wellness. In 2019, a point-in-time count estimated that 10,345
     individuals were homeless in Ohio,593 yielding a rate of 88.5 per 100,000 Ohioans.594 However, for every
     individual that is homeless many more may have “housing insecurity,” or problems with the affordability,
     safety, quality or long-term stability of their housing. 595,596 Once an individual is homeless, it is difficult
     to re-enter the workforce and attain stable housing. Many homeless individuals also have acute and chronic
     physical health conditions and mental illness that require specialized treatment. However, financial and
     other barriers often make it impossible to receive such care, posing stressors that increase the risk of
     substance use disorders. For example, one national study found that among those who were homeless and
     reported substance abuse in the previous year, 75% also had a mental illness. 597

202. Substance use disorder is among the leading causes of homelessness in the country. 598 A survey of
     homeless individuals in San Francisco found that nearly one-in-three reported opioid misuse in their
     lifetime.599 Homeless individuals with OUD are also more likely to become chronically homeless and
     have a higher risk of overdose and mortality. 600 A Boston study found opioid overdoses to be the leading
     cause of death among homeless individuals; compared to those that were stably housed, homeless
     individuals were nine-times more likely to die of overdose. 601 Nationally, opioids are involved in 61% of
     overdose deaths among those that are stably housed, however, opioids are involved in 81% of overdose
     deaths among those that are homeless.602

203. Prescription drug and opioid misuse are particularly high among homeless youth. A survey of 451
     homeless youth found that half reported prescription drug misuse in their lifetime. 603 Of those that misused
     prescriptions in the past month, one-in-four used prescription opioids alone and one-in-three used heroin.
     This was associated with an increased risk of future substance use, poor self-reported health, and risky
     sexual behaviors. The survey also found a higher risk of post-traumatic stress disorder (PTSD), depression,
     and suicidal ideation among homeless youth that misused prescription drugs.

204. The causes and effects of homelessness are complex and require multilayered interventions that focus on
     social support, trauma-informed approach, and personal choice. 604 Homeless individuals with OUD are
     often ineligible for many housing programs due to their substance use. However, housing and support are
     critical to providing an environment where individuals can focus on recovery. A study of homeless
     veterans, many with OUD, reported that social support was crucial to maintaining housing and recovery. 605
     Given the high prevalence of trauma among homeless individuals with OUD, using a trauma-informed
     approach and building trust are key to engaging them in care.606

205. Treatment and housing programs vary in services offered, sobriety requirements (e.g., low-barrier), and
     integration with the community (e.g., light-touch). Low-barrier models have been gaining support for their
     effectiveness in retaining clients in care since they do not require sobriety, and in doing so, account for
     the fact that relapse is common among homeless individuals with substance use disorder. 607 Because
     individuals are not penalized for relapsing, trust and rapport are built, which opens the door for engaging
     them in treatment. A low-barrier program in New York found that clients were more likely to continue
     their MAT as prescribed for OUD three-years after initiating the program. 608 The Homeless
     Multidisciplinary Street Team, a mobile outreach program in California, included a team of specialists

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    that sought out the highest-cost members of the homeless community (e.g., those who are repeatedly
    hospitalized or incarcerated) to assist them in receiving housing and other treatment in 2016. 609 This
    program resulted in savings between $103,000 to $259,000 for the city of Santa Monica by decreasing the
    health and public service utilization among high-cost homeless individuals. Additionally, “permanent
    supportive housing,” or housing with support, is another intervention that addresses chronic homelessness
    by integrating housing with health care, intensive case management, legal services, social service
    advocates, and occupational therapy. The U.S. Department of Housing and Urban Development estimates
    that investments in permanent supportive housing have reduced chronic homelessness by 20% between
    2007 and 2019.610

206. Recovery housing is also an important component of care for some people with OUD. The National
     Alliance for Recovery Residences (NARR) defines four levels of recovery housing ranging from self-
     funded, peer-run, residential facilities where individuals can stay indefinitely (Level 1) to residential
     facilities that also serve as clinical treatment centers (Level 4). 611 As explained by one public health
     officer: “Who we spend our time with, where we go, and the things we surround ourselves with all impact
     who we are and the decisions that we make. Many times, people in early recovery have to give up
     everything they’ve known… because those people, places, and things put them at risk for relapse or
     continued use. Early recovery can be painful and isolating. Recovery housing can fill that void with a safe
     place, compassionate people, and a life full of purpose and fun that doesn’t involve alcohol or drugs.” 612

207. As with peer recovery coaches, evidence examining the effect of recovery housing on outcomes such as
     drug and alcohol use, employment and psychiatric symptoms, while limited, suggests beneficial effects. 613
     However, concerns have also been raised regarding substandard or outright fraudulent services being
     provided by some recovery houses. A March 2018 report from the U.S. Government Accountability Office
     (GAO) examining this matter in five states underscores both the potential promise of recovery housing as
     well as the importance of adequate state regulatory oversight of their practices to ensure the prevention of
     exploitative or outright fraudulent housing practices. 614

208. Components of abatement interventions. Efforts to address the needs of individuals with OUD who are
     homeless or housing insecure should be supported and expanded upon within Lake County and Trumbull
     County. In particular, Permanent Supportive Housing that provides wraparound services for homeless
     individuals with OUD should be implemented in the Communities. Additional needs of individuals with
     OUD who are homeless or have housing insecurity must be addressed as part of any abatement program
     and are included elsewhere in this report. These include: access to comprehensive, longitudinal OUD
     treatment (Section 2B); transitional housing for those newly released from incarceration (Section 3B); and
     treatment and housing services for pregnant women and new mothers (Section 4A).

209. In conclusion, abatement programs in the Communities should include resources to reach homeless
     individuals and those who are housing insecure. By providing social support and focusing on the physical
     and mental health of these individuals, the Communities can reduce the economic and public health impact
     of the opioid epidemic. Resources should focus on increasing treatment services, personnel and housing
     for those that are homeless or housing insecure.




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E. Individuals with Opioid Misuse
This abatement remedy focuses on individuals who misuse opioids. This category is important because many
individuals engage in such misuse, and they are at elevated risk for a number of harms from opioids, including
the development of OUD and overdose death.

210. Opioid misuse is defined by the National Institute on Drug Abuse as “taking a medication in a manner or
     dose other than prescribed; taking someone else’s prescription, even if for a legitimate medical complaint
     such as pain; or taking a medication to feel euphoria (i.e., to get high).” 615 In contrast to OUD, which has
     formal diagnostic criteria according to the Diagnostic and Statistical Manual of Mental Disorders, 5th
     Edition (DSM-5), opioid misuse is more common and encompasses a broader continuum of behaviors. It
     is important to identify individuals with opioid misuse because they are at increased risk of opioid-related
     adverse events.

211. An estimated 11.4 million Americans, or 4.2% of the total population, reported misuse of prescription
     opioids or heroin during the past year based on 2017 data derived from the National Survey of Drug Use
     and Health (NSDUH).616 While this represents a modest decline from 2015, during which 12.7 million
     people were estimated to have engaged in past year opioid misuse, the numbers nevertheless remain
     staggering. Of these 11.4 million individuals, 97.2% engaged in past year misuse of prescription opioids,
     while 7.8% engaged in misuse of heroin and 4.9% engaged in misuse of both prescription opioids and
     heroin. Among adults who misused opioids in 2015 who did not have an OUD, approximately two-thirds
     of cases reported the reason for such misuse was the relief of pain, highlighting the overlap of chronic
     pain with non-medical opioid use as well as the opportunities to address both simultaneously through well-
     designed abatement remedies.617

212. As many as one-third of individuals misusing opioids nationwide report that the source of their opioids
     was a single prescriber,618 an indication that the health care system, including high prescribing clinicians,
     continues to play a role in fostering the epidemic.w More than one-half of those misusing opioids report
     their source as a friend or relative, a reminder of the continued diversion of opioids that also commonly
     occurs, although here too, the most common source of opioids among these friends or family members
     remains a licensed prescriber.619 The large oversupply of opioids in these settings supports the use of
     interventions such as prescription “caps” that states and some payers are increasingly using to reduce the
     volume of opioids prescribed for short-term use,620 as do several studies indicating that the likelihood of
     an individual converting to chronic opioid use is significantly greater among individuals receiving greater
     doses or durations of opioids on their first fills.621,622,623

213. In contrast to patients who are using opioids fully as directed under the care of a licensed prescriber, which
     still poses unacceptably high risks in many patients currently receiving them, patients with opioid misuse
     should be identified and targeted for early intervention so as to avert their potential transition to OUD or
     overdose. Methods to identify and address these patients include both the routine clinical use of the data
     from OARRS and clinical interviewing. Clinical interviewing is useful not only to screen for potential
     misuse but also to explore motivations for such and to address underlying issues, including sub-optimally
     treated pain, depression or other behavioral health factors that may be driving such behavior. Once
     identified, such patients should receive more intensive clinical monitoring, psychosocial interventions,
     pain management, and in some cases, transition to partial opioid agonists such as buprenorphine or
     tramadol.


w
 By contrast, 1.5% of those with opioid misuse report their source as from more than one doctor, again attesting to the relatively
small contribution opioid shoppers make to the epidemic. (Chang HY, Murimi IB, Jones CM, Alexander GC. Relationship Between
High-Risk Patients Receiving Prescription Opioids and High-Volume Opioid Prescribers. Addiction. 2018;113:677-686.)
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214. Components of abatement interventions. The components of this abatement category are subsumed in
     other abatement interventions that I discuss including Health Professional Education (Section 1A), Patient
     and Public Education (Section 1B), Safe Storage and Drug Disposal Programs (Section 1C), and
     interventions targeting Adolescents and Young Adults (Section 4B).

215. In conclusion, abatement programs in the Communities should include resources devoted to addressing
     the substantial minority of individuals who misuse opioids. Clinicians should be trained to routinely
     evaluate patients for such practices, OARRS data should be increasingly integrated within health systems
     and electronic medical records, and interventions should be deployed to decrease the volume of opioids
     prescribed, which in turn will decrease the incidence of misuse. Once opioid misuse has been identified,
     greater clinical resources should be devoted both to addressing opioid misuse directly as well as evaluating
     and treating potential contributory factors ranging from comorbid social stressors or mental illness to
     untreated or undertreated chronic pain syndromes.




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VI. MEASURING THE SUCCESS OF ABATEMENT EFFORTS
216. The Communities are already undertaking many evidence-based abatement interventions that reflect the
     overarching principles, as well as strategies, that I outline above. For example, the Communities have
     active, although resource constrained, drug courts; the state and local health departments have worked to
     distribute naloxone and train individuals from the Communities in its use (e.g., Project DAWN); and there
     is a program for pregnant women and new mothers with OUD (e.g., MOMS). Key partners include
     community drug prevention coalitions such as the ASAP Coalition, and treatment providers such as:
     Meridian Health; Signature Health; Crossroads Health; Lake-Geauga Recovery Centers; the Lake County
     Alcohol, Drug Addiction, and Metal Health Boards; and the Trumbull County Mental Health and
     Recovery Board.

217. Data – and measurement – is vital to these efforts, a fact that is affirmed by the U.S. Department of Health
     and Human Service’s Five-Point Opioid Strategy, which includes “Better Data” as one of the five key
     strategies to address the crisis.624 Without such information, the Communities are “flying blind,” no better
     off than an airplane pilot without access to the plane’s instrument panel. Section 1F outlines in detail the
     evidence base supporting surveillance and the uses of such data.

218. The core measures in the Communities ultimate abatement plan should represent essential outcomes
     selected because of their linkage to abatement goals and their ability to capture key consequences of
     improved prevention, treatment, and recovery services. Each measure should be assessed on a quarterly,
     biannual, or annual basis, understanding that the more frequent an assessment occurs, the more rapidly
     such information can be used to iteratively inform further abatement. Such measures should provide a
     means of performing high-level evaluation of the global effects of abatement efforts on central outcomes
     of vital clinical and public health importance. Examples of potential measures include:
        x   Rates of non-fatal opioid overdose
        x   Prescription opioid overdose death rate
        x   Heroin/illicit fentanyl overdose death rate
        x   Emergency Department visits or hospitalizations related to opioids
        x   Percent of 10th graders reporting non-medical opioid use
        x   Rate of infants born with neonatal abstinence syndrome
        x   Rate of complications associated with opioid use
   During the coming years, as additional resources are invested in reducing the oversupply of opioids and
   attendant harms, there will also be opportunities to continue to enhance, collate, link and centralize
   measures with others that capture other dimensions of the epidemic, including: the accessibility and quality
   of both pain and OUD treatment; treatment delivery within the criminal justice system; and the
   performance of the care delivery system for other populations, such as the commercially insured, for which
   the state or county may not serve as payer.




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VII.     ESTIMATED IMPACT OF PROPOSED ABATEMENT REMEDIES
219. There is intuitive scientific appeal in using randomized experiments to assess the effectiveness, and
     comparative effectiveness, of different interventions to reduce opioid-related morbidity and mortality.
     However, such investigations are impractical, and often unethical as well.625 As a result, policy-makers
     and other stakeholders must rely upon observational evidence that is prone to shortcomings. For example,
     the effect of an intervention such as a naloxone law may be delayed, obfuscated by other contemporaneous
     policy changes, or associated with unintended effects that diminish its ultimate welfare impact. Indeed,
     many studies examining the impact of various abatement remedies have assessed multiple simultaneous
     interventions, such as an intervention to reduce opioid oversupply that combines educational outreach to
     clinicians with clinical decision support instituted within electronic medical records. These challenges
     underscore the importance of continued study by clinicians and public health experts, as well as
     investments such as the National Institutes of Health’s HEAL Initiative. 626

220. While some may argue that “further research is needed,” there is already a vast scientific evidence base
     to support the abatement interventions discussed herein. For example, there is unequivocal evidence of
     the benefits of treatment for OUD, the life-saving potential of naloxone, and the value of investments
     made in children and families impacted by substance use disorder. While using this evidence to estimate
     the expected impact of specific interventions within specific communities is prone to uncertainty, some
     general conclusions regarding abatement impact can be drawn.

221. First, the impact of treatment for OUD on reducing OUD rates over time, which represents one of the
     most important, and costly, interventions prescribed in this report, has been well described. For example,
     in a systematic review and meta-analysis of MAT, the pooled all-cause mortality was 0.92 (95%
     confidence intervals [CI] 0.79-1.04) per 1,000 person-years among individuals during treatment, 1.69 (CI
     1.47-1.91) among those after treatment and 4.89 (CI 3.54-6.23) among those who were untreated. 627 In
     another careful and comprehensive systematic review and meta-analysis, Sordo and colleagues found that
     the pooled all-cause mortality rates were 11.3 and 36.1 per 1,000 person-years in and out of methadone
     treatment (unadjusted out-to-in rate ratio 3.20, CI 2.65-3.86), and 4.3 and 9.5 in and out of buprenorphine
     treatment (2.20, CI 1.34-3.61).628 In other words, treatment for OUD reduced the likelihood of death by
     at least a half in these analyses.

222. Second, different interventions will have different impacts that will vary based upon the local context and
     magnitude of unmet need. In addition, the time horizon to see an impact from abatement efforts varies.
     Some investments, such as those for naloxone or treatment expansion, may produce an immediate impact
     on the Communities, whereas others may have medium-term (e.g., drug courts, transitional housing) or
     long-term (e.g., child and family services) effects that may be no less important to the Communities
     ultimate recovery.

223. Third, the return on investments from some programs can be quite profound. In other words, improving
     treatment uptake and use for OUD is not just the right clinical thing to do, it also makes good economic
     sense, in part because OUD has so many direct and indirect costs. For example, Ettner and colleagues 629
     and Gerstein and colleagues,630 have estimated at least a 7:1 return on investment when examining the
     economic benefits and costs of the treatment of alcohol and drug disorders using California treatment
     data.x Similarly, an analysis of a naloxone distribution program in North Carolina, as described in Section
     2E, estimated that, on average, for every dollar spent on the program, there was $2,742 of benefit due to
     opioid overdose deaths avoided.631 In a separate decision analysis from the University of San Francisco,

x
 These analyses were not limited to those with OUD. While the reports nevertheless suggest the value of OUD treatment, including
MAT, there is also a need for further research focused exclusively on OUD treatments rather than broader substance use disorders.
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    investigators estimated that providing naloxone to heroin users is robustly cost-effective, and possibly
    cost-saving, with one overdose death prevented for every 164 naloxone kits distributed. 632 Yet other work
    has examined potential savings associated with investments in harm reduction such as SSPs, suggesting
    that for every dollar invested in SSPs, at least six dollars are saved due to HIV prevention alone. 633 A
    separate cost-effectiveness analysis of an SSP in New York City estimated that the program would result
    in a baseline one year savings to the government of $1,300 to $3,000 per client. 634

224. Fourth, as noted in Paragraph #17, “the cost of doing nothing is not nothing.” 635 The opioid epidemic has
     worsened over more than two decades, both nationally and particularly in the Communities, and for a long
     time, was hidden in plain sight. Fortunately, there is acknowledgement of the devastation that opioids
     have caused for many communities. In addition, a great deal of scientific effort has been expended to
     develop an evidence base regarding the approaches noted herein. This overwhelming evidence explains
     the strong scientific consensus regarding the importance of the abatement remedies proposed.

225. While further extrapolation is required to estimate the combined, community-level impact of interventions
     I propose, I believe that they can reduce cumulative opioid overdoses and opioid-related harms by 50%
     over fifteen years. This estimate is based on models that we 636 and others637,638,639,640 have developed, as
     well as review and synthesis of additional assessments of many of the interventions proposed herein,
     ranging from Health Professional Education (Section 1A) to Harm Reduction interventions (Section 1E)
     to Distributing Naloxone and Providing Training (Section 2E).




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 VIII. POTENTIAL OBJECTIONS TO PROPOSED ABATEMENT REMEDIES
There is remarkable consensus among public health experts regarding the abatement remedies outlined above.
Nevertheless, some might object to one or more of the proposed remedies on a number of grounds.

 226. Enough is already being done. One argument is that there is already an enormous amount of effort being
      devoted to the epidemic in the Communities, as well as some signs that things are “turning around” locally.
      For example, prescription opioid volume continues to decline in the Communities, and despite a
      resurgence in opioid overdose death since 2020, overdoses were generally lower between 2018 and 2019
      than previous years (Paragraph #21). While such arguments might have some appeal, they overlook the
      complexity of the epidemic, continued evidence of grave harms in the Communities and the fact that
      investments made thus far pale in comparison to the epidemic’s societal costs. For example, despite
      declines in opioid sales, prescribing rates remain far above pre-epidemic baselines. Similarly, the rate of
      overdoses in Lake County and Trumbull County increased in 2020, and there is no indication that supply
      of illicit fentanyl has been stopped. As noted throughout my report, there are vast gaps that remain in the
      treatment system, and many of the most damaging consequences of the epidemic, such as its effects on
      children, families and those with active addiction or a history of OUD, will endure for generations.

 227. There may be unintended consequences. Concern has been raised regarding potential unintended
      consequences of efforts to address the epidemic, especially “supply-sided” interventions such as clinical
      guidelines that may reduce the volume of opioids used in clinical practice (Section 1A). 641,642 It is
      theoretically possible that reductions in opioid prescribing may pose a burden for individuals in whom
      opioids are clinically appropriate, and thus, underscores the importance of multifaceted approaches to
      diminish this likelihood, including: investments in pain research; continued evidence generation and
      synthesis such as the activities undertaken by the CDC and professional societies, provider and patient
      education; insurance coverage and benefit redesign; and surveillance. Similarly, while arguments that
      constraining opioid oversupply “just pushes people to heroin” are over simplified, y such concerns
      underscore the urgency of expansions in the treatment system to accompany supply-sided interventions
      reducing the flow of people from the general population into opioid use disorder.

 228. We shouldn’t reward bad behavior. Variations on this argument include that people who are “running into
      trouble” should know better, or more abhorrently still, “three strikes and you are out.” z These approaches
      to managing the opioid epidemic blame the victims and reflect classic stigmatizing language grounded in
      erroneous beliefs regarding the nature of addiction. No one chooses addiction any more than one chooses
      to have heart failure or multiple sclerosis.643 Such language overlooks this and conflates abuse, which is
      a behavior, with addiction, which is a disease. It also is hard to reconcile such views with the fact that, as
      established in the expert report by Dr. Anna Lembke, the majority of individuals with OUD developed it
      through receipt of opioids from the health care system. It is precisely this type of language, and persistent
      stereotypes regarding the nature of opioid dependence, misuse and addiction, that have slowed progress
      in addressing the epidemic over two decades, and that should be aggressively rebutted head-on as part of
      campaigns to educate the general public and health care providers regarding the nature of the epidemic.

 229. MAT isn’t that effective and it is diverted. In fact, there is a substantial body of evidence regarding the
      effectiveness of treatments such as buprenorphine and methadone in retaining people in treatment,
      reducing illicit drug use, decreasing criminal activity and preventing overdose death. 644,645 It is true that
 y
  There is not a zero-sum game between reducing prescription opioid oversupply and increasing heroin use. For example, see
 Compton WM, Jones CM, Baldwin GT. Relationship Between Nonmedical Prescription-Opioid Use and Heroin Use. New England
 Journal of Medicine. 2016;374:154-63.
 z
  Such an argument was proposed by a city council member in a small town in Ohio, who argued that the use of Emergency Medical
 Services should be restricted among people who utilize such services for multiple opioid overdoses.
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     relapse among people with OUD is not uncommon, just as is the case with cancer, depression and many
     other chronic diseases. Similarly, while treatment failures occur with MAT, the empiric response rate to
     many medicines, such as antidepressants, is low; this does not obviate their potential clinical and public
     health value. An overwhelming amount of evidence indicates that MAT can significantly decrease
     mortality and other undesirable outcomes, a reduction that could be seldom matched by treatments for
     many other chronic diseases. Nonetheless, diversion of MAT remains a concern, and underscores the
     importance of greater, rather than fewer, investments in the treatment system to enhance the
     comprehensiveness and continuity of individuals seeking care for addiction. aa

230. The problem isn’t prescription opioids, it is other drugs (e.g., cocaine, alcohol, methamphetamines). bb The
     increasing presence of fentanyl within the non-opioid supply chain, as well as sharp increases in overdose
     deaths from stimulants such as cocaine and methamphetamine during the past few years, are the source of
     increasing concern on the part of clinicians, policy-makers, public health officials and the general public.
     It is true that many people who overdose from opioids have other drugs in their system at the time of
     death, that other substance use disorders are common among those with OUD, and that there are
     shortcomings in our clinical and public health infrastructure to address non-opioid substance use disorders.
     While these sources of morbidity and mortality require a different public health response than one geared
     towards opioids alone, they do not diminish the importance of the efforts discussed herein addressing the
     historic oversupply of opioids and well delineated harms that have resulted from such.

231. Cost-benefit of specific approaches is not clear. The Proposed Abatement Plan discussed herein reflects
     evidence-based and evidence-informed approaches to address the epidemic in the Communities. Many
     approaches,646,647,648,649 but not all,650 have been subject to cost-benefit analysis in a variety of contexts.
     In some cases, the cost-benefit or cost-effectiveness of proposed abatement measures has been assessed
     specifically in the context of a single state, such as assessments of adolescent screening interventions
     performed by the Washington State Institute for Public Policy. 651 Nevertheless, as I note elsewhere, there
     is a remarkable degree of consensus regarding what abatement strategies are needed, reflecting an
     acknowledgement of the urgency of the epidemic both nationally and in the Communities, the large body
     of scientific information underpinning abatement remedies and an awareness of the enormous costs of
     inaction.

232. It is unclear what success looks like. Some might argue that the success of abatement remedies is ill
     defined, and that without such clear benchmarks, there is no way to discern whether or not specific
     remedies are working, or worth it. Fortunately, there is clear consensus regarding how to abate the opioid
     epidemic, and this is because of the enormous body of scientific evidence underlying it. Plans must be
     tailored to the Communities, and measurement of process and outcomes is important so as to gauge
     success. We are now two decades or more into the opioid epidemic, and it may take us just as long to get
     out of the opioid epidemic as it has to get into it. While there may be different ways of defining success,
     one measure would be to reduce opioid-related morbidity and mortality by 50% over fifteen years
     (Paragraph #225), although an even more ambitious measure would be to restore pre-epidemic levels of
     opioid supply and rates of addiction and overdose deaths.




aa
  The use of directly observed therapy (DOT) to deliver methadone, and provider administered buprenorphine formulations, are
both additional means of reducing potential MAT diversion.
bb
  Yet an additional objection, that the primary problem is one of heroin and illicit fentanyl, not prescription opioids, is addressed
throughout my report and in the Expert Report of Dr. Anna Lembke
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IX. CONCLUSIONS
233. The opioid epidemic is the worst drug epidemic in our nation’s history, and it has been driven by large
     increases in the oversupply of prescription opioids for the treatment of pain. The Communities have
     experienced first-hand morbidity and mortality attributable to the epidemic far greater than most areas of
     the country, whether with respect to rates of OUD, non-fatal and fatal overdose, and infants born with
     neonatal abstinence syndrome. These challenges make the substantial investments that the Communities
     have made to address the local epidemic all the more laudable. Fortunately, while all measures of the
     epidemic, from prescription opioid sales to rates of addiction to overdose deaths, remain at alarming levels,
     there is increasing recognition of the magnitude of the harms that have accrued, and remarkable scientific
     and public health consensus regarding what needs to be done to abate the epidemic. The abatement
     remedies described herein represent evidence-based and evidence-informed approaches that many
     communities have already begun to undertake with varying degrees of coordination and scale, and which
     can be further applied to the Communities, too. They are highly aligned with the three principles
     highlighted at the outset of this report (Part VI): (1) informing action with evidence; (2) intervening
     comprehensively; and (3) improving the care of those with pain. As the citizens and leaders of Lake
     County and Trumbull County know all too well, there is not a moment to lose.




April 16, 2021




________________________________________
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                  Expert Witness Report of G. Caleb Alexander, MD, MS



              Appendix A – Johns Hopkins Report: “From Evidence to Impact”
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                   Executive Summary
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                                                                                                                                     EXECUTIVE SUMMARY


While prescription opioids serve an invaluable role for the treatment of cancer pain and pain at the end of life, their overuse for
acute and chronic non-cancer pain as well as the increasing availability of heroin and illicit fentanyl, have contributed to the
highest rates of overdose and opioid addiction in U.S. history. Evidence-informed solutions are urgently needed to address these
issues and to promote high-quality care for those with pain. This report is a response to that need. By providing an updated and
expanded revision of a prior monograph, released in 2015, this report offers timely information and a path forward for all who are
committed to addressing injuries and deaths associated with opioids in the United States.

The Opioid Epidemic: From Evidence to Impact reﬂects a commitment to the three principles that motivated the original report:
       •     Informing Action with Evidence;
       •     Intervening Comprehensively; and
       •     Promoting Appropriate and Safe Use of Prescription Opioids.

Those principles led to the delineation of 10 topic areas across the spectrum of the problem ranging from how clinicians treat
pain to treatment for opioid-use disorders to harm reduction strategies.

The ﬁndings of the report are comprised of evidence from these 10 topic areas, as well as 49 recommendations that
are informed by that evidence.

The ﬁrst half of the report, Improving the Safe Use of Prescription Opioids addresses ﬁve topics:
       1.    Optimizing Prescription Drug Monitoring Programs
       2. Standardizing Clinical Guidelines
       3. Engaging Pharmacy Beneﬁts Managers and Pharmacies
       4. Implementing Innovative Engineering Strategies
       5. Engaging Patients and the General Public

The second half of the report includes ﬁve additional topics and is focused on addressing the challenges of Identifying and
Treating People with Opioid-Use Disorders:
       6. Improving Surveillance
       7.    Treating Opioid-Use Disorders
       8. Improving Naloxone Access and Use
       9. Expanding Harm Reduction Strategies
       10. Combating Stigma

This report is intended as a resource for policymakers; clinicians who prescribe opioids and those who treat people with opioid-
use disorders; people with opioid-use disorders and their families; researchers; journalists; law enforcement ofﬁcials; health
system administrators; employers; service providers and agencies at the local, state, and federal levels; community organizations;
and members of the general public. It provides guidance for those who are searching for solutions to address the unacceptable
toll of opioid-use disorders in the United States as well as ways to reduce prescription opioid overuse and to maximize the quality
of care for those with pain.




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        Recommendations for Action
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                                                                                                                                        RECOMMENDATIONS


OPTIMIZING PRESCRIPTION DRUG MONITORING PROGRAMS
       1.1 Mandate prescriber PDMP registration and use.
       1.2 Proactively use PDMP data for education and enforcement.
       1.3 Authorize third-party payers to access PDMP data with a plan for appropriate use and proper protections.
       1.4 Empower law enforcement and licensing boards for health professions to investigate high-risk prescribers
           and dispensers.
       1.5 Work with industry and state lawmakers to require improved integration of PDMPs into Electronic Health
           Records systems.
       1.6 Engage state health leadership to establish or enhance PDMP access across state lines.

STANDARDIZING CLINICAL GUIDELINES
       :RUNZLWKVWDWHPHGLFDOERDUGVDQGRWKHUVWDNHKROGHUVWRHQDFWSROLFLHVUHȵHFWLQJWKH&HQWHUVIRU'LVHDVH
           &RQWURODQG3UHYHQWLRQȇV &'&ȇV *XLGHOLQHIRU3UHVFULELQJ2SLRLGVIRU&KURQLF3DLQ
       2.2 Mandate electronic prescribing of opioids.
       2.3 Standardize metrics for opioid prescriptions.
       2.4 Improve formulary coverage and reimbursement for non-pharmacologic treatments as well as
           multidisciplinary and comprehensive pain management models.

ENGAGING PHARMACY BENEFITS MANAGERS AND PHARMACIES
       3.1 Inform and support evaluation research of PBM and pharmacy interventions to address the opioid
            epidemic.
       &RQWLQXHWKHGHYHORSPHQWDQGHQKDQFHPHQWRIHYLGHQFHEDVHGFULWHULDWRLGHQWLI\LQGLYLGXDOVDWHOHYDWHG
           ULVNIRURSLRLGXVHGLVRUGHUVRURYHUGRVHDQGR΍HUDGGLWLRQDODVVLVWDQFHDQGFDUHWRWKHVHSDWLHQWV
       3.3 Improve management and oversight of individuals who are prescribed opioids for chronic non-cancer pain.
       6XSSRUWUHVWULFWHGUHFLSLHQW ORFNLQ SURJUDPVDPRQJVHOHFWKLJKULVNSDWLHQWSRSXODWLRQV
       ΖPSURYHPRQLWRULQJRISKDUPDFLHVSUHVFULEHUVDQGEHQHȴFLDULHV

IMPLEMENTING INNOVATIVE ENGINEERING STRATEGIES
       &RQWLQXHWRVXSSRUWVWDNHKROGHUPHHWLQJVWRDGYDQFHWHFKQRORJLFDOVROXWLRQV
       4.2 Sponsor design competitions.
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           under development.
       8VHUHVHDUFKWRGHYHORSLPSOHPHQWDWLRQVWUDWHJLHVLQDGYDQFHRILGHQWLȴFDWLRQRIH΍HFWLYHSURGXFWV
       4.5 Work with industry and government agencies to identify opportunities for the development and rigorous
           evaluation of abuse-deterrent formulations of prescription opioids.




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RECOMMENDATIONS


ENGAGING PATIENTS AND THE GENERAL PUBLIC
       &RQYHQHDVWDNHKROGHUPHHWLQJZLWKEURDGUHSUHVHQWDWLRQWRFUHDWHJXLGDQFHWKDWZLOOKHOSFRPPXQLWLHV
           undertake comprehensive approaches that address the supply of, and demand for prescription opioids in
           their locales; implement and evaluate demonstration projects that model these approaches.
       &RQYHQHDQLQWHUDJHQF\WDVNIRUFHWRDVVXUHWKDWFXUUHQWDQGIXWXUHQDWLRQDOSXEOLFHGXFDWLRQFDPSDLJQV
           about prescription opioids are informed by the available evidence, and that best practices are shared.
       5.3 Provide clear and consistent guidance on safe storage of prescription opioids.
       5.4 Provide clear and consistent guidance on safe disposal of prescription opioids and expand take-back
           programs.

IMPROVING SURVEILLANCE
       6.1 Invest in surveillance of opioid misuse and use disorders, including information about supply sources.
       6.2 Develop and invest in real-time surveillance of fatal and non-fatal opioid overdose events.
       6.3 Use federal funding for interventions to address opioid-use disorders to incentivize inclusion of outcome
           data in those funded programs.
       6.4 Support the linkage of public health, health care, and criminal justice data related to the opioid epidemic.

TREATING OPIOID-USE DISORDERS
       7.1 Provide a waiver from patient caps for buprenorphine treatment for clinics that implement evidence-
           based models of care.
       7.2 Require all state-licensed addiction treatment programs that admit patients with opioid-use disorders to
           permit access to buprenorphine or methadone.
       5HTXLUHDOO)HGHUDOO\4XDOLȴHG+HDOWK&HQWHUVWRR΍HUEXSUHQRUSKLQH
       7.4 Allocate federal funding to build treatment capacity in communities with high rates of opioid addiction
           and limited access to treatment.
       7.5 Develop and disseminate a public education campaign about the role of treatment in addressing opioid
           addiction.
       7.6 Educate prescribers and pharmacists how to prevent, identify, and treat opioid addiction.
       7.7 Establish access to opioid agonist treatment with buprenorphine and methadone maintenance in jails
           and prisons.
       7.8 Incentivize initiation of buprenorphine in the emergency department and during hospital stays.

IMPROVING NALOXONE ACCESS AND USE
       8.1 Partner with product developers to design naloxone formulations that are easier to use by non-medical
           personnel and less costly to deliver.
       8.2 Work with insurers and other third-party payers to ensure coverage of naloxone products.
       8.3 Work with community-based overdose education and naloxone distribution programs to identify stable
           funding sources to ensure program sustainability.
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           evaluations and identify high priority future directions for naloxone-related research.


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                                                                                                                                        RECOMMENDATIONS


       8.5 Engage with the health care professional community to advance consensus guidelines on the co-
           prescription of naloxone.
       $VVHVVWKHH΍HFWVRIVWDWHODZVH[SDQGLQJQDOR[RQHDFFHVVWRWKHJHQHUDOSXEOLF

EXPANDING HARM REDUCTION STRATEGIES
       9.1 Establish and evaluate supervised consumption spaces.
       9.2 Work with state and local stakeholders to establish and support needle and syringe service programs.
       9.3 Evaluate and disseminate the use of test kits for fentanyl-laced opioids.

COMBATING STIGMA
       8SGDWHHPSOR\HUKXPDQUHVRXUFHVDQGEHQHȴWVODQJXDJHWRDYRLGVWLJPDWL]LQJODQJXDJHDQGLQFOXGH
            HYLGHQFHDERXWWKHH΍HFWLYHQHVVRIWUHDWPHQWIRURSLRLGXVHGLVRUGHUV
       $YRLGVWLJPDWL]LQJODQJXDJHDQGLQFOXGHLQIRUPDWLRQDERXWWKHH΍HFWLYHQHVVRIWUHDWPHQW
            and the structural barriers that exist to treatment when communicating with the public about
            opioid-use disorders.
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                                               TOP TEN RECOMMENDATIONS FOR ACTION

   1.1 Mandate prescriber PDMP registration                                                     6.1 Invest in surveillance of opioid misuse and
       and use.                                                                                     use disorders, including information about
                                                                                                    supply sources.
   2.1 Work with state medical boards to enact
       policies reﬂecting the Centers for Disease                                               7.4 Allocate federal funding to build treatment
       Control and Prevention’s (CDC’s) Guideline                                                   capacity in communities with high rates
       for Prescribing Opioids for Chronic Pain.                                                    of opioid addiction and limited access to
                                                                                                    treatment.
   3.1 Inform and support evaluation research of
       PBM and pharmacy interventions to address                                                8.1 Partner with product developers to design
       the opioid epidemic.                                                                         naloxone formulations that are easier
                                                                                                    to use by non-medical personnel and less
   4.3 Secure funding for research to assess the                                                    costly to deliver.
       effectiveness of innovative packaging and
       designs available and under development.                                                 9.1 Establish and evaluate supervised
                                                                                                    consumption spaces.
   5.4 Provide clear and consistent guidance on
       safe disposal of prescription opioids; expand                                          10.2 Avoid stigmatizing language and include
       take-back programs.                                                                         information about the effectiveness of
                                                                                                   treatment and the structural barriers that
                                                                                                   exist to treatment when communicating
                                                                                                   with the public about opioid-use disorders.




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                      From the Editors
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                                                                                                                                          FROM THE EDITORS


Prescription opioids serve an invaluable role for the treatment of cancer pain and pain at the end of life. Despite this, their
overuse, especially for chronic non-cancer pain, remains a major public health challenge in the United States. Overdoses from
heroin and illicit fentanyl have also come into sharp focus, with large increases in fatal overdoses from these drugs since 2010.
In 2016, about 64,000 people died from drug overdoses in the United States,1 and both experts2 and projected data3,4 suggest
that deaths from opioids will increase further still in the years to come5.

The opioid epidemic has manifested in many ways, and early reports of rising overdoses have been followed by many other signs
of the serious effects that the epidemic has had on society’s health and productivity. Rates of neonatal abstinence syndrome
have increased 400 percent from 2000 to 2012. Where these cases reﬂect unstable home environments, children face
signiﬁcant social risks.6 In some parts of the country, the epidemic has further strained an already vulnerable foster care system,
with nearly half a million children in the system in 2015.7 High rates of intravenous drug use among individuals with opioid-use
disorders have led to local outbreaks of HIV and Hepatitis C. 8,9 The epidemic is so far-reaching that it is an important factor
contributing to the declining life expectancy of the nation.10

Alongside these consequences is the fact that millions of Americans continue to experience high levels of chronic pain.11 Such
pain is a major source of disability and in addition to being associated with conditions such as depression and anxiety, chronic
pain is also associated with increased mortality from other causes such as cardiovascular disease.12 While several factors have
contributed to the large increases in prescription opioid use in the past two decades, the high prevalence of chronic pain has
been an important driver.

In 2014, at the invitation of the Clinton Foundation and the Johns Hopkins Bloomberg School of Public Health, a diverse group
of experts came together to chart a path forward to address the opioid epidemic. The group, including clinicians, researchers,
government ofﬁcials, injury prevention professionals, law enforcement leaders, pharmaceutical manufacturers and distributers,
lawyers, health insurers, and patient representatives, reviewed the current state of the evidence, identiﬁed strategies to address
alarming trends in injuries and deaths from these drugs, and made recommendations for action that were released in 2015.13
More than two years later, despite the efforts of many committed stakeholders, far too many lives continue to be lost.

While more injuries and deaths are occurring from opioids than ever before, the epidemic has also evolved. The volume of opioids
prescribed, while still dwarﬁng that of other countries, plateaued in 2010 and since then, prescribing volume has modestly
declined. In many communities, there is increasing awareness of the epidemic as well as a growing demand for prevention and
treatment services. Increasing public support for such treatment has led to bipartisan efforts to improve funding and the delivery
of more comprehensive and coordinated care for those with opioid-use disorders. Health care organizations, ranging from
professional societies to health systems to pharmacies, are modifying their policies, procedures, and best practices to improve
the care of those in pain and to identify and treat those with opioid-use disorders.

In this context, we have taken a fresh look at what remains a daunting challenge – stemming the tide of opioid–related injuries
and deaths in the United States and improving care for those in pain. In addition to updating the evidence-base and timeliness
of prior recommendations, we have also made several other modiﬁcations to our report, such as addressing the role of stigma
and harm reduction in improving the treatment system. Our report reﬂects many changes from our previous analysis, but our
commitment to the principles which motivated it remain unchanged:

INFORMING ACTION WITH EVIDENCE
An increasing number of evidence-based interventions exist to inform action to address this public health emergency; these
should be scaled up and widely disseminated. Furthermore, many promising ideas remain evidence-informed, but have not yet
been rigorously evaluated. The urgent need for action requires that we continue to rapidly implement and carefully evaluate these
promising policies and programs. The search for new, innovative solutions also needs to be supported.

INTERVENING COMPREHENSIVELY
We support approaches that intervene all along the supply chain, and in the clinic, community, and addiction treatment settings.
Interventions aimed at stopping individuals from progressing down a pathway that will lead to misuse, addiction, and overdose
are needed. Effective primary, secondary, and tertiary prevention strategies are vital, including among those actively using opioids
non-medically. The importance of creating synergies across different interventions to maximize available resources is also critical.



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FROM THE EDITORS


PROMOTING APPROPRIATE AND SAFE USE OF PRESCRIPTION OPIOIDS
Used appropriately, prescription opioids can provide relief to patients. However, these therapies are often prescribed in quantities
and for conditions that are excessive, and in far too many cases, beyond the evidence base. Such practices, and the lack of
attention to safe use, storage, and disposal of these drugs, contribute to opioid-use disorders and the overdose increases that
have occurred. We support efforts to maximize the favorable risk-beneﬁt balance of prescription opioids by optimizing their use
in circumstances supported by evidence-based clinical practice guidelines.

In summary, this report provides a comprehensive, updated review of these target points of opportunity and summarizes the
evidence in support of these recommendations for advancing the ﬁeld through policy and practice. With rapid increases in the
prevalence of opioid-use disorders and overdose deaths in this country as well as high rates of untreated pain, we are committed
to assuring that what is known through research is translated to policymakers and practitioners. Uptake and implementation
of these recommendations are needed to address the opioid epidemic that is continues to devastate families and communities
throughout our country. Thank you for your personal efforts to help turn the tide.


G. Caleb Alexander, M.D., M.S.
Shannon Frattaroli, Ph.D., M.P.H.
Andrea Gielen, Sc.D., Sc.M.




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               Improving the Safe Use
               of Prescription Opioids
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                                                                  IMPROVING THE SAFE USE OF PRESCRIPTION OPIOIDS


Prescription opioids serve a vital role in the treatment of cancer pain and pain at the end of life. However, during the past
two decades, their use in many other clinical settings, especially for the treatment of chronic non-cancer pain, has soared.
Between 1999 and 2012, the volume of opioids prescribed increased more than 400 percent, such that by 2012, enough
opioids were dispensed to provide every adult in the United States with a one-month continuous round-the-clock supply of pills.

These increases in use have been accompanied by consistent increases in rates of addiction, injuries, and overdose deaths,
such that drug overdoses are now the leading cause of death among Americans under 50 years of age.14 Since 2010, modest
declines in opioid sales have been reported, though the United States remains a far outlier when it comes to opioid prescribing,
and there is also enormous variation in rates of opioid use around the country. In addition, concerns regarding injuries and
deaths from prescription opioids have been accompanied by a growing awareness of rapid increases in overdoses from heroin
and illicit fentanyl.

The vast majority of prescription opioids that are misused come from medications that are prescribed, dispensed, and then used
for non-medical purposes,15, 16 both by patients who receive the prescriptions as well as friends and family members. Physicians
and other health care providers overprescribe opioids for several reasons, and a small proportion of providers account for the
majority of opioids prescribed.17, 18 Health care providers who write or reﬁll an opioid prescription provide a simple, discrete
response which takes less time than educating a patient or providing counseling on non-pharmacologic therapies for pain
management in busy practice settings where patients may expect to receive a prescription.19 Referrals to multidisciplinary and
subspecialty management for pain medicine are not accessible in all regions of the United States. Prescribers have a limited
number of non-opioid medicines to treat patients who have moderate to severe chronic pain.20 Pharmaceutical companies
promote opioids through opioid related payments to advocacy and professional organizations21 as well as directly to prescribers,
which 1 in 12 US physicians received between 2013 and 2015.22

Challenges in the safe storage and proper disposal of prescription opioids also contribute to the opioid crisis. Most patients fail
to store opioid products in locked locations, including patients with children and adolescents who are particularly vulnerable
to risks of opioid misuse and overdose.23, 24 Many patients also retain unused opioids instead of disposing with them using
methods such as those suggested by the U.S. Food and Drug Administration (FDA).25 Collectively, these practices create
household reservoirs of opioids that facilitate misuse and diversion all across America. In some cases, prescription opioids are
diverted intentionally, while in other cases, they are used without the knowledge of the person for whom they were prescribed.
Approximately 70 percent of people who report non-medical use of prescription opioids state their most recently used drug came
from a friend or family member.26

The non-medical use of prescription opioids impacts communities across the nation and remains a major challenge, despite
modest reductions in opioid sales27 and non-medical use28 during the past few years. It is a problem that involves a legal product
that is manufactured, marketed and dispensed by professionals through a system that is subject at multiple points to government
oversight from different agencies at the federal and state level. That system has been ineffective in preventing the oversupply
of prescription opioids to communities where demand for these products has grown. The supply of prescription opioids is
connected to the manufacturing sector that controls production (e.g., the amount of product produced), chemistry (e.g.,
strength, composition, properties) and characteristics (e.g., crush resistance of pills, shelf life) of the drugs produced.

In the sections that follow, we consider ﬁve areas of effective response:
       1.    Prescription Drug Monitoring Programs, state-level programs governing the use of controlled substance
             prescribing information for providers, law enforcement and other stakeholders;
       2. Clinical Guidelines that synthesize information regarding the safety, effectiveness and risk-beneﬁt balance
          of prescription opioids in different clinical settings;
       3. Pharmacy Beneﬁts Managers and Pharmacies, two important stakeholders in the supply chain whose policies
          and procedures can reduce unsafe opioid use;
       4. Engineering Strategies, such as innovative packaging solutions that can reduce non-medical opioid use as well
          as diversion;
       5. Patient and Public Engagement, such as coordinated, community-based initiatives to raise awareness and
          facilitate action alongside other interventions that address the larger context in which the epidemic is occurring.




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1. OPTIMIZING PRESCRIPTION DRUG MONITORING PROGRAMS
Prescription Drug Monitoring Programs (PDMPs) collect information about controlled substance prescriptions from in-state
pharmacies and, for most PDMPs, mail order pharmacies that ship prescriptions into a state. Every state, as well as the District
of Columbia and Territory of Guam, has a PDMP.29 Through online access to their state’s database, physicians and other
prescribers can obtain clinical information regarding patients’ controlled substance prescriptions to inform treatment decisions.
Typically, information available through the PDMP includes drug name, type, strength, and quantity of drugs from previous
prescriptions. Pharmacists can access PDMP data prior to dispensing a controlled substance prescription. PDMPs organize
patient data in one location about controlled substance use in a way that can promote a culture of patient safety and quality
of care.

One state-level survey revealed that 70 percent of physicians believed that the PDMP reduced the volume of opioids that they
prescribed while increasing their comfort level with such prescribing; three-fourths of respondents (74%) reported that the data
provided by the PDMP were very useful for informing opioid prescribing.30 There is also evidence that PDMP implementation
is associated with signiﬁcant decreases in opioid prescriptions and opioid-related morbidity and mortality,31, 32, 33 although the
literature also includes ﬁndings suggesting otherwise,34 and the effects of laws mandating PDMP registration
and use remain an important area for further study.

PDMPs are under-used by prescribers. More than a quarter (28%) of primary care physicians in one national survey reported
not being aware of their state’s PDMP. While most clinicians (53%) reported having obtained data from their PDMP at some
point, they accessed data in fewer than a quarter of the instances when they prescribed an opioid.35 Physicians identify a
number of barriers to PDMP use, including that retrieving the information is too time consuming in the context of busy clinical
practice and that it is not user-friendly.36

While prescriber PDMP use may mitigate risks of opioid prescribing, practitioners may continue to unknowingly prescribe opioids
to persons who will develop or already have opioid-use disorders. Such individuals are also at potential risk of heroin use as well
as exposure to illicit fentanyl.37 With the beneﬁt of PDMP use, prescribers who identify persons with opioid-use disorders should
refer them to appropriate treatment centers and addiction specialists.

To reduce illicit prescription opioid trafﬁcking, law enforcement access to PDMP data is critical. Criminal enterprises such as
“pill mills” that issue prescriptions for cash with no clinical evaluation, organized forgery, or doctor shopping rings facilitate
non-medical prescription opioid use, and these supply channels should be a priority for law enforcement intervention.57 Despite
this, careful regulation of when and how law enforcement investigators access and use PDMP data is important. Concerns that
unfettered access could lead to individuals with opioid dependence being subject to criminal prosecution as opposed to being
directed to treatment must be considered.38, 39, 40

If PDMP registration can serve as a proxy for awareness, prescriber use remains a challenge, as even the highest rates of PDMP
registration do not ensure use. For example, during the ﬁrst quarter of 2012, Kentucky had the ﬁfth highest proportion
of registered prescribers of any state (49%), yet prescribers and pharmacists requested information for only six percent of
the 2.9 million controlled substance prescriptions dispensed.41 As of September 2017, 30 states mandated prescriber PDMP
enrollment, and 28 required pharmacist enrollment.42, 43, 44

In response to the problem of low PDMP use, state lawmakers and PDMP administrators have made several adjustments,
including:
       •     Authorization of delegates, such as approved prescribers’ staff, to request PDMP data. As of September 2017,
             48 states and the District of Columbia had laws authorizing delegates to request PDMP data, though only 36
             had engaged in such reporting.45
       •     Establishment of interoperability with electronic health records and health information exchanges developed
             through the Affordable Care Act. The Substance Abuse and Mental Health Services Administration (SAMHSA)
             is providing grants to support this work in 16 states.46 As of September 2017, PDMPs in 27 states offer health
             information exchange integration.47
       •     Proactive analysis of PDMP data and forwarding of unsolicited reports to prescribers and pharmacists noting when
             individuals’ prescribing patterns are outliers. When prescribers receive unsolicited reports from PDMP administrators,
             they increase their own data requests, suggesting an increased vigilance with regard to prescribing decisions.48, 49


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                                                     OPTIMIZING PRESCRIPTION DRUG MONITORING PROGRAMS


       •     Increased speed of data collection. Oklahoma collects data at the point of sale; another 42 states and the District
             of Columbia collect data daily, and eight states collect data every 3-8 days.37, 50
       •     Increased interstate PDMP data sharing so prescribers can observe prescriptions dispensed in other states.
             Forty-three states share data with other states and six others are working toward these agreements.51

States with low prescriber utilization are also increasingly mandating PDMP use. As of September 2017, 39 states mandate
PDMP use under some circumstances.37 Kentucky, in 2015, was the ﬁrst state to mandate comprehensive PDMP use.
Prescribers’ PDMP use increased following the mandate,52 and decreases in opioid prescribing, doctor shopping, and
prescription overdose hospitalizations were noted in a 2015 evaluation. Although heroin treatment admissions rose during
the study period, this increase began prior to the mandate. Like Kentucky, other comprehensive mandate states, such as
Tennessee, New York, Ohio, and Wisconsin, experienced rapid increases in PDMP registrations, PDMP use, and prescribing
of buprenorphine, indicative of increased treatment of opioid-use disorders.53, 54 States also experienced decreases in high-risk
prescribing, including for commonly misused controlled substances; combination prescribing of opioids, benzodiazepines,
and muscle relaxants; and in multiple provider, or “doctor-shopping,” episodes. As of September 2017, 24 states have enacted
statutory mandates for comprehensive PDMP use and such mandates have been recommended by the National Governors
Association,55 Pew Charitable Trusts,56 and Shatterproof, an organization representing families.57 While speciﬁc criteria for use
vary, in some settings use is mandated when opioids are prescribed for the ﬁrst time, and if treatment continues, every 90
days thereafter, except for speciﬁc circumstances such as for prescriptions of three days or less without reﬁlls or for terminally
ill patients.

Additional professional groups that could use PDMP data to reduce opioid overuse and diversion include:

Third-party health care payers and their pharmacy beneﬁt managers (PBMs) that can intervene with prescribers, dispensers,
and patients.58,59

Professional licensing boards that oversee clinicians and have an interest in identifying who may be self-prescribing for a
possible opioid-use disorders as well as who has high-risk prescribing or dispensing patterns.60,61,62

Public health agencies that provide an early warning system for communities about the risks of opioid overdose and death63,64
and intervene to prevent further harms.65,66 This should include identifying persons at high risk due to co-prescribing of opioids
and benzodiazepines, high volume morphine milligram equivalents, and other factors. Public health interventions should be
employed as when disease registries identify persons who have positive infectious disease laboratory reports. Public health
authorities can also take administrative action, such as revoking a state authorization to prescribe controlled substances, for
prescribers who are practicing medicine far outside the standard of care.


RECOMMENDATIONS FOR ACTION
1.1 MANDATE PRESCRIBER PDMP REGISTRATION AND USE
States should mandate prescriber PDMP registration and use in order to achieve more comprehensive and effective use of
PDMP data in treating patients. Access to this information should be a routine part of patient care as new ways are sought
to maximize the value of PDMP information to clinicians and patients. Criteria guiding requirements for mandated use have been
established. Such changes will require modiﬁcations to clinical workﬂow that in turn will require additional resources
to address.

Rationale: Mandatory PDMP registration and use policies are associated with increased use, and most evidence suggests PDMP
use is associated with decreased opioid prescribing and adverse events.

Current Status: Thirty states mandate PDMP registration and 39 mandate that prescribers register and use PDMPs in at least
some clinical circumstances.




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OPTIMIZING PRESCRIPTION DRUG MONITORING PROGRAMS


1.2 PROACTIVELY USE PDMP DATA FOR EDUCATION AND ENFORCEMENT.
States should analyze their PDMP data to identify:
       1.    High volume prescribers who deviate from standards of care for review;
       2. Potential inappropriate or illegal activities for increased oversight of controlled substance prescribing; and
       3. Inappropriate and/or illegal use for intervention. Primary recipients of PDMP data reports should include prescribers,
          dispensers, professional licensing boards, law enforcement agencies, and state and community prevention and
          treatment programs.

The types of information included in data reports should vary depending on recipients’ roles. For example, reports to law
enforcement should focus on identifying clinics or providers with exceptionally high volume prescribing that may signal illegal
activities.

Rationale: Many PDMPs underutilize their data and do not engage in proactive reporting, nor do they participate in the
Prescription Behavior Surveillance System or state-based equivalent reporting. Better use of PDMP data will help to identify
opportunities for intervention and prevent non-medical use and overdose through education and enforcement.

Current Status: Forty states engage in proactive data analysis and reporting as of September 2017. Only ﬁve states provide
unsolicited reports to all four primary recipient groups: prescribers, dispensers, professional licensing boards, and law
enforcement agencies.68

Twelve states participate in the Prescription Behavior Surveillance System by sending de-identiﬁed PDMP data to and receiving
reports from the Brandeis PDMP Center of Excellence. The Centers for Disease Control and Prevention and the Food and Drug
Administration fund the project through an agreement with the Bureau of Justice Assistance.69 States not participating in the
Prescription Behavior Surveillance System can initiate their own data analysis and sharing with state and community prevention
and treatment programs.

1.3 AUTHORIZE THIRD-PARTY PAYERS TO ACCESS PDMP DATA WITH A PLAN FOR APPROPRIATE USE AND
    PROPER PROTECTIONS
States should authorize Medicaid, Medicare, the Veterans Administration, Department of Defense, Indian Health Service,
workers’ compensation carriers, and private third-party health care payers to access PDMP data for their enrollees. This access
should come with patient protections to assure, for example, that data sharing does not result in changes in coverage or pricing.70
The authorization should also allow Pharmacy Beneﬁt Managers to access the data as agents of the third-party payers for whom
they manage beneﬁts. See Section 3 of this report for more information on Pharmacy Beneﬁt Managers.

Rationale: Access to PDMP data can provide third-party payers with the ability to identify and contact prescribers whose
prescribing practices expose enrollees to unnecessary risks; identify enrollees who are obtaining high-risk prescriptions, contact
their prescribers, create prescription limitations, and monitor compliance thereafter; and identify pharmacies where dispensing
may put enrollees at risk. Such access may provide valuable information to inform internal policies that address opioid-use
disorders associated with prescribed opioids. Careful consideration of enrollee protections is essential to protecting patients’
rights and guarding against abuse.

Current Status: Thirty-six states and one territory authorize some combination of third-party payers to access PDMP data. Seven
states provide access to Medicare and ﬁve states to commercial third-party payers.71 Washington State authorizes Medicaid and
Workers Compensation to access the PDMP data in bulk.72




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                                                     OPTIMIZING PRESCRIPTION DRUG MONITORING PROGRAMS


1.4 EMPOWER LAW ENFORCEMENT AND LICENSING BOARDS FOR HEALTH PROFESSIONS TO INVESTIGATE HIGH-
    RISK PRESCRIBERS AND DISPENSERS
States should direct their PDMPs to proactively analyze these data to promote best standards of patient care and safety
associated with opioid prescribing. Where such analyses reveal possible misconduct, that information should be provided to
licensing boards and law enforcement for review.

Rationale: The centralized information source provided by PDMPs offers an opportunity for states to promote these data as tools
for improving quality of care and patient safety. When questions about possible misconduct arise, licensing boards need access
to PDMP data to review possible misconduct, and when warranted, share that information with the relevant law enforcement
authorities.

Current Status: Forty-ﬁve states, Guam, and the District of Columbia permit their licensing boards to access PDMP data;
18 of the states send unsolicited reports to licensing boards.73

Twenty states proactively analyze and send unsolicited reports to law enforcement agencies, and 28 allow law enforcement to
solicit reports.74

1.5 WORK WITH INDUSTRY AND STATE LAWMAKERS TO REQUIRE IMPROVED INTEGRATION OF PDMPS INTO
    ELECTRONIC HEALTH RECORDS SYSTEMS
Most PDMPs are largely web-based, standalone platforms requiring a separate workﬂow. This is inefﬁcient and substantially
decreases their utility and promise.

Rationale: PDMP use takes up to three times longer than other computer-based tasks, and the additional time and effort required
is a large barrier to regular use.75,76 Incorporating PDMPs into Electronic Health Records systems has the potential to reduce this
burden and increase use.67

Current Status: The Ofﬁce of the National Coordinator for Health Information Technology, in coordination with SAMHSA and
others, has been involved in trials to integrate PDMPs into Electronic Health Records systems in a variety of settings, with
generally positive results.77 Twenty-seven states offer one or more forms of PDMP integration with Electronic Health Records and/
or health information exchanges.78

1.6 ENGAGE STATE HEALTH LEADERSHIP TO ESTABLISH OR ENHANCE PDMP ACCESS ACROSS STATE LINES
Enact state policies that mandate interconnection of state PDMPs.

Rationale: In many areas of the U.S. PDMPs are of limited effectiveness if providers are unable to access information about
prescriptions in neighboring states.79

Current Status: Forty-three states currently engage in interstate PDMP interoperability and six are working toward it as of 2017.80




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2. STANDARDIZING CLINICAL GUIDELINES
A balanced approach to the opioid epidemic acknowledges both that appropriate and evidenced-based opioid prescribing beneﬁts some
groups of patients, and that urgent action is needed to minimize harm from the use of these products in many settings where they have
an unfavorable risk-beneﬁt balance.81,82 Data-driven analyses and the clinical community broadly support opioids as part of a multimodal
regimen in the treatment of acute pain after surgery,83 cancer pain,84,85 and pain in end-of-life, hospice, and palliative settings.86 While
indicated, opioid prescribing in some acute clinical contexts may contribute to harms by inadvertently transitioning patients from short-
term to long-term use and facilitate the development of opioid-use disorders in some patient subgroups.87,88 At the same time, policies to
support appropriate access to prescription opioids may be associated with fewer unintended consequences than overly broad and blunt
restrictions on opioid prescribing.89

Prescription opioids have been demonstrated as efﬁcacious for the short-term treatment of chronic non-cancer pain, such as that
caused by headaches, ﬁbromyalgia, or lower back pain. For example, opioids have been shown to reduce nociceptive and neuropathic
pain in chronic non-cancer settings for durations less than 16 weeks.90,91 However, there is little to no moderate or high-quality evidence
suggesting the long-term beneﬁts from prescription opioids among patients with these diagnoses. In addition, data clearly shows that
long-term opioid use increases the risk of adverse outcomes such as opioid misuse, overdose, and other adverse events.92 Widely
accepted clinical guidelines for chronic non-cancer pain do not recommend prescription opioids as ﬁrst-line treatment.93,94 Rather, these
guidelines recommend non-pharmacologic and non-opioid pharmacologic therapies as the preferred treatment for chronic pain, a
careful assessment of risks and beneﬁts when considering opioid prescribing, and only prescribing opioids when beneﬁts are anticipated
to outweigh risks. Despite this, several factors, including a lack of studies assessing long-term outcomes of opioid therapy for chronic
pain and misperceptions on the part of prescribers and patients regarding the appropriateness of opioids for chronic pain, persist. The
net result is that many clinicians continue to prescribe opioids for patients with chronic non-cancer pain in a manner at odds with the
best available evidence.

In 2016, the Centers for Disease Control and Prevention (CDC) published a Guideline for Prescribing Opioids for Chronic Pain. The
Guideline provides the most recent and comprehensive synthesis of data on opioid prescribing for chronic non-cancer pain.95 The CDC’s
guidelines carefully balance the risks and beneﬁts of opioid prescribing. The synthesis of evidence details when to start or continue
opioids, how to select opioids and conduct patient follow-up, and how to assess the beneﬁts and risks from prescription opioids in
patients with chronic non-cancer pain. Because the dose of opioid medication differs based on the type of opioid prescribed, prescribers
need to calculate morphine milligram equivalents (MME) to understand the risks associated with opioid prescribing. A continuum of risks
exists as MME increases, and no established MME dose fully mitigates the risk of opioid use. Despite this, recommended thresholds that




                           CDC GUIDELINE FOR PRESCRIBING OPIOIDS FOR CHRONIC PAIN
                                                                          United States, 2016
The CDC Guideline addresses patient-centered clinical practices including conducting thorough assessments, considering all possible
treatments, closely monitoring risks, and safely discontinuing opioids. The three main focus areas in the Guideline include:

    DETERMINING WHEN TO INITIATE OR CONTINUE                                                    ASSESSING RISK AND ADDRESSING HARMS OF
    OPIOIDS FOR CHRONIC PAIN                                                                    OPIOID USE
     • Selection of non-pharmacologic therapy, non-opioid                                        • Evaluation of risk factors for opioid-related harms and ways
       pharmacologic therapy, opioid therapy                                                       to mitigate patient risk
     • Establishment of treatment goals                                                          • Review of prescription drug monitoring program (PDMP) data
     • Discussion of risks and beneﬁts of therapy with patients                                  • Use of urine drug testing
                                                                                                 • Considerations for co-prescribing benzodiazepines
    OPIOID SELECTION, DOSAGE, DURATION, FOLLOW-UP,                                               • Arrangement of treatment for opioid-use disorders
    AND DISCONTINUATION
     • Selection of immediate-release or extended-release and long-
       acting opioids
     • Dosage considerations
     • Duration of treatment
     • Considerations for follow-up and discontinuation                                            Dowell D, Haegerich TM, Chou R. CDC Guideline for Prescribing Opioids for Chronic Pain –
       of opioid therapy                                                                                               United States, 2016. MMWR Recomm Rep 2016;65(No. RR-1):1–49.
                                                                                                                                            DOI: http://dx.doi.org/10.15585/mmwr.rr6501e1




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                                                                                                  STANDARDIZING CLINICAL GUIDELINES


denote increased risk include doses of 50 MME/day, 90-100 MME/day, and 200 MME/day.

While much of the focus of the opioid epidemic has been on prescription opioids, there are many alternative pharmacologic and non-
pharmacologic treatments that can be used to manage chronic non-cancer pain. Additional non-opioid pharmacologic agents include
acetaminophen, non-steroidal anti-inﬂammatory drugs (NSAIDs), select anti-depressants, muscle relaxants, select anticonvulsants, and
topical analgesics. The appropriateness of these non-opioid treatments depends upon a variety of factors, including the origin and type
of pain, patient age and comorbidities, and patient and clinician experience and preference, to name a few. There are also many non-
pharmacologic therapies that can be used for the management of pain, including physical therapy, therapeutic massage, acupuncture,
biofeedback, yoga, and heat or cold therapies. Efforts to improve care for those in pain as well as to reduce the overuse of prescription
opioids, should be informed by knowledge and examination of these complements and alternatives to opioids,96 and in some cases, the
adequacy of insurance coverage supporting their use.97

There is also growing interest in the potential role of cannabis in the management of those with chronic non-cancer pain. Chronic pain is
the most common indication for medical cannabis, and there is some suggestive evidence from ecological studies indicating that opioid
use98 and overdose are reduced after states implement medical cannabis laws.99,100 However, there is
a dearth of high-quality evidence from controlled trials on the effectiveness of cannabis as a supplement for opioids, and there
is also evidence that cannabis use may increase risk of non-medical prescription opioid use and prescription opioid-use disorders.101 In
2017, the National Academies of Sciences, Engineering, and Medicine noted that cannabis can effectively treat chronic pain, but also
underscored that there is uncertainty and known adverse outcomes associated with cannabis use, such as the risk of motor vehicle
accidents.102 Most studies demonstrated short-term reductions in pain using oral cannabis extracts, such as nabiximol, in trials outside
of the U.S., while a small group of U.S.-based studies suggested that a vaporized or smoked cannabis ﬂower reduces chronic pain in the
short-term. However, cannabis available for medical research differs in formulation, strength, and chemical composition from cannabis
products sold to consumers in state markets. Consequently, the safety and efﬁcacy of commercially available cannabis products is largely
unknown.

Providers may prescribe opioids through a written or electronic prescription. Electronic prescribing of prescription opioids
offers numerous advantages, including fewer dosing errors, reduced fraud, greater security through two-factor authentication, and
enabling enhanced surveillance.103 Electronic prescribing also facilitates the use of clinical decision support tools that can guide
prescribers to implement evidenced-based practices during routine clinical care.104 While federal regulations in the U.S. Drug
Enforcement Agency’s Practitioner’s Manual only permit written prescriptions for opioids, the Agency permitted electronic prescribing for
controlled substances in 2010 which effectively legalized electronic prescribing of controlled substances in all
50 states. However, only one in ﬁve providers work in health systems that enable electronic prescribing and fewer than 15 percent of
controlled substance prescriptions are electronic.105,106

RECOMMENDATIONS FOR ACTION
2.1 WORK WITH STATE MEDICAL BOARDS AND OTHER STAKEHOLDERS TO ENACT POLICIES REFLECTING THE CENTERS
    FOR DISEASE CONTROL AND PREVENTION’S (CDC’S) GUIDELINE FOR PRESCRIBING OPIOIDS FOR CHRONIC PAIN
State medical boards should take concrete steps toward implementing the CDC’s Guideline. Such steps might include use of the
Guideline during disciplinary investigations as one factor for deciding whether a physician is practicing outside the standard of care. Such
an approach will save the time and money involved in developing separate guidelines, and will contribute toward national parity with
regard to prescription policies.

Rationale: The Guideline, issued in 2016, remains the gold standard for a comprehensive, evidence-based approach to prescribing
opioids for chronic non-cancer pain in primary care. These evidence-based recommendations set the standard for how to address co-
prescribed medications, safety information on dosing standards, and guidance from writing the ﬁrst prescription to tapering patients.

Current Status: Since releasing the Guideline in 2016, the CDC has developed a variety of resources, including a companion smartphone
app, to foster dissemination and implementation.107 While dissemination of the Guideline has resulted in high
rates of awareness among providers and policymakers, implementation across states remains an understudied area.




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STANDARDIZING CLINICAL GUIDELINES


2.2 MANDATE ELECTRONIC PRESCRIBING OF OPIOIDS
Federal agencies and state jurisdictions should accelerate the adoption of electronic opioid prescribing through mandates
to health systems and prescribers.

Rationale: Electronic opioid prescribing offers multiple advantages to written prescriptions, including improving surveillance
of opioid prescribing and reducing rates of error, duplication, and forged prescriptions. Electronic prescribing also permits
the use of clinical decision support systems, which help providers apply evidenced-based guidelines when prescribing opioids.

Current Status: Electronic prescribing of controlled substances is legal in all 50 states. As of September 2016, only one in
ﬁve providers have health systems that enable electronic prescribing and fewer than 15 percent of transactions for prescriptions
for controlled substances occur electronically.108,109

2.3 STANDARDIZE METRICS FOR OPIOID PRESCRIPTIONS
Federal Drug Enforcement Agency regulations should mandate that opioid prescriptions identify and record daily and total morphine
milligram equivalents (MME) as measures of opioid exposure.

Rationale: The effective dose of opioid varies based on the type of opioid prescribed. MMEs require calculation and convey important
information about the risk of opioids to prescribers, patients, and payers.

Current Status: The Drug Enforcement Agency has no mandate that opioid prescriptions include total and daily MMEs on
opioid prescriptions.


2.4 IMPROVE FORMULARY COVERAGE AND REIMBURSEMENT FOR NON-PHARMACOLOGIC TREATMENTS AS WELL AS
    MULTIDISCIPLINARY AND COMPREHENSIVE PAIN MANAGEMENT MODELS
Payers should invest in care models for chronic pain that emphasize non-pharmacologic treatments as well as collaborative
care by different medical specialties and non-physician caregivers.

Rationale: Evidence-based non-opioid treatments such as cognitive behavioral therapy, physical therapy, exercise, and acupuncture
represent tools for the management of chronic pain that may help patients avoid initiation of opioid therapy
or transition from long-term opioid use. Formularies drive patients and providers toward preferred treatment choices. Improving coverage
of non-opioid alternatives would help to promote the use of pharmacologic and non-pharmacologic approaches that have a better risk-
beneﬁt balance than opioids for many patients.

Current Status: Formulary coverage and reimbursement for non-pharmacologic and multidisciplinary pain treatment does
not have parity with traditional models of health care that emphasize medication prescribing and encounters with physicians,
and even when covered, utilization management criteria such as prior authorization and quantity limits may prevent access
to non-pharmacologic treatments.




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3. ENGAGING PHARMACY BENEFITS MANAGERS AND PHARMACIES
Pharmacy Beneﬁts Managers (PBMs) manage the pharmacy beneﬁts for health plans and large employers, and thus, have
an important opportunity to help reverse the opioid epidemic through coverage policies and programs, policies and procedures
to reduce inappropriate prescribing and to intervene with individuals likely to be diverting prescription opioids or using them for
non-medical purposes. Because PBMs work closely with health plans to design coverage beneﬁts, some analyses have focused
jointly on the role that PBMs and health insurers can play, especially in populations such as Medicaid recipients where non-
medical use and opioid-use disorders are more common relative to other insured populations.110

PBMs can use several approaches to improve the safe use of prescription opioids. First, PBMs can use “formulary controls”
to guide patients and prescribers toward the safest, most cost-effective medications and cover these drugs at a lower member
cost share to encourage their use. The degree to which PBMs have effectively deployed these programs with a priority towards
maximizing the safe use of opioids is not clear,111 and opportunities undoubtedly remain. Some products, such as extended-
release hydrocodone, promethazine with codeine syrup, and carisoprodol,112 have been excluded from some formularies due
to concerns about the potential for non-medical use. The ultimate goal of formulary design should be to ensure safe, cost
effective therapy and better quality of care, consistent with the CDC’s Guideline for Prescribing Opioids for Chronic Pain.113

In addition to formulary design, PBMs employ utilization management programs such as concurrent drug utilization review,
prior authorization, precertiﬁcation, and quantity limits to reduce non-medical use and diversion. Reports suggest signiﬁcant
reductions in opioid prescribing from these programs114,115,116 though evaluations tend to be proprietary, as well as limited in
the type of outcomes examined. Just as utilization management strategies may be deployed to restrict opioid use, removal of
such programs may be undertaken to improve access to buprenorphine treatment for opioid dependence.117 For patients who
have particularly high-risk controlled substance use and whose utilization cannot be safely addressed using other mechanisms,
insurers or PBMs may enroll the member in a pharmacy and/or prescriber restriction program. These programs, also known as
“lock-in” programs, are applied to fewer than 1 in 1,000 individuals who are prescribed controlled substances, and have been
used by state Medicaid programs for many years. Restricted recipient programs limit an individual to receiving their controlled
substance prescriptions from one prescriber and one pharmacy for allowed insurance payment, or else the individual must
pay cash. These interventions have demonstrated some positive impacts at the state level, including reduced use of controlled
substances and emergency room visits as well as cost savings.118,119

Many PBMs also perform prescription claims reviews using software algorithms to identify prescribers, pharmacies, or patients
who may be using opioids unsafely or else potential fraudulently prescribing, dispensing or using opioids. For example, PBMs
may perform retrospective analyses to identify members visiting multiple prescribers or pharmacies, exceeding a threshold of
morphine milligram equivalent (MME) daily or ﬁlling multiple simultaneous controlled substance claims. Since PBM surveillance
criteria are proprietary, little is known regarding their validity, such as how closely they are associated with opioid-related injuries,
deaths, health care use, or spending. However, some information about speciﬁc criteria used in select PBM interventions has
been published.120,121,122

The Centers for Medicaid and Medicare Services (CMS) implemented an approach to identify high-dose and potentially unsafe
opioid use in 2013. The criteria identify beneﬁciaries using high doses of opioids (>120 MME) for 90 or more consecutive days
and also those who are receiving opioids from four or more prescribers and four or more pharmacies. Plans must implement
utilization review and case management, usually performed by the PBM, for the identiﬁed beneﬁciaries and report back to
CMS.123 The non-proﬁt Pharmacy Quality Alliance has also developed several quality metrics aimed at the opioid epidemic
including one focused on the use of opioids at high dosage in persons without cancer. This measure was included in the
Medicaid Adult Core Set of measures in 2016.124 PBMs can use CMS and Pharmacy Quality Alliance criteria to identify at-risk
members across their insured lives.

While more expensive and complicated to administer, payers and PBMs also have employed more intensive treatment programs
for patients with opioid-use disorders and frequent health care use. For example, one payer implemented a Behavioral Health
Medication Assistance Program that consisted of nurses and psychologists working with physicians to evaluate members at risk
or in treatment for an opioid-use disorders. While impressive gains were reported, such as a 35 percent reduction in hospital
admissions, as with many other analyses, these evaluations were based on proprietary data subject to several limitations.125
Another PBM utilized a managed care pharmacist to implement a prescriber controlled substance intervention and reported a
four to one return on investment.126



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ENGAGING PHARMACY BENEFITS MANAGERS AND PHARMACIES


In one synthesis of the effect of insurer and PBM strategies to address opioid overuse, most studies examined some combination
of patient review and restriction programs, drug utilization review programs, or prior authorization and quantity limit programs.127
These assessments usually evaluated the effect of such programs on cost savings and changes in utilization; analyses of the
effect of these strategies on health outcomes was rare. Many of these programs demonstrated signiﬁcant reductions in the
outcomes examined, such as the mean number of controlled substance claims, long-acting opioid prescriptions, carisoprodol
prescriptions, and overall rates of opioid and sedative use. Despite this, studies were of low quality, often because of the absence
of suitable comparison groups, long-term follow-up, and robust methods to address the potential for unmeasured confounding
or co-interventions.128

Pharmacies also are an important stakeholder in the health care supply chain and distribution system for prescription opioids
in the United States. Pharmacies’ resources, programs, and policies vary across different types of pharmacies including retail
chain pharmacies, mass retailers, food stores, and independent, government, and clinic-based pharmacies. State and federal law
govern some elements of their conduct with respect to reducing non-medical opioid use and diversion. For example, the removal
of prescriber dispensing privileges to curtail both diversion and inappropriate opioid prescribing is feasible and supported by state
and federal law. Such actions are quite rare, yet given the high volume of opioids accounted for by a small group of prescribers,
these actions may nevertheless have an important impact on the overall volume of controlled substances dispensed.129 Both
the Drug Enforcement Agency and state boards of pharmacy require pharmacists to use sound professional judgment when
determining whether to ﬁll opioid prescriptions.

Both PBMs and pharmacies play an important role in the increasing prevalence of electronic prescribing. Electronic prescribing
for opioids has the potential to reduce forgery and fraudulent controlled substance prescriptions.130 In 2016, fewer than
15 percent of the U.S. controlled substance prescriptions were electronically prescribed.131,132 New York’s Internet System
for Tracking Over Prescribing (I-STOP) law was enacted in March 2016 and facilitated a 54 percent increase in electronic
prescribing of controlled substances during 2016. Additional laws and evaluations to monitor their impact will be critical to
maximizing the use of electronic prescribing as a tool for more effectively controlling the prescription opioid supply.

Many of the practices identiﬁed above, ranging from PBMs utilization management programs to pharmacy education programs,
can be potentiated by the accessibility of PDMP data, since such data allows for a uniﬁed and comprehensive view of patients’
prescription opioids prescribed as well as the ability to identify and personalize clinical outreach for speciﬁc patients based
on their risk of potential injury or death from prescription opioids. The role of PDMPs in reducing non-medical opioid use and
diversion is addressed in Section 1, including the interface between PDMPs, PBMs, and pharmacies. These interfaces have also
been discussed elsewhere.133,134

Although not widely enacted, “take-back” programs that foster safer medication disposal by allowing for patients to return
unused or unwanted opioids may also help to reduce the potential for diversion of opioids from licit to illicit channels. Pharmacies
provide a convenient site for individuals to dispose of their unused opioid prescriptions, and recent federal law has clariﬁed
the legal framework in support of such activities. Evidence supporting the effectiveness of allowing pharmacies to take back
and destroy prescription drugs is anecdotal, and additional discussion regarding these programs is presented in Section 5 of
this report.

RECOMMENDATIONS FOR ACTION
3.1 INFORM AND SUPPORT EVALUATION RESEARCH OF PBM AND PHARMACY INTERVENTIONS TO ADDRESS
    THE OPIOID EPIDEMIC
PBMs and pharmacies are engaged in opioid interventions. Research is needed to evaluate the clinical and economic impact
of these efforts. A stakeholder meeting to review research that is in progress and to identify priorities for new research is needed
to inform investment in this area.

Rationale: Without high-quality evaluations of interventions, PBMs and pharmacies will lack a reliable evidence-base to inform
how best to invest prevention dollars.

Current Status: The Patient-Centered Outcomes Research Institute (PCORI) has no funded projects on this topic. The CDC and
the National Institute on Drug Abuse (NIDA) have sponsored modest extramural funding in this area. The private sector conducts
research, much of which goes unpublished.


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                                             ENGAGING PHARMACY BENEFITS MANAGERS AND PHARMACIES


3.2 CONTINUE THE DEVELOPMENT AND ENHANCEMENT OF EVIDENCE-BASED CRITERIA TO IDENTIFY
    INDIVIDUALS AT ELEVATED RISK FOR OPIOID-USE DISORDERS OR OVERDOSE, AND OFFER ADDITIONAL
    ASSISTANCE AND CARE TO THESE PATIENTS
The Centers for Medicaid and Medicare Services (CMS) and the Pharmacy Quality Alliance have developed criteria to identify
beneﬁciaries using high doses of opioids or using opioids in a high-risk manner, such as concomitantly with benzodiazepines.
PBMs should be encouraged to use CMS and Pharmacy Quality Alliance criteria to identify at-risk members across their insured
lives and to create evidence-based clinical programs for member or prescriber outreach.

Rationale: Criteria currently used to identify individuals at high risk for an opioid-use disorders or overdose require further
reﬁnement and validation.

Current Status: State Medicaid, managed care plans, and PBMs are using varying methods with varying degrees of evidence
to support efforts to identify and respond to at-risk individuals.

3.3 IMPROVE MANAGEMENT AND OVERSIGHT OF INDIVIDUALS WHO ARE PRESCRIBED OPIOIDS FOR CHRONIC
    NON-CANCER PAIN
Encourage the states and CMS to incentivize PBMs through the Medicaid Innovation Accelerator Program and CMS Innovation
Center to implement and rigorously evaluate innovative medication management strategies consistent with the CDC Guideline135
for targeted management of individuals prescribed opioids for chronic non-cancer pain.

Rationale: Managed care plans and PBMs are uniquely positioned to implement utilization management programs for ensuring
safe opioid prescribing consistent with the CDC Guideline.

Current Status: A systematic assessment of how plans and PBMs are currently implementing and evaluating management
and oversight of individuals who are prescribed opioids for chronic pain does not exist.

3.4 SUPPORT RESTRICTED RECIPIENT (LOCK-IN) PROGRAMS AMONG SELECT HIGH-RISK PATIENT POPULATIONS
PBMs and plan sponsors should be encouraged to implement restricted recipient programs among select, high-risk patient
populations in commercial, Medicaid, Medicare Advantage, and Part D plans.

Rationale: Lock-in programs among high-risk populations have demonstrated to be successful among select Medicaid programs.
For high-risk patients, such programs offer an opportunity to enhance the coordination and quality of their care.

Current Status: In June 2016, the Comprehensive Addiction and Recovery Act (CARA) was signed, which included “lock-in”
provisions for at-risk Part D beneﬁciaries. As of December 2016, the Department of Health and Human Services was determining
the criteria for such programs.

3.5 IMPROVE MONITORING OF PHARMACIES, PRESCRIBERS, AND BENEFICIARIES
All PBMs should provide a list of pharmacies, prescribers, and beneﬁciaries to the National Beneﬁt Integrity Medicare Drug
Integrity Contractor (NBI MEDIC) that meet a threshold of concern for opioid prescribing. Based on these reports, MEDICs
should share information about providers of concern with CMS.

Rationale: This information exists and can be used to address possible sources of diversion.

Current Status: Most PBMs are providing a list of pharmacies, prescribers, and beneﬁciaries that meet certain criteria of concern
to NBI MEDIC. CMS is engaged with some follow-up of this information.




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4. IMPLEMENTING INNOVATIVE ENGINEERING STRATEGIES
The U.S. Food and Drug Administration (FDA) highlighted the potential for innovative packaging solutions to be a part of the
Agency’s response to the role of prescription opioids in opioid-use disorders when it published a notice for public comment in
the Federal Register in April 2014. Prescription packaging designs have evolved signiﬁcantly in the past decade and now include
many features – such as electronic systems for monitoring, accessing, and improving adherence to medication regimens – that
also could help to prevent the diversion of prescription opioids. Examples of design strategies cited in the FDA notice include:
prescription dispensing systems that remind patients to take a dose, track when a dose is taken, and limit further access until
the next dose is due; radio-frequency identiﬁcation-based systems; and microchips embedded within tablets. Often these
technologies are packaged with data capture systems to provide feedback to providers on adherence, use, and tampering.136

The FDA has continued to examine packaging, storage, and disposal systems to enhance opioid safety, such as through a
public and private sector workshop that was held in June 2017.137 The group that was convened identiﬁed several promising
packaging, storage, and disposal mechanisms including: locking technologies, disposal pouches, and calendarized blister
packs for households with children; and calendarized blister packs, RFID-enabled monitoring, and dispensing technologies
for adult patients. The summary report concludes:

          “Building on injury prevention principles, a combination of passive protections, such as abuse deterrent drug formulations,
           and safety enhanced packaging, storage, and disposal solutions, may signiﬁcantly help to improve the safe use of
           prescribed opioids. … To maximize the likelihood of a positive impact, experts thought that solutions should be passive,
           cost-effective, supported by payers, and appealing to patients, providers, and pharmacists alike, without imposing excess
           burden.” 138

Although most prescription drug packaging innovations have been designed to improve medication compliance among patients
using non-controlled substances for chronic conditions,139,140 they could be adapted to help prevent prescription opioid misuse
and diversion. For example, these products could reduce serious complications such as overdose by facilitating appropriate
dosage and administration, and could help providers monitor for signs of non-medical use or diversion. In addition, products
that limit access to the medication during non-dosing periods could help prevent use of the medication by non-prescribed
individuals. The concept of personalization, i.e., use of a personal identiﬁcation number, radio-frequency device, or ﬁngerprint,
facial recognition or other biometrics, has been proposed to prevent other types of injuries141 and could be applied to prescription
drug packaging as well. A pill dispenser that requires the prescribed patient’s ﬁngerprint before releasing the appropriate pain
medication at the appropriate time, is an example of an application of personalized technology to prevent misuse and diversion
through theft.

Evidence about the effectiveness of packaging designs to prevent non-medical prescription drug use and diversion is limited.
One study of 37 individuals assessed the impact of an electronic medicine dispenser on diversion of buprenorphine-naloxone
among patients being treated for opioid addiction. Researchers documented that 68 percent of patients receiving the dispenser
preferred to use the electronic dispenser to store their tablets compared to the traditional prescription container; 16 percent
reported that the dispenser prevented them from diverting their buprenorphine; 23 percent stated the dispenser prevented
others from diverting their buprenorphine; and 58% believed the dispenser could prevent diversion of the medications dispensed
in the electronic device. Additionally, 19 percent described the dispenser as “difﬁcult” to tamper with while 58 percent described
tampering with the dispenser as “impossible”.142 Another product, which couples a ﬂow-controlled, tamper-resistant medication
dispenser with an internet and phone accessible treatment portal, demonstrated sufﬁcient promise to obtain funding from the
National Institute on Drug Abuse. A phase II randomized controlled trial will assess use of the device and opioid misuse among
patients from two pain management clinics.143 Results from this trial were not available as of June 2017.

A review of the currently available and in-development opioid packaging designs concluded that many of the commercialized
technologies such as locking caps, tamper-proof packages, and pill-dispensing products are most likely to deter unintentional
misuse by elderly people or children and have limited application to prevent intentional misuse.144 However, newer technologies,
such as radio-frequency identiﬁcation wireless technologies and simple technologies combined with radio-frequency
identiﬁcation – as well as other types of smart technologies – have the potential to play a role in deterring intentional opioid misuse
by increasing communication between health care professionals and patients. The feasibility and differential impact
of “tamper-resistant” rather than “tamper-evident” technologies has yet to be explored, but is a highly relevant question
because of the intentional misuse issue. As part of their senior mechanical engineering design course, students at Johns
Hopkins University created a prototype of a tamper-resistant, personalized dispenser that uses ﬁngerprint recognition technology
and is programmed to deliver a one-month supply of an opioid in the right time and correct dosage. The product is designed

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                                                               IMPLEMENTING INNOVATIVE ENGINEERING STRATEGIES


so that only a pharmacist can open and lock the device. At the time of this report, this product was still in the prototyping and
testing phase.145

Despite the very limited data on effectiveness, there are several products on the market for consumer use, and several state
legislatures are considering bills requiring locking pill vials or similar technology. There is a need for research to understand
the impact of these products on prescription drug misuse and diversion, their impact on rates of opioid-use disorders and opioid
overdoses, and how they are used by people prescribed opioids for pain management. In addition to research questions on
effectiveness, there are several outstanding questions that need to be explored before widespread adoption of these products
can occur. These questions include:

      •      Where will these products enter the medication prescribing and use process? Will they be available for home use?
             Will pharmacists use them instead of traditional pharmacy dispensing vials? Will manufacturers move away from
             bulk product distribution, and incorporate these packaging designs for direct dispensing from the doctor’s ofﬁce
             or pharmacy?
      •      How will these products be regulated (e.g., as consumer products, medical devices, as combination drug devices)?
      •      Who will take on the costs for these products? Pharmacies? Patients? Insurers/PBMs?
      •      Who will control, monitor, and have access to the data available from these devices?

An additional design strategy to reduce non-medical use and overdose of prescription opioids is through the development
of products designed to deter misuse. FDA, the pharmaceutical industry, Congress, and other stakeholders have called on
drug developers to create opioids that are designed to make tampering and manipulation more difﬁcult. To encourage product
development, FDA has held multiple public meetings and issued guidance to industry. In April 2015, FDA issued a ﬁnal
guidance to assist industry in the development of opioid products with abuse deterrent features. The guidance explains FDA’s
current perspective on the types of studies that should be conducted to demonstrate that a given formulation can be expected
to deter abuse by particular routes, and makes recommendations about how those studies should be performed and
evaluated.146

Although FDA has approved labeling for 10 opioid analgesic products to indicate that they have design features intended to make
non-medical use, typically via intranasal and injection routes, more difﬁcult, FDA has concluded that misuse is still possible,
and no products have been given a labeling claim for reducing opioid-use disorders or overdose deaths. Moreover, FDA has not
granted a labeling claim for any product indicating that the product has demonstrated abuse-deterrence in a real-world setting.
In fact, at a July 2017 meeting FDA stated:

          “Determining the real-world impact of opioid formulations with properties designed to deter abuse is a key next step in
           understanding the utility of these products [abuse-deterrent formulations] in helping to curb the opioid abuse epidemic.” 147

It is important to examine both the potential intended and unintended consequences of reformulated products. For example,
in June 2017, the FDA requested that Endo Pharmaceuticals remove its reformulated product, extended-release oxymorphone
(Opana ER), from the market due to post-marketing data demonstrating a signiﬁcant shift in the route of non-medical use of
Opana ER from intranasal to injection use after the product was reformulated.148 The reformulated version was associated with
a large HIV outbreak in Scott County, Indiana in 2015149 as well as cases of thrombotic microangiopathy.150 Additional questions
have been raised regarding the ways that abuse deterrent-formulations have been marketed and promoted,151 their costs152 as
well as unintended consequences including misperceptions that they may be less addictive or more effective than their non-
abuse deterrent counterparts.153,154 Regarding these products as “tamper-deterrent” rather than “abuse-deterrent” might help
to reduce these misperceptions and unreasonable expectations about what these products can and cannot deliver, and their
ultimate effect on the opioid epidemic.

Thus, while modiﬁed formulations that discourage non-medical use represent a promising technology, many questions regarding
their real-world effectiveness as well as potential for unintended harms remain.




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IMPLEMENTING INNOVATIVE ENGINEERING STRATEGIES


RECOMMENDATIONS FOR ACTION
4.1 CONTINUE TO SUPPORT STAKEHOLDER MEETINGS TO ADVANCE TECHNOLOGICAL SOLUTIONS
Work with the FDA to continue engaging with stakeholders to advance the conversation about packaging designs, and to identify
high-priority future directions for engineering-related solutions and implementation of existing technologies.

Rationale: Engineering solutions to deter non-medical use of prescription opioids are promising and under development. There
is a need for coordination of and support for the current efforts to ensure this line of innovation is adequately supported, quickly
brought to market and rigorously evaluated.

Current Status: The FDA has convened one such meeting through the Duke-Margolis Center for Health Policy.

4.2 SPONSOR DESIGN COMPETITIONS
Partner with stakeholders to develop design competitions to incentivize innovative packaging and dispensing solutions.

Rationale: Design competitions have been used to encourage and support innovation in many areas. Engineering strategies
for prescription packaging are a logical candidate for such a competition

Current Status: We are unaware of any design competitions on this subject.

4.3 SECURE FUNDING FOR RESEARCH TO ASSESS THE EFFECTIVENESS OF INNOVATIVE PACKAGING
    AND DESIGNS AVAILABLE AND UNDER DEVELOPMENT
Rationale: Data on the effectiveness of packaging interventions is limited. Research is needed to evaluate the engineering
innovations under development and to inform future development.

Current Status: We are unaware of any funding source dedicated to evaluating engineering designs for prescription packaging.

4.4 USE RESEARCH TO DEVELOP IMPLEMENTATION STRATEGIES IN ADVANCE OF IDENTIFICATION
    OF EFFECTIVE PRODUCTS
Engage with key stakeholders, such as product developers, drug manufacturers, pharmacies, payers, regulators, chronic opioid
therapy patients, and the public to explore potential barriers and incentives to product uptake.

Rationale: Innovations in prescription packaging are promising, but little is known about how to ensure the public will use these
products and that the products will be integrated into existing payment policies. Research is needed to ensure that these aspects
of translation are understood.

Current Status: We are unaware of any efforts to gather empirical data about how to ensure innovative engineering packaging
for prescriptions is effectively integrated into the consumer market.

4.5 WORK WITH INDUSTRY AND GOVERNMENT AGENCIES TO IDENTIFY OPPORTUNITIES FOR
    THE DEVELOPMENT AND RIGOROUS EVALUATION OF ABUSE-DETERRENT FORMULATIONS
    OF PRESCRIPTION OPIOIDS
Rationale: Many formulations carry the potential for non-medical use, via intravenous injection, nasal inhalation, or other means.
Development of drugs that deter this type of misuse may help limit the extent of and harms related to prescription opioid misuse.

Current Status: Previous abuse-deterrent formulations have shown limited effectiveness in terms of reducing abuse potential.155
Future efforts must deter use by nasal inhalation as well as injection and oral routes if they are to be widely effective.




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5. ENGAGING PATIENTS AND THE GENERAL PUBLIC
Much of this report emphasizes recommendations for changing prescriber behavior, reducing the supply of opioids, providing
opioid-use disorders treatment, and decreasing the likelihood of overdose among those who are already using opioids. Here
we focus on efforts to engage with patients and the general public to better understand opioid risks and alternatives for pain
management. We also consider how we can collectively work to reduce opioid demand for the treatment of acute and chronic
non-cancer pain, to promote safer use, and to minimize the widespread availability of these medicines for non-medical use.

Using clinical interactions to educate patients about the risks of prescription opioids and alternatives to pain management are
beginning to be explored, but the literature is scant. Included in this effort are opioid treatment agreements, although there
is a lack of evidence of their effectiveness in reducing opioid misuse and promoting adherence. Ethical issues regarding the
use of patient contracts have also been raised, including concerns that they may harm the patient-provider relationship, further
stigmatize opioid use,156 or misconstrue the ability to prevent addiction. A recent multi-center trial of the patient provider
agreement created by the Food and Drug Administration’s Safe Use Initiative found that 94 percent of patients, but only
42 percent of providers, rated the tool as helpful, and there were no opioid-use related outcomes reported.157

The emergency department is another setting in which patient education regarding opioids is relevant158 although there is
limited research. One intervention study demonstrated that correct recall of instructions for taking analgesics increased from
40 percent to 71 percent after the introduction of written discharge instructions,159 and a descriptive study found that none
of the 20 patients discharged from an emergency department with an opioid prescription reported storing or disposing of them
safely.160 An ongoing project is testing the use of an m-Health patient decision aid in two emergency departments in Baltimore,
Maryland and Morgantown, West Virginia.161 Patients completed a personalized and tailored decision aid about pain treatment
options and were encouraged to discuss the results with their doctor. Results of a small randomized trial found that the
intervention effects were in the expected direction for knowledge, decisional conﬂict, and preference for a non-opioid approach
to pain management.162 Reductions in decisional conﬂict were statistically signiﬁcant, although shared decision making and
actual prescribing were not. More research is needed on how patient education can best facilitate patient empowerment, shared
decision making, and a reduced demand for prescription opioids in managing pain.

Interventions at the community level have not been widely promoted as part of the national approach to controlling this epidemic.
However, efforts to raise awareness about the risks associated with prescription opioids and alternatives available for pain
management through public education campaigns are underway, including: The Medicine Abuse Project, aimed at preventing
teen non-medical use and promoting treatment; Rx for Understanding, a school-based curriculum; the JED Foundation’s college
campus initiative; and the National Institutes on Drug Abuse’s PEERx program. In 2017, the CDC has launched “It Only Takes
a Little To Lose a Lot” Rx Awareness Campaign, which features testimonials of people affected by the epidemic as well as
materials for others who want to implement their own consumer-directed campaigns. Assuring that public education initiatives
are appropriately targeted, informed by evidence and rigorously evaluated is critically important to assuring that investments are
well placed and effective.

Raising awareness is generally viewed as an important strategy for addressing prescription opioid-use disorders, and offers an
opportunity for prevention when combined with other strategies. Best practices in health promotion and public health suggest
that awareness-raising efforts will have maximum impact when combined with other interventions that address the larger context
in which the problem is occurring. For this issue, raising awareness could be enhanced with attention to the policy context, such
as naloxone availability as well as the need for other services, such as treatment for opioid-use disorders.

In response to increasingly high rates of unintentional opioid overdose deaths in Staten Island, New York, the city health
department launched a comprehensive ﬁve-part public health strategy beginning in 2011. This included: creating and promoting
prescribing guidelines; media outreach; town hall meetings; public service announcements; and enacting a law requiring the use
of the State’s PDMP. As a result, there was a 29 percent decrease in the opioid overdose death rate in Staten Island from 2011
to 2013, and no change in the other four New York City boroughs.163

Project Lazarus is a community-based initiative in North Carolina, in which 74 of 100 counties participated by implementing up
to seven interventions: community education; provider education; hospital emergency department policies limiting prescribing
and requiring PDMP use; training law enforcement in diversion control; programs to support pain patients; naloxone distribution;
and addiction treatment. Interrupted time-series evaluation design estimated rates of unintentional and undetermined overdose
deaths and emergency department visits during pre-intervention (2009–2012) and intervention periods (2013–2014). Provider
education and policies limiting emergency department prescribing were associated with lower overdose mortality, although the

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ENGAGING PATIENTS AND THE GENERAL PUBLIC


latter was also associated with more emergency department visits. Expansions of opioid agonist treatment were associated with
increased mortality, but fewer emergency department visits.164

Public engagement efforts should be cognizant of the landscape of opioid use, sharing, storage, and disposal in U.S. homes.
There are many deﬁciencies in how prescription opioids are stored and disposed of.165 In a national survey of adults recently
prescribed an opioid, more than one-ﬁfth (21%) reported having shared it with another person. Few respondents stored the
medication in a locked or latched place (21%), and among those with leftover opioid medications, 61 percent reported keeping
them for future use. Nearly half of the adults with recent opioid medication use did not recall receiving information on safe
storage (49%) or proper disposal (45%).166 Only 12 percent of homes in which older children and teenagers were living had their
opioids stored safely.167 According to the 2015 National Survey on Drug Use and Health, more than half of the 969,000 12- to
17-year-olds who reported misusing prescription pain medicine cited a friend or relative as the source, and nine percent said they
took the pills without asking, almost twice the proportion who reported buying pills from a drug dealer (5%).168

In 1995, CDC launched the National Campaign for Appropriate Antibiotic Use in the Community, which was renamed “Get
Smart: Know When Antibiotics Work”. One aim of the campaign was to decrease the demand for antibiotics by adults and
parents of children with upper respiratory viral infections. Multiple studies have demonstrated positive impacts, suggesting
that improving patient knowledge of risks, beneﬁts, and alternatives to treatment may be a promising approach to reducing the
number of prescriptions written.169 Further studies have investigated the effectiveness of computerized patient education modules
promoting awareness of appropriate antibiotic use, and provided initial evidence that these interventions can be effective in
reducing demand.170 For community prevention efforts, there are many parallels to the prescription opioid problem – i.e., the
drugs are useful in certain circumstances but over-prescribed in many others, and patients are generally unaware of the potential
individual and societal impacts associated with over-prescribing. Thus, community prevention interventions would do well to draw
from the strategies used to reduce antibiotic overuse.

RECOMMENDATIONS FOR ACTION
5.1 CONVENE A STAKEHOLDER MEETING WITH BROAD REPRESENTATION TO CREATE GUIDANCE THAT WILL HELP
    COMMUNITIES UNDERTAKE COMPREHENSIVE APPROACHES THAT ADDRESS THE SUPPLY OF, AND DEMAND
    FOR PRESCRIPTION OPIOIDS IN THEIR LOCALES; IMPLEMENT AND EVALUATE DEMONSTRATION PROJECTS
    THAT MODEL THESE APPROACHES.
Rationale: Attention to the complex social and political context in which the problem of prescription misuse and overdose
occurs has not been reﬂected in existing community campaign efforts. Broader stakeholder engagement may yield impactful
new approaches.

Current Status: There are now several reports in the literature of community campaigns, some have evaluation data and others
do not.

5.2 CONVENE AN INTER-AGENCY TASK FORCE TO ASSURE THAT CURRENT AND FUTURE NATIONAL PUBLIC
    EDUCATION CAMPAIGNS ABOUT PRESCRIPTION OPIOIDS ARE INFORMED BY THE AVAILABLE EVIDENCE,
    AND THAT BEST PRACTICES ARE SHARED
Rationale: Past success with reducing antibiotic use is generally attributed to a comprehensive national campaign. Applying
lessons learned from that success to the current prescription opioid challenge will increase the likelihood that public education
strategies beneﬁt from the available evidence.

Current Status: Public education about the risks of prescription opioids and alternatives for pain management is needed, and
many efforts are underway and will likely be developed. The extent to which these efforts are informed by the available evidence
is unknown, and there is no central repository for collecting this evidence and sharing best practices.




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                                                                              ENGAGING PATIENTS AND THE GENERAL PUBLIC


5.3 PROVIDE CLEAR AND CONSISTENT GUIDANCE ON SAFE STORAGE OF PRESCRIPTION OPIOIDS
Rationale: The most common source of prescription opioids for non-medical purposes is family and friends, and national data
indicate that one in ﬁve patients prescribed an opioid has shared it. National survey data reveal that very few parents with older
children and teens keep their opioid prescriptions in a locked place. Ensuring prescription medications are not easily accessible
may reduce intentional misuse by teens and adults and unintentional misuse by young children.

Current Status: While engineering solutions to packaging hold great promise, as detailed earlier in this report, clear guidance
about safe storage options for patients who bring prescription opioids home is needed. National survey data reveal that nearly
one-half of patients given an opioid prescription are given no information about safe storage. Messages should be appropriate
for all populations, including those with low literacy and non-English speakers, and should be consistent across all sources
– the prescriber, the pharmacist, in the patient packaging materials, and in community campaigns.

5.4 PROVIDE CLEAR AND CONSISTENT GUIDANCE ON SAFE DISPOSAL OF PRESCRIPTION OPIOIDS AND EXPAND
    TAKE-BACK PROGRAMS
Rationale: There are enormous volumes of unused opioids in homes throughout the U.S. that are too often diverted for non-
medical use. Safe disposal options for prescription opioids are needed. Guidance from the federal government about how to
safely dispose of prescription opioids can serve to launch community-based take-back initiatives that are responsive to local
needs and culture.

Current Status: National survey data reveal that nearly one-half of patients given an opioid prescription receive no information
about disposal options. Some pharmacies are taking back opioids. However, pharmacies are not universally providing this service
or advertising this service to their patients. The Comprehensive Addiction and Recovery Act of 2016 expanded funding for take-
back programs, but clear guidance on how to safely dispose of prescription opioids is lacking. Access to take-back programs is
also limited and highly variable across jurisdictions. Messages should be appropriate for all populations, including those with low
literacy and non-English speakers, and should be consistent across all sources – the prescriber, the pharmacist, in the patient
packaging materials, and in community campaigns.




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      Identifying and Treating People
        with Opioid-Use Disorders
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                                      IDENTIFYING AND TREATING PEOPLE WITH OPIOID-USE DISORDERS


“Addiction is deﬁned as a chronic, relapsing brain disease that is characterized by compulsive drug seeking and use, despite harmful
consequences. It is considered a brain disease because drugs change the brain; they change its structure and how it works.”171 Like
many other chronic illnesses, addiction is inﬂuenced by genetics, the environment, and behavior. Also, like many other chronic illnesses,
addiction is treatable.

In fact, opioid-use disorder is quite responsive to opioid agonist therapy, deﬁned by the U.S. Surgeon General as a “combination of
behavioral interventions and medications to treat substance-use disorders.”172 The Surgeon General has found that “[s]tudies have
repeatedly demonstrated the efﬁcacy of [opioid agonist treatment] at reducing illicit drug use and overdose deaths, improving retention in
treatment, and reducing HIV transmission.”173 Indeed, in many studies, well more than half of patients receiving opioid agonist treatment
show substantial improvement.174 Communities that have expanded access to opioid agonist treatment have seen reductions in overdose
deaths and other measures of population health improvement.175

Despite these facts, there are a variety of barriers that impede our nation’s ability to identify and provide high-quality treatment to those
with opioid use disorder. First, there is limited data available to track the opioid epidemic and the availability of treatment services in many
areas. Overdose mortality surveillance depends on a patchwork system of medical examiners and coroners who do not use a consistent
approach to classify cause of death. As a result, localities face difﬁculties developing an accurate picture of the epidemic and assessing
whether intervention strategies are having the intended effect.

Second, there is inadequate access to opioid agonist treatment, which includes treatment that uses methadone and buprenorphine (a third
FDA-approved treatment, naltrexone, is an opioid antagonist). Many people with opioid-use disorder do not receive treatment at all, and
among those who do, just over a quarter received treatment with methadone or buprenorphine, the medications for opioid-use disorder
with the strongest evidence of effectiveness.176 Inadequate access is related to poor insurance reimbursement,177 high regulatory barriers
for methadone,178 and relatively few prescribers of the medication buprenorphine.179 Even among those receiving treatment, relapse is not
uncommon,180,181 reﬂecting the importance of high-quality, comprehensive, longitudinal care that is integrated with the other health care
that patients receive.

Third, many people who use opioids for non-medical purposes die of overdose before they are able to reach treatment. An evidence-based
strategy to address this challenge is greater availability of the overdose reversal drug, naloxone – for people who use opioids, for friends and
family, for law enforcement, and for the general public.182 As of July 2017, the Network for Public Health Law reports that all 50 states and
the District of Columbia have passed laws to facilitate access to naloxone, and 40 states and the District of Columbia have Good Samaritan
laws in place that provide some legal protections for people who respond to overdose events in good faith.183 However, the high cost of
naloxone and resistance in some communities is slowing the diffusion of this strategy.184

Fourth, the United States has been slow to pursue opportunities to engage people in the throes of addiction, provide lifesaving services,
and support their transition to treatment. Despite strong evidence supporting syringe and needle exchange in reducing HIV and providing a
path to addiction treatment, the federal prohibition on funding for these services only recently ended.185 In Europe and Canada, it has been
demonstrated that supervised consumption spaces reduce overdose in the surrounding community and provide a path to engagement
and care for those not in treatment.186 There is growing interest among U.S. localities in establishing supervised consumption spaces,187 but
questions about whether federal law enforcement will permit them to operate remain.

Finally, the immense stigma of addiction, opioid-use disorder, and its treatment creates many obstacles for integrating treatment into clinical
care. Stigmatizing attitudes among the public and policymakers reduce support for policies to expand opioid-use disorder treatment, and
stigma is also a barrier to treatment seeking for individuals with opioid-use disorders. Stigma is reﬂected in the derogatory language used to
reference individuals suffering from opioid-use disorder;188 in the ideology – common among many in the addiction treatment world – that
one cannot receive medication to be in recovery; in the reluctance of traditional medical treatment providers to offer services; and in the
use of law enforcement strategies unthinkable for other chronic illnesses, such as rulings by judges that prohibit individuals from receiving
evidence-based treatment.189

These challenges are not the only ones facing those who are at risk of or who have an opioid-use disorder. While beyond the scope
of this report, there has also been inadequate attention to the factors that may promote or protect against this brain disease, including
intergenerational factors,190,191 trauma,192 and resilience.193,194 In addition, there are a variety of supports that those with addiction may
beneﬁt from to maintain a stable recovery. These include employment, housing, health care, peer support, and other services. Even where
such services exist, it can be difﬁcult to develop strategies that account for the potential for relapse, such as what to do for individuals when
they violate terms of zero drug tolerance while living in supportive sober housing. Expansion of recovery support is urgently needed, along
with research designed to answer key questions about how to best help people move past their addiction, and into healthy and productive lives.

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6. IMPROVING SURVEILLANCE
The opioid epidemic is rapidly changing, and active surveillance is vital. For example, early in the epidemic deaths were primarily due to
prescription opioids. Between 2014 and 2015, deaths associated with the synthetic opioid fentanyl increased by a staggering 72 percent
nationwide with even greater increases reported in states the following year. Fentanyl-related deaths in Maryland increased 229 percent
between 2015 and 2016, marking the single greatest increase in drug-related deaths in the history of that state. 195,196

Despite these disturbing trends, epidemiologic data are usually dated, posing an additional challenge for public health ofﬁcials,
policymakers, service providers, and other stakeholders to effectively intervene. Real-time surveillance of the populations at risk, types of
drugs being used by people with opioid-use disorders and speciﬁcally used in overdose events, and geographic distribution of the problem
are needed to reverse the current trend.

Various state-led efforts have attempted to address the need for real-time surveillance, though most are limited to data reﬂecting opioid-
related hospitalizations and/or deaths. In 2014, the Rhode Island Department of Health, with support from the state legislature, launched
an opioid surveillance system that requires emergency departments to report all cases of opioid overdose within 48 hours. 197 The goal
is to identify outbreak clusters in real-time in order to design and implement responsive, targeted interventions. The system also has the
capacity to identify geographically speciﬁc risk factors that can inform response and prevention. In the ﬁrst full year of data collection,
this system captured 1,523 hospital-reported adult overdose events, and identiﬁed socio-demographic risk factors as well as drug- and
treatment-speciﬁc data, which can inform hospital, city, and state policies.

In the Fall of 2016, CDC announced a 12-state, $12.8 million dollar effort to support state-based opioid surveillance systems. The project,
which includes Kentucky, Maine, Massachusetts, Missouri, New Hampshire, New Mexico, Ohio, Oklahoma, Pennsylvania, Rhode Island,
West Virginia, and Wisconsin, is designed to enhance the timeliness of collection and dissemination of data on fatal and non-fatal opioid
overdoses to better inform time-sensitive state and national prevention and response efforts. 198

Other surveillance efforts, relying on data sources such as emergency medical services (EMS) transportation, hospital and emergency
administrative data, PDMPs, and death certiﬁcates, have produced varying levels of detail.199, 200, 201 Such systems, however, often operate
at a delay of several months to a year or more, limiting their usefulness as a tool for timely surveillance and response.

RECOMMENDATIONS FOR ACTION
6.1 INVEST IN SURVEILLANCE OF OPIOID MISUSE AND USE DISORDERS, INCLUDING INFORMATION ABOUT SUPPLY
     SOURCES
Surveillance of opioid use, misuse, and opioid-use disorders helps to quantify the size and characteristics of the population that is at-risk
for adverse outcomes related to opioid use. Such data in turn can allow us to understand the effectiveness of prevention programs and
allocate resources for harm reduction and treatment. The National Survey of Drug Use and Health (NSDUH) is a household survey that
measures use of opioids and other substances and screens for use disorders. In 2015 it was revised so that it now collects more data
related to prescribed opioid pain reliever use as well as non-medical use, and motivations for non-medical use. The NSDUH remains
the sole national survey to assess symptoms of opioid-use disorders in the population on an annual basis. The NSDUH has limitations,
however, such as under-coverage of high-risk groups including incarcerated and homeless individuals, and a lack of geographic identiﬁers
in public use ﬁles. Improving epidemiological surveillance will require additional efforts to strengthen the NSDUH and investments in
complementary sentinel surveillance systems. This effort will involve collaboration with the Substance Abuse and Mental Health Services
Administration and the CDC. Greater behavioral surveillance will inform understanding of both the use of opioid drugs and treatment
services.

Rationale: Surveillance of opioid use, misuse, and opioid-use disorders is critical for the improvement of primary, secondary, and tertiary
prevention efforts. Revising an existing surveillance tool is a cost-effective way to obtain needed information.

Current Status: Several federally-supported data collection efforts have attempted to monitor trends in opioid-use disorders with varying
degrees of success. Few (e.g., RADARS) have proactively measured addiction prevalence from a variety of sources.202 Investing in these
tools will be critical to improving prevention efforts. For example, there is a need to revive programs that screen arrestees for opioid use,
such as was historically provided by the Arrestee Drug Abuse Monitoring (ADAM) Survey, and to add more surveillance of opioid use and
misuse to national surveys other than the NSDUH. Data from prescription drug monitoring programs provides another tool to quantify
prevalence of prescribed opioid use, but does not necessarily indicate where misuse is occurring or capture use of opioids through
diversion.


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                                                                                                                          IMPROVING SURVEILLANCE



6.2 DEVELOP AND INVEST IN REAL-TIME SURVEILLANCE OF FATAL AND NON-FATAL OPIOID OVERDOSE EVENTS
Fatal and non-fatal overdoses are key indicators of the scope and lethality of the opioid epidemic. However, there are known data
collection challenges that make timely, consistent, and longitudinal assessment of overdose events problematic. The most widely
reported outcome is the national overdose death rate, yet this rate is inconsistently measured across areas and does not capture non-
fatal overdoses.

Rationale: Real-time surveillance of all overdose events will help to inform appropriate responses to prevent overdose events and deaths,
and can help to address fundamental questions about the epidemic such as the number of individuals who are switching to products
with fentanyl adulterants.

Current Status: Current surveillance is afﬂicted with several key challenges that make it difﬁcult to track the prevalence of overdose events
in settings where they commonly occur. First, there are limited data on the number of individuals revived outside of hospitals (such as by
ﬁrst responders or family members). Second, there is likely under-coding of overdose in hospital admissions data, and such coding may
be imprecise as hospital personnel may not adhere to consistent protocol for coding overdoses. Third, medical examiners and coroners
vary in the rigor and consistency of procedures they use to classify overdose fatalities. As a result, there is known under-coding bias in
state data, making it difﬁcult to ascertain consistent cross-state and national trends.203

6.3 USE FEDERAL FUNDING FOR INTERVENTIONS TO ADDRESS OPIOID-USE DISORDERS TO INCENTIVIZE INCLUSION
    OF OUTCOME DATA IN THOSE FUNDED PROGRAMS
In the current era, there are widespread efforts to address the opioid epidemic through a variety of federal programs including initiatives
with PDMPs, Medicaid programs, and direct grants to states (e.g., the State Targeted Response grants under the 21st Century Cures
Act). These programs should include detailed guidance for data collection of program outcomes and approaches to sharing data where
feasible, as these standards would enable grantees to track how programs are being implemented in different settings.

Rationale: Promising interventions are in the ﬁeld, and may be more effectively disseminated if there is a repository of evidence
to share across states and localities. Population-based outcome data are lacking and needed to inform decisions about replication and
scale-up of promising interventions.

Current Status: While there is some provision for evaluating current programs, the data are often not consistently collected or
disseminated. Moreover, programs are sometimes implemented in a manner that makes rigorous evaluation difﬁcult. For example, the
State Targeted Response grants include some minimal guidance for state data collection, but are not likely to be feasible
for impact evaluations in most states.

6.4 SUPPORT THE LINKAGE OF PUBLIC HEALTH, HEALTH CARE, AND CRIMINAL JUSTICE DATA RELATED TO THE
    OPIOID EPIDEMIC
The impact of the opioid epidemic reaches across multiple service systems, and important indicators of harm related to the epidemic
are captured in hospitals, public health programs (e.g., HIV screening or naloxone distribution), and law enforcement data. Although
there are clear privacy implications to sharing data across entities, there are also real beneﬁts in terms of efforts to increase overdose
prevention.

Rationale: Because there are multiple pathways into harmful opioid use, no single data system can fully capture markers of risk.
Measuring outcomes across systems provides a more complete picture. It also provides the foundation for better evaluation of the
effectiveness of coordinated approaches.
Current Status: There are limited instances of data sharing across different service systems. While analyses have been conducted linking,
for example, law enforcement data with drug treatment data, these are usually relevant to relatively discrete populations and done
retrospectively. Massachusetts, under the Chapter 55 legislation, has made important progress in developing a legal framework for linking
data across multiple service systems.




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7. TREATING OPIOID-USE DISORDERS
Pharmacotherapies for opioid addiction include agonist maintenance with methadone, partial-agonist maintenance with buprenorphine,
and antagonist treatment with immediate-release or extended-release naltrexone. Multiple well-designed randomized controlled trials
provide strong evidence that buprenorphine maintenance and methadone maintenance are safe, efﬁcacious, and cost-effective
treatments for opioid addiction.204 Both buprenorphine and methadone maintenance treatment are associated with reduced overdose
risk, reduced risk of HIV infection, and improved maternal and fetal outcomes in pregnancy.205,206 However, when used short term,
especially in detoxiﬁcation regimens, evidence of enduring beneﬁt is lacking.207

Psychosocial approaches to treating opioid addiction include therapeutic communities, cognitive-behavioral therapies and
12-step facilitation, either provided in professional treatment or by mutual support groups such as Narcotics Anonymous.
While 12-step programs are valued by many addiction professionals, it has been difﬁcult to determine which elements of
these programs may be of greatest therapeutic value. Psychosocial interventions, like medication treatments, may occur in outpatient or
inpatient settings. While some studies support improved effectiveness of combining psychosocial therapies
with buprenorphine and methadone maintenance, abstinence-based psychosocial approaches that shun opioid agonist treatment are
associated with poor outcomes208,209

The ability to expand access to treatment with methadone is limited by a short supply of licensed programs in non-urban communities
and requirements such as daily attendance. Unlike methadone maintenance, buprenorphine can be prescribed
in an ofﬁce-based setting. Unfortunately, there are barriers to buprenorphine treatment that include:

      •      Federal limits on the number of patients a physician may treat with buprenorphine. Physicians must apply to the Substance
             Abuse Mental Health Services Administration to provide buprenorphine treatment beyond the 30-patient limit for up to 100
             patients with opioid dependency. Physicians who have prescribed buprenorphine to 100 patients for at least one year can now
             apply to increase their patient limits to 275 under new federal regulations.
      •      Federal limits on nurse practitioners’ and physician assistants’ prescribing. The Comprehensive Addiction and Recovery
             Act, signed into law on July 22, 2016, expanded buprenorphine prescribing privileges to nurse practitioners and physician
             assistants for ﬁve years (until October 1, 2021). Nurse practitioners and physician assistants must complete 24 hours of
             training for eligibility to obtain a DATA 2000 waiver and are limited to treating up to 30 patients.
      •      Inadequate integration of buprenorphine into primary care treatment. Physicians, nurse practitioners, physician assistants
             and other allied health care professionals receive little training in the recognition and treatment of opioid-use disorders.
      •      Stigma against maintenance treatment for opioid addiction. The misperception that maintenance medications substitute
             one drug for another is a commonly held view. These treatments have been underutilized because of misunderstandings
             about the drugs and their effectiveness and generally negative biases from the public, patients, criminal justice agencies, and
             providers.210 Less than half of all licensed addiction treatment programs offer these medications, and less than half of the
             eligible patients in those programs receive them.211




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                                                                                                           TREATING OPIOID-USE DISORDERS


RECOMMENDATIONS FOR ACTION
7.1 PROVIDE A WAIVER FROM PATIENT CAPS FOR BUPRENORPHINE TREATMENT FOR CLINICS THAT IMPLEMENT
     EVIDENCE-BASED MODELS OF CARE
Addiction specialist physicians are prohibited under federal law from treating more than 275 patients with buprenorphine.

Rationale: The current cap has no counterpart anywhere in medicine and has led to waiting lists for patients to receive treatment.

Current Status: Lifting these federally imposed caps is an action that the Comprehensive Addiction and Recovery Act (2016) delegated to
the Secretary of the Department of Health and Human Services. Additional training of prescribers about opioid agonist treatment should
be offered and treatment guidelines, such as the American Society of Addiction Medicine National Practice Guideline for the Use of
Medications in the Treatment of Addiction Involving Opioid Use,212 should be disseminated. Access to buprenorphine treatment across
the country should be closely monitored by the federal government. This effort will involve collaboration with Substance Abuse and
Mental Health Services Administration and the Drug Enforcement Agency.7.2

7.2 REQUIRE ALL STATE-LICENSED ADDICTION TREATMENT PROGRAMS THAT ADMIT PATIENTS WITH OPIOID-USE
    DISORDERS TO PERMIT ACCESS TO BUPRENORPHINE OR METHADONE
State-licensed addiction treatment programs should not be permitted to admit patients with an opioid-use disorders unless they permit
access to buprenorphine or methadone maintenance. So-called “abstinence only” program policies do not offer evidence-based
treatment.

Rationale: Many state-licensed addiction treatment programs do not offer patients access to buprenorphine or methadone maintenance.

Current Status: In 2015, the White House Ofﬁce of National Drug Control Policy announced that drug court programs will be ineligible to
receive future federal funding if they prohibit receipt of buprenorphine and methadone. This effort will involve collaboration with SAMHSA,
the Centers for Medicare and Medicaid Services, the White House Ofﬁce of National Drug Control Policy and state drug and alcohol
licensing agencies.

7.3 REQUIRE ALL FEDERALLY QUALIFIED HEALTH CENTERS TO OFFER BUPRENORPHINE
Federally Qualiﬁed Health Centers (FQHCs) are safety net providers that primarily provide services typically furnished in an outpatient
clinic. They include community health centers, migrant health centers, homeless health centers, and public housing primary care
centers as well as outpatient health programs or facilities operated by a tribal organization or by an urban Indian organization. In recent
years, an increasing number of FQHCs have been offering buprenorphine213 and they are one of the few providers that accept Medicaid
for ofﬁce-based buprenorphine treatment. Support and training for high quality treatment can
be paired with the expectation that health centers offer this important therapy. Waivers for FQHCs that are structurally unable
to meet this requirement should be available.

Rationale: Buprenorphine is an effective treatment for opioid addition, yet access remains limited.

Current Status: The White House Commission on Combating Drug Addiction and the Opioid Crisis called on the Centers for Medicare
and Medicaid Services to require all FQHCs to mandate that their staff physicians, physician assistants, and nurse practitioners possess
waivers to prescribe buprenorphine.

7.4 ALLOCATE FEDERAL FUNDING TO BUILD TREATMENT CAPACITY IN COMMUNITIES WITH HIGH RATES OF OPIOID
    ADDICTION AND LIMITED ACCESS TO TREATMENT
To reduce opioid-related overdose deaths, access to buprenorphine and methadone maintenance must be improved. States
and counties need federal assistance to develop and expand existing services so that low-threshold treatment is available to
all individuals with opioid-use disorders seeking treatment, regardless of their ability to pay for it.

Rationale: Treatment services are disproportionately distributed across communities and do not always reﬂect need. Using federal
resources to identify communities most in need of treatment services and to expand treatment capacity will help to address this disparity.
Current Status: In 2017, $28 million in funding provided by the 21st Century CURES Act was awarded to ﬁve grantees to increase access
to opioid agonist treatment for opioid-use disorders.

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TREATING OPIOID-USE DISORDERS


7.5 DEVELOP AND DISSEMINATE A PUBLIC EDUCATION CAMPAIGN ABOUT THE ROLE OF TREATMENT IN ADDRESSING
    OPIOID ADDICTION
Utilize information from the Department of Health and Human Services and the National Institute on Drug Abuse through the CDC
and the White House Ofﬁce of National Drug Control Policy to educate providers, patients and their families, health plans, state level
law enforcement, and policy makers on the nature of opioid addiction as a chronic brain disease, noting that the strongest evidence
supports use of maintenance medication with either methadone or buprenorphine. This campaign should also aim to reduce the
stigma associated with effective treatment options. A major public education campaign on appropriate treatment that is comprehensive,
evidence-based, and follows best practices in health communication is needed and should
be evaluated.

Rationale: There is a lack of awareness about the effectiveness of opioid agonist treatment options among providers, patients
and their families, health plans, law enforcement, and policy makers, and there is stigma against medication treatment. Both the lack
of information and the stigma associated with opioid agonist treatment are barriers to greater use of effective treatment. Opioid agonist
treatment is the standard of care for opioid addiction and it should be known as such among providers and
the public.

Current Status: Federal health ofﬁcials from the CDC, National Institutes of Health and the Substance Abuse and Mental Health Services
Administration have made public statements supporting opioid agonist treatment. The latter two agencies have also issued materials
for health care providers and the public on treatment with buprenorphine. Some health departments, most notably the New York City
Department of Health and Mental Hygiene and the Maryland Department of Health, have sponsored efforts to raise awareness and
improve access to treatment with buprenorphine and methadone.

7.6 EDUCATE PRESCRIBERS AND PHARMACISTS ABOUT HOW TO PREVENT, IDENTIFY, AND TREAT OPIOID ADDICTION
Develop, evaluate, and disseminate prescriber and pharmacist education to assist in better preventing, identifying, and treating opioid
addiction. Training should include both information as well as direct skill development in assessment and treatment of opioid-use
disorders. Develop, evaluate, and disseminate information about the standard of care for treatment of opioid addiction
to providers who treat patients with opioid-use disorders.

Rationale: Prescribers and pharmacists receive little training on substance use disorders. With improved understanding of the etiology of
opioid addiction and its treatment, they may be better able to prevent, recognize, and care for patients suffering from this condition.

Current Status: The American Society of Addiction Medicine and the American Academy of Addiction Psychiatry are currently involved
in efforts to improve medical education about substance use disorders. A coordinated national effort to educate prescribers and
pharmacists about opioid addiction is not yet underway.

7.7 ESTABLISH ACCESS TO OPIOID AGONIST TREATMENT WITH BUPRENORPHINE AND METHADONE MAINTENANCE
    IN JAILS AND PRISONS
Rationale: Many people with opioid-use disorders are incarcerated in jails and prisons, but are rarely offered treatment with
buprenorphine or methadone. In contrast, use of extended-release naltrexone upon release from jail and prison is becoming more
common despite limited evidence of its effectiveness. Opioid agonist treatment with buprenorphine and methadone
is an effective intervention in these settings and can reduce incarceration and recidivism.214,215

Current Status: Opioid agonist treatment is available at fewer than 40 of the more than 5,000 jails and prisons in the United States.216 In
many criminal justice settings, the only available medication is extended release naltrexone.




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                                                                                                           TREATING OPIOID-USE DISORDERS


7.8 INCENTIVIZE INITIATION OF BUPRENORPHINE IN THE EMERGENCY DEPARTMENT AND DURING
     HOSPITAL STAYS
Rationale: Opioid-use disorders is more prevalent in patients who present to emergency departments than in the general population.217
Patients with opioid-use disorders are admitted to hospitals for treatment of opioid overdose, opioid withdrawal, medical problems
associated with injection drug use, and other health conditions. Similar to hospital initiated treatment for chronic disorders such as
hypertension and diabetes, patients who initiate buprenorphine in hospitals have better outcomes
than patients referred for initiation of treatment as an outpatient.218

Current Status: Few hospital emergency departments and medical inpatient units offer this standard of care, despite support from the
U.S. Surgeon General.219




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8. IMPROVING NALOXONE ACCESS AND USE
Most evaluations of Overdose Education Naloxone Distribution programs (OEND) report on program implementation; training lay persons
to recognize and respond to an overdose event, including the administration of naloxone; and provide information on the number of
individuals trained, number of naloxone vials distributed and the number of overdose reversals reported by individuals who were trained
(Kerensky 2017).

The settings for OEND evaluations have primarily been in large urban center needle and syringe exchange or harm reduction programs,
methadone programs or other opioid-use disorders treatment programs, and have focused on people who inject heroin. Evaluations of
programs in New York City, Massachusetts, Los Angeles, San Francisco, Chicago, Rhode Island, Pittsburgh, and Baltimore have been
reported in the published literature.220-221 Because the focus of the evaluations has been
on the number of trained individuals and overdose reversals reported, it is not possible to describe the population-level impact
of these individual programs. Data from a 2014 survey found that OEND programs in the U.S. had trained and provided naloxone to
more than 150,000 individuals between 1996 and 2014, and reported more than 26,000 opioid overdose reversals during this time.222
Additional evaluations have reported on changes in overdose recognition and response knowledge and/or behaviors as a result of OEND
program training.223-163 Taken together, these data demonstrate that people at high risk for opioid overdose and their friends or family
members can successfully be trained to recognize and respond to an overdose, and appropriately administer naloxone in an overdose
situation.

The literature examining the broader public health impact of OEND programs is growing. Two identiﬁed studies described the Project
Lazarus program in North Carolina, which was created in 2008. One component of this program is the co-prescription of naloxone to
people at risk for opioid overdose. An initial evaluation of Project Lazarus in Wilkes County, North Carolina, found signiﬁcant declines in
the unintentional drug overdose death rate from a peak of 46.6 deaths per 100,000 population in 2009 to 29.0 deaths per 100,000
in 2010 and 14.4 deaths per 100,000 in 2011.224,225 However, because Project Lazarus includes overdose prevention components
unrelated to naloxone, it is difﬁcult to determine the exact role naloxone played in the reduction of Wilkes County’s unintentional drug
overdose deaths.

Walley et al., provide an important evaluation examining changes in health outcomes as a result of OEND program implementation. They
conducted an interrupted time-series analysis to evaluate the impact of Massachusetts’ OEND program
on opioid overdose deaths and non-fatal opioid overdose acute care hospital utilization rates from 2002 to 2009. They found
that communities that implemented OEND programs during the study time had statistically signiﬁcant reductions in opioid overdose
death rates compared to communities that did not implement OEND programs. Acute care hospital utilizations did
not differ between OEND program communities and those that did not implement one.130

In recent years, there has been a push to increase naloxone prescribing in the pain management setting and to equip ﬁrst responders
with naloxone. Cofﬁn et al., found among patients prescribed opioids for chronic pain that those who were prescribed naloxone had 47
percent fewer opioid emergency department visits per month in the six months after receiving naloxone and
63 percent fewer visits after one year compared to patients who did not receive naloxone.226 Rando et al., assessed the impact of a ﬁrst
responder naloxone program in Ohio and found that opioid overdose deaths declined after implementation of the program.227 There have
also been efforts to increase access to naloxone through the use of “standing orders” that allow for an individual to ﬁll a prescription for
naloxone based on a pre-approved order from a licensed prescriber.228

Based on recent systematic analyses, the available evidence suggests that naloxone is a promising strategy with some evidence
of effectiveness in reducing opioid overdose mortality rates.229 Limitations of the available studies include lack of randomization of
distribution methods; lack of generalizability because the data are almost exclusively based on people who inject drugs, primarily heroin;
self-reported outcomes; short-term follow-up; signiﬁcant loss to follow-up; and lack of control over other events occurring simultaneously
that could be responsible for effects.230




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                                                                                             IMPROVING NALOXONE ACCESS AND USE


RECOMMENDATIONS FOR ACTION
8.1 PARTNER WITH PRODUCT DEVELOPERS TO DESIGN NALOXONE FORMULATIONS THAT ARE EASIER TO USE BY
    NON-MEDICAL PERSONNEL AND LESS COSTLY TO DELIVER
Rationale: As the legal landscape changes to allow broader access to naloxone, different populations may prefer different delivery
mechanisms for naloxone. Having multiple products that are easy for non-medical personnel to use would likely increase uptake and
reduce costs. Price is consistently raised as a concern impacting the sustainability of various OEND programs, and recent reports
indicate that the cost of the drug is increasing dramatically.231,232 Further, the emergence of highly potent illicitly made synthetic opioids
such as fentanyl and carfentanil have raised concerns over the need for higher naloxone doses to successfully reverse overdoses –
increasing concerns over costs and the effectiveness of current naloxone formulations.

Current Status: An auto-injector formulation of naloxone with audio guidance (Evzio) was approved by the FDA in April 2014.
A nasal formulation (Narcan) was approved in 2015. Many formulations, however, remain ﬁnancially inaccessible.

8.2 WORK WITH INSURERS AND OTHER THIRD-PARTY PAYERS TO ENSURE COVERAGE OF NALOXONE PRODUCTS
Cost remains a signiﬁcant concern with regard to sustainability of naloxone programs.

Rationale: One approach to sustaining expanded access to naloxone is through coverage by third-party payers.

Current Status: Some states and localities have made progress in gaining coverage for certain naloxone products. However,
this has not been accomplished in a systematic way.

8.3 WORK WITH COMMUNITY-BASED OVERDOSE EDUCATION AND NALOXONE DISTRIBUTION PROGRAMS TO
    IDENTIFY STABLE FUNDING SOURCES TO ENSURE PROGRAM SUSTAINABILITY
Rationale: Some community-based programs have little to no dedicated funding for the purchase and provision of naloxone. These
programs provide critical access to naloxone among high-risk populations.

Current Status: The federal government now has multiple grant programs through both the U.S. Department of Health and Human
Services and the Department of Justice to expand access to naloxone. However, it is not clear how these funds will impact community-
based programs. Other community-based programs have worked with local and state agencies to develop
a sustainable funding model and their experience could be informative to other programs across the country.

8.4 ENGAGE WITH THE SCIENTIFIC COMMUNITY TO ASSESS THE RESEARCH NEEDS RELATED TO NALOXONE
    DISTRIBUTION EVALUATIONS AND IDENTIFY HIGH PRIORITY FUTURE DIRECTIONS FOR NALOXONE-RELATED
    RESEARCH
Rationale: Naloxone is a promising strategy for reversing overdose and reducing overdose deaths. Rigorous, high-quality research is
needed to explore the relative effectiveness of naloxone use in different settings, through different OEND mechanisms (including care
and follow-up after overdose reversal events), and on prescription opioid (as opposed to heroin) overdose. With the entree of large scale
providers, such as the Veterans Administration into the OEND space, and the expansion of pharmacy-based naloxone via standing orders,
opportunities for more robust and deﬁnitive evaluations exist.

Current Status: There are several evaluations currently underway. However, available funding to evaluate the various types of programs
being implemented is insufﬁcient. The scientiﬁc community needs to further engage in a discussion on the various research approaches
to evaluate naloxone programs being implemented in a variety of settings.

8.5. ENGAGE WITH THE HEALTH CARE PROFESSIONAL COMMUNITY TO ADVANCE CONSENSUS GUIDELINES ON THE
    CO-PRESCRIPTION OF NALOXONE
Rationale: There is no consensus on which patients should be co-prescribed or prescribed naloxone in general medical settings. Recent
studies show a number of logistical and attitudinal barriers to naloxone co-prescription. However, at least one study demonstrated a
positive effect on opioid-related emergency department visits associated with co-prescribing naloxone to patients treated with opioids for
chronic pain.233


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IMPROVING NALOXONE ACCESS AND USE


Current Status: Several medical societies have adopted resolutions supporting naloxone co-prescription to patients, and some health
systems such as the Veterans Administration have begun implementing campaigns to increase naloxone co-prescription. The CDC, in
their Guideline for Prescribing Opioids for Chronic Pain, recommends that clinicians incorporate strategies to
mitigate risk into the management plans of patients receiving opioids, including considering offering naloxone when factors that increase
risk for opioid overdose, such as history of overdose, history of substance use disorder, higher opioid dosages (*50 MME/day), or
concurrent benzodiazepine use, are present. However, to date, there is no consensus on the most appropriate patients for naloxone co-
prescription.


8.6 ASSESS THE EFFECTS OF STATE LAWS EXPANDING NALOXONE ACCESS TO THE GENERAL PUBLIC
All 50 states and the District of Columbia have made progress in expanding naloxone access to the general public, such as through the
use of standing orders from a licensed prescriber.234 These laws vary and there is a need to assess which types
of laws are most effective in achieving beneﬁcial outcomes on the public’s health.

Rationale: Administration of naloxone by non-medical personnel has been shown to be both safe and effective for preventing overdose
deaths.235 The current variation in state laws is ripe for evaluations that can provide guidance regarding the most effective policies.

Current Status: All 50 states and the District of Columbia have laws that facilitate naloxone access by non-medical personnel. These laws
vary with in the scope of coverage and the circumstances under which they apply.




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9. EXPANDING HARM REDUCTION STRATEGIES
Substance-use disorders, and those involving opioids, are increasingly understood as a chronic condition for which effective
treatment exists. However, signiﬁcant barriers to access involving limited investment and inadequate resources, misconceptions
about treatment, and stigma limit the current impact of treatment on the opioid epidemic. In addition, treatment entry is not
always feasible for people with opioid-use disorders. Harm reduction was borne out of the belief that harms associated with drug
use can be reduced while people are actively engaged in drug use. Beginning in the Netherlands in the late 1980s,236 it took
footing in the U.S. in light of the HIV epidemic among people who inject drugs, with advocacy for establishing needle and syringe
service programs. In many ways, harm reduction is as much a social movement as guidance for a set of practical policies and
programs focused on people who use drugs. In the context of the current opioid crisis, harm reduction schemes such as needle
and syringe service programs and naloxone distribution programs are now considered legitimate public health responses and not
surrounded by as much controversy as in the past. As some view harm reduction as a permissive attitude toward illicit drug use,
some harm reduction approaches such as supervised consumption sites remain controversial as a viable or legitimate approach
to addressing opioid-use disorders. Efforts to increase the recognition and use of evidence-based and promising harm reduction
strategies are needed.

The Harm Reduction Coalition deﬁnes harm reduction as “a set of practical strategies and ideas aimed at reducing negative
consequences associated with drug use. Harm reduction is also a movement for social justice built on a belief in, and respect
for, the rights of people who use drugs.”237 In the U.S., harm reduction approaches are often traced back to the early days of
HIV, when sharing needles and syringes among people who inject drugs was identiﬁed as a risk factor in the spread of the
disease. In order to prevent transmission of HIV and Hepatitis C, some medical, public health, and substance-use professionals
sought interventions to minimize the disease risks associated with injecting drugs. This was part of a larger paradigm shift still
underway to frame and address injection drug use as a medical issue.

The most prominent harm reduction scheme is that of needle and syringe service programs, where individuals can receive clean
needles and syringes and other “works” (e.g., cottons, cookers) and dispose of used and potentially contaminated equipment.
Over the past three decades, numerous evaluations of needle and syringe service programs demonstrate reductions in the
transmission of HIV, Hepatitis C, and show increases in treatment seeking among people who inject drugs as well as other
positive health outcomes.238,239,240 Providing access to equipment that is free of life-threatening viruses is a cornerstone of harm
reduction and disease prevention efforts for people who inject drugs.

Efforts to provide supervised consumption sites in which sterile needles and syringes are available, and injecting practices
can be monitored by medically trained staff have also demonstrated reductions in disease transmission and overdose rates,
and increases in treatment uptake. Unlike needle and syringe service programs which have been in place in U.S. cities for
decades, sanctioned supervised consumption sites have only existed in communities outside of the U.S., primarily throughout
Europe where it is considered a component of a public health response to drug use. There are supervised consumption
sites in Vancouver, British Columbia as well as Sydney, Australia. The majority of studies evaluating the impact of supervised
consumption sites derive from Vancouver where the program was initiated as a pilot and there was a national legal battle for its
continued existence. The overwhelming evidence shows that supervised consumption sites are associated with reductions in
overdose,241 HIV infections,242 HCV transmission,243 unsafe injection practices, and fatal and non-fatal overdoses within the facility
and in the surrounding area.244,245,246,247 A survey conducted in Boston, Massachusetts suggests that people who inject drugs,
and those who are at high risk for overdose are likely to use supervised consumption sites.248

RECOMMENDATIONS FOR ACTION
9.1 ESTABLISH AND EVALUATE SUPERVISED CONSUMPTION SPACES
Establish supervised consumption spaces as a part of a comprehension response to the opioid overdose epidemic, along with
evidence collection and evaluation to understand their optimal design and impact. Planning should include medical professionals,
people with lived experiences of drug use, case managers, and community-based organizations to ensure programs are designed
comprehensively to meet the needs of people who use drugs. Such programs should provide comprehensive services, including
injection supervision by medical professionals, sterile injection equipment, and naloxone as well as case management, treatment
information and referral support, and primary care services.

Rationale: Supervised consumption spaces are an evidence-based strategy that has been employed outside of the U.S. to reduce
opioid overdose, infectious disease transmission, and other injection-related health risks. Supervised consumption spaces also
connect people who inject drugs with treatment services, and can decrease addiction rates.249 A recent review of the peer-
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EXPANDING HARM REDUCTION STRATEGIES


reviewed literature concluded that supervised consumption spaces are associated with reductions in overdose deaths within
and in the area surrounding supervised consumption spaces, reductions in injection drug use, and do not increase crime
or drug use in the communities where they are located.250 However, there is insufﬁcient evidence derived from the United States
regarding the effects and potential unintended consequences of these spaces since such spaces are not sanctioned in the U.S.
Thus, sanctioned programs in the United States, once introduced, should be evaluated.

Current Status: Sanctioned supervised consumption spaces have been in place in more than 100 cities in 10 countries
since 1986 when the ﬁrst site opened in Bern, Switzerland. None of these sites are in the U.S. However, one unsanctioned
U.S. space is described in the literature.251 Several U.S. states and localities are considering policies to establish supervised
consumption spaces.

9.2 WORK WITH STATE AND LOCAL STAKEHOLDERS TO ESTABLISH AND SUPPORT NEEDLE AND SYRINGE
    SERVICE PROGRAMS
Updates to laws at the federal, state, and local levels allow for agencies and organizations in many communities to supply sterile
needles and syringes to people who inject drugs, including opioids.252 Such programs should follow best practices, which
include distribution as opposed to any restricted exchange policies which are associated with increased rates of needle and
syringe sharing and elevated HIV prevalence. Services are best provided in a comprehensive manner including referrals to drug
treatment and other necessary services (e.g., housing, case management). People with lived experiences should be involved
with designing and delivering services to enhance the relevancy of these programs.

Rationale: Providing sterile needles and syringes to people who inject drugs has been shown to reduce the spread of HIV,
Hepatitis C, and increase uptake of drug treatment among people who inject drugs.253,254,255,256,257

Current Status: A 2016 modiﬁcation to federal law allows for federal funds to be used for programmatic support and services
related to needle and syringe service programs, though not for purchasing the needles and syringes themselves.258 State and
local governments and non-government programs can use this policy shift to expand the scope and reach of existing harm
reduction efforts. State and local laws vary with regard to the legality of distributing needles, syringes, and other drug-use
paraphernalia.259

9.3 EVALUATE AND DISSEMINATE THE USE OF TEST KITS FOR FENTANYL IN OPIOIDS
Test kits provide people with information about the content of their drugs.

Rationale: Recent experience has shown the deadly impact that the evolving synthetic opioid market can have. More potent
opioids, such as fentanyl, are increasingly common in the U.S., and are often illicitly manufactured to resemble less-potent
opioids.260 Many of those dying from exposure to high potency preparations may have been unaware of the risk.261,262 Providing
people with the means to test their drug supply for adulterants may affect their decisions about which drugs to use or how to
use them.

Current Status: Harm reduction organizations in some U.S. communities are using fentanyl test strips as a low threshold method
of testing the presence or absence of fentanyl in street-purchased drugs. We are aware of research underway to test the
validity and utility of these test strips, and the impact of their use on behavior and overdose. At the time of this writing, there
were no peer-reviewed publications of reporting the results of such research.




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10. COMBATING STIGMA
Stigma is an attitude, behavior, or condition that is socially discrediting.263 Both cause and controllability affect stigma. Survey
research documents indicators of stigma toward people with opioid-use disorders within both the general public264 and health
care providers.265 Such attitudes have implications for how interventions to address opioid-use disorders are conceptualized
and supported. In studies using varied descriptions of the same person and scenario, framing opioid addiction as the result of
irresponsible behavior for which the person with the disorder is to blame results in less supportive reactions to individuals with
the associated disorders relative to when addiction is described as the result of environmental and biological inﬂuences.266,267,268
Similarly, when messages emphasize structural barriers to treatment and highlight success stories as opposed to featuring
untreated addiction, people are more likely to express support for policies expanding treatment.269,270,271

Language to reduce stigma is also important in how people are described. Separating the person from their disorder by avoiding
references to people as “substance abusers” and “addicts” and instead describing an individual as “having an opioid-use
disorders” can promote a medical frame and emphasize the disease qualities and treatment options available.272 This change in
language is consistent with a trend in appreciating the importance of language in the clinical context and with the more general
practice of referring to people as having a particular condition, as opposed to being deﬁned by their condition (e.g., a person
has cancer, but is not cancer). McGinty et al provide a detailed review of the literature on these topics that reﬂects the ﬁndings
from a consensus process of national experts and includes recommendations for research.273

RECOMMENDATIONS FOR ACTION
10.1 UPDATE EMPLOYER HUMAN RESOURCES AND BENEFITS LANGUAGE TO AVOID STIGMATIZING LANGUAGE
    AND INCLUDE EVIDENCE ABOUT THE EFFECTIVENESS OF TREATMENT FOR OPIOID-USE DISORDERS
Public and private sector employers have human resource policies and beneﬁts packages that include information about
substance use disorders and the treatment options available through insurance plans offered. Such materials should reﬂect
current understanding of how best to communicate about opioid-use disorders to avoid stigmatizing language and encourage
treatment.

Rationale: The workplace is an important source of information about health care, and can provide information about the medical
nature of opioid-use disorders and the effectiveness of treatment in a way that is consistent with the evidence about constructive,
non-stigmatizing language. It is also a potential source of support for employees who are grappling with opioid addiction,
contemplating treatment, in treatment, or in recovery. Employers have an opportunity to reframe the response to opioid-use
disorders within the workplace by using language that is supportive rather than stigmatizing, disseminating information about the
effectiveness of treatment and creating an environment where supportive, constructive dialogue can occur.

Current Status: Workplaces offering supported employment and services for people who are in recovery or seeking to treatment
for opioid-use disorders provide examples of how to address stigma in the workplace.

10.2 AVOID STIGMATIZING LANGUAGE AND INCLUDE INFORMATION ABOUT THE EFFECTIVENESS OF
   TREATMENT AND THE STRUCTURAL BARRIERS THAT EXIST TO TREATMENT WHEN COMMUNICATING
   WITH THE PUBLIC ABOUT OPIOID-USE DISORDERS
Media coverage of the opioid epidemic, and public and private sector initiatives to educate and intervene should avoid
stigmatizing language and apply the available evidence when communicating with the public about opioid-use disorders.

Rationale: Messages about the effects of opioid-use disorders on individuals, families, and communities are ubiquitous, as are
educational campaigns and interventions designed to reverse the trend. Because how the opioid epidemic is discussed and how
people with opioid-use disorders are portrayed affects support for effective interventions, assuring that the language and frames
embedded in media reports and interventions are consistent with the available evidence is important to maximizing these efforts.

Current Status: Several professional organizations and groups have written statements and recommendations about what
language to use and what language to avoid, including the recent 2017 Associated Press Stylebook.274 Reports from professional
associations and government-led initiatives provide evidence-based guidance for use by the media, professionals, and agencies
and organizations that are active in this work.275,276,277



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COMBATING STIGMA


10.3 EDUCATE HEALTH CARE PROVIDERS ABOUT THE BENEFITS ASSOCIATED WITH DESTIGMATIZING LANGUAGE

Rationale: Health care providers are key stakeholders in addressing opioid-use disorders. Research documenting the presence
of stigma and the use of stigmatizing language among health care providers demonstrates a need for greater awareness about
the counter-productive impacts of stigmatizing language, and is an opportunity for intervention.

Current Status: Educational resources are available through several agencies, organizations, and professional associations.278,279,280




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                 .G:=JL3GG<&G@FKGFDAFA;9D/;@GD9J 1FAN=JKALQG>@A;9?G
                 1FAN=JKALQG>@A;9?G  =H9JLE=FLG>$=9DL@/LM<A=K )/
    
    
     $%$ '+-* 
    Maryland Physician and Controlled Substance License, through 9/30/20
    Drug Enforcement Agency Controlled Substance Licensure, through 6/30/21
    Medical Board Certification
    American Board of Internal Medicine, through 12/31/22


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    2001-2003              Off-tour Attending Physician, Veterans Affairs Hospital, Hines, Illinois
    2003-2005              Instructor, Division of General Medicine, University of Chicago
    2003-2006              Affiliate Faculty, Robert Wood Johnson Clinical Scholars Program
    2003-2012              Affiliate Faculty, MacLean Center for Clinical Medical Ethics
    2005-                 Adjunct Research Associate, Department of Pharmacy Practice, University of Illinois at
                           Chicago School of Pharmacy
    2005-2011              Assistant Professor, Division of General Medicine, University of Chicago

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      2007-2012         Affiliate Faculty, Center for Interdisciplinary Health Disparities Research (CIHDR),
                        University of Chicago
      2011-2012         Associate Professor, Division of General Medicine, University of Chicago
      2012-             Founding Co-Director, Johns Hopkins Center for Drug Safety and Effectiveness Hopkins
                        University
               KKG;A9L=,JG>=KKGJG>!HA<=EAGDG?Q9F<)=<A;AF= &G@FK$GHCAFKDGGE:=J?
                        /;@GGDG>,M:DA;$=9DL@
                  Affiliate Faculty, Center for Health Services and Outcomes Research (CHSOR), Johns
                   ,JG>=KKGJG>!HA<=EAGDG?Q9F<)=<A;AF= &G@FK$GHCAFKDGGE:=J?/;@GGDG>,M:DA;
                        $=9DL@

             
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    "    
             ,@AD9<=DH@A9GMFLQ)=<A;9D/G;A=LQ
             E=JA;9F)=<A;9DKKG;A9LAGF
                 ,@QKA;A9FK>GJ/G;A9D.=KHGFKA:ADALQ
                 DH@9+E=?9DH@9)=<A;9D$GFGJK/G;A=LQ
                 /G;A=LQ>GJ#=F=J9D%FL=JF9D)=<A;AF=
                  E=JA;9FGDD=?=G>,@QKA;A9FK
        E=JA;9F/G;A=LQG>AG=L@A;K9F<$ME9FALA=K
              @9AJ ,JG?J9EGEEALL== .3&"9;MDLQ/;@GD9JK*9LAGF9D)==LAF?
                  )=E:=J ,JG?J9EGEEALL== .3&"9;MDLQ/;@GD9JK*9LAGF9D)==LAF?
                 %FL=JF9LAGF9D/G;A=LQ>GJ,@9JE9;G=;GFGEA;K9F<+ML;GE=K.=K=9J;@%/,+. 
                 /=D=;LAGFGEEALL== )A<;9J==J.=K=9J;@)=FLGJK@AHO9J< /#%)
                 %FL=JF9LAGF9D/G;A=LQ>GJ,@9JE9;G=HA<=EAGDG?Q%/,! 
      
      " 
             0J9FKHD9FL09KC"GJ;= !F</L9?=.=F9D AK=9K=.=F9D*=LOGJC
                  E=JA;9F/G;A=LQG>AG=L@A;K9F<$ME9FALA=K,J=KA<=FLZK<NAKGJQGEEALL==GF
                       !L@A;K/L9F<9J<K
             GKLG>9F;=J9J=09KC"GJ;= E=JA;9F/G;A=LQG>DAFA;9D+F;GDG?Q
             @9JL=J)=E:=J %)/$=9DL@/=JNA;=K.=K=9J;@*=LOGJC
              "   JM?/9>=LQ9F<.AKC)9F9?=E=FL<NAKGJQGEEALL==K <$G;)=E:=J
                       • +;LG:=J9J<AGN9K;MD9J9F<.=F9DGEEALL== 9J:9HG=ALAF 
                       • +;LG:=J!F<G;JAFGDG?A;9F<)=L9:GDA;GEEALL==DGEAL9HA<=EAHGE=JK=F 
                       • &MDQJL@JALAKGEEALL==JAL=JA9>GJ9PA9DKHGF<QDG9JL@JALAK 
                       • *GN=E:=J,=JAH@=J9D=FLJ9D*=JNGMK/QKL=EGEEALL==D=ELMRME9: 
                       • )9Q,M:DA;)==LAF?,GKL)9JC=LAF?.=IMAJ=E=FLK>GJ+HAGA<F9D?=KA;K 
                       • &MDQGF= .=HJG<M;LAN=9F<1JGDG?A; JM?KGEEALL=="DA:9FK=JAF 
                       • =;=E:=J,MDEGF9JQDD=J?Q JM?KGEEALL==GM?@/QJMHG<=AF= 
                       • +;LG:=JGF= .=HJG<M;LAN=9F<1JGDG?A; JM?KGEEALL==<=KEGHJ=KKAF 
                       • *GN=E:=J,KQ;@GH@9JE9;GDG?A; JM?K<NAKGJQGEEALL==:MHJ=FGJH@AF= 
              @9AJE9F " ,=JAH@=J9D9F<=FLJ9D*=JNGMK/QKL=E JM?K<NAKGJQGEEALL==
                       • *GN=E:=J,=JAH@=J9D=FLJ9D*=JNGMK/QKL=EGEEALL== JAK9H=JK=F 
                       • HJAD,=JAH@=J9D=FLJ9D*=JNGMK/QKL=EGEEALL==!L=JHDAJK=F 
                       • HJAD,=JAH@=J9D=FLJ9D*=JNGMK/QKL=EGEEALL==9FF9:A<AGD 
                  )=E:=J " ,=JAH@=J9D9F<=FLJ9D*=JNGMK/QKL=E JM?K<NAKGJQGEEALL==
                       • *GN=E:=J,=JAH@=J9D=FLJ9D*=JNGMK/QKL=EGEEALL==<M;9FME9: 

                                                     2
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              =FL=JG>!P;=DD=F;=>GJGEH9J9LAN=!>>=;LAN=F=KK 1FAN=JKALQG>%DDAFGAK9L@A;9?G
              (=?9D/;A=F;= (( ;GFLJ9;LL@JGM?@*9LAGF9D%FKLALML=KG> JM?:MK=LG<=N=DGH
                       ,J=K;JAHLAGF JM?:MK=,GDA;Q/QKL=E
                  /;A=FLA>A;<NAKGJQG9J< )=<A9,GDA;Q=FL=J /9FL9)GFA;9 9DA>GJFA9
                  "9;ADAL9LGJ ,JAGJALARAF?GEH9J9LAN=!>>=;LAN=F=KK.=K=9J;@-M=KLAGFK>GJ,J=N=FLAF?
                       +HAGA<)AKMK=AFL@=)9F9?=E=FLG>,9AF/L9C=@GD<=J3GJCK@GH,+.% 
                  1 /  =H9JLE=FLG>$=9DL@9F<$ME9F/=JNA;=K *9LAGF9D=FL=J>GJ$=9DL@/L9LAKLA;K
                       *$/ *9LAGF9DE:MD9LGJQ)=<A;9D9J=/MJN=Q*)/ 3GJC?JGMH
                  )=E:=J " ,=JAH@=J9D9F<=FLJ9D*=JNGMK/QKL=E JM?K<NAKGJQGEEALL==
                  *9LAGF9D;9<=EA=KG>/;A=F;= !F?AF==JAF?9F<)=<A;AF=*/!) !IMAL9:D=
                         AKLJA:MLAGFG>9+2% 29;;AF= .=NA=O=J 
                  /;A=FLA>A;<NAKGJQG9J< /HJ=9<AF?L@=3GJ<0J9AFAF?&GMJF9DAKLK9F<.=K=9J;@=JK
                       LGGEEMFA;9L=,+.%GEH9J9LAN=!>>=;LAN=F=KK.=K=9J;@"AF<AF?K 

    (&& *$% .$+(*0 (*+
              %-2%%FKLALML=>GJ$=9DL@;9J=%F>GJE9LA;K 
              ,9AF*9NA?9LGJ (( )AFF=9HGDAK )AFF=KGL9
                =DL9"9M;=LGEH9FQ %F<A9F9HGDAK %F<A9F9
              )=K9.P%FFGN9LAGFK *=O5GJC *=O5GJC
                  +HLME.4*9LAGF9D,0GEEALL==

,# * (&& *$%$1,$(' ,$.$,0
               G "GMF<=J )GFME=FLF9DQLA;K $=9DL@9J=GFKMDL9F;Q

 +,$&('0' *$ !$'"+('$,$",$('
                  "GG<9F< JM?<EAFAKLJ9LAGF JM?(9:=DAF?>GJ,J=K;JAHLAGF+HAGA<K 
                  1 / /=F9L=2=L=J9FK>>9AJKGEEALL==,J=K;JAHLAGF+HAGA<K 
                  =FL=JK>GJ AK=9K=GFLJGD9F<,J=N=FLAGF,J=K;JAHLAGF+HAGA<K 
                  GEEALL==GF$=9DL@9F<#GN=JFE=FL+H=J9LAGFK )9JQD9F<$GMK=G> =D=?9L=K
                       ,J=K;JAHLAGF JM?)GFALGJAF?,JG?J9EK 
                  "GG<9F< JM?<EAFAKLJ9LAGF,J=K;JAHLAGF+HAGA<K 
                 *9LAGF9D;9<=EQG>/;A=F;=K %FKLALML=G>)=<A;AF=.=?MD9LAGFG>+HAGA<K 
                  /=F9L="AF9F;=GEEALL== )9JQD9F<$GMK=G> =D=?9L=K,J=K;JAHLAGF JM?,JA;AF? 
                  1 / $GMK=G>.=HJ=K=FL9LAN=K GF?J=KKAGF9D+N=JKA?@LGEEALL==+HAGA<!HA<=EA; 
                  JA=>AF?>GJ1 / /=F9L=/L9>>$GKL=<:Q/=F9LGJ=F9J<AF+HAGA<!HA<=EA; 
                  *9LAGF9D;9<=EQG>/;A=F;= !F?AF==JAF?9F<)=<A;AF=" +HAGA<.=?MD9LAGF 
                  )9JQD9F<$GMK=G> =D=?9L=K,J=K;JAHLAGF JM?)GFALGJAF?,JG?J9E 
                  *9LAGF9D;9<=EQG>/;A=F;= !F?AF==JAF?9F<)=<A;AF=*GF H@9JE9;GDG?A;H9AF
                       E9F9?=E=FL 

,# * +,$&('0$,$",$('
   • Expert Report in In re: National Prescription Opiate Litigation, Case No. 1:17-md-02804, in the U.S.
       District Court for the Northern District of Ohio (March 25, 2019, supplemented April 3, 2019,
       updated April 17, 2019 and October 8, 2019).
   • Deposition Testimony in In re: National Prescription Opiate Litigation, Case No. 1:17-md-02804, in
       the U.S. District Court for the Northern District of Ohio (April 26, 2019).
   • Expert Report in State of Washington v. Purdue Pharma L.P. et al., Case No. 17-2-25505-0 SEA, in
       the Superior Court of Washington for King County (July 8, 2019).
   • Disclosed as an expert witness in State of Montana v. Purdue Pharma L.P. et al., Case No. 1:17-md-
       02804, in the Montana First Judicial District Court in Lewis & Clark County (August 1, 2019).

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  #(* .$ / *2(-*'%+
E=JA;9F&GMJF9DG>'A<F=Q AK=9K=K                       $=9DL@/=JNA;=K.=K=9J;@
E=JA;9F&GMJF9DG>)9F9?=<9J=                           $QH=JL=FKAGF
E=JA;9F&GMJF9DG>)=<A;AF=                            %FL=JF9LAGF9D&GMJF9DG>-M9DALQ%EHJGN=E=FL
E=JA;9F&GMJF9DG>,J=N=FLAN=)=<A;AF=                    &)
E=JA;9F&GMJF9DG>,M:DA;$=9DL@                          &GMJF9DG>E=JA;9FGDD=?=$=9DL@
FF9DKG>%FL=JF9D)=<A;AF=                                &GMJF9DG>L@=E=JA;9F,@9JE9;AKLKKKG;A9LAGF
J;@AN=KG>%FL=JF9D)=<A;AF=                              &GMJF9DG>L@=E=JA;9F/G;A=LQG>*=H@JGDG?Q
AG)=<=FLJ9D) #9KLJG=FL=JGDG?Q                      &GMJF9DG>DAFA;9D!L@A;K
AG)=<=FLJ9D) %F>=;LAGMK AK=9K=K                   &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=
JALAK@&GMJF9DG>9F;=J                                  &GMJF9DG>.MJ9D$=9DL@
JALAK@)=<A;9D&GMJF9D                                    )=<A;9D9J=
9F9<A9F)=<A;9DKKG;A9LAGF&GMJF9D                       )=<A;9D =;AKAGF)9CAF?
DAFA;9D0@=J9H=MLA;K                                      )AD:9FC-M9JL=JDQ
*/ JM?K                                                  *=O!F?D9F<&GMJF9DG>)=<A;AF=
  AK=9K=)9F9?=E=FL9F<$=9DL@+ML;GE=K                    ,@9JE9;G!;GFGEA;K
  JM?K                                                     ,@9JE9;G=HA<=EAGDG?Q9F< JM?/9>=LQ
$=9DL@>>9AJK                                             /G;A9D/;A=F;=9F<)=<A;AF=

     


             )=<A;9D =;AKAGF)9CAF?  =HMLQ!<ALGJ
             &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=  =HMLQ!<ALGJ
             /G;A=LQG>#=F=J9D%FL=JF9D)=<A;AF="GJME KKG;A9L=!<ALGJ
             )$=9DL@/=JNA;=K.=K=9J;@ KKG;A9L=!<ALGJ
             &GMJF9DG>L@=E=JA;9F,@9JE9;AKLKKKG;A9LAGF&,@ !<ALGJA9DG9J<
             &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF= !<ALGJA9DG9J<
                 )=<A;9D9J=  =HMLQ!<ALGJ
                   JM?/9>=LQ !<ALGJA9DG9J<
                   JM?KV.=9D3GJD<+ML;GE=K !<ALGJA9DG9J<


*', .$ /+


      0@=*=L@=JD9F<K+J?9FAR9LAGF>GJ$=9DL@.=K=9J;@9F< =N=DGHE=FL6GF)O 0@=)AFAKLJQG>
        $=9DL@ 3=D>9J= 9F</HGJL 0@=$9?M= 0@=*=L@=JD9F<K 
       
      0@=1FAN=JKALQG>@A;9?G,JG?J9E>GJ,@9JE9;=MLA;9D,GDA;Q  
       
      1FAN=JKALQG>@A;9?G1FAN=JKALQG>%DDAFGAK9L@A;9?G =FL=J>GJ$=9DL@,JGEGLAGF
        !;GFGEA;K 
       
      0@=1FAN=JKALQG>@A;9?G A9:=L=K.=K=9J;@9F<0J9AFAF?=FL=J 
       
      ?=F;Q>GJ$=9DL@;9J=.=K=9J;@9F<-M9DALQ /H=;A9D!EH@9KAK,9F=D. X+HLAEARAF?
        ,J=N=FLAGF9F<$=9DL@;9J=)9F9?=E=FL>GJL@=GEHD=P,9LA=FL Y)9J;@ 
       
      ."  *%$@9DD=F?=#J9FLKAF$=9DL@9F</;A=F;=.=K=9J;@. HJAD 
       
                                                       4
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      *9LAGF9D%FKLALML=G>?AF?/H=;A9D!EH@9KAK,9F=D,+ )=<A;9D,JG>=KKAGF9DAKE9F<$=9DL@;9J=
        #J9FLK *GN=E:=J 
        
      ?=F;Q>GJ$=9DL@;9J=.=K=9J;@9F<-M9DALQ/H=;A9D!EH@9KAK,9F=D. GEH9J9LAN=
        !>>=;LAN=F=KK =DAN=JQ/QKL=E =EGFKLJ9LAGF#J9FLK &MDQ 

      ?=F;Q>GJ$=9DL@;9J=.=K=9J;@9F<-M9DALQ =FL=JK>GJ!<M;9LAGF9F<.=K=9J;@AF0@=J9H=MLA;K
        !.0 1  /H=;A9D!EH@9KAK,9F=D &MDQ 

     /OAKK*9LAGF9D/;A=F;="GMF<9LAGF  JM?(9?AF/OALR=JD9F< G=KAL!PAKL9F<3@Q&MF= 

      ML;@)AFAKLJQG>$=9DL@#J9FL.=NA=O +HLAEARAF?L@=MK=G>+N=J L@= GMFL=J)=<A;AF=K 
        +;LG:=J 

     -9L9J*9LAGF9D.=K=9J;@"MF<.=NA=O=J *GN=E:=J 

     2=L=J9FK$=9DL@>>9AJK$=9DL@/=JNA;=K.=K=9J;@9F< =N=DGHE=FL$/.       =FL=JG>%FFGN9LAGF
        .=NA=O "=:JM9JQ 

     <@G;J=NA=O=J ?=F;Q>GJ$=9DL@;9J=.=K=9J;@9F<-M9DALQ $=9DL@9J=.=K=9J;@0J9AFAF?
        $.0 /LM<Q/=;LAGF &9FM9JQV&MDQ 

     <@G;J=NA=O=J 9F9<A9F%FKLALML=KG>$=9DL@.=K=9J;@%$. .=NA=OGEEALL==>GJL@= JM?
        /9>=LQ9F<!>>=;LAN=F=KK*=LOGJC /!* 9F<L@=/LJ9L=?Q>GJ,9LA=FL +JA=FL=<.=K=9J;@/,+. 
        9L9DQKL#J9FL)=L@G<KAF,GKL )9JC=L JM?/9>=LQ9F<!>>=;LAN=F=KK.=K=9J;@ &9FM9JQ 

     /LM<QK=;LAGFE=E:=J ?=F;Q>GJ$=9DL@;9J=.=K=9J;@9F<-M9DALQ $=9DL@9J=.=K=9J;@0J9AFAF?
        $.0 /LM<Q/=;LAGF M?MKLV&MDQ 

     @9AJE9F ,9LA=FL=FL=J=<+ML;GE=K.=K=9J;@%FKLALML= DAFA;9D/LJ9L=?A=K>GJ)9F9?AF?9F<
        .=<M;AF?(GF? 0=JE+HAGA<1K=>GJ@JGFA;,9AF)=JAL.=NA=O )9Q 

     @9AJE9F ,9LA=FL=FL=J=<+ML;GE=K.=K=9J;@%FKLALML= DAFA;9D/LJ9L=?A=K>GJ)9F9?AF?9F<
        .=<M;AF?(GF? 0=JE+HAGA<1K=>GJ@JGFA;,9AF)=JAL.=NA=O )9Q 

     @9AJE9F ,9LA=FL=FL=J=<+ML;GE=K.=K=9J;@%FKLALML= KK=KKE=FLG>,J=N=FLAGF  A9?FGKAK 9F<
        0J=9LE=FL+HLAGFK, 0+ ,JG?J9E M?MKL 
        
     <@G;J=NA=O=J &G@FK$GHCAFK=FL=J>GJ%FBMJQ.=K=9J;@9F<,GDA;Q &MF= 
        
     <@G;J=NA=O=J *9LAGF9D%FKLALML=GF JM?:MK=/H=;A9D!EH@9KAK,9F=D ,=<A9LJA;"GJEMD9LAGFK
        9F< JM? =DAN=JQ/QKL=EK9F<,KQ;@G9;LAN=/MJN=ADD9F;= M?MKL 
        
     0=;@FA;9D!PH=JL,9F=DAKL'=Q%F>GJE9FL            
                     ?=F;Q>GJ$=9DL@;9J=.=K=9J;@9F<-M9DALQ HJAD
         
        
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                            

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
                 ME(9M<= 1FAN=JKALQG>,=FFKQDN9FA9
                  DH@9+E=?9DH@9 9K=3=KL=JF.=K=JN=1FAN=JKALQ
              &G@F +J=EMK)=EGJA9D/;@GD9J .=K=9J;@/LAH=F< )9;(=9F
                     =FL=J>GJ)=<A;9D!L@A;K 1FAN=JKALQG>@A;9?G
                  0GHG>J=NA=O=JK )=<A;9D9J=9DKGJ=;=AN=<9FFM9DDQL@JGM?@ 
                  0GHG>J=NA=O=JK FF%FL=JF)=<9DKGJ=;=AN=<   
                  !D=;L=<"=DDGOG>L@=E=JA;9FGDD=?=G>,@QKA;A9FK", 
                  0GH.=NA=O=JK ,@9JE9;G=HA<=EAGDG?Q9F< JM?/9>=LQ9FFM9DDQL@JGM?@ 

! 
                  !<O9J<3 $GDE=K.=KA<=FL.=K=9J;@O9J< 1FAN=JKALQG>,=FFKQDN9FA9
              .G:=JL3GG<&G@FKGF"GMF<9LAGF"9;MDLQ/;@GD9J9J==J =N=DGHE=FLO9J<
                   .=K=9J;@"AF9DAKL %FL=JF9LAGF9D/G;A=LQ>GJ,@9JE9;G=;GFGEA;K9F<+ML;GE=K
                        .=K=9J;@ FFM9D)==LAF?
                  +MLKL9F<AF?,@QKA;A9F/;A=FLAKLO9J< =FLJ9D/G;A=LQ>GJDAFA;9D.=K=9J;@
                   9J==J<=N=DGHE=FL9O9J< .=K=9J;@/LAH=F< =FLJ9D/G;A=LQ>GJDAFA;9D
                        .=K=9J;@
                     =H9JLE=FLG>)=<A;AF=.=K=9J;@O9J<9O9J<=<LGLJ9AF==>GJE=FLGJ=<J=K=9J;@
                        9DKGJ=;=AN=<:QE=FLGJ=<LJ9AF==KAF9F< 
                   ,JALRC=J/;@GGDG>)=<A;AF=/A?E94AO9J<>GJ%EH9;LGF/;A=F;=9O9J<=<LG
                        LJ9AF==>GJE=FLGJ=<J=K=9J;@ 
                   E=JA;9D/G;A=LQG>$=9DL@ /QKL=E,@9JE9;Q  JM?0@=J9HQ.=K=9J;@O9J<
                        9O9J<=<LGLJ9AF==>GJE=FLGJ=<J=K=9J;@9F<;NHM:DA;9LAGF 
                   .G:=JL 3ALLO9J< =KLJLA;D=AF&GMJF9DG>.AKC9F<%FKMJ9F;=,M:DA;9LAGF
                         
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 * .$ / (-*'% *,$% +'& +(!,*$' +* -' *%$' 


  /R=D="  ,&4#-%&0 @=KK=D=L)" !PHJ=KKAGFG>EGD=;MD=K9KKG;A9L=<OAL@F=MJGF9DHD9KLA;ALQAF
    L@=KLJA9LME9>L=J9KHAJ9LAGFN=JKMKL@=JEG;G9?MD9LGJQD=KAGFKAFL@=9<MDL;GJL=PAF9<MDLJ9LK &GMJF9D
    G>*=MJGK;A=F;=   ,)% 

   ,&4#-%&0 "=J9 !DDAK. "JGEL@=KLM<=FLKD=9JFAF?;GFLAFMGMKAEHJGN=E=FL:Q<GAF?AL 
   &GAFLGEEAKKAGF&GMJF9DGF-M9DALQ%EHJGN=E=FL   ,)% 
   
  ,&4#-%&0 /=@?9D.  A9DQKAKH9LA=FL9KK=KKE=FLKG>L@=IM9DALQG>E=<A;9D;9J=HJGNA<=<:Q
   ?=F=J9DAKLK F=H@JGDG?AKLK9F<GL@=JKH=;A9DAKLK E=JA;9F&GMJF9DG>'A<F=Q AK=9K=   
   ,)% 

  ,&4#-%&0 /=@?9D. 9JJA=JKLG;9<9N=JA;J=F9DLJ9FKHD9FL9LAGF9EGF?:D9;CK OGE=F 9F<L@=
   HGGJ &)   ,)% 


             !<ALGJA9D)AD>GJ<!( +J?9FLJ9FKHD9FL9LAGF :9JJA=JK GML;GE=K 9F<=NGDNAF?HGDA;A=K &) 
               ,)% 
     


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  (=OAF( ?F=:=J?  ,&4#-%&0 ;GMJK=AF=F< G> DA>=;9J=>GJL@AJ<Q=9JE=<A;9DKLM<=FLK 
    ;9<=EA;)=<A;AF=   ,)% 
    
  ,&4#-%&0 /=@?9D. 3@Q@=EG<A9DQKAKH9LA=FLK>9ADLG;GEHD=L=L@=LJ9FKHD9FLHJG;=KK 
    E=JA;9F&GMJF9DG>'A<F=Q AK=9K=   ,)% 
     

            !<ALGJA9D@=JLGO#) 6=FAGK/ #JA<DG;CGFL@=JG9<LGCA<F=QLJ9FKHD9FL9LAGF E=JA;9F
            &GMJF9DG>'A<F=Q AK=9K=   ,)% 
    
  3=JF=J.)  ,&4#-%&0 "9?=JDAF 1:=D, 0@=@9KKD=>9;LGJ$GOH@QKA;A9FKJ=KHGF<O@=F
    L@AJ<H9JLQH9Q=JK<=;DAF=J=AE:MJK=E=FL>GJAEHGJL9FL@=9DL@;9J=K=JNA;=K J;@AN=KG>%FL=JF9D
    )=<A;AF=   ,)% 

  ,&4#-%&0 /=@?9D/ 29JA9LAGFAF9;;=KKLGCA<F=QLJ9FKHD9FL9LAGF9;JGKK<A9DQKAK>9;ADALA=K
    MKAF?HJG;=KKG>;9J=E=9KMJ=K>GJIM9DALQAEHJGN=E=FL E=JA;9F&GMJF9DG>'A<F=Q AK=9K= 
      ,)% 
     

            !<ALGJA9D,GO=*. GMDO9J=(! 0@=MF=N=F<AKLJA:MLAGFG>CA<F=QLJ9FKHD9FLK?=LLAF?9LL@=
            JGGL;9MK=K9F<AEHJGNAF?;9J= E=JA;9F&GMJF9DG>'A<F=Q AK=9K=   ,)% 
            
     
     ,&4#-%&0 3=JF=J.) "9?=JDAF 1:=D, ,M:DA;KMHHGJL>GJH@QKA;A9F<=;=HLAGFG>AFKMJ9F;=
     ;GEH9FA=K FF9DKG>%FL=JF9D)=<A;AF=   ,)% 

  ,&4#-%&0 3QFA9)' .=9<Q9F<OADDAF?,@QKA;A9FKZK=FK=G>HJ=H9J=<F=KK>GJ:AGL=JJGJAKE 
    $=9DL@>>9AJK /=HL=E:=J+;LG:=J  ,)% 

  ,&4#-%&0 9K9DAFG(, )=DLR=J + ,9LA=FL H@QKA;A9F;GEEMFA;9LAGF9:GMLGML G> HG;C=L;GKLK 
    &)   ,)% 
    
  ,&4#-%&0 3=JF=J.) 1:=D, 0@=;GKLKG><=FQAF?K;9J;ALQ J;@AN=KG>%FL=JF9D)=<A;AF= 
      ,)% 

  ,&4#-%&0 9K9DAFG(, 0K=F?3 );"9<<=F )=DLR=J + 9JJA=JKLGH9LA=FL H@QKA;A9F
    ;GEEMFA;9LAGF9:GMLGML G> HG;C=L;GKLK &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=   
    ,)% ,)
    
  ,&4#-%&0 0K=F?3 /LJ9L=?A=KLGA<=FLA>Q9F<9KKAKLH9LA=FLK:MJ<=F=<:QGML G> HG;C=L
    HJ=K;JAHLAGF;GKLK D=N=D9F<DAFA;&GMJF9DG>)=<A;AF=   ,)% 
    
 3=JF=J.)  ,&4#-%&0 "9?=JDAF 1:=D, (QAF?LGAFKMJ9F;=;GEH9FA=KL@=<=KAJ=LG<=;=AN=
    9EGF?H@QKA;A9FK9F<L@=HM:DA; E=JA;9F&GMJF9DG>AG=L@A;K   ,)% 
    
  9A /L9>>GJ<./  ,&4#-%&0 *9LAGF9DLJ=F<KAFGP AF@A:ALGJMK=KAF;=E9JC=LJ=D=9K=FGF
    K=D=;LAN=<A>>MKAGFG>9K=D=;LAN=DQ;GKL =>>=;LAN=AFFGN9LAGF J;@AN=KG>%FL=JF9D)=<A;AF= 
      ,)% 
     

            !<ALGJA9D/GDGEGF $ NGJF& GPA:K K;A=F;= 9F<L@=HM:DA;LJMKL J;@AN=KG>%FL=JF9D
            )=<A;AF=   ,)% 

  ,&4#-%&0 9K9DAFG(, )=LDR=J + ,@QKA;A9FKLJ9L=?A=KLGJ=<M;=H9LA=FLKZGML G> HG;C=L
    HJ=K;JAHLAGF;GKLK J;@AN=KG>%FL=JF9D)=<A;AF=   ,)% 
                                                       7
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 MKK)'  ,&4#-%&0 /OALR=J#! JFGD<.) KK=KKAF?;GEH=L=F;=G>J=KA<=FLKLG<AK;MKK=F<
    G> DA>=AKKM=KOAL@H9LA=FLK &GMJF9DG>,9DDA9LAN=)=<A;AF=   ,)% 
    
 (9F?, /;@O9JR=)  ,&4#-%&0 *=OL=;@FGDG?A=KE==LAF?GD<HJG>=KKAGF9D:GMF<9JA=KL@=
    =E=J?=F;=G>;9JGLA<9JL=JQKL=FLAF? &GMJF9DG>L@=E=JA;9FGDD=?=G>/MJ?=JQ   
    ,)% 
    
  ,&4#-%&0 )G@9BAJ* )=DLR=J + GFKME=JKH=J;=HLAGFK9:GMLJAKCG>9F<9;;=KKLG
    FGFHJ=K;JAHLAGFE=<A;9LAGFK &E,@9JEKKG;   ,)% 
                       
 39F?5.  ,&4#-%&0 )=DLR=J + (9;CG>=>>=;LG>?MA<=DAF=;@9F?=KGF( (;@GD=KL=JGD
    J=HGJLAF?9F<;GFLJGD>GJ<A9:=L=KNAKALKAFL@=1 /    A9:=L=K9J=   
    ,)% 

  ,&4#-%&0 'MJD9F<=J& 3QFA9)' ,@QKA;A9FKAFJ=L9AF=JX;GF;A=J?=Y HJ9;LA;=9F9LAGF9D
    KMJN=QG>H@QKA;A9F H9LA=FL 9F<HJ9;LA;=;@9J9;L=JAKLA;K &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF= 
      ,)% ,)

  ,&4#-%&0 (9FLGK& 0@=<G;LGJ H9LA=FLJ=D9LAGFK@AHAFL@=HGKL E9F9?=<;9J==J9 E=JA;9F
    &GMJF9DG>AG=L@A;K   ,)% 
             
 39F?5.  ,&4#-%&0 )=DLR=J + /;J==FAF?9F<MK=G>;@GD=KL=JGD DGO=JAF?<JM?L@=J9HQ>GJ
    HJAE9JQ9F<K=;GF<9JQHJ=N=FLAGFG>;GJGF9JQ@=9JL<AK=9K= 9F< )9F9?=<9J=%FL=J>9;= 
      ,)% 
    
 ,A=LL=& $=AKD=J) $GJF=.  ,&4#-%&0 ;GF;=HLM9DDQ :9K=<9HHJG9;@LGMF<=JKL9F<AF?
    ;@JGFA;9DDQ ADDH9LA=FLKZJ=KHGFK=KLGE=<A;9LAGF;GKLHJ=KKMJ=K /G;A9DK;A=F;=9F<E=<A;AF= 
      ,)% 
                 
 $GDE=K$) GP $9QD=Q )  ,&4#-%&0 /9;@K# .=;GFKA<=JAF?E=<A;9LAGF9HHJGHJA9L=F=KK
    >GJH9LA=FLKD9L=AFDA>= J;@AN=KG>%FL=JF9D)=<A;AF=   ,)% 

 /;@O9JR=)( /9QD9)  ,&4#-%&0 !PHDGJAF?H9LA=FLHJ=>=J=F;=K>GJAF>J9AF?MAF9D:QH9KK
    KMJ?=JQ &GMJF9DG>L@=E=JA;9FGDD=?=G>/MJ?=JQ   ,)% 
    
  ,&4#-%&0  =DAKK=J$) $9FK=F "D9K;@=F& (9FLGK& /@GJAF?MHHJG>=KKAGF9DAKE:MAD<AF?MHGF
    <AK9?J==E=FLK:=LO==F@GMK=G>>A;=JK9F<9LL=F<AF?H@QKA;A9FK 9F9<A9F"9EADQ,@QKA;A9F 
      ,)% ,)
    
  ,&4#-%&0 /9QD9) $GDE=K$) /9;@K# ,JAGJALARAF?9F<KLGHHAF?HJ=K;JAHLAGFE=<A;AF=K 
    9F9<A9F)=<A;9DKKG;A9LAGF&GMJF9D   ,)% ,)
    
  ,&4#-%&0 $9DD) (9FLGK& .=L@AFCAF?HJG>=KKAGF9D=L@A;KAFL@=;GKL K@9JAF?=J9 E=JA;9F
    &GMJF9DG>AG=L@A;K 3 3 ,)% 

 "=<=JE9F  ,&4#-%&0 /@J9FC3$ /AEHDA>QAF?L@=)=<A;9J=,J=K;JAHLAGF JM?=F=>AL>GJ
    H@QKA;A9FK9F<H9LA=FLK )9QGDAFA;,JG;==<AF?K   ,)% 
        
    


                                                     8
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 -MAFF)0  ,&4#-%&0 $GDDAF?KOGJL@ +ZGFFGJ'# )=DLR=J + >GJL@=GJHGJ9L=
    GFLJA:MLAGFK>GJ(A>=GFKGJLAME  =KA?F9F<=N9DM9LAGFG>9OGJCHD9;=AFL=JN=FLAGFLGHJGEGL=GJ?9F
    <GF9LAGF ,JG?J=KKAF0J9FKHD9FL9LAGF   ,)% 
        
 GDC=J0. 9K9DAFG(,  ,&4#-%&0 (9FLGK& /@GMD<GMJO=DD ;@AD<;9J=KQKL=E:=J=<=KA?F=<
    F9LAGF9DKMJN=QG>H=<A9LJA;A9FK ,=<A9LJA;K   ,)% 
    
  ,&4#-%&0 (9JCAF# 3QFA9)' ,J=H9J=<F=KK>GJ:AGL=JJGJ9F<;GEH=LAF?HM:DA;@=9DL@
    HJAGJALA=K9F9LAGF9DKMJN=QG>HJAE9JQ;9J=9F<=E=J?=F;QH@QKA;A9FK ;9<=EA;!E=J?=F;Q)=<A;AF= 
      ,)% 

 39F?5.  ,&4#-%&0 /L9>>GJ<./ +MLH9LA=FLLJ=9LE=FL9F<;GFLJGDG>@QH=JL=FKAGFAF3=KL=JF
    !MJGH=9F<L@=1FAL=</L9L=K J;@AN=KG>%FL=JF9D)=<A;AF=   ,)% 

 /;@O9JR=)( /9QD9)  ,&4#-%&0 ;GEH9JAKGFG>H9LA=FL9F<H@QKA;A9F:=DA=>K9:GML
    AF>J9AF?MAF9D:QH9KKKMJ?=JQO@9LJGD=K@GMD<KMJ?A;9DGHLAEAKEHD9Q/MJ?=JQ   
    ,)% 

 9K9DAFG(,  ,&4#-%&0 &AF( 'GF=LRC90 #=F=J9DAFL=JFAKLKZNA=OKGFH9Q >GJ H=J>GJE9F;=9F<
    HM:DA;J=HGJLAF?G>IM9DALQK;GJ=K9F9LAGF9DKMJN=Q $=9DL@>>9AJK   ,)% 

 ,@9E$$  ,&4#-%&0 +Z)9DD=Q/ ,@QKA;A9F;GFKA<=J9LAGFG>H9LA=FLKZGML G> HG;C=L;GKLKAF
    E9CAF?;GEEGF;DAFA;9D<=;AKAGFK J;@AN=KG>%FL=JF9D)=<A;AF=   ,)% 
    

 0GJC=  ,&4#-%&0 (9FLGK& /A=?D=J) 0@=<G;LGJ KMJJG?9L=J=D9LAGFK@AH J;@AN=KG>%FL=JF9D
    )=<A;AF=   ,)% 

 'MO9:9J9/ 29F2GGJ@==K3 #GDD9F&'  ,&4#-%&0 IM9DAL9LAN==PHDGJ9LAGFG><=HJ=KKAGF
    AF=E=J?AF?9<MDL@GG< #=F=J9D@GKHAL9DHKQ;@A9LJQ   ,)% ,)
    
 0K=F?3 JGGC.$ '==D=J! /L==JK3*  ,&4#-%&0 39ALR>=D<=J! )9F?AGF=) !D<=JDQ
    H9LA=FLKHJ=>=J=F;=K9F<=PH=JA=F;=KOAL@HJGNA<=JKAFE9F9?AF?L@=AJ<JM?;GKLK &GMJF9DG>L@=
    E=JA;9F#=JA9LJA;K/G;A=LQ   ,)% 
    
 ,@GF?K9C/' 3QFA9)' #9<GF)  ,&4#-%&0 +JA?AF9DGEEMFA;9LAGF-M9DAL9LAN=/LM<QG>
    ,@QKA;A9FKZ!F?9?=E=FLAF.=<M;AF?$=9DL@9J= AKH9JALA=K &GMJF9DG>L@=*9LAGF9D)=<A;9D
    KKG;A9LAGF   ,)% ,)

 5AF3 9KM 6@9F?& .9::9FA )=DLR=J +  ,&4#-%&0 %EH9;LG>L@=)=<A;9J=,9JL 
    ,J=K;JAHLAGF JM?=F=>ALGF<JM?MLADAR9LAGF9F<GML G> HG;C=L=PH=F<ALMJ=K FF9DKG>%FL=JF9D
    )=<A;AF=   ,)% 


           !<ALGJA9D/LM9JL 3@=J=9J=L@=)=<A;9J=,9JL ;D9AEK<9L9FF9DKG>%FL=JF9D)=<A;AF= 
             ,)% 

  ,&4#-%&0 6@9F?& 9KM @9J9;L=JAKLA;KG>H9LA=FLKJ=;=ANAF?H@9JE9;=MLA;9DK9EHD=K9F<
    9KKG;A9LAGF:=LO==FK9EHD=J=;=AHL9F<GML G> HG;C=LHJ=K;JAHLAGF;GKLK )=<A;9D9J= 
     ,)% 


                                                      9
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  ,&4#-%&0 (AF/ /9QD9) 3QFA9)' 3JALAF?>GJL@= 9L9GEEALL==G>L@=GEEAKKAGFLG!F<
    $=9DL@9J= AKH9JALA=K  =N=DGHE=FLG>9E=9KMJ=G>H@QKA;A9F=F?9?=E=FLAF9<<J=KKAF?J9;A9D9F<
    =L@FA;@=9DL@;9J=<AKH9JALA=K $=9DL@/=JNA;=K.=K=9J;@    ,)% ,)

 .9::9FA ,&4#-%&0 +ML G> HG;C=L9F<LGL9D;GKLKG>>AP=<<GK=;GE:AF9LAGF9FLA@QH=JL=FKAN=K
    9F<L@=AJ;GEHGF=FLK E=JA;9F&GMJF9DG>$QH=JL=FKAGF    ,)% 


            !<ALGJA9DJJ=<GF<G +ML G> HG;C=L;GKLKLGMK=JKE=<A;AF=GHLAGFK>GJ@QH=JL=FKAGF 
            E=JA;9F&GMJF9DG>$QH=JL=FKAGF V ,)% 
                          
 0GJC= /AEE=JDAF?) /A=?D=J) '9Q9  ,&4#-%&0 .=L@AFCAF?L@==L@A;9D>J9E=OGJC>GJ
    KMJJG?9L=<=;AKAGF E9CAF?9IM9DAL9LAN=KLM<QG>H@QKA;A9FK &GMJF9DG>DAFA;9D!L@A;K 
     ,)% 

 0GJC=  ,&4#-%&0 (9FLGK& /M:KLALML=<BM<?E=FLL@=DAEAL9LAGFKG>9MLGFGEQAFKMJJG?9L=
    <=;AKAGF E9CAF? &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=   ,)% ,)

 6@9F?& 5AF3 /MF/  ,&4#-%&0 %EH9;LG>L@=)=<A;9J=,J=K;JAHLAGF JM?=F=>ALGFL@=MK=G>
    ?=F=JA;<JM?K &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=   ,)% ,)

  ,&4#-%&0 /=@?9D*( )GDGF=Q.) /L9>>GJ<./ *9LAGF9DLJ=F<KAFLJ=9LE=FL>GJ0QH=<A9:=L=K
    E=DDALMK   J;@AN=KG>%FL=JF9D)=<A;AF=   ,)% ,)

 !HKL=AF& .9L@GJ=/.  ,&4#-%&0 '=L;@9E& ,@QKA;A9FKZ2A=OKGF;;=KKLG,J=K;JAHLAGF
      JM?KMF<=J)=<A;9J=,9JL E=JA;9F&GMJF9DG>)9F9?=<9J= /, /, ,)% 
    

 ,==C)! 09F?$  ,&4#-%&0 @AF)$ *9LAGF9DHJ=N9D=F;=G>DA>=KLQD=;GMFK=DAF?GJJ=>=JJ9D
    9EGF?>JA;9FE=JA;9FKOAL@<A9:=L=K &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=   
    ,)% ,)

 39DLGF/) /;@MEG;C#0 (=='2  ,&4#-%&0 )=DLR=J /L9>>GJ<./ ,JAGJALARAF?E=<A;9LAGFK
    >GJHGDA;Q9F<J=K=9J;@AFALA9LAN=K=P9EAFAF?G>> D9:=DHJ=K;JA:AF? ,@9JE9;GL@=J9HQ 
     ,)% 

 -9LG )  ,&4#-%&0 GFLA.) &G@FKGF) /;@MEE, (AF<9M/0 1K=G>HJ=K;JAHLAGF9F<GN=J
    L@= ;GMFL=JE=<A;AF=K9F<<A=L9JQKMHHD=E=FLK9EGF?GD<=J9<MDLKAFL@=1FAL=</L9L=K>AF<AF?K>JGE9
    HGHMD9LAGF :9K=<KLM<Q &)   ,)% ,)

 /;@O9JR=)( /9QD9)  ,&4#-%&0  GH9LA=FLKOAL@HGGJGML;GE=KJ=?J=L@9NAF?@9<
    AF>J9AF?MAF9D:QH9KKKMJ?=JQ&GMJF9DG>/MJ?A;9D.=K=9J;@   ,)% 

  ,&4#-%&0 /L9>>GJ<./  G=K;GEH9J9LAN==>>=;LAN=F=KK@9N=9;GEH9J9LAN==<?=&) 
      ,)% 

 .9::9FA  ,&4#-%&0  =L=JEAF9FLKG>@=9DL@;9J=MK=9EGF?;@AD<J=F=NA<=F;=>JGEJMJ9D
    9F?D9<=K@ &GMJF9DG>AGKG;A9D/;A=F;=   ,)% 

 @=F 0 3QFA9)' )GDGF=Q.)  ,&4#-%&0 ,@QKA;A9FCFGOD=<?=G>L@="  9HHJGN=<
    AF<A;9LAGFKG>;GEEGFDQHJ=K;JA:=<<JM?KJ=KMDLKG>9F9LAGF9DKMJN=Q ,@9JE9;G=HA<=EAGDG?Q9F<
      JM?/9>=LQ   ,)% 
                                                       10
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 9KC=Q. (AF<9M/0  ,&4#-%&0 'FGOD=<?=9F<=9JDQ9<GHLAGFG>L@=$,2N9;;AF=9EGF?
    9<GD=K;=FL?AJDK9F<QGMF?OGE=FJ=KMDLKG>9F9LAGF9DKMJN=Q &GMJF9DG><GD=K;=FL$=9DL@ 
      ,)% 


           !<ALGJA9D.G<=O9D<(! +J=FKL=AF3 29;;AF9LAF?9<GD=K;=FLKVF=O=NA<=F;=G>;@9DD=F?=K
           9F<GHHGJLMFALA=K &GMJF9DG><GD=K;=FL$=9DL@   ,)% 

 .9L@GJ=/. '=L;@9E&  ,&4#-%&0 !HKL=AF& %F>DM=F;=G>,9LA=FL.9;=GF,@QKA;A9F,J=K;JA:AF?
      =;AKAGFK.9F<GEAR=<+F DAF=!PH=JAE=FL &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF= 
     ,)% ,)

 .9::9FA  ,&4#-%&0 GKLK9NAF?K9KKG;A9L=<OAL@>ADDAF?9L@J==EGFL@KMHHDQG>HJ=K;JAHLAGF
    E=<A;AF=K HHDA=<!;GFGEA;K9F<$=9DL@,GDA;Q   ,)% 

 0GJC=) /A=?D=J) :9DGK )GDGF=Q.  ,&4#-%&0 ,@QKA;A9FKZ=PH=JA=F;=OAL@KMJJG?9L=
    <=;AKAGFE9CAF?>GJ@GKHAL9DAR=<9<MDLK &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=   
    ,)% ,)

 .9::9FA  ,&4#-%&0 0@=AEH9;LG>>9EADQKLJM;LMJ=GFKLAEMD9FLMK=9EGF?;@AD<J=FOAL@
    LL=FLAGF =>A;AL$QH=J9;LANALQ AKGJ<=J $=9DL@/=JNA;=K.=K=9J;@   ,)% 
    

  ,&4#-%&0 $ME=FKCQ& #M=JJ=JG ,9JC$ (G=O=FKL=AF# ,@QKA;A9FF9J;AKKAKE =?GL@J=9LK 
    9F<;GF>A<=F;=AFL@=>9;=G>MF;=JL9AFLQ &GMJF9DG>HHDA=</G;A9D,KQ;@GDG?Q   

  GJK=Q. .9::9FA #9DD9?@=J/ GFLA.  ,&4#-%&0 0@=AEH9;LG>:D9;C:GPO9JFAF?KGFL@=
    MK=G>9LQHA;9D9FLAHKQ;@GLA;E=<A;AF=K J;@AN=KG>%FL=JF9D)=<A;AF=   ,)% 
    


           !<ALGJA9D.G;@GF, F<=JKGF#) ,J=K;JA:AF?GHLAE9D<JM?L@=J9HQ>GJGD<=JH=GHD=K=F<AF?
           L@=JA?@LE=KK9?= J;@AN=KG>%FL=JF9D)=<A;AF=   ,)% 

 9KM 5AF3  ,&4#-%&0 0@=AEH9;LG>)=<A;9J=,9JL GF)=<A;9J= )=<A;9A<<M9D =DA?A:D=
    :=F=>A;A9JA=KZHJ=K;JAHLAGFMLADAR9LAGF9F<=PH=F<ALMJ=K $=9DL@/=JNA;=K.=K=9J;@   
    *9LAGF9DMJ=9MG>!;GFGEA;.=K=9J;@7*!.83GJCAF?,9H=J3 ,)% 

 G@=F .9::9FA /@9@*  ,&4#-%&0 @9F?=KAF?DAL9RGF=MK=9EGF?G>>A;= :9K=<H@QKA;A9FK
    AFL@=1FAL=</L9L=K    A9:=L=K;9J=   ,)% ,)

 0GJC=) )GDGF=Q. /A=?D=J) :9DGK  ,&4#-%&0 ,@QKA;A9FKZNA=OKGFL@=AEHGJL9F;=G>
    H9LA=FLHJ=>=J=F;=KAFKMJJG?9L=<=;AKAGFE9CAF? &GMJF9DG>L@=E=JA;9F#=JA9LJA;K/G;A=LQ 
      ,)% 

 0K=F? JGGC.$  ,&4#-%&0 $APGF '==D=J! )9F?AGF=) @=F. &9;CKGF! <9EK
      M<D=Q. ,@QKA;A9FKZMK=G>@=9DL@AF>GJE9LAGFL=;@FGDG?Q9F<CFGOD=<?=G>>GJEMD9JA=K HJ=K;JAHLAGF
    ;GH9QE=FLK 9F<J=L9AD<JM?HJA;=K E=JA;9F&GMJF9DG>)9F9?=<9J= = = ,)% 
    

 (9D= )GDGF=Q.)  ,&4#-%&0 ;9<=EA;E=<A;9D;=FL=JK9F<MF<=JK=JN=<;GEEMFALA=K
    EG<=JF;GEHD=PALA=KG>9F=F<MJAF?J=D9LAGFK@AH &GMJF9DG>L@=*9LAGF9D)=<A;9DKKG;A9LAGF 
      ,)% 
                                                    11
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71./9MF<=JK). 9?F=Q' .GKKLF, Alexander GC. Neighborhood Poverty, Racial Composition and
    Renal Transplant Waitlist. American Journal of Transplantation. 2010;10:1912-1917. PMID:
    20659097

 -9LG ) (AF<9M/0 GFLA.) /;@MEE,  ,&4#-%&0 .9;A9D9F<=L@FA;<AKH9JALA=KAF
    ;9J<AGN9K;MD9JE=<A;9LAGFMK=9EGF?GD<=J9<MDLKAFL@=1FAL=</L9L=K ,@9JE9;G=HA<=EAGDG?Q9F< JM?
    /9>=LQ   ,)% 

 /@9@* )GFLGJA2) 'JME@GDR$) 0M'  ,&4#-%&0 &9;C=NA;AMK #=G?J9H@A;29JA9LAGFAF
    L@=.=KHGFK=LG" GP=<39JFAF?K>GJ.GKA?DAL9RGF= *!F?D&)=<   ,)% 
    

  ,&4#-%&0 #9DD9?@=J/ )9K;GD9 )GDGF=Q.) /L9>>GJ<./ %F;J=9KAF?G>> D9:=DMK=G>
    9FLAHKQ;@GLA;E=<A;AF=K   ,@9JE9;G=HA<=EAGDG?Q9F< JM?/9>=LQ   
    ,)% ,)

  ,&4#-%&0 +ZGFFGJ /L9>>GJ<./ !F@9F;AF?HJ=K;JAHLAGF<JM?AFFGN9LAGF9F<9<GHLAGF 
    FF9DKG>%FL=JF9D)=<A;AF=   ,)% 

 (AM"4  ,&4#-%&0 J9O>GJ</5 ,A;C9J</ $=<=C=J 39DLGF/) %EH9;LG>)=<A;9J=,9JL 
    GF!E=J?=F;Q =H9JLE=FL1K= $GKHAL9DAR9LAGFK 9F<,J=>=J=F;= :9K=<$=9DL@1LADALQ $=9DL@/=JNA;=K
    .=K=9J;@   ,)% 

 $A?9K@A/ 6@M/ /L9>>GJ<./  ,&4#-%&0 *9LAGF9DLJ=F<KAFGMLH9LA=FL9KL@E9LJ=9LE=FL 
     &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=   !HM:&MD ,)% 

 .=<E9FF& J9K=D'&  ,&4#-%&0 /;@O9JR=)( 1K=G><N9F;=< AJ=;LAN=K>GJ$A?@.AKC
    +H=J9LAGFK*9LAGF9D/MJN=QG>/MJ?=GFK FF9DKG>/MJ?=JQ   ,)% 

 -9LG )  ,&4#-%&0 ,GKL )9JC=LAF? JM?/9>=LQ9F<L@="GG<9F< JM?<EAFAKLJ9LAGFZK.AKC
    !N9DM9LAGF9F<)ALA?9LAGF/LJ9L=?A=K &)   

 JMK@ . JGOF!  ,&4#-%&0 JALA;9D;9J=H@QKA;A9FKZ9HHJG9;@=KLGF=?GLA9LAF?OAL@
    KMJJG?9L=<=;AKAGFE9C=JK9IM9DAL9LAN=KLM<Q JALA;9D9J=)=<A;AF=   ,)% 
    


           !<ALGJA9D/A=?=D) ,=J=R)0 3AL@AFL@=:D9;C:GP!PHDGJAF?@GOAFL=FKANAKLKJ=KGDN=
           ;GF>DA;L9LL@==F< G> DA>= JALA;9D9J=)=<A;AF=   

 ,ADD9J=DD9& $A?9K@A  ,&4#-%&0 GFLA. 0J=F<KAFL@=MK=G>9LQHA;9D9FLAHKQ;@GLA;K>GJL@=
    LJ=9LE=FLG>:AHGD9J<AKGJ<=JAFL@=1FAL=</L9L=K   ,KQ;@A9LJA;K=JNA;=K   

 #9J>A=D<"  GJK=Q!. 6@M/ $MKC9EH$ GFLA.  MK=LRAF9/ $A?9K@A ,=JJAF&  ,&4#-%&0
     1 / 0J=F<KAFL@= A9?FGKAK9F<0J=9LE=FLG>LL=FLAGF =>A;AL$QH=J9;LANALQ AKGJ<=J 
     ;9<=EA;,=<A9LJA;K   

 .GKK&/ &9;C=NA;AMK 'JME@GDR$) .A<?=O9Q&( )GFLGJA2) D=P9F<=J# 6=JR9F&0 "9F& 
    /@9@* /L9L=)=<A;9A<,JG?J9EK A<*GL)9C=1K=+>,JAGJML@GJAR9LAGF0G,JGEGL=/9>=J
    ,J=K;JA:AF?>L=J.GKA?DAL9RGF=39JFAF? $=9DL@>>9AJK   


                                                    12
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  MK=LRAF9/ $A?9K@A ;G >AJKL9ML@GJ  GJK=Q!. GFLA. $MKC9EH$ 6@M/ #9J>A=D<" 
      ,&4#-%&0 %EH9;LG>" JAKC;GEEMFA;9LAGFKGF@=9DL@;9J=MLADAR9LAGF9F<@=9DL@:=@9NAGJK9
    KQKL=E9LA;J=NA=O )=<A;9D9J=  


           !<ALGJA9D 9D,9F#& GEEMFA;9LAF?L@=JAKCKG>E=<A;AF=KLAE=LGEGN=>GJO9J< )=<A;9D
           9J=   

 ,@9E '9FL=J#  ,&4#-%&0 *9AJ' !>>=;LG>>AF9F;A9D<AK;DGKMJ=D9OKGFH@QKA;A9FHJ=K;JA:AF? 
    J;@AN=KG>%FL=JF9D)=<A;AF=   
    
 ,9;RQFKCA.,  ,&4#-%&0 @AF;@ADDA2) 'JMKR=OKCA/, -M9DALQG>=NA<=F;=AF<JM?;GEH=F<A9
    KMHHGJLAF?G>> D9:=DMK=G>LQHA;9D9F<9LQHA;9D9FLAHKQ;@GLA;E=<A;9LAGFK %FL=JF9LAGF9D&GMJF9DG>.AKC
    9F</9>=LQAF)=<A;AF=   

 'AJD=Q' -9LG ) 'GJF>A=D<. /L9>>GJ<./  ,&4#-%&0 *9LAGF9DLJ=F<KAFGJ9D9FLA;G9?MD9FLMK=
    AFL@=1FAL=</L9L=K   AJ;MD9LAGF9J<AGN9K;MD9J+ML;GE=K9F<-M9DALQ   

  ,&4#-%&0 (9E:=JL( %K0J=9LE=FL$=L=JG?=F=ALQ9F;@ADD=KZ$==D>GJGEH9J9LAN=
    !>>=;LAN=F=KK.=K=9J;@,@9JE9;GL@=J9HQ   

 JMK@ . .9KAFKCA' $9DD&  ,&4#-%&0 .=;GEE=F<9LAGFKLGDAEALDA>=KMHHGJLF9LAGF9D
    KMJN=QG>;JALA;9D;9J=H@QKA;A9FK E=JA;9F&GMJF9DG>.=KHAJ9LGJQ9F<JALA;9D9J=)=<A;AF= 
      


           !<ALGJA9D$ADDE9F') (AEAL9LAGFK9LL@=!F<G>(A>= E=JA;9F&GMJF9DG>.=KHAJ9LGJQ9F<
           JALA;9D9J=)=<A;AF=   

 /;@O9JR=)( .=<E9FF&  ,&4#-%&0 J9K=D'& /MJ?=GFK=PH=;LH9LA=FLKLG:MQ AFLG
    HGKLGH=J9LAN=DA>=KMHHGJLHJ=GH=J9LAN=DQ.=KMDLKG>9F9LAGF9DKMJN=Q JALA;9D9J=)=<A;AF= 
      


           !<ALGJA9DM;@E9F0# %F>GJE9DGFLJ9;LK /@9J=< =;AKAGF)9CAF? 9F<L@=GN=F9FLG>
           9J=   

  ,&4#-%&0 'JMKR=OKCA/, 3=:KL=J 3 .=L@AFCAF?+HAGA<,J=K;JA:AF?LG,JGL=;L,9LA=FL/9>=LQ
    9F<,M:DA;$=9DL@ &)   
    
 /;@O9JR=)( .=<E9FF& J9K=D'&  ,&4#-%&0 0@=JGD=G>KMJ?=GF=JJGJAFOAL@<J9O9DG>
    HGKLGH=J9LAN=DA>=KMHHGJL FF9DKG>/MJ?=JQ   

  MK=LRAF9/ MK;@ GFLA.)  GFG@M=&)  ,&4#-%&0 $MKC9EH$ @9F?=KAF
    FLAHKQ;@GLA;1K=9EGF?,9LA=FLKOAL@/=N=J=)=FL9D%DDF=KK9>L=J9F" <NAKGJQ 
    ,@9JE9;G=HA<=EAGDG?Q9F< JM?/9>=LQ   

 #J9RAMD #A::GFK.  ,&4#-%&0 KKG;A9LAGF:=LO==FL@=;GEE=J;A9D;@9J9;L=JAKLA;KG>
    HKQ;@GLJGHA;<JM?K9F<L@=HJG:9:ADALQG>L@=AJG>> D9:=DMK= )=<A;9D9J=   

 <=/GMR9& ,GDAL= ,=JCAFK) )=JGHGD*& .9L9AF)& *=O;GE=J(*  ,&4#-%&0 
    1FKMHHGJL=<G>> D9:=D;@=EGL@=J9HQAFE=L9KL9LA;;GDGF;9F;=J )$=9DL@/=JNA;=K.=K=9J;@ 
     
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                                                       13
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 'GRE9F #J9RAMD #A::GFK.  ,&4#-%&0 KKG;A9LAGF:=LO==FMF=EHDGQE=FLJ9L=K9F<
     HJ=K;JAHLAGF<JM?MLADAR9LAGFAFL@=1FAL=</L9L=K   )$=9DL@/=JNA;=K.=K=9J;@ 
       

 09F&  ,&4#-%&0 /=?9D& ;9<=EA;=FL=JK,D9Q2AL9D.GD=AFL@=/LM<QG> JM?/9>=LQ9F<
     !>>=;LAN=F=KK DAFA;9D0@=J9H=MLA;K   

 'GJF>A=D<.  GFG@M=& =JF<L!.  ,&4#-%&0 ,JGEGLAGFG>,J=K;JAHLAGF JM?KLGGFKME=JK
     9F<,JGNA<=JK   ,(+/+F=   

 +DKGF0&, J9K=D'& .=<E9FF&  ,&4#-%&0 /;@O9JR=)( /MJ?=GF .=HGJL=<GF>DA;L3AL@
    %FL=FKANAKLK:GML,GKLGH=J9LAN=#G9DKG>9J= &)/MJ?=JQ   

  MK=LRAF9/ GGC( MK;@  ,&4#-%&0 $MKC9EH$ .9;A9D !L@FA; A>>=J=F;=KAF
     %F;A<=FL+D9FR9HAF=1K=>L=J9F" <NAKGJQ>GJ,9LA=FLK3AL@/;@ARGH@J=FA9 ,KQ;@A9LJA;/=JNA;=K 
       

 'GJF>A=D<. 39LKGF/ $A?9K@A/ GFLA.)  MK=LRAF9/ #9J>A=D<"  GJK=Q!. $MKC9EH$ 
       ,&4#-%&0 %EH9;LG>" <NAKGJA=KGF,@9JE9;GDG?A;0J=9LE=FLG> $   
     ,KQ;@A9LJA;/=JNA;=K   

  MK=LRAF9/  ,&4#-%&0 "J==<E9F. $MKC9EH$ '=9LAF?*( 0J=F<KAF;G HJ=K;JA:AF?G>
     9FLA<=HJ=KK9FLK9F<L9EGPA>=F9EGF?OGE=FOAL@:J=9KL;9F;=J   J=9KL9F;=J.=K=9J;@
     9F<0J=9LE=FL   

 2GP" 9HJGF) 'J9MK)"  ,&4#-%&0 'AJK;@F=J'( 9D9F;AF?MJ<=FK9F<=F=>ALK
     !L@A;9D%KKM=KG>+>> (9:=D,J=K;JAHLAGF,@9JE9;=MLA;9D1K= ,@QKA;9D)=<A;AF=.=@9:ADAL9LAGF 
       

 "9AF'  9M:J=KK=)  ,&4#-%&0 0@="GG<9F< JM?<EAFAKLJ9LAGFE=F<E=FLK;L
     "  9F<,GKLE9JC=LAF?GEEALE=FLK &)   

 #D=9KGF,,  ,&4#-%&0 /L9JF=J% .ALL=J/0 29F$GML=F$' #MF<=JKGF3 /@9@* $=9DL@
     ,D9F1LADAR9LAGF9F<GKLKG>/H=;A9DLQ JM?K3AL@AF@JGFA;GF<ALAGFK &GMJF9DG>)9F9?=<9J=
     ,@9JE9;Q   

  9M:J=KK=) #D=9KGF,, ,=F?5 /@9@* .ALL=J/0  ,&4#-%&0 %EH9;LG>9 JM?1LADAR9LAGF
     .=NA=O,JG?J9EGF$A?@ .AKC1K=G>,J=K;JAHLAGFGFLJGDD=</M:KL9F;=K ,@9JE9;G=HA<=EAGDG?Q9F<
       JM?/9>=LQ   


              !<ALGJA9DGHD9F, GFLJGDDAF?GFLJGDD=</M:KL9F;=K:MK=9F<)AKMK=:Q)9F9?=<9J=
              ,9Q=JK*=O#=F=J9LAGFG>.AKC)9F9?=E=FL%FALA9LAN=K,@9JE9;G=HA<=EAGDG?Q9F<
               JM?/9>=LQ   

 #GD<:=J?=J  ,&4#-%&0  A?AL9DAK1K=AFGFL=EHGJ9JQDAFA;9D,J9;LA;=.=>ALLAF?L@=
     "GP?DGN= &)%FL=JF9D)=<A;AF=   

  9M:J=KK=) @9F?$ 5 5M5 2AKO9F9L@9F/ /@9@* /L9>>GJ<./ 'JMKR=OKCA/,  ,&4#-%&0
      E:MD9LGJQ A9?FGKAK9F<0J=9LE=FLG>*GFE9DA?F9FL,9AFAFL@=1FAL=</L9L=K   
     )=<A;9D9J=   

                                                  14
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 @A=F0 @AF)$  ,&4#-%&0 09F?$ ,==C)! ,@QKA;A9F"AF9F;A9D%F;=FLAN=K9F<9J=>GJ
     L@=1F<=JK=JN=<AFL@=1FAL=</L9L=K E=JA;9F&GMJF9DG>)9F9?=<9J=   
     
 @=F(5 /LJ9AF! D=P9F<J=,'  ,&4#-%&0 )GBL9:9A. )9JLAFK// GJJ=D9L=KG>
     *GFE=<A;9D1K=G>/LAEMD9FLK9F<)=L@9EH@=L9EAF=1K=AF9*9LAGF9D/9EHD= <<A;LAN==@9NAGJK 
       

 /@9@. .9KAFKCA'  ,&4#-%&0 0@=%F>DM=F;=G>/MJJG?9L= =;AKAGF)9C=JKGFDAFA;9D
       =;AKAGF)9CAF?>GJJALA;9DDQ%DD<MDLK &GMJF9DG>%FL=FKAN=9J=)=<A;AF=   

 0MJF=J(3 *9JL=Q /L9>>GJ<./ /AF?@/  ,&4#-%&0 E:MD9LGJQ0J=9LE=FLG>0QH=
       A9:=L=KAFL@=1 /    A9:=L=K9J=   

 @9F?$5  9M:J=KK=) 'JMKR=OKCA/,  ,&4#-%&0 ,J=N9D=F;=9F<0J=9LE=FLG>,9AFAF! KAF
     L@=1FAL=</L9L=K LG E=JA;9F&GMJF9DG>!E=J?=F;Q)=<A;AF=   

 $9EHLGF()  9M:J=KK=) @9F?$5  ,&4#-%&0 M<FALR / !E=J?=F;Q =H9JLE=FL2AKALK
     :Q<MDLK>GJ,KQ;@A9LJA;)=<A;9LAGF<N=JK=!N=FLK &),KQ;@A9LJQ   

 *9;A$  ,&4#-%&0 .=?MD9LGJK/@GMD<=LL=J(=N=J9?=!>>=;LAN=F=KK/L9F<9J<KLG!F@9F;= JM?
     29DM= ,@9JE9;GL@=J9HQ   

 /L9JF=J%  ,&4#-%&0 GO=F' -MA5 3A;C=JK@9E, #D=9KGF,, /H=;A9DLQ JM?GMHGFK
     (GO=J+ML G> HG;C=LGKLK9F<)9Q%EHJGN=<@=J=F;=9LL@=.AKCG>%F;J=9KAF?,J=EAMEK $=9DL@
     >>9AJK   

 $O9F? @9F?$5  ,&4#-%&0 %EH9;LG>:MK= =L=JJ=FL+PQGFLAFGF,J=K;JAHLAGF+HAGA<
     1LADAR9LAGF ,@9JE9;G=HA<=EAGDG?Q9F< JM?/9>=LQ   

 $O9F? 0MJF=J( 'GDG<FQ 'JMKR=OKCA/,  ,&4#-%&0 .=K=9J;@(=LL=J,J=K;JAHLAGF JM?
     :MK=*9LAGF9D/MJN=QG>,JAE9JQ9J=,@QKA;A9FK &)%FL=JF9D)=<A;AF=   

 MJ;M)  ,&4#-%&0 *?4 $9JJAF?LGF GFKLJM;L29DA<ALQ9F<"9;LGJ/LJM;LMJ=G>/MJN=Q
     :9K=<KK=KKE=FLG>GKL J=D9L=<)=<A;9LAGFMJ<=F )=<A;9J=9J=   

 'GDG<FQ GMJLOJA?@L 0 $O9F?/ 'J=AF=J, !9<A=&( D9JC03  ,&4#-%&0 0@=
     ,J=K;JAHLAGF+HAGA<9F<$=JGAFJAKAK,M:DA;$=9DL@HHJG9;@LG9F!HA<=EA;G><<A;LAGF FFM9D
     .=NA=OG>,M:DA;$=9DL@   

 'GJF>A=D<.  ,&4#-%&0 -9LG ) 'AE5 $AJK;@& !E=JQ/( 0J=F<KAF!PHGKMJ=LG
     0=D=NAK=<,J=K;JAHLAGF JM?<N=JLAKAF?   E=JA;9F&GMJF9DG>,J=N=FLAN=)=<A;AF= 
       

 0MJF=J(3 'JMKR=OKCA/, )GBL9:9A. 3=:KL=J *=K:AL/ /L9>>GJ<./  ,&4#-%&0 0J=F<KAF
     MHJ=FGJH@AF=1LADAR9LAGFAFL@=1FAL=</L9L=K   E=JA;9F&GMJF9DGF<<A;LAGFK 
       

  9M:J=KK=)  ,&4#-%&0 0@=1H@ADD9LLD="9;AF?FLAG:=KALQ JM?K %FL=JF9LAGF9D&GMJF9DG>
     +:=KALQ   

                                                   15
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 $9EHLGF()  9M:J=KK=) @9F?$5  ,&4#-%&0 M<FALR / !E=J?=F;Q =H9JLE=FL2AKALK
     :Q@AD<J=F9F<<GD=K;=FLK>GJFLAHKQ;@GLA; JM?<N=JK=!N=FLK &),KQ;@A9LJQ 
       

 2AKO9F9L@9F/ &MKLA;=  ,&4#-%&0 JGOF00 #9F<A*. );*A;@GDD%. .AED9F< 
     .G<JA?M=R 9JJ9<9K) &9;G:KGF(, <@=J=F;=9F<$%2.*/MHHJ=KKAGFAFL@=MJJ=FL!J9G>
     $A?@DQ;LAN=FLAJ=LJGNAJ9D0@=J9HQ$.0 &GMJF9DG>;IMAJ=<%EEMF= =>A;A=F;Q/QF<JGE=K 
       

 .A??K'. MLLGJ>>  ,&4#-%&0 %EH9;LG>+ML G> HG;C=L/H=F<AF?9HKGF"AF9F;A9DMJ<=FG>
     0@GK=OAL@#JGMH$=9DL@%FKMJ9F;= &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=   

 .MLCGO( 0MJF=J( (M;9K! $O9F?/  ,&4#-%&0 )GKL,JAE9JQ9J=,@QKA;A9FK9J=O9J=
     G>,J=K;JAHLAGF JM?)GFALGJAF?,JG?J9EK ML)9FQ"AF<L@= 9L9 A>>A;MDLLG;;=KK $=9DL@
     >>9AJK   

 @9F?$5 6@GM) 09F?3  ,&4#-%&0 /AF?@/ .AKCG>#9KLJGAFL=KLAF9DD==<AF?KKG;A9L=<
     3AL@+J9DFLA;G9?MD9FLK,GHMD9LAGF9K=<.=LJGKH=;LAN=G@GJL/LM<Q JALAK@)=<A;9D&GMJF9D 
     @ 


               !<ALGJA9D/9JJ9RAF)/2 .GK= /9>=LQG>*=O+J9DFLA;G9?MD9FLK JALAK@)=<A;9D
               &GMJF9D @ 
               
 :J9@9E*/ /AF?@/  ,&4#-%&0 $=A=F$ $99K(. JGOF3 /@9@* GEH9J9LAN=.AKCG>
     #9KLJGAFL=KLAF9DD==<AF?OAL@ 9:A?9LJ9F .AN9JGP9:9F9F<39J>9JAF,GHMD9LAGF9K=<G@GJL/LM<Q 
     JALAK@)=<A;9D&GMJF9D @ 


              !<ALGJA9D/9JJ9RAF)/2 .GK= /9>=LQG>*=O+J9DFLA;G9?MD9FLK JALAK@)=<A;9D
              &GMJF9D @ 

 MLLGJ>> F<=JK=F)/ .A??K'.  ,&4#-%&0 GEH9JAF?!EHDGQ=J /HGFKGJ=<9F<"=<=J9D
     !P;@9F?=,D9FK3A<=29JA9LAGFKAFGKL/@9JAF?>GJ,J=K;JAHLAGF JM?K $=9DL@>>9AJK 
      

  MK=LRAF9/ !DDAK/ "J==<E9F. GFLA.) 3AFF* @9E:=JK&  ,&4#-%&0 $MKC9EH
     $ '=9LAF?*( $GO G,9Q=JK.=KHGF<LG.=?MD9LGJQ;LAGFK0@=9K=G>=N9;ARME9: &GMJF9D
     G>+F;GDG?Q,J9;LA;=   

 /9MF<=JK). (==$  ,&4#-%&0 09C$& 0@AKLD=L@O9AL=&. .GKK(" .9;A9D AKH9JALA=KAF
     .=9;@AF?L@=.=F9D0J9FKHD9FL39ALDAKL%K#=G?J9H@Q9K%EHGJL9FL9K.9;=DAFA;9D0J9FKHD9FL9LAGF 
       

 6@GM)  9M:J=KK=) /L9>>GJ<./  ,&4#-%&0 *9LAGF9D0J=F<KAFL@=E:MD9LGJQ0J=9LE=FLG>
     $QH=JL=FKAGFAFL@=1FAL=</L9L=K   ,(G/+F= = 

 @=F(5 JME.) /LJ9AF!  ,&4#-%&0 '9M>E9FF )GBL9:9A. ,J=K;JAHLAGFK *GFE=<A;9D
     1K= 9F<!E=J?=F;Q =H9JLE=FL2AKALK%FNGDNAF? $ /LAEMD9FLK &GMJF9DG>DAFA;9D,KQ;@A9LJQ 
     =  <GA &, E 

 6@GM) @9F?$5  ,&4#-%&0 /AF?@/ <@=J=F;=LG9*GN=D+J9DFLA G9?MD9FLEGF?
     ,9LA=FLKOAL@LJA9D"A:JADD9LAGF &GMJF9DG>)9F9?=<9J=9F</H=;A9DLQ,@9JE9;Q   
                                                    16
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  9M:J=KK=) $ML>D=KK/ 'AE5 'GJF>A=D<. -9LG ) $M9F?& )ADD=J' !E=JQ/(  ,&4#-%&0
      !>>=;LG> AJ=;L LG GFKME=J<N=JLAKAF?GFKL@E9)=<A;9LAGF/9D=K9F<$=9DL@;9J=1K= 
     E=JA;9F&GMJF9DG>.=KHAJ9LGJQ9F<JALA;9D9J=)=<A;AF=   

 9JF=K# (M;9K!  ,&4#-%&0 #GD<:=J?=J6 *9LAGF9D0J=F<KAFE:MD9LGJQ+J9D
     FLA;G9?MD9FL1K= E=JA;9F&GMJF9DG>)=<A;AF=   
     
 #=DD9<3" "DQFF'!  ,&4#-%&0 !N9DM9LAGFG>"DA:9FK=JAF/;A=F;=9F<<NG;9;Q9LL@="  
     &)   

 /=?9D& +HH=F@=AE! #9JJAKGF( %I:9D/1 '=KKD=J) '9DDA;@&  ,&4#-%&0 1KAF?=JLA>A;9LAGF
     LG,JGEGL=1HL9C=G>.=9D3GJD<!NA<=F;=Q,9Q=JK &GMJF9DG>)9F9?=<9J=9F</H=;A9DLQ
     ,@9JE9;Q   

 $O9F?/ 0MJF=J(3 'JMKR=OKCA/, 'GDG<FQ  ,&4#-%&0 ,JAE9JQ9J=,@QKA;A9FKZ
     'FGOD=<?=9F<LLALM<=K.=?9J<AF?,J=K;JAHLAGF+HAGA<:MK=9F< AN=JKAGF DAFA;9D&GMJF9DG>
     ,9AF   
     
 .MLCGO( @9F?$5  9M:J=KK=) 3=:KL=J /LM9JL!  ,&4#-%&0 !>>=;LG>"DGJA<9ZK
     ,J=K;JAHLAGF JM?)GFALGJAF?,JG?J9E9F<,ADD)ADD(9OKGF+HAGA<,J=K;JA:AF?9F<1K= &)
     %FL=JF9D)=<A;AF=   

 'AE5 'GJF>A=D<. /@A5 2=J9(&  9M:J=KK=)  ,&4#-%&0 !E=JQ/ !>>=;LKG>0=D=NAK=<
       AJ=;L LG GFKME=J<N=JLAKAF?>GJ29J=FA;DAF=GF,J=K;JAHLAGF AKH=FKAF?AFL@=1FAL=</L9L=K 
      *A;GLAF=9F<0G:9;;G.=K=9J;@   

 '9M>E9FF* /HAJ9,  ,&4#-%&0 .MLCGO( )GBL9:9A. 0J=F<KAFHJ=K;JA:AF?G>K=<9LAN=
     @QHFGLA;E=<A;9LAGFKAFL@=1FAL=</L9L=K  ,@9JE9;G=HA<=EAGDG?Q9F< JM?/9>=LQ 
      

 (Q9HMKLAF90 .MLCGO( @9F?$5  9M:J=KK=) .9EBA" "9MD) /LM9JL!  ,&4#-%&0 
     !>>=;LG>9,ADDEADD(9OGF+HAGA<,J=K;JA:AF?9F<1LADAR9LAGF0@=9K=G>0=P9K  JM?9F<D;G@GD
       =H=F<=F;=   

 -9LG ) 3AD<=J& /;@MEE, #ADD=L2 +JJ  ,&4#-%&0 1K=G>,J=K;JAHLAGF9F<+N=J L@=
     ;GMFL=J)=<A;9LAGFK9F< A=L9JQ/MHHD=E=FLKEGF?+D<=J<MDLKAFL@=1FAL=</L9L=K LG
       &)%FL=JF9D)=<A;AF=   
    
              !<ALGJA9D/L=AFE9F ) ,GDQH@9JE9;QV0AE=LG#=L=QGF<*ME:=JK &)%FL=JF9D
              )=<A;AF=   

 59G4 :J9@9E*/  ,&4#-%&0 JGOF3 )GFLGJA2) /9F?9J9DAF?@9E(. #=JK@#& /@9@
     * *GK=OGJL@Q, !>>=;LG>9<@=J=F;=LGGJ9D9FLA;G9?MD9FLKGFJAKCG>KLJGC=9F<E9BGJ:D==<AF?
     9EGF?H9LA=FLKOAL@9LJA9D>A:JADD9LAGF &GMJF9DG>L@=E=JA;9F$=9JLKKG;A9LAGF   
     
 9CKL/ #=DD9<3"  ,&4#-%&0 )9PAEARAF?L@=HGKL 9HHJGN9DK9>=LQG>>DA:9FK=JAF  JM?/9>=LQ 
       
       



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 @9F?$5 (Q9HMKLAF90 .MLCGO(  9M:J=KK=) .A;@=Q) "9MD) /LM9JL!  ,&4#-%&0 
     %EH9;LG>HJ=K;JAHLAGF<JM?EGFALGJAF?HJG?J9EK9F<HADDEADDD9OKGF@A?@ NGDME=GHAGA<HJ=K;JA:=JK
     ;GEH9J9LAN=AFL=JJMHL=<LAE=K=JA=K9F9DQKAK  JM?9F<D;G@GD =H=F<=F;=   

 @AF?M9F;G" /=?9D& 'AE/'  ,&4#-%&0 /QKL=E9LA;.=NA=OGEH9JAF?L@=/9>=LQ 
     !>>A;9;Q9F<,@9JE9;GCAF=LA;AG=IMAN9D=F;=G>AGKAEAD9J0*" \%F@A:ALGJKLG%FFGN9LAN=AGDG?A;K 
     FF9DKG>%FL=JF9D)=<A;AF= ,M:DAK@=<GFDAF=M?MKL<GA ) 

              !<ALGJA9D6AF=@% JAKLA( 0@=AGKAEAD9JALQGF;=HL0GO9J<9F%FL=?J9L=<"J9E=OGJC
              >GJ!NA<=F;=KK=KKE=FL FF9DKG>%FL=JF9D)=<A;AF= ,M:DAK@=<
              GFDAF=M?MKL<GA ) 

 !>AJ<(! @9KD=J&  ,&4#-%&0 );#MAJ=) "9;LGJKKKG;A9L=<OAL@*GN=DFLA;G9?MD9FL1K=>GJ
     LJA9D"A:JADD9LAGF3AL@AF9(9J?=)MDLAKH=;A9DLQ,J9;LA;= E=JA;9F&GMJF9DG>,@9JE9;Q=F=>ALK 
       

  9M:J=KK=) F<=JK=F) .A??K'  ,&4#-%&0 %EH9;LG>/L9LAF JM?GMHGFKGF,J=K;JAHLAGF
       JM?1LADAR9LAGF9F<!PH=F<ALMJ=K ,@9JE9;GL@=J9HQ &MDQ  +% H@9J 

 "9AF') 9KLADDG /9D?9<G GJ=       /=?9D& 6MDDG  ,&4#-%&0 %F9HHJGHJA9L="=FL9FQD
     ,J=K;JA:AF?EGF?*MJKAF?$GE=.=KA<=FLKAFL@=1FAL=</L9L=K &GMJF9DG>L@=E=JA;9F)=<A;9D
       AJ=;LGJKKKG;A9LAGF V 

 +F9K9FQ9+ %Q=J# (M;9K! /AF?@/  ,&4#-%&0 KKG;A9LAGF=LO==F!PG?=FGMK0=KLGKL=JGF=
     9F<9J<AGN9K;MD9J!N=FLKF+N=JNA=OG>/QKL=E9LA;.=NA=OK (9F;=L A9:=L=K9F<!F<G;JAFGDG?Q 
     *GN   

 F<=JK=F)/ MLLGJ>>  ,&4#-%&0 %EH9;LG>$%! JM?"GJEMD9JA=KGF,9LA=FLKZ+ML G> ,G;C=L
     GKLKAF$=9DL@%FKMJ9F;=!P;@9F?=K E=JA;9F&GMJF9DG>,@9JE9;Q=F=>ALK  

 @=F? 69F<A, /LM9JL! (AF$ /M,5  ,&4#-%&0 (9F0$ KKG;A9LAGF:=LO==F(AL@AME
     1K=9F<.AKCG>DR@=AE=JZK AK=9K= &GMJF9DG>DAFA;9D,KQ;@A9LJQ "=: = = 

 "9AF')  ,&4#-%&0  GJ=         /=?9D& 6MDDG 9KLADDG /9D?9<G "J=IM=F;Q9F<,J=<A;LGJK
     G>F9D?=KA;,J=K;JA:AF?AF1 / *MJKAF?$GE=.=KA<=FLKOAL@,=JKAKL=FL,9AF &GMJF9DG>L@=
     E=JA;9F#=JA9LJA;K/G;A=LQ   

  ,&4#-%&0 (GF? '9=KLF=J. KKG;A9LAGF=LO==F,J=K;JAHLAGF JM?%FKMJ9F;=9F<
     $GKHAL9DAR9LAGFEGF?)=<A;9J==F=>A;A9JA=K )=<A;9D9J=.=K=9J;@9F<.=NA=O JLA;D=>AJKL
     HM:DAK@=<GFDAF= =;=E:=J   +%@LLHK<GA GJ? 

 (AF (M;9K! )MJAEA% &9;CKGF' 9A=J) "J9LL9JGDA/ #A=D=F )GQG, /AEGFA 39KLADD9( 
       ,&4#-%&0 ,@QKA;A9FLLALM<=K9F<!PH=JA=F;=KOAL@)9JQD9F<ZK,J=K;JAHLAGF JM?)GFALGJAF?
     ,JG?J9E, ), <<A;LAGF   

  ,&4#-%&0 %Q=J# (M;9K! (AF /AF?@/ 9J<AGN9K;MD9J.AKCKG>!PG?=FGMK0=KLGKL=JGF=1K=
     EGF?)=F/QKL=E9LA;.=NA=O9F<)=L9 F9DQKAK E=JA;9F&GMJF9DG>)=<A;AF= 
      



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 09F& (AM/ /=?9D&  ,&4#-%&0 );<9EK =)9J;G) 39J>9JAF1K=9F</LJGC= D==<AF? 
     9F<)GJL9DALQ+ML;GE=KAF,9LA=FLKOAL@!/. 9F<LJA9D"A:JADD9LAGF/QKL=E9LA;.=NA=O9F<)=L9
     9F9DQKAK )*=H@JGDG?Q   +% K   

 .MLCGO( 2=JFA;C&/  ,&4#-%&0 )GJ=KL9L=KK@GMD<J=?MD9L=H9AFE9F9?=E=FL;DAFA;KLG
     HJGEGL=HM:DA;@=9DL@ E&,M:DA;$=9DL@   

 (AF (M;9K! )MJAEA% 'GDG<FQ  ,&4#-%&0 "AF9F;A9DGF>DA;LKG>%FL=J=KL9F<=FL=JK>GJ
       AK=9K=GFLJGD9F<,J=N=FLAGFZK#MA<=DAF=>GJ,J=K;JA:AF?+HAGA<K>GJ@JGFA;,9AF &)
     %FL=JF9D)=<A;AF=   

              !<ALGJA9D)GQFA@9F. =JG( 0GO9J<9$=9DL@A=J,9LA=FL2GA;=)GJ=%F<=H=F<=F;= (=KK
              %F<MKLJQ"MF<AF? ,M:DAK@=<GFDAF=&9FM9JQ  <GA B9E9AFL=JFE=<  
     
  9M:J=KK=) /9DGF=J ,GDD9;C$  ,&4#-%&0 *GF MHJ=FGJH@AF=+HAGA<1LADAR9LAGFEGF?
     ,9LA=FLK1KAF?MHJ=FGJH@AF= <<A;LAGF   
     
 /9DGF=J  9M:J=KK=)  ,&4#-%&0 ,9LL=JFKG>MHJ=FGJH@AF= *9DGPGF=0J=9LE=FL>GJ+HAGA<
     1K= AKGJ<=JAF9)MDLA /L9L=,GHMD9LAGF )=<A;9D9J=   

 09F& 9=/ /=?9D&  ,&4#-%&0 6@M& /=?=N ( );<9EK =)9J;G) 0J=9LE=FLG>LJA9D
     "A:JADD9LAGFOAL@39J>9JAFEGF?+D<=J<MDLKOAL@!F</L9?=.=F9D AK=9K= &GMJF9DG>*=H@JGDG?Q 
       

 (9QLGF& 'AE5  ,&4#-%&0 !E=JQ/( %EH9;LG> AJ=;L LG GFKME=J<N=JLAKAF?GF
     0=KLGKL=JGF=0=KLAF?9F<%FALA9LAGFAFL@=1FAL=</L9L=K   &)   

              !<ALGJA9D'J9NALR.(  AJ=;L G> GFKME=J<N=JLAKAF?G>F<JG?=F.=HD9;=E=FL0@=J9HQ 
              &)   

 "9MD) $ADDA9J<.)  ,&4#-%&0  =;J=9K=KAF)=L@9<GF=,J=K;JA:AF?9F<+N=J<GK=V1FAL=<
     /L9L=K 9F<L@=KKG;A9LAGFKOAL@/L9L=,J=>=JJ=<(AKL =KA?F9LAGFK ))3. V
      
     
 A;C=L)(GF?& ,JGFGNGKL,&  ,&4#-%&0 3M( +HAGA<KGEEGFDQ1FMK=<>L=J/MJ?=JQ
     /QKL=E9LA;.=NA=O &)/MJ?=JQ   

 '9M>E9FF* /HAJ9,  ,&4#-%&0 .MLCGO( )GBL9:9A. !E=J?=F;Q =H9JLE=FL2AKALK
     %FNGDNAF?=FRG<A9R=HAF=K9F<*GF =FRG<A9R=HAF=.=;=HLGJ?GFAKLK E=JA;9F&GMJF9DG>
     !E=J?=F;Q)=<A;AF=   

 )GQG, #JA>>AF +FMCOM?@9! ,9DME:G" $9JJAF?LGF  ,&4#-%&0 /AEGFA 39KLAD9( 
     %EH9;LG>,J=K;JAHLAGF JM?)GFALGJAF?,JG?J9EK, ),K GF+HAGA<1LADAR9LAGFEGF?)=<A;9J=
     =F=>A;A9JA=KAF/L9L=K <<A;LAGF   

              !<ALGJA9D 9NAK/ GEE=FLGF,9J<G 9F<)GQG=L9D  )M;@/LADD
              1FCFGOF:GML,J=K;JAHLAGF JM?)GFALGJAF?,JG?J9EK <<A;LAGF   

 9F9F ,GDAFKCA&)  ,&4#-%&0 'GO9D)' J=FF9F0 /@J9FC3$ MLGE9L=<D?GJAL@EK
     LG%<=FLA>Q*GF )=<A;9D+HAGA<1K=1KAF?!D=;LJGFA; 9L9/QKL=E9LA;.=NA=O &GMJF9DG>L@=
     E=JA;9F)=<A;9D%F>GJE9LA;KKKG;A9LAGF   
                                                   19
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 .MLCGO( /EAL@' (9A 2=JFA;C&  9NAK  ,&4#-%&0 ,J=K;JAHLAGF JM?)GFALGJAF?
     ,JG?J9E =KA?F9F<"MF;LAGF-M9DAL9LAN=F9DQKAK  JM?9F<D;G@GD =H=F<=F;= 
      

 @9F?$5 .A;@9J<K0) /@=JEG;C') !D<=J/ '9F$  ,&4#-%&0 #9DD9?@=J&) 'FM<KGF
     /) 3=AF=J&, '@9JJ9RA$ !N9DM9LAF?L@=%EH9;LG>,J=K;JAHLAGF"ADD.9L=KGF.AKC/LJ9LA>A;9LAGF
     )G<=D,=J>GJE9F;= )=<A;9D9J=   

 -9LG ) 6=FC/* 3AD<=J& $9JJAF?LGF. #9KCAF  ,&4#-%&0 N9AD9:ADALQG>,@9JE9;A=K9F<
     ,@9JE9;Q/=JNA;=KAFL@=1FAL=</L9L=K  ,(G/+F= = 

 /=9E9FK)& 9J=Q0/ 3=KLJ=A;@ & GD=/. 3@==D=J/  ,&4#-%&0 JGGC@9JL) 
     ,J=K;JAHLAGF+HAGA<%FALA9LAGFEGF?)=E:=JKG>$GMK=@GD<KOAL@9,J=K;JAHLAGF+HAGA<1K=J &)
     %FL=JF9D)=<A;AF=   
     
 /@9J>KL=AF&) )ADD=J&  9NAK( .GKK&/ );9JL@Q)! /EAL@ @9M<@JQ  ,&4#-%&0 
     '=KK=D@=AE/ DM=HJAFL>GJ0J9FKH9J=F;Q9LL@=1 / "GG<9F< JM?<EAFAKLJ9LAGF
     .=;GEE=F<9LAGFKLG<N9F;=L@= =N=DGHE=FLG>/9>=9F<!>>=;LAN=)=<A;9D,JG<M;LK 0@=&GMJF9D
     G>(9O )=<A;AF=!L@A;K /  

               !<ALGJA9D 9NAK( )ADD=J& /@9J>KL=AF&) '=KK=D@=AE/ %FLJG<M;LAGF 0@=&GMJF9D
               G>(9O )=<A;AF=!L@A;K /  

 (9O! $9JJAF?LGF.  ,&4#-%&0 /9@9/ +=@JD=AF! ,=J>=LLG! %F;J=9KAF?L@=1HL9C=G>
     GEH9J9LAN=!>>=;LAN=F=KK9F<,9LA=FL =FL=J=<+ML;GE=K.=K=9J;@/L9C=@GD<=JGF>=J=F;= 
     &GMJF9DG>GEH9J9LAN=!>>=;LAN=F=KK.=K=9J;@   

 /@AF&% (MG/  ,&4#-%&0 %FC=J( GJ=K@& @9F?. #J9EK)!  AJ=;LGJ9D9FLA;G9?MD9FLK
     9F<JAKCG>9;ML=CA<F=QAFBMJQAFH9LA=FLKOAL@9LJA9D>A:JADD9LAGF &GMJF9DG>L@=E=JA;9FGDD=?=G>
     9J<AGDG?Q   

 @9F?$5 )MJAEA% &GF=K)  ,&4#-%&0 .=D9LAGFK@AH=LO==F$A?@ .AKC,9LA=FLK.=;=ANAF?
     ,J=K;JAHLAGF+HAGA<K9F<$A?@ 2GDME=+HAGA<,J=K;JA:=JK <<A;LAGF   

 @9F?$5 )MJAEA% "9MD) .MLCGO(  ,&4#-%&0 %EH9;LG>HJ=K;JAHLAGF<JM?EGFALGJAF?
     HJG?J9EK9F<HADDEADDD9OKGF@A?@ JAKCH9LA=FLK;GEH9J9LAN=AFL=JJMHL=<LAE=K=JA=K9F9DQKAK 
     ,@9JE9;G=HA<=EAGDG?Q9F< JM?/9>=LQ   

  ,&4#-%&0 9DDJ=A;@& /G;9D), '9JE9JC9J0 0JMBADDG #J==F& /@9J>KL=AF& F<=JKGF# 
     .=<M;AF?,J=K;JAHLAGF JM?/H=F<AF?.=NA=OG>,GDA;Q+HLAGFK ,@9JE9;GL@=J9HQ 
      
     
 +?9K9O9J9' J=<=J (AF $  ,&4#-%&0 !PHGKMJ= 9F< GK= .=KHGFK=F9DQK=KAF GK=
     /=D=;LAGF9F<(9:=DAF?G>" HHJGN=<AGDG?A;K DAFA;9D0@=J9H=MLA;K   

 );#AFLQ /LM9JL!  ,&4#-%&0 9JJQ( A;C=L) .MLCGO( ,JGLG;GD)AP=< E=L@G<K
     KLM<QLG=N9DM9L=AEHD=E=FL9LAGF =F>GJ;=E=FL 9F<GML;GE=KG>1 / KL9L=D9OKAFL=F<=<LG;MJ:@A?@
     JAKCGHAGA<HJ=K;JA:AF? %EHD=E=FL9LAGF/;A=F;=  
     


                                                      20
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 9DDJ=A;@& ,&4#-%&0 /G;9D), '9JE9JC9J0 F<=JKGF# J9F<=<,J=K;JAHLAGF JM?
     /H=F<AF?"J9E=OGJCLG!N9DM9L=,GDA;Q+HLAGFK &GMJF9DG>,@9JE9;=MLA;9D,GDA;Q9F<,J9;LA;= 
      

 09F& 9=/ /=?9D& 6@M& ,&4#-%&0 /=?=N ( );<9EK =)9J;G) 39J>9JAF1K=9F<
     .AKCG>/LJGC= D==<AF? F<)GJL9DALQAF+D<=J<MDLK+F A9DQKAKOAL@%F;A<=FLLJA9D"A:JADD9LAGF 
     *=H@JGDG?Q *=H@JGDG?Q   

 .GL=J ( *9J9Q9F9F/ /EAL@' MDDE9F. .9MK;@, 3GD>>&  ,&4#-%&0 0@=.GD=G>"9EADQ
     9J=?AN=JKAF"9;ADAL9LAF?/9>=9F<!>>=;LAN=,J=K;JAHLAGF JM?1K= ,9LA=FL!<M;9LAGF9F<
     GMFK=DDAF?   

 9CK@/  =)9J;G );<9EK) /=?9D&  ,&4#-%&0 9J<AGN9K;MD9J/9>=LQ/A?F9DKOAL@
       AH=HLA<QDH=HLA<9K=  ,,  %F@A:ALGJK ,@9JE9;G=HA<=EAGDG?Q9F< JM?/9>=LQ 
      
     
 A;C=L) 3@AL=! ,JGFGNGKL,& 3M( 59KL=J)  ,&4#-%&0 ,J=K;JAHLAGF+HAGA<
     +N=JKMHHDQ>L=J&GAFL9F</HAF=/MJ?=JQ,JGKH=;LAN=G@GJL/LM<Q F=KL@=KA99F<F9D?=KA9 
     HJ <GA *!  7!HM:9@=9<G>HJAFL8

 &A9G/ )MJAEA% /L9>>GJ<./ )GBL9:9A. D=P9F<=J# -M9DALQG>,@9JE9;GDG?A;9J=:Q
     ,@QKA;A9FK *MJK=,J9;LALAGF=JK9F<,@QKA;A9FKKAKL9FLKAFL@=1FAL=</L9L=K ,@9JE9;GL@=J9HQ 
       

 0A=M  =,9GD9) (M;9K! .GKE9F(  ,&4#-%&0 !>>A;9;Q9F</9>=LQG>AGKAEAD9J%FKMDAFK
     GEH9J=<LG0@=AJ.=>=J=F;=,JG<M;LK/QKL=E9LA;.=NA=O ,(G/+F= HJAD 
     @LLHK<GA GJ? BGMJF9D HGF= 7!HM:9@=9<G>HJAFL8

 )9QG 3ADKGF! $=QO9J<& '=Q=K .=QFGD<K& +E9J 3@AL=/  ,&4#-%&0 "GJ< GF
     :=@9D>G>L@=*9LAGF9DDAFA;9D0JA9DK.=?AKLJ9LAGF9F<.=KMDLK.=HGJLAF?09KC>GJ;=/MJN=Q
     /M:;GEEALL== DAFA;9D0JA9D.=?AKLJ9LAGF9F<.=HGJLAF?/MJN=QG>;9<=EA;+J?9FAR9LAGFKAFL@=
     1FAL=</L9L=K ))=<A;AF=  <GA K    

 -9LG )  ,&4#-%&0 #M9<9EMR&/ (AF<9M/0 1K=G> A=L9JQ/MHHD=E=FLKEGF?@AD<J=F
     9F<<GD=K;=FLKAFL@=1FAL=</L9L=K &),=<A9LJA;K    $,*,M:DAK@=<GFDAF=&MF= 
      <GA B9E9H=<A9LJA;K  

 9F9F @9F<=J#)GFJG= #=:G' )GGJ=. ?OM  ,&4#-%&0 (9M $A?@.AKC
     +HAGA<1K=EGF?,=JKGFK(ANAF?OAL@$%2 &GMJF9DG>;IMAJ=<%EEMF= =>A;A=F;Q/QF<JGE=K
     &% /  
                                                                  
 (9R9JMK 3M /@AF&% /9F?5  ,&4#-%&0 /=;GJ9 %FC=J( GJ=K@& @9F?. #J9EK
     )! )=L>GJEAF1K=9F<.AKCG>;A<GKAK;JGKKL@=.9F?=G>'A<F=Q"MF;LAGFGEEMFALQ :9K=<
     G@GJL/LM<Q &)%FL=JF9D)=<A;AF= ,M:DA;9LAGFH=F<AF? <GA B9E9AFL=JFE=<  

               !<ALGJA9D#GG< ,G?9;@() /@GMD<)=L>GJEAF="AJKL (AF=0@=J9HQ>GJ,9LA=FLKOAL@
               0QH= A9:=L=K9F<@JGFA;'A<F=Q AK=9K=&)%FL=JF9D)=<A;AF= ,M:DAK@=<GFDAF=
               &MF=  <GA B9E9AFL=JFE=<  



                                                     21
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 (AF $ &GF=K) GEHLGF3) $=QO9J<& (GK:Q&( )MJAEA% 9D<OAF#0 9DDJ=A;@&) 
     0@GE9K A;C=L) ,GJL=J( 0A=J;=&  ,&4#-%&0 ,J=K;JAHLAGF JM?GN=J9?=>GJ(GO9;C
     ,9AFEGF?1 / )=<A;9A< )=<A;9J=<N9FL9?=9F<GEE=J;A9D%FKMJ=JK &)*=LOGJC+H=F 
     = <GA B9E9F=LOGJCGH=F  


              !<ALGJA9D39DB==&" JMEE=LL) +HAGA<,J=K;JA:AF?>GJ(GO9;C,9AF3@9LAKL@=
              .GD=G>,9Q=JK&)*=LOGJC+H=F = 
              <GA B9E9F=LOGJCGH=F  

 /9DGF=J /LGDD=J'  ,&4#-%&0 MHJ=FGJH@AF=9F<)=<A;9LAGFKKAKL=<0J=9LE=FLJGKKAF?L@=
     -M9DALQ@9KE *!F?D&)=<   
     
 '9=KLF=J. /;@AE9F D=P9F<=J# !>>=;LKG>,J=K;JAHLAGF JM?%FKMJ9F;=GF$GKHAL9DAR9LAGF9F<
     )GJL9DALQ!NA<=F;=>JGE)=<A;9J=,9JL &GMJF9D.AKC9F<%FKMJ9F;=   *9LAGF9D
     MJ=9MG>!;GFGEA;.=K=9J;@*!. 3GJCAF?,9H=J3 
     
 (9A5 /EAL@' 2=JFA;C&/  9NAK/  ,&4#-%&0 .MLCGO( ,=J;=AN=<1FAFL=F<=<
     GFK=IM=F;=KG>,J=K;JAHLAGF JM?)GFALGJAF?,JG?J9EK-M9DAL9LAN=KK=KKE=FL /M:KL9F;=1K=
     9F<)AKMK=   

 @9F?$5 /AF?@/ )9FKGMJ+ 9CK@/  ,&4#-%&0 KKG;A9LAGF=LO==F/G<AME ?DM;GK=
     GLJ9FKHGJL=J /#(0  %F@A:ALGJK9F<(GO=J!PLJ=EALQEHML9LAGF.=LJGKH=;LAN=G@GJL/LM<Q 
     &)%FL=JF9D)=<A;AF= ,M:DAK@=<GFDAF=M?MKL  <GA B9E9AFL=JFE=<  
    

              !<ALGJA9D"J9DA;C) ,9LGJFG! "AK;@=J) /G<AME #DM;GK=GLJ9FKHGJL=J%F@A:ALGJK9F<
              L@=.AKCG>EHML9LAGF.=KMDLK9F<@9DD=F?=K>JGEL@=.=9D3GJD< ,M:DAK@=<GFDAF=
              M?MKL  <GA B9E9AFL=JFE=<  

 /A:A91/ )9F<=D:D9LL!  ,&4#-%&0 'AF?,& )9; GF9D<& +HAGA<,J=K;JAHLAGFK9>L=J0GL9D
     &GAFLJL@JGHD9KLQ &GMJF9DG>/MJ?A;9D+JL@GH9=<A;<N9F;=K   

 /@AF&% /=;GJ9  ,&4#-%&0 %FC=J( GJ=K@& @9F?. #J9EK)! .AKCK9F<=F=>ALKG>
       AJ=;L+J9DFLA;G9?MD9FLK;JGKKL@=/H=;LJMEG>#DGE=JMD9J"ADLJ9LAGF.9L=EGF?,9LA=FLKOAL@
     LJA9D"A:JADD9LAGF DAFA;9D&GMJF9DG>L@=E=JA;9F/G;A=LQG>*=H@JGDG?Q   
     
 6@M&  ,&4#-%&0 *9R9JA9F/ /=?9D& 3M3 0J=F<K9F<N9JA9LAGFAFGJ9D9FLA;G9?MD9FL
     ;@GA;=AFH9LA=FLKOAL@9LJA9D>A:JADD9LAGF   ,@9JE9;GL@=J9HQ  

 @9F?$5 '@9JJ9RA$ G<Q;GE:= 3=AF=J&  ,&4#-%&0 $=9DL@;9J=GKLK9F<1LADAR9LAGF
     KKG;A9L=<OAL@$A?@.AKC,J=K;JAHLAGF+HAGA<1K= ))=<A;AF=  

 /=;GJ9  ,&4#-%&0 GJ=K@$ #J9EK) 'A<F=Q"MF;LAGF ,GDQH@9JE9;Q 9F<,GL=FLA9DDQ
     %F9HHJGHJA9L=)=<A;9LAGF1K=AF9GEEMFALQ :9K=<G@GJLG>+D<=J<MDLK  JM?K9F<?AF? 
       

 /9DGF=J (=NAF& @9F?$5 &GF=K  ,&4#-%&0 MHJ=FGJH@AF=9F<+HAGA<,9AF.=DA=N=1K=
     >L=JL@=)=<A;9A<!PH9FKAGF &)*=LOGJC+H=F = 
     <GA B9E9F=LOGJCGH=F   




                                                   22
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  ,&4#-%&0 +?9K9O9J9' 3A=?9F< (AF J=<=J DAFA;9D =N=DGHE=FLG>AGDG?A;K
     HHJGN=<:QL@=1/"GG<9F< JM?<EAFAKLJ9LAGF   0@=J9H=MLA;%FFGN9LAGF.=?MD9LGJQ
     /;A=F;=  =; <GA  7!HM:9@=9<G>HJAFL8

 -9LG )  ,&4#-%&0 #M9<9EMR& (AF<9M/0 ,J=K;JAHLAGF)=<A;9LAGF1K=EGF?@AD<J=F9F<
     <GD=K;=FLKAFL@=1FAL=</L9L=K ,=<A9LJA;K = 

 $=QO9J<& ,9<MD93 0A=J;=&  ,&4#-%&0 0@=29DM=G>1 / ,@9JE9;GH=A9D/L9F<9J<K
     .=NA=OG>L@=(AL=J9LMJ= ,@9JE9;=MLA;9D/;A=F;=K &MF= 
     @LLHK<GA GJ? B PH@K   7=HM:9@=9<G>HJAFL8

 )GGJ=0& 6@9F?$ F<=JKGF#  ,&4#-%&0 !KLAE9L=<GKLKG>,ANGL9D0JA9DK>GJ*GN=D
     0@=J9H=MLA;?=FLKHHJGN=<:QL@=1/"GG<9F< JM?<EAFAKLJ9LAGF   &)%FL=JF9D
     )=<A;AF= /=HL=E:=J <GA B9E9AFL=JFE=<  7=HM:9@=9<G>HJAFL8


              !<ALGJA9DGEE=FL.GKK&/ DAFA;9D0JA9DKV3=#=L3@9L3=,9Q"GJ &)%FL=JF
              )=< /=HL=E:=J <GA B9E9AFL=JFE=<  7=HM:9@=9<G>HJAFL8
              
 $=QO9J<& &GF=K) GEHLGF3) (AF $ (GK:Q&( )MJAEA% 9D<OAF#0 9DDJ=A;@&) 
     0@GE9K A;C=L) ,GJL=J( 0A=J;=&  ,&4#-%&0 GN=J9?=G>*GF ,@9JE9;GDG?A;
     0J=9LE=FLK>GJ(GO=J9;C,9AFEGF?,M:DA;9F<,JAN9L=%FKMJ=JKAFL@=1FAL=</L9L=K &)
     *=LOGJC+H=F  = <GA B9E9F=LOGJCGH=F  7=HM:9@=9<G>HJAFL8


              !<ALGJA9DGEE=FL#G=JLR) #=GJ?=/6 %FKMJ=JGN=J9?=>GJ*GFH@9JE9;GDG?A;
              0J=9LE=FLK>GJ(GO9;C,9AF &)*=LOGJC+H=F  = 
              <GA B9E9F=LOGJCGH=F  7=HM:9@=9<G>HJAFL8

 *GNA;C0' /MJ9H9F=FA /@AF&% 9DD=O/$  ,&4#-%&0 %FC=J( @9F?=. #J9EK)! 
     ,J=N9D=F;=G>+HAGA< #9:9H=FLAF,J=?9:9DAF 9F<*/% 1K=AF' DAF&E/G;*=H@JGD 
     ,M:DAK@=<GF*GN=E:=J  <GA &* 
     
  9M:J=KK=)  ,&4#-%&0 J=OK  /=?=N ( );<9EK =)9J;G) 0J=F<KAF+HAGA<
     ,J=K;JA:AF?EGF?$=EG<A9DQKAK,9LA=FLK V E&*=H@JGD   
     <GA 

 )MJAEA% @9F?$5 &GF=K) A;C=L)  ,&4#-%&0 1KAF?0J9B=;LGJQ)G<=DKLGKK=KKL@=
     !>>=;LG>$Q<JG;G<GF=1HK;@=<MDAF?EGF?@JGFA;$Q<JG;G<GF=1K=JK ,@9JE9;G=HA<=EAGDG?Q
     9F< JM?/9>=LQ /=H <GA H<K  7!HM:9@=9<G>HJAFL8

 .GDDE9F&! $=QO9J<& +DKGF( (MJA=, /@9J>KL=AF&  ,&4#-%&0 1 / "GG<9F< JM?
     <EAFAKLJ9LAGF.=?MD9LAGFG>0J9FKEM;GK9D%EE=<A9L=.=D=9K="=FL9FQDK0%."K *9JJ9LAN=
     .=NA=O &)   <GA B9E9  


              !<ALGJA9DGEE=FL/9JH9LO9JA MJ>E9F# )ALA?9LAF?$=9DL@.AKCKG>,J=K;JAHLAGF
               JM?K(=KKGFK"JGE" +N=JKA?@LG>+HAGA<,JG<M;LK &)   
              <GA B9E9  7=HM:9@=9<G>HJAFL8

 +?9K9O9J9'  ,&4#-%&0 1K=G>,GHMD9LAGF,@9JE9;GCAF=LA;F9DQK=KEGF?"  HHJGN=<
     AGDG?A;K DAFA;9D,@9JE9;GDG?QAF JM? =N=DGHE=FL "=: <GA ;H<<  7!HM:
     9@=9<G>HJAFL8
     

                                                   23
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 $=AFK/! "J=Q',  ,&4#-%&0 9KLADDG. .=<M;AF?$A?@ GK=+HAGA<,J=K;JA:AF?/L9L= (=N=D
     )GJH@AF=!IMAN9D=FL 9ADQ GK=,GDA;A=K   ,9AF)=<A;AF=   <GA
      HEHFR

 9F9F  ,&4#-%&0 )GGJ=. )MJAEA% @9F<=J# (9M )=<A;9A<0J=F<KAF+HAGA<9F<
     *GF GHAGA<1K=:Q$%2/L9LMK  JM?9F<D;G@GD =H=F<=F;=   
     
 -A9G5  ,&4#-%&0 )GGJ=0& #DG:9DAR9LAGFG>;DAFA;9DLJA9DK29JA9LAGFAF=KLAE9L=<J=?AGF9D
     ;GKLKG>HANGL9DLJA9DK   DAFA;9D0JA9DK "AJKL,M:DAK@=<)9J;@  
     @LLHK<GA GJ? 
     
 ,ADD9/& /=?9D&  ,&4#-%&0 GQ<) )9JML@MJ*)  A>>=J=F;=KAF*9LAGF9D A9:=L=K
     0J=9LE=FL,9LL=JFK9F<0J=F<K=LO==F+D<=J9F<5GMF?=J<MDLK &E#=JA9LJ/G; &9F 
     <GA B?K  7!HM:9@=9<G>HJAFL8
     
 4M5 ,ADD9/&  ,&4#-%&0 )MJAEA% 1K=G>*GF %FKMDAF A9:=L=K)=<A;AF=K>L=J%FKMDAF
     %FALA9LAGF.=LJGKH=;LAN=G@GJL/LM<Q ,(G/+F= "=: = <GA
      BGMJF9D HGF=  =GDD=;LAGF 
     
 -9LG )  ,&4#-%&0 @9CJ9HGJLQ #M9<9EMR& &9;CKGF&3 KKG;A9LAGF=LO==F,@9JE9;Q
     DGKMJ=K9F<<@=J=F;=LG9J<AGN9K;MD9J)=<A;9LAGFKEGF?+D<=J1 / <MDLK &)+H=F 
     = <GA B9E9F=LOGJCGH=F  

 0JMBADDG& '9JE9JC9J0  ,&4#-%&0 ,9<MD93 #J==F=& F<=JKGF# "9AJF=KKAF JM?,JA;=K
       G!;GFGEAKLK0@AFC A>>=J=FLDQ>JGEL@=,M:DA;$=9DL@!;GF,GDA;Q(9O  =;  <GA
      / 7!HM:9@=9<G>HJAFL8

 A;C=L) )MJAEA% )9FKGMJ+ 3M(  ,&4#-%&0 KKG;A9LAGFG>*=O+HAGA<GFLAFM9LAGF
     OAL@/MJ?A;9D/H=;A9DLQ9F<0QH=AFL@=1FAL=</L9L=K E=JA;9F&GMJF9DG>/MJ?=JQ 
     @LLHK<GA GJ? B 9EBKMJ?   7!HM:9@=9<G>HJAFL8

 )GQG, #JA>>AF +FMCOM?@9! ,9DME:G" $9JJAF?LGF  ,&4#-%&0 /AEGFA 39KLAD9( 
     ,J=K;JAHLAGF JM?)GFALGJAF?,JG?J9EKKK=KKAF?L@=KKG;A9LAGF=LO==FX=KL,J9;LA;=KY9F<
     +HAGA<1K=:Q AK9:D=<9F<+D<=J<MDLK $=9DL@/=JNA;=K.=K=9J;@ @LLHK<GA GJ? 
      7!HM:9@=9<G>HJAFL8

 #M9<9EMR&  ,&4#-%&0 1<<AF0 0JGLKCQ /AJJ. -9LG ) N9AD9:ADALQG>*9DGPGF=/HJ9QAF
     ,@AD9<=DH@A9,@9JE9;A=K  &)*=LO+H=F &MF = <GA
      B9E9F=LOGJCGH=F   

 )GBL9:9A. .A=@E'! G@=F&!  ,&4#-%&0 .MLCGO( D=9FAF<GGJ9AJD9OK ;A?9J=LL==P;AK=
     L9P=K 9F<KEGCAF?1FAL=</L9L=K   ,J=N)=< &MF <GA
      B QHE=<    7!HM:9@=9<G>HJAFL8
     
 A;C=L) J9L# $ML>D=KK/ 3M *=K:AL/  ,&4#-%&0 +HLAEARAF?+HAGA<,J=K;JA:AF?9F<
     ,9AF0J=9LE=FL>GJ/MJ?=JQGF;=HLM9D"J9E=OGJC E=JA;9F&GMJF9DG>$=9DL@ /QKL=E,@9JE9;Q 
       
     
 @9F?$5  9M:J=KK=) /9DGF=J  ,&4#-%&0 @JGFA; AK=9K=)=<A;9LAGF<@=J=F;=>L=J
     %FALA9LAGFG>MHJ=FGJH@AF=>GJ+HAGA<1K= AKGJ<=J )=<A;9D9J=   
                                                  24
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
 )MJAEA% 9DDJ=A;@&) /=9E9FK)&  ,&4#-%&0 %EH9;LG>1 / ,@9JE9;GH=A9)GFG?J9H@
     /L9F<9J<KGF#=F=JA;)9JC=L!FLJQ9F<,J=K;JAHLAGF JM?GKLK ,(G/+F= *GN
      = <GA BGMJF9D HGF=  =GDD=;LAGF 
     
 -A9G5 /@AF&% /9F?5 %FC=J( /=;GJ9 GJ=K@&  ,&4#-%&0 &9;CKGF& @9F?. #J9EK
     )!  AK;GFLAFM9LAGFG>F?AGL=FKAFGFN=JLAF?!FRQE=%F@A:ALGJK9F<F?AGL=FKAF.=;=HLGJDG;C=JK
     AF@JGFA;'A<F=Q AK=9K= )9QGDAFA;,JG;==<AF?K *GN   <GA
      B E9QG;H    !HM:+;L 

 *GNA;C0' /MJ9H=F=FA /@AF&%  ,&4#-%&0 %FC=J( 3JA?@L! @9F?. #J9EK)! 
     KKG;A9LAGFKG>+HAGA<,J=K;JAHLAGFKOAL@ =9L@9F<$GKHAL9DAR9LAGF;JGKKL@=/H=;LJMEG>!KLAE9L=<
     #". DAFA;9D&GMJF9DG>L@=E=JA;9F/G;A=LQG>*=H@JGDG?Q *GN   <GA
      &*  !HM:+;L 

 #M9<9EMR&  ,&4#-%&0 6=FC/* -9LG ) KK=KKE=FLG>,@9JE9;QDGKMJ=KAFL@=1FAL=<
     /L9L=K   &)%FL=JF9D)=<A;AF= ,M:DAK@=<GFDAF=+;LG:=J  
     <GA@LLHK<GA GJ? B9E9AFL=JFE=<  

 (A4 F<=JKGF') @9F?$5 MJLAK&  ,&4#-%&0 GEH9J9LAN=.AKCG>/=JAGMK%F>=;LAGF
     EGF?.=9D OGJD<1K=JKG>AGDG?A;K>GJ,KGJA9KAK9F<,KGJA9LA;JL@JALAK FF9DKG>L@=.@=ME9LA;
       AK=9K=K +;L HAA9FFJ@=ME<AK   <GA 9FFJ@=ME<AK   7!HM:
     9@=9<G>HJAFL8

 2=JE=MD=F( /O9JL@GML)  ,&4#-%&0 #AFK:MJ?  ,JAL;@=LL'+ 3@AL=/& 0JQGF& 
     !EE=JA;@ *=K:AL03 #J==F=3 "GP!. GFLA.) /;GLL! /@==@Q" )=D:Q)! (9FLRQ) 
     $G>>E9F&) 'FG=J/ 6=DDE=J3 /$,"GMF<9LAGF,@9JE9;Q"GJ=;9KL/LJ9L=?A;,D9FFAF?
     <NA;=>GJ,@9JE9;Q =H9JLE=FLKAF$GKHAL9DK9F<$=9DL@/QKL=EK E=JA;9F&GMJF9DG>$=9DL@
     /QKL=E,@9JE9;QV 

 $=QO9J<& +DKGF( /@9J>KL=AF& /LM9JL! (MJA=,  ,&4#-%&0 +N=JKA?@LG>!PL=F<=<
     .=D=9K=(GF?;LAF?!.( +HAGA<,J=K;JA:AF?:QL@=1 / "GG<9F< JM?<EAFAKLJ9LAGF
     *9JJ9LAN=.=NA=O &)%FL=JF)=< ,M:DAK@=<GFDAF= =;=E:=J  
     <GA@LLHK<GA GJ? B9E9AFL=JFE=<  


              !<ALGJA9D$M::9J<3' #=LLAF?/=JAGMK:GML+HAGA<.=?MD9LAGF &)%FL=JF)=< 
              ,M:DAK@=<GFDAF= =;=E:=J  <GA@LLHK<GA GJ? B9E9AFL=JFE=<  
              7=HM:9@=9<G>HJAFL8

 $KA=M!$ )GGJ=0&  ,&4#-%&0 GKLKG>,ANGL9D0JA9DK>GJ"  HHJGN=<9F;=J JM?K 
       DAFA;9D0JA9DK ,M:DAK@=<GFDAF="=:JM9JQ  
     @LLHK<GA GJ? 


              !<ALGJA9D9;@, GEE=FL9JQGF$KAM==L9DGKLK9NAF?K9F<<9L9DAEAL9LAGFKG>F=O
              ;9F;=J<JM?KLM<A=K DAF0JA9DK    <GA 

 -A9G5 /@AF&% @=F0 %FC=J( GJ=K@&  ,&4#-%&0 &9;CKGF&3 @9F?. #J9EK)! 
     KKG;A9LAGF:=LO==F.=FAF 9F?AGL=FKAF/QKL=EDG;C9<= AK;GFLAFM9LAGF9F<DD ;9MK=)GJL9DALQ
     EGF?,=GHD=OAL@(GO!KLAE9L=<#DGE=JMD9J"ADLJ9LAGF.9L= &)%FL=JF9D)=<A;AF= ,M:DAK@=<
     GFDAF=)9J;@  <GA B9E9AFL=JFE=<  

                                                   25
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               !<ALGJA9D =&GF? #J9FL.3 GFLAFM9LAGFG>F?AGL=FKAF GFN=JLAF?!FRQE=
               %F@A:ALGJK9F<F?AGL=FKAF.=;=HLGJDG;C=JKAFL@="9;=G>'A<F=Q AK=9K=,JG?J=KKAGFW
               /9>=9F<,GKKA:DQ(A>=/9NAF? &)%FL=JF)=< ,M:DAK@=<GFDAF=)9J;@  
               <GA B9E9AFL=JFE=<  

 .9G0 'AHL9FMA6  GO=DD, 0JA=:O9KK=J  ,&4#-%&0 $9JJAK% "GJEMD9JQ.=KLJA;LAGFK>GJ
     +HAGA<DL=JF9LAN=K%F;J=9K=+HAGA<,J=K;JA:AF?EGF?)=<A;9J==F=>A;A9JA=K &)*=LOGJC+H=F 
     = <GA B9E9F=LOGJCGH=F   
     
  ,&4#-%&0 /LGDD=J' $9>>9B==.( /9DGF=J F!HA<=EA;AFL@=)A<KLG>9,9F<=EA;+HAGA<
     1K= AKGJ<=J9F<+2%  FF%FL=JF)=< 7!HM:9@=9<G>HJAFLHJAD8 
     <GA@LLHK<GA GJ? ) 
        
 )GBL9:9A. .A=@E'! G@=F&!  ,&4#-%&0 2=JFA;C&/ 0@JMD& A?9J=LL=!P;AK=09P=K D=9F
     %F<GGJAJ(9OK 9F<1K=G>/EGCAF?=KK9LAGF0J=9LE=FLK)=<A9LAGFF9DQKAK ,J=N=FL9LAN=
     )=<A;AF= ,J=N=FL9LAN=)=<A;AF=      

 /=;GJ9) /@AF&% -A9G5  ,&4#-%&0 @9F?. %FC=J( GJ=K@& #J9EK)! 
     $QH=JC9D=EA99F<9;ML=CA<F=QAFBMJQOAL@KHAJGFGD9;LGF=MK=9EGF?H9LA=FLKOAL@@=9JL>9ADMJ= )9QG
     DAFA;,JG;==<AF?K @LLHK<GA GJ? B E9QG;H   
        
 #M9<9EMR& -9LG )  ,&4#-%&0 1K=G>.AKC!N9DM9LAGF9F<)ALA?9LAGF/LJ9L=?A=K.!)/ :Q
     L@=1 / "GG<9F< JM?<EAFAKLJ9LAGF"    &) ,M:DA;9LAGFH=F<AF? 
        
  ,&4#-%&0 -9LG ) !FKMJAF?;;=KKLG)=<A;AF=KAFL@=1 /  MJAF?L@=+2% ,9F<=EA; 
     &) ,M:DAK@=<GFDAF=HJAD  <GA B9E9  

 )MJAEA% (AF $ *9:$ '9F$ +F9K9FQ9+ 0A=J;=& 39F?4  =KL9  ,&4#-%&0 
     $9EEGF<!. 0@=9KKG;A9LAGF:=LO==FGJ?9F<9E9?=9F<EGJL9DALQAFKQKL=EA;DMHMK=JQL@=E9LGKMK9
     KQKL=E9LA;J=NA=O9F<E=L9 9F9DQKAK )&+H=F = <GA :EBGH=F 
     
        
 /LGF=!) .MLCGO( A;C=L) 9JJQ(  ,&4#-%&0 );#AFLQ!! %EHD=E=FL9LAGF9F<
     !F>GJ;=E=FLG>/L9L=+HAGA<,J=K;JA:AF?(9OK  JM?9F<D;G@GD =H=F<=F;=  
     @LLHK<GA GJ? B <JM?9D;<=H  

 )GGJ=0& $=QO9J<& F<=JKGF#  ,&4#-%&0 29JA9LAGFAFL@==KLAE9L=<;GKLKG>HANGL9D;DAFA;9D
     :=F=>ALLJA9DKKMHHGJLAF?L@=1/9HHJGN9DG>F=OL@=J9H=MLA;9?=FLK V9;JGKK K=;LAGF9DKLM<Q 
     )&+H=F= <GA :EBGH=F  
        
 $=QO9J<& )9FKGMJ+ +DKGF( /AF?@/  ,&4#-%&0 KKG;A9LAGF:=LO==FKG<AME ?DM;GK=
     ;GLJ9FKHGJL=J/#(0 AF@A:ALGJK9F<DGO=J=PLJ=EALQ9EHML9LAGFKQKL=E9LA;J=NA=O9F<E=L9
     9F9DQKAK ,(G/+F=  = ,M:DAK@=<&MF <GA BGMJF9D HGF= 

 )=@L9$ !@J@9J<L/ )GGJ=0& /=?9D&  ,&4#-%&0 @9J9;L=JAKLA;KG>J=?AKL=J=<;DAFA;9DLJA9DK
     9KK=KKAF?LJ=9LE=FLK>GJ+2% 9;JGKK K=;LAGF9D9F9DQKAK )&+H=F = ,M:DAK@=<
     &MF <GA :EBGH=F  
        



                                                     26
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 -9LG )  ,&4#-%&0 #M9<9EMR& @GA/ 0JGLRCQ /AJJ. (AF<9M/0 ;;=KKLG,@9JE9;AKL
     ,J=K;JA:=<9F<!E=J?=F;QGFLJ9;=HLAGFAF(GKF?=D=KGMFLQ  $=9DL@>>9AJK 
     @LLHK<GA GJ? @DL@9>>   
        
 @9F?$5 'GF?&$ /@=JEG;C')  ,&4#-%&0 3=AF=J&, '@9JJ9RA$ @9F?$5 'GF?&$ 
     /@=JEG;C') D=P9F<=J# 3=AF=J&, '@9JJ9RA$ %FL=?J9LAF?= HJ=K;JA:AF?9F<H@9JE9;Q ;D9AE
     <9L9>GJHJ=<A;LAN=EG<=DAF?GEH9JAF?;GKLK9F<MLADAR9LAGFG>@=9DL@HD9FE=E:=JKO@GAFALA9DDQ>ADD
     L@=AJE=<A;9LAGFGJ<=JKOAL@L@GK=O@G<GFGL &GMJF9DG>)9F9?=<9J=/H=;A9DLQ,@9JE9;Q &
     )9F9?9J=/H=;,@9JE   
        
 $MKK9AFA/  ,&4#-%&0 0@=1FAL=</L9L=K,GKL9D/=JNA;=F!KK=FLA9D,M:DA;$=9DL@?=F;Q 
     &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=  +% K   
        
 )=@L9$ )GGJ=0& D=P9F<=J# KKG;A9LAGFG>,@9JE9;=MLA;9D%F<MKLJQ,9QE=FLKLG,@QKA;A9FK
     3AL@,J=K;JAHLAGF9F<)=<A;9J=!PH=F<ALMJ=K>GJ,AE9N9FK=JAF ,KQ;@A9LJ/=JN M?
     9HHAHK <GA 9HHA HK  !HM:9@=9<G>HJAFL ,)%  
        
 $=QO9J<& )GGJ=0& @=F& )==C' (MJA=,  ,&4#-%&0 '=Q!NA<=F;=/MHHGJLAF?
     ,J=K;JAHLAGF+HAGA<KHHJGN=<:QL@=1 / "GG<9F< JM?<EAFAKLJ9LAGF   FF%FL=JF
     )=<  =;   <GA )  !HM:/=H ,)%  
     
 D=P9F<=J# 09B9FD9F?AL) $=QO9J<& )9FKGMJ+ -9LG ) /L9>>GJ<./ 1K=9F<;GFL=FLG>
     HJAE9JQ;9J=L=D=E=<A;AF=<MJAF?L@=+2% H9F<=EA;AFL@=1FAL=</L9L=K&)*=LOGJC+H=F 
      = <GA B9E9F=LOGJCGH=F  
       

               !<ALGJA9D0@JGFKGF(. &9;CKGF/( @=O( 0@=,9F<=EA;G>$=9DL@9J=%F=IMALQ 
               &)*=LO+H=F  = <GA B9E9F=LOGJCGH=F  
        
 )GGJ=0& )GMKDAE) DMFL&(  ,&4#-%&0 /@=JEG;C' KK=KKE=FLG>N9AD9:ADALQ DAFA;9D
     0=KLAF? 9F<L@=1/"GG<9F< JM?<EAFAKLJ9LAGF.=NA=OG>AGKAEAD9JAGDG?A;,JG<M;LK &)
     %FL=JF9D)=<A;AF=  <GA B9E9AFL=JFE=<   !HM:9@=9<G>HJAFL ,)% 
      
     
 9CK@/ /=?9D& );<9EK =)9J;G) '9DQ9FA..  ,&4#-%&0 !@J@9J<L/  AH=HLA<QD
     ,=HLA<9K= %F@A:ALGJK9F<9J<AGN9K;MD9J!N=FLKAF,9LA=FLKOAL@0QH= A9:=L=K 3AL@GML
     9J<AGN9K;MD9JGJ.=F9D AK=9K=.=LJGKH=;LAN=G@GJL/LM<Q.=LJGKH=;LAN=G@GJL/LM<Q ,(G/
     +*!= @LLHK<GA GJ? BGMJF9D HGF= 
        
 )MJAEA% (AF $ '9F$ 0A=J;=& 39F?4 *9:$  =KL9  ,&4#-%&0 $9EEGF<!. $=9DL@
     9J=1LADAR9LAGF9F<GKLKG>/QKL=EA;(MHMK!JQL@=E9LGKMK:Q AK=9K=/=N=JALQAFL@=1FAL=</L9L=K 
     &GMJF9DG>.@=ME9LGDG?Q   +% BJ@=ME  ,)%  
        
 9DDJ=A;@& )9FKGMJ+ $M! @AF?;M9F;G" ,GDD9;C$  GO<Q 3  ,&4#-%&0 ,+((+
     )G<=DG>L@=+HAGA<!HA<=EA;AFL@=1FAL=</L9L=K &)*=LOGJC+H=F = 
     <GA B9E9F=LOGJCGH=F  
        
 /=;GJ9 /@AF&% -A9G5  ,&4#-%&0 GJ=K@& #J9EK)! /HAJGFGD9;LGF=1K=EGF?,9LA=FLK
     OAL@$=9JL"9ADMJ=;JGKKL@=/H=;LJMEG>'A<F=Q"MF;LAGF )9QGDAFA;,JG;==<AF?K  +%
     @LLHK<GA GJ? B E9QG;H   
     

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 )GMKDAE) 0JMBADDG&  ,&4#-%&0 /=?9D& KKG;A9LAGF=LO==F"AD?J9KLAEAGKAEAD9J
     N9AD9:ADALQ9F<@9F?=KAFD9AEK,9QE=FLK9F<+ML G> HG;C=LGKLK>GJAGDG?A;"AD?J9KLAE 29DM=
     AF$=9DL@ @LLHK<GA GJ? B BN9D   
        
 9F9F @9F<D=J# )GGJ=.  ,&4#-%&0 (9M !KLAE9LAF?L@=,J=N9D=F;=G>,J=K;JAHLAGF+HAGA<
       AN=JKAGF  JM?9F<D;G@GD =H=F<=F;= @LLHK<GA GJ? B <JM?9D;<=H  
        
 )9FKGMJ+ 09B9FD9F?AL) $=QO9J<& )GBL9:9A.  ,&4#-%&0 +>>A;= :9K=<9F<0=D=E=<A;AF=
     9J=>GJ=@9NAGJ9D9F<,KQ;@A9LJA;GF<ALAGFK MJAF?L@=+2% ,9F<=EA;AFL@=1FAL=</L9L=K 
     FF9DKG>%FL=JF9D)=<A;AF= *GN <GA )  !HM:9@=9<G>HJAFL ,)% 
      

 "GLA' HH=D(& )9LKMK@AL9' GJ=K@&  ,&4#-%&0 /=DNAF!  A?AL,J=>=J=F;=AF+>>A;=DGG<
     ,J=KKMJ=)=9KMJ=E=FLK 1FAL=</L9L=KV E=JA;9F&GMJF9DG>$QH=JL=FKAGF *GN
     @H99 <GA 9B@@H99 !HM:9@=9<G>HJAFL ,)%  
        
 '9JE9JC9J0 0JMBADDG& ,9<MD93 #J==F=&  ,&4#-%&0 F<=JKGF# !P9EAFAF?"9AJF=KKAF
     L@=0J9<= +>>=LO==F JM?,JA;=.=?MD9LAGF%FN=KLE=FLKAF.=K=9J;@9F< =N=DGHE=FL $=9DL@
     ,GDA;Q &GMJF9DG>=@9NAGJ9D!;GFGEA;K>GJ,GDA;Q   
        
 ,9JC&* .9K@A<A! "GLA' 6GGJG:) /@=JE9F/  ,&4#-%&0 "=FL9FQD9F<>=FL9FQD9F9DG?KAF
     L@=ADDA;ALKLAEMD9FLKMHHDQ.=KMDLK>JGE1 / <JM?K=ARMJ=<9L9    JM?D;G@GD =H=F< 
     &9F <GA B <JM?9D;<=H   !HM:*GN ,)% 
     ,)% ,) 
     
 &GF=K) =C@==L" ,9JC&*  ,&4#-%&0 0@=!NGDNAF?+N=J<GK=!HA<=EA;/QFL@=LA;+HAGA<K
     9F<.AKAF?/LAEMD9FL .=D9L=<$9JEK !HA<=EAGD.=N &9F   <GA
      =HAJ=NEP99 ,)%  
        
 /L=N=FKGF&)  ,&4#-%&0 ,9D9EMLL9E* )=@L9$ ,JGB=;L=<1LADALQG>,@9JE9;G?=FGEA;
     0=KLAF?EGF?%F<ANA<M9DK$GKHAL9DAR=<3AL@+2% .=LJGKH=;LAN=)MDLA;=FL=J/LM<QAFL@=
     1FAL=</L9L=K DAF0J9FKD/;A +;L <GA ;LK  !HM:9@=9<G>HJAFL ,)% 
      
        
 39F?( ,9DD=J& $GF?$  ="=DA;= D=P9F<=J# J9OD=Q+ GEH9JAKGFG>/QKL=EA;
     0J=9LE=FLK>GJ)=L9KL9LA;9KLJ9LAGF /=FKALAN=,JGKL9L=9F;=J/QKL=E9LA;.=NA=O9F<*=LOGJC
     )=L9 9F9DQKAK &)+F;GD &9F= <GA B9E9GF;GD   !HM:9@=9<G>
     HJAFL ,)% ,)% ,) 

 F<=JK=F' )=@L9$ ,9D9EMLL9E* "GJ< #9JA:9D<A0 MO9L=J,# /=?9D&  ,&4#-%&0 
     KKG;A9LAGF=LO==F@JGFA;1K=G>%EEMFGKMHHJ=KKAN= JM?K9F<DAFA;9D+ML;GE=K>JGE+2%
     $GKHAL9DAR9LAGF.=LJGKH=;LAN=G@GJL/LM<QAF9(9J?=1 / $=9DL@/QKL=E DAFA;9D%F>=;LAGMK
       AK=9K=K ;A99 @LLHK<GA GJ? ;A<;A99
        
 #M9<9EMR&/ );GJEA;C @GA/ 1JA;C  ,&4#-%&0 -9LG ) 0=D=H@9JE9;Q9F<
     E=<A;9LAGF9<@=J=F;=AFMJ:9F9J=9K &E,@9JEKKG; /    <GA
      B B9H@    !HM:9@=9<G>HJAFL ,)%  
        



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 *?MQ=F0 #MHL9/ 6A=<9F! =L9D KK=KKE=FLG>"ADD=<MHJ=FGJH@AF=,J=K;JAHLAGFK>GJ+HAGA<1K=
       AKGJ<=J MJAF?L@=GJGF9NAJMK AK=9K=,9F<=EA; &)%FL=JF)=< ,M:DAK@=<GFDAF=
       =;=E:=J  <GA B9E9AFL=JFE=<  
        
 (9EGFL!  A9EGF<// '9LJA=D.# !FKA?F( (AM& .MKDA!  ,&4#-%&0 0J=F<KAF+F;GDG?Q
     DAFA;9D0JA9DK(9MF;@=<=>GJ=9F< MJAF?L@=+2% ,9F<=EA; &)*=LOGJC+H=F 
      = <GA B9E9F=LOGJCGH=F  
        
 C=FJGQ=0 $=QO9J<& '==L  ,&4#-%&0 (GO=J1K=G>AGDG?A;K>GJL@=0J=9LE=FLG>
     KL@E9AF,M:DA;DQ AFKMJ=<%F<ANA<M9DK &DD=J?QDAF%EEMFGD,J9;L "=:/
        <GA B B9AH    !HM:9@=9<G>HJAFL ,)%  
     
 #9JA:9D<A0 39F?' .G:AFKGF)( =L9D GEH9JAKGFG>0AE=LGDAFA;9D%EHJGN=E=FL3AL@NK
     3AL@GML.=E<=KANAJ0J=9LE=FLAF$GKHAL9DAR=<,9LA=FLK3AL@+2%  &)*=LO
     +H=F  = <GA B9E9F=LOGJCGH=F  
        
 F<=JKGF'! /9DGF=J !;CKL=AF& @9AKKGF! /;@GDD=/$ *AD=K(  Q/  ,&4#-%&0 -M9DALQ
     G>MHJ=FGJH@AF=9J=>GJ+HAGA<1K= AKGJ<=J )=<A;9D9J=   
     
 /=F '9F?/5 .9K@A<A! #9F?MDA F<=JKGF#  ,&4#-%&0 1K=G>GH9QE=FL+>>K=LK>GJ
     ,J=K;JAHLAGF JM?KAFL@=1FAL=</L9L=K &)%FL=JF)=< ,M:DAK@=<GFDAF=)9J;@  
     <GA B9E9AFL=JFE=<  
     
                !<ALGJA9D5=MF?'  MK=LRAF9/ ,J=K;JAHLAGF JM?+ML G> ,G;C=LGKL.=<M;LAGF
                ,JG?J9EK%F;=FLAN=K9F<%EHDA;9LAGFK &)%FL=JF)=< ,M:DAK@=<GFDAF=)9J;@  
                <GA B9E9AFL=JFE=<  

  9M:J=KK=)  ,&4#-%&0 J=OK  /=?=N ( (=FLAF=' );<9EK =)9J;G) $A?@ <GK=
     +HAGA<1LADAR9LAGF9F<)GJL9DALQEGF?%F<ANA<M9DK%FALA9LAF?$=EG<A9DQKAK )*=H@JGD 
      @LLHK<GA GJ? K   
     
  ,&4#-%&0 !E=JK=F/ '=KK=D@=AE/ !N9DM9LAGFG><M;9FME9:>GJDR@=AE=J AK=9K=
     /;A=FLA>A;!NA<=F;=9F<.=?MD9LGJQ.=NA=O%FNGDNAF?!>>A;9;Q /9>=LQ 9F<"MLADALQ &) )9J
      <GA B9E9   !HM:9@=9<G>HJAFL ,)%  
     
 39F?( ,9DD=J& $GF?$ .GKE9F( "=DA;= J9OD=Q+  ,&4#-%&0 !>>A;9;Q9F<K9>=LQG>
     LJ=9LE=FLK>GJFGFE=L9KL9LA;;9KLJ9LAGF J=KAKL9FLHJGKL9L=;9F;=J9E9L;@AF?9<BMKL=<AF<AJ=;L
     ;GEH9JAKGF9F<F=LOGJCE=L9 9F9DQKAK &*9LD9F;=J%FKL HJ<B9: <GA
      BF;A<B9: !HM:9@=9<G>HJAFL ,)%  
     
 F<=JKGF'!  ,&4#-%&0 *AD=K( /;@GDD=/$ /9DGF=J  Q/) -M9DALQG>,J=N=FLAN=9F<
     @JGFA;9J=>GJ%F<ANA<M9DKOAL@+HAGA<1K= AKGJ<=J &)+H=F = 
     
 )=@L9$ 39F?( )9D9?9JAK%  M9F5 .GKE9F(  ,&4#-%&0 )GJ=0@9F0OG <GR=F
     ,J=K;JAHLAGF JM? 9K=<.AKC/;GJ=KJ=N9AD9:D=>GJ.AKC<BMKLE=FL/QKL=E9LA;.=NA=O &DAF
     !HA<=EAGD HJ/    <GA B B;DAF=HA    !HM:9@=9<G>
     HJAFL ,)%  
     
 6@9F?$ 3=F&  ,&4#-%&0 MJLAK&. GEH9J9LAN=!>>=;LAN=F=KKG>%FL=JD=MCAF 9F<0MEGJ
     *=;JGKAK"9;LGJ0*" DH@9%F@A:ALGJK>GJ,KGJA9LA;JL@JALAK .) +H=F ,M:DA;9LAGFH=F<AF? 
                                                   29
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     
  =JAF?LGF# G@=F& #J==F0$ =L9D KKG;A9LAGF:=LO==F9F?AGL=FKAF;GFN=JLAF?=FRQE=
     AF@A:ALGJGJ9F?AGL=FKAFJ=;=HLGJ:DG;C=JMK=9F<+2% K=N=JALQ9F<EGJL9DALQ9EGF?1/2=L=J9FK 
     ,(G/+F= ,M:DA;9LAGFH=F<AF? 
        
 #M9<9EMR&/ 3AD<=J&. )GMKDAE) 6=FC/  ,&4#-%&0 -9LG ) "=O=J,@9JE9;A=KAF
     D9;C9F<$AKH9FA;(9LAFG*=A?@:GJ@GG<KGEH9J=<3AL@3@AL=GJ AN=JK=*=A?@:GJ@GG<K 
      $=9DL@>>9AJK ,M:DA;9LAGFH=F<AF? 

 $=QO9J<& @JAKLGH@=J& /9JC9J/ /@AF&% '9DQ9FA..  ,&4#-%&0 E:MD9LGJQ0J=9LE=FLG>
     0QH= A9:=L=K)=DDALMKAFL@=1FAL=</L9L=K    A9:=L=K +:=KALQ9F<)=L9:GDAKE 
     ,M:DA;9LAGFH=F<AF? 
        
 )=@L9$ 'MG5" .9BA) 3=KLJ9& GQ<  ,&4#-%&0 #GG<OAF&/ /L9L=29JA9LAGFAF+HAGA<
     1K=AF(GF? L=JE9J=*MJKAF?$GE=.=KA<=FLK ,M:DA;9LAGFH=F<AF? 

 ,9<MD93 )9D9NAQ9/ .=A<*) 0A=J;=&  ,&4#-%&0 !;GFGEA;29DM=G>0J=9LE=FL9F<29;;AF=
     LG<<J=KKL@=+2% ,9F<=EA;1 / GKL =>>=;LAN=F=KK9F<M<?=L%EH9;LF9DQKAK &GMJF9DG>
     )=<A;9D!;GFGEA;K 1F<=JJ=NA=O 

 0@JMD& .A=@E'! G@=F&!  ,&4#-%&0 2=JFA;C&/ )GBL9:9A. 0G:9;;G;GFLJGDHGDA;A=K9F<
     KEGCAF?;=KK9LAGFLJ=9LE=FLMLADAR9LAGFV9EG<=J9L=<E=<A9LAGF9F9DQKAK ,(G/+F= 1F<=JJ=NA=O 
     
  ,&4#-%&0 9DDJ=A;@& )9FKGMJ+  GO<Q 3 !>>=;LG>.=<M;LAGFKAF,J=K;JA:AF?GF+HAGA<
     1K= AKGJ<=J9F<"9L9D+N=J<GK=AFL@=1FAL=</L9L=K QF9EA;)9JCGN)G<=D 1F<=JJ=NA=O 

 '9@CGKC9. :J9@9EK=F0&  ,&4#-%&0 =FF=LL0 @ML= $9=F<=D) 'D=AF' )=@L9
     $ )ADD=J& )G>>ALL. /LTJE=J0 'NAKL' MK=& KKG;A9LAGF=LO==F#DM;9?GF DAC=,=HLA<=
     .=;=HLGJ?GFAKL9F</G<AME#DM;GK=G LJ9FKHGJL=J%F@A:ALGJ1K=9F<+2% +ML;GE=K
     *9LAGF9D.=LJGKH=;LAN=G@GJL/LM<Q  A9:=L=K9J= 1F<=JJ=NA=O 
     
 '9F?/5 /=F (GF?&  ,&4#-%&0 F<=JKGF# 3@=F G,@9JE9;=MLA;9D)9FM>9;LMJ=JK+>>=J
       JM?GMHGFK1F<=JJ=NA=O 

 F<=JK=F)/ (GJ=FR2 ,9FL J9Q&3  ,&4#-%&0 !>>=;LG>,J=K;JAHLAGF+HAGA<1LADAR9LAGF
     )9F9?=E=FLGF+HAGA<,J=K;JA:AF? "9L9D9F<*GF "9L9D+N=J<GK=EGF?1 / )=<A;9J=
     =F=>A;A9JA=K E=JA;9F&GMJF9DG>)9F9?=<9J= 1F<=JJ=NA=O 
     
 )GGJ=0& 3AJLR, 'JMKR=OKCA/,  ,&4#-%&0 1K=G>,J=K;JAHLAGF/LAEMD9FLKEGF?<MDLKAF
     L@=1FAL=</L9L=K   1F<=JJ=NA=O 

 F<=JKGF'!  ,&4#-%&0  Q/) /=F, "GJEMD9LAGF =KA?F>GJ,@QKA;A9F 9<EAFAKL=J=< JM?K
     AF)=<A;9J=<N9FL9?= 1F<=JJ=NA=O 
        
 GJL=R )9FKGMJ+ -9LG ) /L9>>GJ<./  ,&4#-%&0 %F;J=9K=<0=D=E=<A;AF=1K=9F<
     @9F?=KAF;ML= @JGFA;9F<,J=N=FLAN=9J=AFL@=1FAL=</L9L=K MJAF?L@=+2% ,9F<=EA; 
     1F<=JJ=NA=O 
        
 )=@L9$ F<=JK=F') 6=?=J/ /=?9D/  ,&4#-%&0 .=K=9J;@9F<.=HGJLAF?)=L@G<K
     1KAF?GEGJ:A<ALQ%F<A;=K>GJ.AKC<BMKLE=FLAF+:K=JN9LAGF9D.=K=9J;@ 1F<=JJ=NA=O 
                                                   30
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
 "GLA' $=QO9J<& 09B9FD9F?AL) )==C' &GF=K 'GDG<FQ  ,&4#-%&0 ,JAE9JQ9J=
     ,@QKA;A9FKZ,J=H9J=<F=KKLG0J=9L+HAGA<1K= AKGJ<=JAFL@=1FAL=</L9L=KJGKK K=;LAGF9D/MJN=Q 
     1F<=JJ=NA=O 
        
 39F?( $GF?$  ,&4#-%&0 J9OD=Q+ ,9DD=J 9DDJ=A;@& GKL =>>=;LAN=F=KKG>/QKL=E9LA;
     0J=9LE=FLK>GJ)=L9KL9LA;9KLJ9LAGF /=FKALAN=,JGKL9L=9F;=JF!;GFGEA;!N9DM9LAGF9K=<GF
     *=LOGJC)=L9 F9DQKAK &GMJF9DG>DAFA;9D+F;GDG?Q 1F<=JJ=NA=O 
        
 $O9F?5&  ,&4#-%&0 F$ )GGJ=0& )=@L9$ .AKCG><=9L@9F<@GKHAL9DAR9LAGF9KKG;A9L=<
     OAL@HAE9N9FK=JAFMK=AFGD<=J9<MDLKOAL@,9JCAFKGFZK<AK=9K=HGHMD9LAGF :9K=<;G@GJLKLM<Q 1F<=J
     J=NA=O 

 /9JC9J/ $=QO9J<&  ,&4#-%&0 '9DQ9FA.. 0J=F<KAFE:MD9LGJQ%FKMDAF1K=EGF?
     %F<ANA<M9DKOAL@0QH= A9:=L=KAFL@=1FAL=</L9L=K 1F<=JJ=NA=O 

 );#AFLQ!! /LGF=!) A;C=L)  ,&4#-%&0 9JJQ( .MLCGO( 1FAFL=F<=<*=?9LAN=
     GFK=IM=F;=KG>/L9L=+HAGA<,J=K;JA:AF?(9OK-M9DAL9LAN=/LM<Q 1F<=JJ=NA=O 

 /@AF&% /9F?5 /=DNAF! @9F?.  ,&4#-%&0 G@=F) GJ=K@& /@9D=N2 @G<A;C# 
     '9J9KAC #J9EK)! 1K=G>#DM;GK= (GO=JAF?)=<A;9LAGFKAF0QH= A9:=L=KGEH9JAKGF
     =LO==F0OG$=9DL@/QKL=EKAFL@=1FAL=</L9L=K9F<%KJ9=D )9QGDAFA;,JG;==<AF?K 1F<=JJ=NA=O 

 5=@A9"  ,&4#-%&0 F<=JKGF#" @9F?AF?09P%F;=FLAN=K>GJDG;C:MKL=J+JH@9F JM?K 
     1F<=JJ=NA=O 
        
 9DDJ=A;@& =FF=L )GGJ=0&  ,&4#-%&0 )=<A;9J=!PH=F<ALMJ=KGFL=RGDARME9:>GJ
     ;;=D=J9L=<HHJGN9D%F<A;9LAGF3AL@<J9OF:Q)9FM>9;LMJ=J>L=JGF>AJE9LGJQ0JA9D"9ADMJ= 1F<=J
     J=NA=O 

 9CK@/ 3=F& )9FKGMJ+ @9F?$5 );<9EK =)9J;G) /=?9D& !@J@9J<L/  ,&4#-%&0
       AH=HLA<QD,=HLA<9K= %F@A:ALGJ1K=9F<9J<AGN9K;MD9J!N=FLKAF$A?@ .AKC,9LA=FLKOAL@
       A9:=L=K.=LJGKH=;LAN=G@GJL/LM<Q 1F<=JJ=NA=O 

 $9EEGF<!. (AF $ *9:$ )MJAEA% '9F$ +F9K9FQ9+ 0A=J;=& 39F?4  =KL9 
       ,&4#-%&0 KKG;A9LAGF:=LO==FGJ?9F<9E9?=9F<@=9DL@ J=D9L=<IM9DALQG>DA>=AFKQKL=EA;DMHMK
     =JQL@=E9LGKMK9KQKL=E9LA;J=NA=O 1F<=J<=N=DGHE=FL 
     
 (AF $ )MJAEA% (M;9K! '9F$ 0A=J;=& 39F?4 *9:$  =KL9  ,&4#-%&0 $9EEGF<! 
     $=9DL@9J=1LADAR9LAGF9F<GKLKG>/QKL=EA;(MHMK!JQL@=E9LGKMK/(! AFL@=1FAL=</L9L=K
     /QKL=E9LA;.=NA=O 1F<=J<=N=DGHE=FL 

 MLD=J) 0A9F"  ,&4#-%&0 @JAKLA9F& F<=JK=F') MJ;M) DME=FL9DK3 
     +:K=JN9LAGF9D/LM<A=KAFL@=,GKL +2% !J9)=L@G<GDG?A;9DGFKA<=J9LAGFK>GJ/LM<Q =KA?F9F<
     F9DQKAK 1F<=J<=N=DGHE=FL 

 +R=F:=J?=J'  ,&4#-%&0 /@AF&% 3@ALK=D! -9LG )1K=G>,J=K;JAHLAGF)=<A;AF=KOAL@
     9J<AGN9K;MD9J<N=JK=!>>=;LK9F<9J<AGN9K;MD9J!N=FLKEGF?+D<=J<MDLK 1F<=J<=N=DGHE=FL 
     


                                                    31
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 -9LG ) (=N. 2=FLJA;=DDA & 39L9F9:=&  ,&4#-%&0 D9JC'& <<J=KKAF?9JJA=JKAF
      ;;=KKAF?MHJ=FGJH@AF=9L.=L9AD,@9JE9;A=KAFL@=1FAL=</L9L=K 1F<=J<=N=DGHE=FL 
         
 #M9<9EMR&/ 3AD<=J&. )GMKDAE) 6=FC/  ,&4#-%&0 -9LG ) @9F?=KAFL@=
      ;;=KKA:ADALQG>,@9JE9;A=KAF*=O5GJCALQ (GKF?=D=K @A;9?G9F<$GMKLGF   1F<=J
      <=N=DGHE=FL 

 J9F=) /=F #9F?MDA F<=JKGF# /9DGF=J  ,&4#-%&0 1K=G> JM?GMHGFK>GJ
      MHJ=FGJH@AF= *9DGPGF= 1F<=J<=N=DGHE=FL 

 9DDJ=A;@& "=JF9F<=R! )9FKGMJ+  GO<Q 3  ,&4#-%&0 ,JGB=;L=<!>>=;LKG>L@=+2%
      ,9F<=EA;GF"9L9D+HAGA<+N=J<GK=AFL@=1FAL=</L9L=K QF9EA;)9JCGN)G<=D 1F<=J
      <=N=DGHE=FL 

 <@AC9JA. &@9'  9J<9JA6 $=QO9J<&  ,&4#-%&0 D9@9)& *9LAGF9D0J=F<KAF,J=K;JA:AF?G>
      /#(0%F@A:ALGJK9F<#(, .=;=HLGJ?GFAKLK:Q9J<AGDG?AKLK9F<+L@=J/H=;A9DAKLK   
      1F<=JJ=NA=O 

 $=JEGKADD9)  ,&4#-%&0 ,GDKCQ !>>=;LG>1F=EHDGQE=FLGF/L9LAF1K=AFL@=1FAL=</L9L=K
      FF9DQKAKG>L@=+2% ,9F<=EA; 1F<=J<=N=DGHE=FL 

 D9E?AJ& @=F4 59BAE9) !J?9K.  ,&4#-%&0 )=@L9$ ,>9>>! )G>>AL. $9=F<=D) 
      @ML=# #=JKAF?' :A<). )=D9LGFAF<G=KFGLK@GO9FQHGKALAN==>>=;LGF+2% AF>=;LAGF
      GJLJ=9LE=FL 1F<=J<=N=DGHE=FL 
         
 D9E?AJ& :A<). #9JA:9D<A )MFAJ* /=LG?M;@A/ $GF?// @=F4 'G;AK,0 59BAE9) 
        ,&4#-%&0 )=@L9$ )9<@AJ92 !J?9K. +ZJA=F0. GRR=LL=/ .=9D3GJD<1K=9F<
      +ML;GE=G>GFN9D=K;=FL,D9KE9EGF?%F<ANA<M9DK$GKHAL9DAR=<3AL@+2% AFL@=1FAL=<
      /L9L=K$GKHAL9D 9Q/LJ9LA>A=<F9DQKAK 1F<=J<=N=DGHE=FL 
         
 J<=K@AJJGM@9FA>9J</ F$ #GQ9D.' .9BA) /=?9D&  ,&4#-%&0 )=@L9$ 1K=G>+J9D
      FLA;G9?MD9FLKEGF?%F<ANA<M9DKOAL@9F;=J9F<LJA9D"A:JADD9LAGFAFL@=1FAL=</L9L=K   
      1F<=J<=N=DGHE=FL 
         
 F<=JK=F') F$ 9L=K &GK=H@ =L9D 1K=G>@JGFA;%EEMFGKMHHJ=KKAN=)=<A;AF=K9F<
      +2% +ML;GE=K.=LJGKH=;LAN=G@GJL/LM<Q1KAF?L@=*9LAGF9DGNA<G@GJLGDD9:GJ9LAN=
      * 1F<=J<=N=DGHE=FL 
         
         
         
  *,$% +' $,(*$%+'(,) ** .$ / '& +(!,*$' +* -' *%$' 


   ,&4#-%&0 +F.=E9AFAF?$ME9F  (&$'" (,(*+/LM<=FL G;LGJK,J=KK (9#J9F?=,9JC 
   %(HH  =KK9Q 
 
  ,&4#-%&0 3=AKK #=GJ?=/ 2AJLM9D)=<A;9D/;@GGD 0@=*=O,@QKA;A9F +;L 
   E9FMK;JAHL 

  ,&4#-%&0 GMJK=#MA<=V9JAF?>GJ,9LA=FLK*=9JL@=!F< G> (A>= 9K=3=KL=JF.=K=JN=
   1FAN=JKALQ /;@GGDG>)=<A;AF=  ;MJJA;MDME 
                                                    32
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
    ,&4#-%&0 3=AKK ,JGNA<AF?D9HLGHKLGHJGEGL=;GEHML=JMK=D=KKGFKD=9JF=< ;9<=EA;
     )=<A;AF=  letter to editor 

    ,&4#-%&0 ,9LA=FL;9J=9F<KLM<=FL=<M;9LAGF 2AJLM9D)=FLGJ!L@A;K&GMJF9DG>L@=E=JA;9F
     )=<A;9DKKG;A9LAGF N9AD9:D=9L@LLHOOO 9E9 9KKF GJ?9E9HM:;9L=?GJQ @LED;;=KK=<
     HJAD AFNAL=<;GEE=FL9JQ 

    ,&4#-%&0 'OA9LCGOKCA  A9?FGKAF?9F<E9F9?AF?9<N=JK=<JM?=N=FLKAF@GKHAL9DAR=<H9LA=FLK 
    0GHA;KAF JM?0@=J9HQ1FAN=JKALQG>@A;9?G   E9FMK;JAHL 
 
  ,&4#-%&0 9K9DAFG(, )=LDR=J + "9;LGJKAFKLM<QAF?H9LA=FL H@QKA;A9F;GEEMFA;9LAGF 
    &)  D=LL=J 
            
  ,&4#-%&0 ,J=K;JAHLAGFKG>KD==H 9F9<A9F"9EADQ,@QKA;A9F   =KK9Q 
          
  ,&4#-%&0 1FF=;=KK9JQL=KLK9F<=L@A;KG>IM9DALQG>;9J= 2AJLM9D)=FLGJ!L@A;K&GMJF9DG>L@=
    E=JA;9F)=<A;9DKKG;A9LAGF N9AD9:D=9L@LLHOOO 9E9 9KKF GJ?9E9HM:;9L=?GJQ @LED
    ;;=KK=<&MF=  AFNAL=<;GEE=FL9JQ 

 /9QD9)  ,&4#-%&0 F9FFGL9L=<:A:DAG?J9H@Q=PHDGJAF?HJ=K;JAHLAGF;GKL K@9JAF? ,J=H9J=<>GJ
    L@=F9LAGF9DE==LAF?G>L@=/G;A=LQG>#=F=J9D%FL=JF9D)=<A;AF= &MF=  9FFGL9L=<:A:DAG?J9H@Q 

  ,&4#-%&0 %KKM=:JA=>)9FQH@QKA;A9FK=F?9?=<AF9<<J=KKAF?@=9DL@<AKH9JALA=K  =N=DGH=<GF
    :=@9D>G>L@=GEEAKKAGFLG!F<$=9DL@ AKH9JALA=K HJAD AKKM=:JA=> 
         
  ,&4#-%&0 #=G?J9H@A;:9JJA=JK9F<9;;=KKLG;9J= 2AJLM9D)=FLGJ!L@A;K&GMJF9DG>L@=E=JA;9F
    )=<A;9DKKG;A9LAGF  N9AD9:D=9L
    @LLHOOO 9E9 9KKF GJ?9E9HM:;9L=?GJQ @LED;;=KK=<&MDQ  AFNAL=<;GEE=FL9JQ 

  ,&4#-%&0 ;J9K@;GMJK=3@9L@9HH=FKO@=F9H9LA=FLZKE=<A;9D9F<=;GFGEA;:=KLAFL=J=KLK
    ;GDDA<=2AJLM9D)=FLGJ!L@A;K&GMJF9DG>L@=E=JA;9F)=<A;9DKKG;A9LAGF   AFNAL=<
    ;GEE=FL9JQ 

 /EAL@,&  ,&4#-%&0 /A=?D=J) /@GMD<=<ALGJA9DKAFH==J J=NA=O=<BGMJF9DK:=KA?F=<@=KL 
      %FNAL=<=<ALGJA9D 

  ,&4#-%&0 (9FLGK& AGL=JJGJAKE HM:DA;K=JNA;= 9F<L@=<MLQLGLJ=9L 9E:JA<?=-M9JL=JDQ 
      %FNAL=<;GEE=FL9JQ 

 0GJC=)  ,&4#-%&0 9F@=9D=JK@9N=HJAN9L=DAN=K2AJLM9D)=FLGJ!L@A;K&GMJF9DG>L@=
    E=JA;9F)=<A;9DKKG;A9LAGF   N9AD9:D=9L@LLHOOO 9E9
    9KKF GJ?9E9HM:;9L=?GJQ @LED;;=KK=<&MDQ  %FNAL=<;GEE=FL9JQ 
    
  ,&4#-%&0 (9FLGK& 0@=FM9F;=KG>K=D> <AK;DGKMJ= .=KHGFK=LGX,@QKA;A9FK=D> <AK;DGKMJ=AF
    HJAE9JQ;9J=NAKALK=FGM?@9:GMLQGM O@9L9:GMLE=YJ;@%FL=JF)=<   (=LL=J
    LG=<ALGJ 

 0GJC=  ,&4#-%&0 (9FLGK& /A=?D=J) .=KHGFK=LGD=LL=JJ=?9J<AF?X0@=<G;LGJ KMJJG?9L=
    J=D9LAGFK@AH YJ;@AN=KG>%FL=JF9D)=<A;AF=   (=LL=JLG=<ALGJ 
                                                    33
    Case: 1:17-md-02804-DAP Doc #: 4219-1 Filed: 12/29/21 200 of 246. PageID #: 568557


  ,&4#-%&0  AD=EE9K>GJ9J=9KGF &GMJF9DG>DAFA;9D!L@A;K   %FNAL=<
    ;GEE=FL9JQ 

 (9D=  ,&4#-%&0 0@=1J:9F$=9DL@%FALA9LAN=9KLGJQG>GF=9;9<=EA;E=<A;9D;=FL=J9F<L@=
    MF<=JK=JN=< /#%)"GJME  =;=E:=J %FNAL=<=<ALGJA9D 

 0GJC=)  ,&4#-%&0 (9FLGK& /M:KLALML=<BM<?E=FL &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF= 
     (=LL=JLG=<ALGJ J=HDQ 

 /9MF<=JK)  ,&4#-%&0 0MJFAF?9F<;@MJFAF?DGKKG>@=9DL@AFKMJ9F;=9EGF?9<MDLKAF)=<A;9A< 
    &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=   %FNAL=<=<ALGJA9D 

 39DLGF/) /;@MEG;C#0 (=='2  ,&4#-%&0 )=DLR=J /L9>>GJ<./ %EHGJL9F;=G>
    <AKLAF?MAK@AF?KMHHGJL=<9F<MFKMHHGJL=<G>> D9:=DMK= J;@AN=KG>%FL=JF9D)=<A;AF= 
     (=LL=JLG=<ALGJ J=HDQ 

 -9LG )  ,&4#-%&0 .=KHGFK=LG$9JLMF? ) !N9FK $9P:Q # 'J9=E=J " F<==F# 
    "9?F9F(& !>>=;LG> JM?/9EHD=.=EGN9DGF,J=K;JA:AF?AF9"9EADQ,J9;LA;=DAFA;FF"9E)=<
      (=LL=JLG=<ALGJ J=HDQ 

  ,&4#-%&0 DAFA;9DHJ=K;JA:AF?9F<G>> D9:=DMK= AF9K=;GF< :=KLOGJD< )=<A;9D;9J= 
      %FNAL=<=<ALGJA9D 

 $=9DL@%- 0@="JGFLA=JKG>$=9DL@;9J=<N9F;=E=FL %)/%FKLALML=>GJ$=9DL@;9J=%F>GJE9LA;K 
      A>>MKAGFG>%FFGN9LAGF,9LL=JFK9F<!>>=;LK %FNAL=<@9HL=J 

  ,&4#-%&0 .=K=9J;@=JZKGJF=J09DC!9JDQ9F<+>L=F /#%)"GJME  
    
  MK=LRAF9/  ,&4#-%&0  JM?NK D9KK /H=;A>A;D9;CGP39JFAF?K G=K+F=9< JM?/HGAD
    L@=MF;@&GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF=   %FNAL=<=<ALGJA9D 

  ,&4#-%&0 /==<AF?LJA9DK9F<L@=KM:GJ<AF9LAGFG>K;A=F;= J;@%FL=JF)=< 
     %FNAL=<=<ALGJA9D 

 <=/GMR9&  ,&4#-%&0 1FKMHHGJL=<G>> D9:=DMK=G>;9F;=JL@=J9HA=KF=O;@9DD=F?=KAFL@==J9
    G>:AGH@9JE9;=MLA;9DK !PH=JL.=NA=OG>,@9JE9;G=;GFGEA;K+ML;GE=K.=K=9J;@ 
     %FNAL=<=<ALGJA9D 

 -9LG )  ,&4#-%&0 &MKL=;9MK=%LZK(GOGKL G=KFZL)=9F%LZK;;=KKA:D= &GMJF9DG>
    #=F=J9D%FL=JF9D)=<A;AF=   %FNAL=<=<ALGJA9D 

 09F&  ,&4#-%&0 /=?9D& ;9<=EA;=FL=JK,D9Q92AL9D.GD=AFL@=/LM<QG> JM?/9>=LQ9F<
    !>>=;LAN=F=KK DAF0@=J   %FNAL=<=<ALGJA9D 

  ,&4#-%&0 MJAGMKGFMF<JMEKG>+>> D9:=D,J=K;JA:AF? ,).   %FNAL=<
    =<ALGJA9D 

 "9AF'  ,&4#-%&0 J=" ,J=K;JAHLAGF JM?/9>=LQ,D9FK3GJCAF?9K=/LM<QG>
    %KGLJ=LAFGAF ,@9JE9;G=HA<=EAGDG?Q9F< JM?/9>=LQ ,=F<AF?HM:DA;9LAGF %FNAL=<=<ALGJA9D 
                                                    34
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
 "9AF'  ,&4#-%&0 J=" ,J=K;JAHLAGF JM?/9>=LQ,D9FK3GJCAF?9K=/LM<QG>
    %KGLJ=LAFGAF ,@9JE9;G=HA<=EAGDG?Q9F< JM?/9>=LQ   %FNAL=<J=KHGFK=LGD=LL=JLG
    L@==<ALGJ 

 "9AF'  ,&4#-%&0  JM?,GKLE9JC=LAF?/LM<A=K .=HDQ &)   %FNAL=<
    J=KHGFK=LGD=LL=JLGL@==<ALGJ 

  ,&4#-%&0 9HKMD=GEE=FL9JQGF"9=J:=J9F<'J=DAF? XGFL=FLF9DQKAKG>"9DK=9F<
    )AKD=9<AF?D9AEKAF0=D=NAKAGF<N=JLAKAF?>GJ,J=K;JAHLAGF9F<*GFHJ=K;JAHLAGF JM?KY &GMJF9DG>
    #=F=J9D%FL=JF9D)=<A;AF=  %FNAL=<;GEE=FL9JQ 

 "9AF'  ,&4#-%&0 )AF<L@=#9H1F<=JKL9F<AF?L@=!>>=;LKG>,@9JE9;=MLA;9D AJ=;L LG
    GFKME=J<N=JLAKAF? )=<A;9D9J=   %FNAL=<=<ALGJA9D 

 $O9F?/  ,&4#-%&0 GEE=FL9JQGFX09E:DQF. !?M9D=0 $M9F? 3AFKD9<=*  GJ9F, 
    0@=AF;A<=F;=9F<<=L=JEAF9FLKG>HJAE9JQFGF9<@=J=F;=OAL@HJ=K;JA:=<E=<A;9LAGFAFHJAE9JQ;9J=9
    ;G@GJLKLM<Q FF%FL=JF)=<   Y"9ADMJ=LG"ADD9"AJKL,J=K;JAHLAGFG>9*=O
    )=<A;9LAGFAKGEEGFAF,JAE9JQ9J=/=LLAF?K )&!NA<=F;=9K=<
    )=<A;AF=  %FNAL=<;GEE=FL9JQ 

 "9AF'  ,&4#-%&0  AKHGKAF?G>)=<A;AF=K/9>=DQ E=JA;9F&GMJF9DG>,M:DA;
    $=9DL@ =  (=LL=JLGL@==<ALGJ 

  9M:J=KK=) "9AF'  ,&4#-%&0 0@=GFN=JK9LAGF 1HK;@=<MDAF?$Q<JG;G<GF= ,=F<AF?
    HM:DA;9LAGF %FNAL=<;GEE=FL9JQ 

 .A??K'.  ,&4#-%&0 GKLGFL9AFE=FL9F<,9LA=FL3=DD =AF? &GMJF9DG>#=F=J9D%FL=JF9D
    )=<A;AF=   %FNAL=<=<ALGJA9D 

  ,&4#-%&0 '=Q=K! 0@==KL)=<A;AF=#GG<.=D9LAGFK@AH3AL@5GMJ G; 0@=9DLAEGJ=
    /MF )9Q  +H !< 

 (Q9HMKLAF90  ,&4#-%&0 0@=,J=K;JAHLAGF+HAGA<!HA<=EA;,JG:D=EG>+MJ+OF)9CAF? 0@=
    ,@9JE9;=MLA;9D&GMJF9D &MF= 2GD *G GFDAF=S +%
     ,&  %FNAL=<=<ALGJA9D 

 %Q=J#  ,&4#-%&0 9J<AGN9K;MD9J+ML;GE=KKKG;A9L=<OAL@D9JAL@JGEQ;AF )& A
    %FNAL=<=<ALGJA9D 

  Q/ 3=?=F=J/  ,&4#-%&0 /M9J=R M=JNG 9KK! GEH9J9LAN=!>>=;LAN=F=KKG>DL=JF9LAN=
    /LJ9L=?A=K>GJ =;J=9KAF?%FALA9LAGFG>+HAGA<K>GJ)9F9?AF?@JGFA;,9AF ,+.%0GHA;JA=> 0@=
    &G@FK$GHCAFK!NA<=F;=9K=<,J9;LA;==FL=J "=:JM9JQ 

 -9LG ) D=P9F<=J# "AK@+ADK9F<D==<AF?3@=J=%KL@=!NA<=F;=V%F.=HDQ &)%FL=JF9D
    )=<A;AF=    

 9JJ=LL' (M;9K!  ,&4#-%&0 $GO,GDQH@9JE9;Q$9K=;GE=9)=<A;9DMJ<=F3GJD<OA<= 
    0@=,@9JE9;=MLA;9D&GMJF9D &MF=  N9AD9:D=9L@LLHOOO H@9JE9;=MLA;9D BGMJF9D ;GE

                                                   35
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 )MJAEA%  ,&4#-%&0 +HA9L=GN=J<GK=9K9H9LA=FLK9>=LQHJG:D=E7,=JKH=;LAN=8 $.-,/*=L
    7K=JA9DGFDAF=8 )9Q N9AD9:D=9L@LLHKHKF=L 9@JI ?GNH=JKH=;LAN=KH=JKH=;LAN= 

  ,&4#-%&0 %FDA' $9JLR=E9#=<K ,GKL ML@GJAR9LAGF/9>=LQ/LM<A=KG>)=<A;AF9D
    ,JG<M;LK0@=,//GGC %FHJ=KK "GJO9J< 

 -9LG )  ,&4#-%&0 (AF<9M/0 ,ZK/=;LAGFGF%FL=?J9LAN=)=<A;AF=/M??=KLK9)GJ=
    9D9F;=<HHJG9;@LG A=L9JQ/MHHD=E=FL 9L9V%F.=HDQ ,=<A9LJA;K %FHJ=KK 

 $=J<=J).  GK@A, 39DD9;@& =L9D " LG=?AF.=D=9KAF?DAFA;9D/LM<Q.=HGJLKAF,ADGL
    ,JG?9EE= )& C (=LL=JLGL@==<ALGJ 

 )M<ME:9A/ /L9>>GJ<./  ,&4#-%&0 $9NAF?/MJ?=JQ=O9J=G>.AKC>JGE,GKL +H+HAGA<K 
    1/0G<9Q "=:JM9JQ  +H !< 

  ,&4#-%&0 /@9J>KL=AF& +HAGA<=HA<=EA;"A?@LAF?9<<A;LAGF9F<;@JGFA;H9AFLG?=L@=JLGK9N=
    DAN=K 1/0G<9Q HJAD  +H !< 

  ,&4#-%&0 'GDG<FQ %F.=HDQ%FALA9D+HAGA<,J=K;JAHLAGFKEGF?1 / GEE=J;A9DDQ%FKMJ=<
    ,9LA=FLK   *=O!F?D9F<&GMJF9DG>)=<A;AF= )9Q (=LL=JLG=<ALGJ 
        
 $=QO9J<& /@9J>KL=AF/  ,&4#-%&0 KK=KKAF?L@=+HAGA<F9D?=KA;.AKC!N9DM9LAGF9F<
    )ALA?9LAGF/LJ9L=?Q,JG?J9EW.=HDQ &)%FL=JF9D)=<A;AF=  %FNAL=<J=KHGFK=LGD=LL=JLGL@=
    =<ALGJ 
        
  ,&4#-%&0 '=KK=D@=AE/ )GGJ=0& /=9J;@AF?>GJ9F!>>=;LAN=GNA< 0J=9LE=FL,JGEAK=
    9F<,=JAD /00 HJAD  +H !< 
        
 .9K@A<A! F<=JK=F') C=FJGQ= 4M5  ,&4#-%&0 )=@L9$ %F.=HDQ%F $GKHAL9D1K=G>
    /L9LAFK%KKKG;A9L=<OAL@9.=<M;=<.AKCG>)GJL9DALQ9EGF?%F<ANA<M9DKOAL@+2% V.=HDQ =DD
    )=L9:GDAKE /=HL=E:=J GEE=FLLG!<ALGJA9DG9J< 
        
 -9LG ) D=P9F<=J# (AF<9M/0 ;;=KKLG,@9JE9;AKL ,J=K;JA:=<9F<!E=J?=F;QGFLJ9;=HLAGF
    AF(GKF?=D=KGMFLQ W.=HDQ $=9DL@>>9AJK  %FNAL=<J=KHGFK=LGD=LL=JLGL@==<ALGJ 
        
 39F?( ,9DD=J& $GF?$  ="=DA;= D=P9F<=J# J9OD=Q+ GEH9JAKGFG>/QKL=EA;
    0J=9LE=FLK>GJ)=L9KL9LA;9KLJ9LAGF /=FKALAN=,JGKL9L=9F;=J/QKL=E9LA;.=NA=O9F<*=LOGJC
    )=L9 9F9DQKAK V%F.=HDQ 


                              




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

    ,&4#-%&0 3QFA9)' /MJN=QJ=K=9J;@AF:AG=L@A;K %FX!EHAJA;)=L@G<K>GJAG=L@A;K
     ,JAE=J Y!<K&9;G:Q( /AEAFG>>( !DK=NA=J,J=KK *=O5GJC *=O5GJC Y 

  -MAFF)0 #F=HH&  ,&4#-%&0 $GDDAF?KOGJL@ +ZGFFGJ'# (9F?3 'D9QE9F& )=DLR=J
      +  =KA?F9F<!N9DM9LAGFG>3GJCKAL=,JGEGLAGFKG>+J?9F GF9LAGF.=9D OGJD<@9DD=F?=K9F<
    ,J9;LA;9D/GDMLAGFK %FX1F<=JKL9F<AF?GJ?9F<GF9LAGF9HHDA=<:=@9NAGJ9DK;A=F;=H=JKH=;LAN=K Y!<K
    /A=?=D&0 DN9JG!) D9;CO=DDD9J=EGFLHHDA=</G;A9D,KQ;@GDG?Q/=JA=K 3AD=Q D9;CO=DD 
    @A;@=KL=J 3=KL/MKK=P 1FAL=<'AF?<GE  

  /9MF<=JK)  ,&4#-%&0 /A=?D=J) DAFA;9D=L@A;K9F<L@=HJ9;LA;=G>@GKHAL9DE=<A;AF= %F
    X,JAF;AHD=K9F<,J9;LA;=G>$GKHAL9D)=<A;AF= Y!<K);'=9F .GKK  J=KKD=J JGLE9F #AFK:=J? 
    );#J9O $ADDGEH9FA=K !<ALAGFHJAFL=< 

    ,&4#-%&0 "J9LL9JGDA/ #A=D=F =<K 0@=,J=K;JAHLAGF+HAGA<!HA<=EA;F!NA<=F;= 9K=<
     HHJG9;@ &G@FK$GHCAFKDGGE:=J?/;@GGDG>,M:DA;$=9DL@ 9DLAEGJ= )9JQD9F<

  ALAR=F,=LALAGFLGL@="GG<9F< JM?<EAFAKLJ9LAGF/A?F9LGJQ .=IM=KLAF?L@9LL@=GEEAKKAGFLG
    L@=" HD9;=9:D9;C:GPO9JFAF?GFH@9JE9;=MLA;9DKAFL@=GHAGA<9F<:=FRG<A9R=HAF=;D9KK=K
    O9JFAF?H9LA=FLKG>L@=HGL=FLA9DK=JAGMKJAKCKOAL@;GF;GEAL9FLMK=G>:GL@;D9KK=KG>E=<A;9LAGFK 
    /M:EALL=<"=:JM9JQ  ,=LALAGF?J9FL=<M?MKL  ,=LALAGF9N9AD9:D=9L
    @LLH@=9DL@ :9DLAEGJ=;ALQ ?GNKAL=K<=>9MDL>AD=K"AF9D J9>L" H=LALAGF "MDDG
    /A?F=JK     H<>;;=KK=</=HL=E:=J  

  3GJCAF?#JGMH)=E:=J 0J9FKH9J=F;Q9LL@=1 / "GG<9F< JM?<EAFAKLJ9LAGF.=;GEE=F<9LAGFK
    LG/MHHGJLL@= =N=DGHE=FLG>/9>=9F<!>>=;LAN=)=<A;9D,JG<M;LK +;LG:=J 

  3GJCAF?#JGMH)=E:=J ,9JLF=JK@AH"GJME*9NA?9LAF?%FFGN9LAGFKAF A9:=L=K9J= &GMJF9DG>
    )9F9?=<9J=9F</H=;A9DLQ,@9JE9;Q  =;=E:=J 

  /@9J>KL=AF&) )ADD=J&  9NAK( .GKK&/ );9JL@Q)! /EAL@ @9M<@JQ D=P9F<=J# 
    '=KK=D@=AE/ DM=HJAFL>GJ0J9FKH9J=F;Q9LL@=1 / "GG<9F< JM?<EAFAKLJ9LAGF
    .=;GEE=F<9LAGFKLG<N9F;=L@= =N=DGHE=FLG>/9>=9F<!>>=;LAN=)=<A;9D,JG<M;LK &9FM9JQ 
     

    ,&4#-%&0 "J9LL9JGDA/ #A=D=F =<K 0@=+HAGA<!HA<=EA;"JGE!NA<=F;=LG%EH9;L &G@FK
     $GHCAFKDGGE:=J?/;@GGDG>,M:DA;$=9DL@ 9DLAEGJ= )9JQD9F< 

 A;C=L)  ,&4#-%&0 ,J=K;JA:AF?#MA<=DAF=K9F<+HAGA</L=O9J<K@AH %FX0@=,M:DA;$=9DL@
    #MA<=LG!F<AF?L@=+HAGA<!HA<=EA; Y,J=K;JA:AF?#MA<=DAF=K9F<+HAGA</L=O9J<K@AH %F,M:DA;
    $=9DL@#MA<=LG!F<AF?L@=+HAGA<!HA<=EA; !<AL=<:Q)A;@9=D. "J9K=J,@ )/ &9Q MLD=J) 
    9F<,@ADA;A90M;C=J),$ +P>GJ<1FAN=JKALQ,J=KK  +% GKG  

,# *


  =KA?F=<9F<@GKL=<9O=:KAL=<=NGL=<LGH9LA=FL=<M;9LAGF9F<=EHGO=JE=FLJ=?9J<AF?HJ=K;JAHLAGF;GKLK
9F<HGDQH@9JE9;Q ,J=NAGMKDQ9N9AD9:D=  9L@LLHHJ=K;JAHLAGFK :K< M;@A;9?G =<M
                             



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                                       
                                 # 9D=:D=P9F<=J ) )/
                                               
                                           ,.0%%
                                               
    .)-1./+*-1-*3&01*25  /0&1&-2

' *"*-, +,- ',+
  • %9F 9Q;9<=EA;<NAKGJ>GJ/H=;A9D,M:DA;$=9DL@$GFGJK0@=KAK  


*-, +,- ',+$(* .$+(*
  • 2A:@MLAJQ9 ,@9JE ;9<=EA;<NAKGJ>GJ,9JL LAE=A),$,JG?J9E  
  • $9D=Q#A::K ,@9JE ;9<=EA;<NAKGJ>GJ,9JL LAE=A),$,JG?J9E  
  • QM'9L9<9;9<=EA;<NAKGJ>GJ),$,JG?J9E),) M9D =?J==  
  • !LC9J?9O9D;9<=EA;<NAKGJ>GJ),$,JG?J9EAF!HA<=EAGDG?A;9F<AGKL9LAKLA;9D)=L@G<K
     >GJ,M:DA;$=9DL@9F<DAFA;9D.=K=9J;@  
  • (==)=DD=J ) ;9<=EA;<NAKGJ>GJ,9JL LAE=A),$,JG?J9E  
  • /@9JGFBAL/9?GG ,@9JE ;9<=EA;<NAKGJ>GJ,9JL LAE=A),$,JG?J9E  
  • 9JGDQF0A=M ,@9JE ;9<=EA;<NAKGJ>GJ),$,JG?J9E  
  • '=F+?9K9O9J9 ,@ ;9<=EA;<NAKGJ>GJ),$,JG?J9E  
  • =FAK=(=HD=Q ;9<=EA;<NAKGJ>GJ,9JL LAE=A),$,JG?J9E  
  • &M9F"J9F;G ) ;9<=EA;<NAKGJ>GJ,9JL LAE=A),$,JG?J9E  
  • 29JK@9(9D;@9F<9FA ;9<=EA;<NAKGJ>GJ,9JL LAE=A),$,JG?J9E  
  • .9;@=D);"9<<=F ;9<=EA;<NAKGJ DGGE:=J?E=JA;9F$=9DL@"=DDGO  
  • )A;@9=D'=FF=<Q ;9<=EA;<NAKGJ DGGE:=J?E=JA;9F$=9DL@"=DDGO  
  • /AF<@MJ9'9JD9HM<A )/ ;9<=EA;<NAKGJ>GJ),$,JG?J9E  
     
*-, +,- ',+ .$+(*
  • "J9F;AF=@AF?;M9F;G;9<=EA;<NAKGJ>GJ)$/,JG?J9EAF9J<AGN9K;MD9J!HA<=EAGDG?Q 
     
  • #==L@9Q=J;9<=EA;<NAKGJ>GJ/; ,JG?J9EAF9J<AGN9K;MD9J!HA<=EAGDG?Q  
  • )=ABA96@GM;9<=EA;<NAKGJ>GJ)$/,JG?J9EAF#=F=J9D!HA<=EAGDG?Q9F<)=L@G<GDG?Q 
     
  • &=>>J=Q5M;9<=EA;<NAKGJ>GJ)$/,JG?J9EAF$=9DL@!;GFGEA;K  
  • $9FR@=6@9F?;9<=EA;<NAKGJ>GJ)$/,JG?J9EAF#=F=J9D!HA<=EAGDG?Q9F<)=L@G<GDG?Q 
      
  
*-, +,- ',+ )+,(' (*# +$+ .$+(*
  • QM'9L9<9;9<=EA;<NAKGJ>GJ),$,JG?J9E),) M9D =?J==  
  • &AF@==)GGF )$/9HKLGF=<NAKGJ>GJ),$,JG?J9E  +MLKL9F<AF?;@A=N=E=FL
     O9J< 
  • /L=N=F&GF=K9HKLGF=<NAKGJ>GJ),$,JG?J9E  
  • 9NA<*9JL=Q9HKLGF=<NAKGJ>GJ),$,JG?J9E  
  • 09LQ9F9(Q9HMKLAF99HKLGF=<NAKGJ>GJ),$,JG?J9E) ),$ M9D =?J==  
  • &9E=K#GD<:=J?9HKLGF=<NAKGJ>GJA),$,JG?J9E  
  • 6GQ9"9FKD=J9HKLGF=<NAKGJ>GJ,9JL LAE=A),$,JG?J9E  
  • &=GF?@@G9HKLGF=<NAKGJ>GJ),$,JG?J9E),$) M9D =?J==  

                                               38
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  • /@=F?QM9F 9NA< (MG0@=KAKG <NAKGJ>GJ)$/,JG?J9E  
  • 5MFO=F4M0@=KAK<NAKGJ>GJ)$/,JG?J9E  
  • +E9J)9FKGMJ0@=KAK<NAKGJ>GJ)$/,JG?J9E  
  • &=>>J=Q.GDDE9F9HKLGF=<NAKGJ>GJ),$,JG?J9E  
  • *MF=)9C9JGN99HKLGF=<NAKGJ>GJ),$,JG?J9E  
  • *AK@9,9JAC@9HKLGF=<NAKGJ>GJ),$,JG?J9E  
  • 4AFLGF?(A0@=KAK<NAKGJ>GJ)$/,JG?J9E  
  • &M9F"J9F;G ) 9HKLGF=<NAKGJ>GJ,9JL LAE=A),$,JG?J9E  
  • ,9MD+Z)9DD=Q 9HKLGF=<NAKGJ>GJ,9JL LAE=A),$,JG?J9E 
  • /L=H@=F/9F<=J 9HKLGF=<NAKGJ>GJ,9JL LAE=A),$,JG?J9E 
  • )9J?9JAL9/GL=DG 9HKLGF=<NAKGJ>GJ,9JL LAE=A),$,JG?J9E 
     
*-, ,- ',+ (,(*% .$+(*(* $++ *,,$(' (&&$,,  & *
  • '=NAF"9AF  AKK=JL9LAGFGEEALL==)=E:=J J,$!HA<=EAGDG?Q  
  • &AF?O=F09F  AKK=JL9LAGFGEEALL==)=E:=J,@ DAFA;9D!HA<=EAGDG?Q  
  • /@ADH92AKO9F9L@9F  AKK=JL9LAGFGEEALL==)=E:=J,@ DAFA;9D!HA<=EAGDG?Q  
  • .A;@9J</;GLL/O9AF  AKK=JL9LAGFGEEALL==)=E:=J,@ DAFA;9D!HA<=EAGDG?Q  
  • @JAKLGH@=J'9M>E9F  AKK=JL9LAGFGEEALL==)=E:=J,@ )=FL9D$=9DL@  
  • @JAKLAF=MLLGJ>>  AKK=JL9LAGFGEEALL==)=E:=J,@ $=9DL@,GDA;Q9F<)9F9?=E=FL  
  • .=EAF?GF*=NAF  AKK=JL9LAGFGEEALL==)=E:=J,@ )=FL9D$=9DL@  
  • )9JA9F9/G;9D  AKK=JL9LAGFGEEALL==)=E:=J,@ )=FL9D$=9DL@  
  • (AK9/=DC=J  AKK=JL9LAGFGEEALL==)=E:=J,@ 1FAN=JKALQG>*GJL@9JGDAF9.GDDAF?K/;@GGDG>
     ,M:DA;$=9DL@  
  • /@=JAR99CKL  G;LGJ9D<NAKGJ,@ !HA<=EAGDG?Q  
  • D=P/=;GJ9  G;LGJ9D<NAKGJ,@ !HA<=EAGDG?Q  
  • (M;Q-A9G  G;LGJ9DG <NAKGJ,@ !HA<=EAGDG?Q  
  • '9L@D==FF<=JKGF  G;LGJ9DG <NAKGJ,@ !HA<=EAGDG?Q  
  • &A9BMF3=F  AKK=JL9LAGFGEEALL==)=E:=J,@ !HA<=EAGDG?Q  
  • 0@GE9K)=LCMK  AKK=JL9LAGFGEEALL==)=E:=J,@ #J9<M9L=0J9AFAF?,JG?J9EAFDAFA;9D
     %FN=KLA?9LAGF7#0,%8  
  • (AF39F?  G;LGJ9DG <NAKGJ,@ !HA<=EAGDG?Q  
  • '9L@=JAF=+R=F:=J?=J  AKK=JL9LAGFGEEALL==)=E:=J,@ 1FAN=JKALQG>%DDAFGAK/;@GGDG>
     ,@9JE9;Q  
  • AF?C9A39F?  AKK=JL9LAGFGEEALL==)=E:=J,@ AGKL9LAKLA;K  
  • (AK9 OQ=J ,9JL LAE=GFDAF= J,$,JG?J9E ;9<=EA;<NAKGJ  
  • &=FFA>=JD9;C ,9JL LAE=GFDAF= J,$,JG?J9E ;9<=EA;<NAKGJ  
  • J=F<9F.9:A<=9M  AKK=JL9LAGFGEEALL==)=E:=J,@ $=9DL@,GDA;Q)9F9?=E=FL  
  • @AR=;@MCOM!C=  AKK=JL9LAGFGEEALL==)=E:=J,@ #0,%  

,# **$' +(+,(,(*%(* 0('
  • '=NAF.A??K ) )=FLGJ>GJJ=K=9J;@HJG?J9E=P9EAFAF??=F=JA;MLADAR9LAGF9F<=>>=;LG><JM?
     ;GMHGFKGF<JM?MLADAR9LAGF9F<=PH=F<ALMJ=K  
  • )9JCA;C=L ) )=FLGJG>;9J==J<=N=DGHE=FL9O9J<9;LANALA=K>G;MK=<GFMLADAR9LAGF K9>=LQ9F<
     =>>=;LAN=F=KKG>HJ=K;JAHLAGFGHAGA<KAFH=JA GH=J9LAN=K=LLAF?  
     
 
   • =KA?F=J9F<%FKLJM;LGJ ,@9JE9;G=HA<=EAGDG?Q JM?1LADAR9LAGF  HJ=K=FL   

                                                  39
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   • G %FKLJM;LGJ  =KA?FG>!HA<=EAGDG?A;/LM<A=K,JGHGK9D =N=DGHE=FLJALAIM=  HJ=K=FL
         
   • (=;LMJ=J !HA<=EAGDG?QG>?AF?   
   • (=;LMJ=J ,@9JE9;G=HA<=EAGDG?Q)=L@G<K   
   • /E9DD#JGMH"9;ADAL9LGJDAFA;9D!HA<=EAGDG?Q &G@FK$GHCAFK/;@GGDG>)=<A;AF=  
   • #J9<M9L=/MEE=J%FKLALML=G>!HA<=EAGDG?Q9F<AGKL9LAKLA;K,@9JE9;G=HA<=EAGDG?Q   
         o (=;LMJ=J  
         o =KA?F=J9F<G %FKLJM;LGJ  HJ=K=FL
         o !P;=DD=F;=AF0=9;@AF? AKLAF;LAGF>GJGMJK=
   • (=;LMJ=J #J9<M9L=0J9AFAF?,JG?J9EAFDAFA;9D%FN=KLA?9LAGF ,JAF;AHD=KG> JM? =N=DGHE=FL 
       HJ=K=FL


,# *+$"'$!$',, #$'"
   • ,9JLA;AH9L=AFAF>GJE9DE=FLGJAF?OAL@<GR=FKG>KLM<=FLKL@JGM?@OGJCKAFHJG?J=KK BGMJF9D;DM:K
       9F<K=EAF9JK=JA=KOAL@AFL@= =H9JLE=FLKG>!HA<=EAGDG?Q/;@GGDG>,M:DA;$=9DL@ 9F<L@=
         ANAKAGFG>#=F=J9D%FL=JF9D)=<A;AF=&G@FK$GHCAFK)=<A;AF= 
   • G D=9</H=;A9D/=EAF9J/=JA=KX,@9JE9;=MLA;9D/9>=LQ 29DM=9F<%FFGN9LAGFYKHGFKGJ=<:Q=FL=J
       >GJ JM?/9>=LQ9F<!>>=;LAN=F=KK


 -*3&01*25.' )*$#(.   

' *"*-, +,- ',+
   )GMFA;959F9E9F<9D9 1FAN=JKALQG>@A;9?G ,JAE9JQE=FLGJ  
   .=?AF9 =HA=LJG 1FAN=JKALQG>@A;9?G ,JAE9JQE=FLGJ  
   )9L=MKRA=BC9 1FAN=JKALQG>@A;9?G ,JAE9JQE=FLGJ  
   /9J9@#9DD9?@=J 1FAN=JKALQG>@A;9?G ,JAE9JQE=FLGJ  
   )9DA@9 9JM?9J 1FAN=JKALQG>@A;9?G ,JAE9JQE=FLGJ  
   *9<A9@)G@9BAJ $9JJAK/;@GGD>GJ,M:DA;,GDA;Q $GFGJKL@=KAK9<NAKGJ  
     A9F=);"9<<=F 1FAN=JKALQG>@A;9?G ,JAE9JQE=FLGJ  

*-, +,- ',+
   "J9FC(AM  =H9JLE=FLG>,@9JE9;Q<EAFAKLJ9LAGF GDD=?=G>,@9JE9;Q 1FAN=JKALQG>%DDAFGAK9L
   @A;9?G 0@=KAK;GEEALL==  
   0=JAJL@MJ ,@ )/3 /G;A9D/=JNA;=K<EAFAKLJ9LAGF  AKK=JL9LAGFGEEALL==  
   9JGD9FF= 9A ,@ $9JJAK/;@GGDG>,M:DA;,GDA;Q  AKK=JL9LAGFGEEALL==  
   /9;@ACG'MO9:9J9  )9KL=JKG>JLK 1FAN=JKALQG>@A;9?G  
   )=DAKK9JGOF  )9KL=JKG>JLK 1FAN=JKALQG>@A;9?G  

 $%+,- ',+
   !JA;9)9;'=FRA=  .=K=9J;@)=FLGJ 
     9FA=D'GRE9F  .=K=9J;@)=FLGJ 
   &=KKA;9,AJ=DD9  .=K=9J;@)=FLGJ 
   F<J=OG@=F  .=K=9J;@)=FLGJ 
   )A;@=DD=/L9;=Q  .=K=9J;@)=FLGJ 
   '9J=F J9H=J  .=K=9J;@)=FLGJ 
   DDAKGF(9D=  .=K=9J;@)=FLGJ 
   .G:#MRQ ) ,@ .=KA<=F;Q<NAKGJ 
   /MK9FF=,@GF?K9C  .=K=9J;@)=FLGJ 
                                                    40
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    =K9J#M=JJ=JG  .=K=9J;@)=FLGJ 
    ,9LJA;C(9F?  .=K=9J;@)=FLGJ 
    @9JD=K'9M>E9FF ) ,@ .=KA<=F;Q<NAKGJ  
    /L=H@9FA=09C9@9K@A ) .=KA<=F;Q<NAKGJ  
 +$ ',+
    2A;LGJA93GF? ) !<ALGJA9D>=DDGO &GMJF9DG>#=F=J9D%FL=JF9D)=<A;AF= 
    "=EA:GQ=BA ) .=K=9J;@=D=;LAN=E=FLGJ 

 %%(/+
    &GF9K =/GMR9 )   
      9NA<JMK@ )   
    )AD<9/9MF<=JK ) ),$  
    $=9DL@K=JNA;=KJ=K=9J;@>=DDGOK 1FAN=JKALQG>@A;9?G  
    )9;(=9F=FL=J>GJDAFA;9D)=<A;9D!L@A;K (=;LMJ=J  
    .9;@=D9KC=Q ) ,JAE9JQE=FLGJ  
    D=PA90GJC= ) $./"=DDGO ,JAE9JQE=FLGJ  
    0ME9AFAGDC=J ) ) .G:=JL3GG<&G@FKGFDAFA;9D/;@GD9J  
    #J=L;@=F/;@O9JR= ) ),$ 29K;MD9J/MJ?=JQ  

(+,(,(*%! %%(/+
      AE9-9LG ,@9JE ),$ ,@  
    LGFM.9::9FA ,@   

 
    (=;LMJ=J 0@=<G;LGJ H9LA=FLJ=D9LAGFK@AHAF;DAFA;9DHJ9;LA;=  
    (=;LMJ=J )9;(=9F=FL=J>GJDAFA;9D!L@A;K/MEE=J%FL=FKAN=  
      =KA?F=J9F<D=;LMJ=J .=K=9J;@ =KA?FGMJK=>GJ.3&"DAFA;9D/;@GD9JK  
      =KA?F=J9F<D=;LMJ=J .=K=9J;@ =KA?FGMJK=>GJ"=DDGO/MEE=J%FL=FKAN=  
    (=;LMJ=J %FLJG<M;LGJQGMJK=GFL@=>MF<9E=FL9DKG>@=9DL@K=JNA;=KJ=K=9J;@

,# *+$"'$!$',, #$'"
    #JGMHD=9<=J>GJE=<A;9DKLM<=FLKMEE=JJ=K=9J;@HJG?J9E  
    *9LAGF9D5GML@9F<(=9<=JK@AH"GJME "9;MDLQH9JLA;AH9FL  
    ,9JLA;AH9FLAF)=FLGJAF?,JG?J9E /G;A=LQG>#=F=J9D%FL=JF9D)=<A;AF= 


         
  -** ',+-))(*,


#J9FL.# V*9LAGF9D%FKLALML=GF?AF?F<=JK=F 
,MJHGK=0GIM9FLA>QL@==>>=;LG><JM?MLADAR9LAGFE9F9?=E=FLAFL@=)=<A;9J=,9JL HJG?J9E

#J9FLV9J<AF9D$=9DL@-9LG 
,MJHGK=0G;GF<M;L9HADGLKLM<Q=PHDGJAF?L@=HGL=FLA9DJGD=G>L=D=H@9JE9;QAFAEHJGNAF?E=<A;9LAGF
9<@=J=F;=AFMJ:9F9J=9K

#J9FL0$( V*9LAGF9D$=9JL (MF?9F<DGG<%FKLALML=
D=P9F<=J/=?9D 
,MJHGK=0GGHLAEAR=L@=K9>=9F<=>>=;LAN=MK=G>E=<A;AF=KLGLJ=9L@=9JL DMF?9F<:DGG<<AK=9K=K


                                                    41
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#J9FL. ' *9LAGF9D%FKLALML=KG> A9:=L=K9F< A?=KLAN=9F<'A<F=Q
  AK=9K=K#J9EK%FC=J 
,MJHGK=0GAFN=KLA?9L=L@=JAKC9F<:=F=>ALKG>KH=;A>A;E=<A;9LAGFK9;JGKKL@=J9F?=G>CA<F=Q>MF;LAGF
OAL@AFD9J?= ?DG:9D=D=;LJGFA;@=9DL@J=;GJ<K

#J9FL.  V*9LAGF9D%FKLALML=KG> JM?:MK=);#AFLQ.MLCGO 
,MJHGK=0GIM9FLA>QL@==>>=;LG>KL9L=D9OKAFL=F<=<LG;MJ:@A?@ JAKCGHAGA<HJ=K;JA:AF?

#J9FL.  V*9LAGF9D%FKLALML=KG> JM?:MK=.MLCGO 
,MJHGK=0G9KK=KKL@=9KKG;A9LAGF:=LO==F;D=9FAF<GGJ9AJD9OK ;A?9J=LL=L9P=K 9F<MK=G>KEGCAF?
;=KK9LAGFLJ=9LE=FLK

#J9FL1"   "GG<9F< JM?<EAFAKLJ9LAGFD=P9F<=J 
,MJHGK=0G=F@9F;=J=?MD9LGJQK;A=F;=L@JGM?@9MFAIM="  9;9<=EA;H9JLF=JK@AH!./% 

#J9FLV0@=JFGD<"GMF<9LAGFF<=JK=F 
,MJHGK=0G=N9DM9L=9F<9<N9F;=HGDA;QJ=;GEE=F<9LAGFKLG9;@A=N=9X>9AJHJA;=YG>@A?@;GKLHJ=K;JAHLAGF
<JM?K


+,+-))(*,+ % , %$+,


#J9FL.  /V*9LAGF9D%FKLALML=KG> JM?:MK=);#AFLQ.MLCGO 
,MJHGK=(9F<K;9H=.=NA=OG>1 / $=9DL@,JG>=KKAGF9D,9AF)9F9?=E=FLMJJA;MD9

#J9FL 0@=JFGD<"GMF<9LAGFF<=JK=F 
,MJHGK=0G=N9DM9L=9F<9<N9F;=HGDA;A=KLG9;@A=N=9X>9AJHJA;=YG>@A?@;GKLHJ=K;JAHLAGF<JM?K

#J9FL  =H9JLE=FLG>$=9DL@9F<$ME9F/=JNA;=K/,!D=P9F<=J 
,MJHGK=0G<=K;JA:=L@=:J=9<L@9F<<=HL@G>;GN=J9?=HGDA;A=K>GJ9;ML=9F<;@JGFA;:9;CH9AF9EGF?9
F9LAGF9DDQJ=HJ=K=FL9LAN=K=D=;LAGFG>)=<A;9A< )=<A;9J=<N9FL9?=9F<;GEE=J;A9D@=9DL@HD9FK

#J9FL KLJ96=F=;9D=P9F<=J 
,MJHGK=0GIM9FLA>QL@=<AK=9K=:MJ<=F9F<J=KGMJ;=MLADAR9LAGF9KKG;A9L=<OAL@/QKL=EA;(MHMK
!JQL@=E9LGKMK/(! 

#J9FL KLJ96=F=;9D=P9F<=J 
,MJHGK=0G;@9J9;L=JAR=L@=9KKG;A9LAGF:=LO==FGJ?9F<9E9?= IM9DALQG>DA>= 9F<EGJL9DALQ9EGF?H9LA=FLK
OAL@/QKL=EA;(MHMK!JQL@=E9LGKMK/(! 

#J9FL%  .G:=JL3GG<&G@FKGF"GMF<9LAGF.MLCGO 
,MJHGK=0GMF<=JKL9F<JGD=G>AFL=JGJ?9FAR9LAGF9DJ=D9LAGFK@AHK AF>GJE9LAGFK@9JAF?9F<D=?9DDQ=KL9:DAK@=<
AF>J9KLJM;LMJ=GFHJ=K;JAHLAGF<JM?EGFALGJAF?HJG?J9EKZ>MF;LAGF9F<AEH9;LOAL@AFL@=HM:DA;@=9DL@KQKL=E

#J9FL1"  "GG<9F< JM?<EAFAKLJ9LAGF29J9<@9F 
,MJHGK=0G<=N=DGHKLJM;LMJ9DF=KL=<EG<=DKLG9KK=KKK9>=LQ9F<=>>=;LAN=F=KKG>?=F=JA;<JM?K

#J9FL.$(  *$(%D=P9F<=J G ,% 
,MJHGK=0G=P9EAF=L@==>>=;LG> 0GFHJ=K;JAHLAGF9F<FGF HJ=K;JAHLAGF@=9DL@;9J=MLADAR9LAGF

#J9FL.#  *9LAGF9D%FKLALML=KGF?AF?'9=KLF=J 
                                                      42
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,MJHGK=0G<=L=JEAF=A>,9JL ,J=K;JAHLAGFGN=J9?=%EHJGN=K$=9DL@9F<.=<M;=K%FH9LA=FL1K=

#J9FL1+!  =FL=J>GJ AK=9K=GFLJGD9F<,J=N=FLAGFD=P9F<=J 
,MJHGK=0G=N9DM9L=L@==>>=;LG>"DGJA<9ZK,ADD )ADD(9OGFGHAGA<HJ=K;JA:AF? MLADAR9LAGF9F<<AKH=FKAF?
#J9FL%  .G:=JL3GG<&G@FKGF"GMF<9LAGFD=P9F<=J 
,MJHGK=0G=N9DM9L=L@==>>=;LG>,J=K;JAHLAGF JM?)GFALGJAF?,JG?J9EKGFGHAGA<HJ=K;JA:AF? MLADAR9LAGF
9F<<AKH=FKAF?

#J9FL.$/V ?=F;Q>GJ$=9DL@9J=-M9DALQ9F<.=K=9J;@D=P9F<=J 
,MJHGK=0G9KK=KKL@==>>=;LG>" 9<NAKGJA=KGFHJGNA<=J H9LA=FL 9F<>AJE:=@9NAGJ

#J9FL'$/  ?=F;Q>GJ$=9DL@9J=-M9DALQ9F<.=K=9J;@D=P9F<=J 
,MJHGK=0G;GF<M;L9J9F<GEAR=<LJA9DLGJ=<M;=H9LA=FLZKGML G> HG;C=LHJ=K;JAHLAGF;GKLK

#J9FL.G:=JL3GG<&G@FKGF,@QKA;A9F"9;MDLQ/;@GD9JKO9J< .3&"GMF<9LAGFD=P9F<=J 
0ALD= =N=DGHE=FL9F<=N9DM9LAGFG>AFL=JN=FLAGFKLGJ=<M;=H9LA=FLKZHJ=K;JAHLAGF;GKLK

GFLJ9;L%)/$=9DL@/=JNA;=K.=K=9J;@*=LOGJC %)/$=9DL@D=P9F<=J 
,MJHGK=0G<=N=DGH9F<HJGEGL=9;9<=EA;J=K=9J;@F=LOGJCMKAF?%)/$=9DL@ZK<9L99KK=LKLG9<<J=KKIM=KLAGFK
J=D=N9FLLG@=9DL@;9J=J=>GJE

#J9FL1(.. 0/%FKLALMLAGF9D,ADGLD=P9F<=J 
,MJHGK=0GIM9FLA>QL@=AEH9;LG>" 9<NAKGJA=KGFHKQ;@GLJGHA;E=<A;9LAGFMK=9EGF?;@AD<J=F

#J9FL0@=1FAN=JKALQG>@A;9?G,JG?J9E>GJ,@9JE9;=MLA;9D,GDA;Q 0@=)=J;C
"GMF<9LAGF)=DLR=J 
,MJHGK=0G>GKL=JAFFGN9LAN=J=K=9J;@9LL@=1FAN=JKALQG>@A;9?GAFH@9JE9;=MLA;9DHGDA;QOAL@9>G;MKGF
J=?MD9LAGF AFFGN9LAGF 9F<L=;@FGDG?Q9KK=KKE=FL

GFLJ9;L$$/ ?=F;Q>GJ$=9DL@9J=-M9DALQ9F<.=K=9J;@/;@MEG;C 
0ALD=@A;9?GJ=9,@9JE9;=MLA;9D+ML;GE=K.=K=9J;@GFKGJLAME  =N=DGHAF?!NA<=F;=LG%F>GJE =;AKAGFK
9:GML!>>=;LAN=F=KK0@= !;% !*=LOGJC

#J9FL0@=#J==FO9DD"GMF<9LAGF D=P9F<=J 
,MJHGK=0G;GF<M;L9EAP=< E=L@G<KKLM<QLG=P9EAF=E9F9?=E=FLG>;GF>DA;L:=LO==FH@QKA;A9FK9F<KMJJG?9L=K
G>;JALA;9DDQADD9<MDLK

#J9FL=FL=J>GJ!<M;9LAGF9F<.=K=9J;@GF0@=J9H=MLA;K!.0 V?=F;Q>GJ$=9DL@9J=
-M9DALQ9F<.=K=9J;@)=DLR=J 
,MJHGK=0G;J=9L=9F=<M;9LAGF9F<J=K=9J;@AF>J9KLJM;LMJ=L@9LHJG<M;=K9F<<AKK=EAF9L=KCFGOD=<?=LG
AEHJGN=L@==>>=;LAN=F=KK9F<;GKL =>>=;LAN=F=KKG>L@=MK=G>L@=J9H=MLA;K

#J9FL)AP=< E=L@G<K=PHDGJ9LAGFG>L@=9<GHLAGFG>L@=$,229;;AF= 1FAN=JKALQG>
@A;9?G,JG?J9E>GJ,@9JE9;=MLA;9D,GDA;Q,ADGL#J9FLD=P9F<=J 
,MJHGK=0G=KL9:DAK@HJ=N9D=F;=9F<<=L=JEAF9FLKG>$,2N9;;AF=MHL9C=

GFLJ9;L$$/% $.-39DLGF 
,MJHGK=0G<=N=DGH9E=L@G<G>HJAGJALAR9LAGFG>J=K=9J;@=>>GJLKGFG>> D9:=D<JM?MK=



                                                  43
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#J9FL.+0   $=9DL@.=KGMJ;=K9F</=JNA;=K<EAFAKLJ9LAGF ANAKAGFG>
0J9FKHD9FL9LAGF(9F? 
,MJHGK=0G<=N=DGH AEHD=E=FL 9F<9KK=KKOGJCHD9;=AFL=JN=FLAGFLGAF;J=9K=GJ?9F<GFGJAFL=FLAGF


#J9FL0@=)=<A;9A<,@9JE9;QGKLGFL9AFE=FL9F<,9LA=FL+ML;GE=K =FL=J>GJ$=9DL@
9F<L@=/G;A9D/;A=F;=K 1FAN=JKALQG>@A;9?G,ADGL#J9FLD=P9F<=J 
,MJHGK=0G=P9EAF=9KKG;A9LAGF:=LO==F)=<A;9A<;GKL ;GFL9AFE=FLHGDA;A=K9F<;DAFA;9DGML;GE=K

#J9FL GF9D<3 .=QFGD<K"GMF<9LAGF *9LAGF9D%FKLALML=G>?AF?/9;@K 
,MJHGK="9;MDLQ =N=DGHE=FLAF#=JA9LJA;K

#J9FL.G:=JL3GG<&G@FKGF"GMF<9LAGFDAFA;9D/;@GD9JK,JG?J9E .G:=JL3GG<&G@FKGF
"GMF<9LAGF(9FLGK 
,MJHGK=0GHJGNA<=9HGKL J=KA<=F;Q9;9<=EA;HJG?J9EL@9LLJ9AFKK;@GD9JKLG9HHDQHMJ=J=K=9J;@E=L@G<K
LG@=9DL@ J=D9L=<HJG:D=EK 

#J9FL$+0  $=9DL@.=KGMJ;=K9F</=JNA;=K<EAFAKLJ9LAGF ANAKAGFG>
0J9FKHD9FL9LAGF(9F? 
,MJHGK=0G<=N=DGH AEHD=E=FL 9F<9KK=KK9;GJHGJ9L=OGJCHD9;=AFL=JN=FLAGF<=KA?F=<LGAF;J=9K=
AFL=FLAGFLG:=;GE=9FGJ?9F<GFGJ

#J9FL'# *9LAGF9D%FKLALML=G>?AF?/9;@K 
,MJHGK=#=JA9LJA;;9<=EA;,JG?J9EO9J<


       

            "9;MDLQ!P=;MLAN=GEEALL==)=E:=J  =H9JLE=FLG>!HA<=EAGDG?Q &$/,$
            $GFGJK9F<O9J<KGEEALL==@9AJ  =H9JLE=FLG>!HA<=EAGDG?Q &$/,$
                "9;MDLQ/=9J;@GEEALL==&G@F&9;CKGF  =H9JLE=FLG>!HA<=EAGDG?Q &$/,$
                 "9;MDLQ/=9J;@GEEALL==)9J9);<9EK  =H9JLE=FLG>!HA<=EAGDG?Q &$/,$
                "9;MDLQ/=9J;@GEEALL== &G@FK$GHCAFK=JE9F%FKLALML=G>AG=L@A;K
            #J9<M9L=0J9AFAF?,JG?J9EAFDAFA;9D%FN=KLA?9LAGF#0,% .=NA=OGEEALL==
            <EAKKAGFK9F<J=<=FLA9DKGEEALL==  =H9JLE=FLG>!HA<=EAGDG?Q &$/,$
                0=;@FGDG?Q0J9FK>=JGEEALL== &$/,$
            MJJA;MDMEGEEALL==  =H9JLE=FLG>!HA<=EAGDG?Q &$/,$
              A9:=L=K.=K=9J;@9F<0J9AFAF?=FL=J 1FAN=JKALQG>@A;9?G
            AGDG?A;9D/;A=F;=K ANAKAGF%FKLALMLAGF9D.=NA=OG9J<)=E:=J
                /L==JAF?GEEALL== GF>=J=F;=GF,@9JE9;=MLA;9D,GDA;Q @A;9?G %DDAFGAK
            /L==JAF?GEEALL==  +).=K=9J;@ 9Q 1FAN=JKALQG>@A;9?G
            /L==JAF?GEEALL== 1+,JG?J9EAF,@9JE9;=MLA;9D,GDA;Q 1FAN=JKALQG>@A;9?G
            /=9J;@GEEALL== 1+GEHJ=@=FKAN=9F;=J=FL=J ,GHMD9LAGF/;A=F;= AJ=;LGJ
            )9;(=9F=FL=J!L@A;KGEEALL== 1FAN=JKALQG>@A;9?G
            )=<A;AF=9F<L@=/G;A9D/;A=F;=K G @9AJ 1FAN=JKALQG>@A;9?G
            #=F=J9D)=<A;AF=%FL=J=KL#JGMH G @9AJ 1,$/
            .=KA<=F;Q.=NA=OGEEALL== D9KK+>>A;=J 1,$/
            $GKHAL9DG>L@=1FAN=JKALQG>,=FFKQDN9FA9!L@A;KGEEALL== 1,$/
            .9AF:GO9:A=K9F<@AD<J=FZK$GKHAL9D!L@A;KGEEALL== 3.1
            D9KK+>>A;=J9F<@9AJ GEEALL==G>/LM<=FL.=HJ=K=FL9LAN=K 3.1

                                                    44
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                        




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

  .9;A9D<A>>=J=F;=KAF9;;=KK9F<GML;GE=KG>CA<F=QLJ9FKHD9FL9LAGF 3GJCK@GHGFE=<A;AF=9F<L@=
    KG;A9DK;A=F;=K 1FAN=JKALQG>@A;9?G *GN=E:=J 

  ,M:DA;KMHHGJL>GJH@QKA;A9F<=;=HLAGFG>AFKMJ9F;=;GEH9FA=K GMF;ADGF=L@A;9D9F<BM<A;A9D9>>9AJK 
    E=JA;9F)=<A;9DKKG;A9LAGF @A;9?G %( HJAD 

  0JML@9F<DA=K9J=L@=JMD=K<A>>=J=FL>GJD9OQ=JK,9F=D<AK;MKKAGF9LL@=E=JA;9F9JKKG;A9LAGF
    GF>=J=F;=GF,JG>=KKAGF9D.=KHGFKA:ADALQ )9Q 

  ,9LA=FL H@QKA;A9F;GEEMFA;9LAGF9:GMLGML G> HG;C=L;GKLK *GJL@O=KL=JF1FAN=JKALQ  =;=E:=J 

  ,9LA=FL H@QKA;A9F;GEEMFA;9LAGF9:GMLGML G> HG;C=L;GKLK ,JG?J9EAF)=<A;AF= JLK 9F<L@=/G;A9D
    /;A=F;=K 1FAN=JKALQG>@A;9?G "=: 

  ,9LA=FL H@QKA;A9F;GEEMFA;9LAGF9:GMLGML G> HG;C=L;GKLK ,JG?J9EAF)=<A;AF= JLK 9F<L@=/G;A9D
    /;A=F;=K 1FAN=JKALQG>@A;9?G "=:JM9JQ 

  %KHJ=K;JAHLAGF;@GA;=J9LAGF9DQO@GK=KL9F<9J<K,@9JE9;=MLA;9DAFFGN9LAGF9F<J=?MD9LAGF9F
    E=JA;9F<AD=EE9 "9;MDLQOGJCK@GH 1FAN=JKALQG>@A;9?G "=:JM9JQ 

  0@=<G;LGJ H9LA=FLJ=D9LAGFK@AHAFL@=HGKL E9F9?=<;9J==J9 E=JA;9F)=<A;9DKKG;A9LAGF @A;9?G 
    %( )9Q 

  *9LAGF9DLJ=F<KAFGP AF@A:ALGJMK=KAF;=E9JC=LJ=D=9K=L@=FGF K=D=;LAN=<A>>MKAGFG>9K=D=;LAN=DQ
    ;GKL =>>=;LAN=AFFGN9LAGF =FL=J>GJ,@9JE9;G=;GFGEA;K.=K=9J;@ 1FAN=JKALQG>%DDAFGAK/;@GGDG>
    ,@9JE9;Q &MDQ 

  ANAKAGFG>#=JA9LJA;K#J9F<.GMF<K 1FAN=JKALQG>@A;9?G$GKHAL9DK >J9E=OGJC>GJE=<A;9LAGF
    HJAGJALAR9LAGF9F<<AK;GFLAFM9LAGF  =;=E:=J 

  =H9JLE=FLG>)=<A;AF=#J9F<.GMF<K 1FAN=JKALQG>@A;9?G$GKHAL9DK ,@9JE9;=MLA;9DAFFGN9LAGF
    9F<L@=<G;LGJ H9LA=FLJ=D9LAGFK@AHMF<=JKL9F<AF?L@=<A>>MKAGFG>GP AF@A:ALGJK>JGE >==LLG
    L@=?JGMF<D=N=D "=:JM9JQ 

 AG=L@A;K%FL=J=KL#JGMH /LJAL;@/;@GGDG>)=<A;AF= (9QGD91FAN=JKALQ ,@QKA;A9F<=;=HLAGFG>
    AFKMJ9F;=;GEH9FA=K HJAD 

 )A<O=KL=FL=J>GJ$=9DL@/=JNA;=K9F<,GDA;Q.=K=9J;@ $AF=K2=L=J9FK>>9AJK/QKL=E $AF=K %( 
    0@=<A>>MKAGFG>H@9JE9;=MLA;9DAFFGN9LAGFAFL@=2=L=J9FK>>9AJK$=9DL@/QKL=E *GN=E:=J 
    
 E=JA;9F)=<A;9D/LM<=FLKKG;A9LAGF,9F=D AK;MKKAGF ,JALRC=J/;@GGDG>)=<A;AF= 1FAN=JKALQG>
    @A;9?G  AK;MKK=<JGD=G>AF<MKLJQAFH@QKA;A9F=<M;9LAGF9F<HJ=K;JA:AF? *GN=E:=J 
    
 AG=L@A;K%FL=J=KL#JGMH ,JALRC=J/;@GGDG>)=<A;AF= 1FAN=JKALQG>@A;9?G !EHAJA;=L@A;K   GJ   
    O@9L<GFME:=JK@9N=LG<GOAL@JA?@L9F<OJGF?"=:JM9JQ 
    

                                                       46
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 @A;9?G)=<A;9D/G;A=LQ ,9F=D<AK;MKKAGFGFE=<A;9D=L@A;K $GDA<9Q%FFV@A;9?G)9JL,D9R9 
    @A;9?G %( )9J;@ 
    
 !L@A;K<AFF=J<AK;MKKAGFOAL@KLM<=FLK>JGE,JALRC=J)=<A;9D/;@GGD 1FAN=JKALQG>@A;9?G )9Q 
    
 0@=JG9<D=KKLJ9N=D=<V;9J==JH9L@KAF?=F=J9DAFL=JF9DE=<A;AF= *9LAGF9D5GML@(=9<=JK@AH"GJMEGF
    )=<A;AF= @A;9?G %( &MF= 
    
 0@=1FAGF(=9?M= !L@A;K;GFKA<=J9LAGFKAFH9F<=EA;HD9FFAF? @A;9?G %( +;LG:=J 
    
 LL=FLAGF5GM@9N=BMKL=FL=J=<L@=;GKL K@9JAF?=J9=L@A;9D HGDA;Q 9F<;DAFA;9D;GFKA<=J9LAGFK 
      =H9JLE=FLG>)=<A;AF=.=K=9J;@/=JA=K  =;=E:=J 
    
 ,@9JE9;GL@AK9F<H@9JE9;GL@9L=PHDGJAF?LGHA;KAFH@9JE9;=MLA;9DJ=K=9J;@ 1FAN=JKALQG>@A;9?G
      ANAKAGFG>#=F=J9D)=<A;AF=+ML;GE=K#JGMH )9J;@ 
    
 0@AFCAF??DG:9DDQ 9;LAF?DG;9DDQ9@A;9?GD9F<;GDD9:GJ9LAGFLGMFJ9N=DL@=AEH9;LG>L@=)=<A;9J=
    ,J=K;JAHLAGF JM?=F=>AL 0,,@9JE9;=MLA;9DK @A;9?G)A<O=KL%/,+.)==LAF? HJAD 
    
 3@9L<G?=F=J9DAFL=JFAKLK<G 9F<O@Q*9LAGF9D5GML@(=9<=JK@AH"GJMEGF)=<A;AF= @A;9?G %( 
    &MF= 

 0@=:=KLG>LAE=K L@=OGJKLG>LAE=K;DAFA;9D<=;AKAGF E9CAF?9F<HJ=K;JAHLAGF;@GA;=AFL@=
    =FLMJQ  =H9JLE=FLG>+LGD9JQF?GDG?Q 1FAN=JKALQG>@A;9?G +;LG:=J 
    
 3@9L<GO=CFGO9:GML@=9DL@;9J=HJGNA<=JAFL=J9;LAGFOAL@L@=H@9JE9;=MLA;9DAF<MKLJQ1FAN=JKALQ
    G>%DDAFGAK)=<A;9D=FL=J9L@A;9?GDAFA;9D!L@A;KGF>=J=F;= )9J;@ 
    
 KCAF?L@=JA?@LIM=KLAGFK 9F<?=LLAF?>MF<=<LG<GKG 1FAN=JKALQG>%DDAFGAK9L@A;9?G<N9F;=<
    E=L@G<K9F<?J9FLOJALAF?OGJCK@GH )9J;@ 
    
 @9DD=F?=K9F<GHHGJLMFALA=K=P9EAFAF?L@=G>> D9:=DMK=G>HJ=K;JAHLAGFE=<A;AF=K %FKLALML=>GJ
    $=9DL@;9J=/LM<A=K *GJL@O=KL=JF1FAN=JKALQ @A;9?G %( )9Q 
    
 %EHJGNAF?H@9JE9;GL@=J9HQ<MJAF?GMLH9LA=FL;9J= ,JAE9JQ;9J=E=<A;AF=LG<9Q,.%)! 
    ;GF>=J=F;= .GK=EGFL %( "=:JM9JQ 
    
 @GGKAF?9J=K=9J;@IM=KLAGFL@=H=J=FFA9D<AD=EE9G>XO@9LK@9DD%KLM<QY)A<O=KL$GKHAL9DAKL
    )==LAF? @A;9?G %( +;LG:=J 

 GF>DA;LKG>AFL=J=KLAFE=<A;AF= ,JALRC=J/;@GGDG>)=<A;AF= 1FAN=JKALQG>@A;9?G )9Q 

 1KAF?KG;A9DF=LOGJCE=L@G<KLGKLM<QHJ=K;JAHLAGF<JM?MHL9C=9F<<A>>MKAGF  =H9JLE=FLG>$=9DL@
    /LM<A=K 1FAN=JKALQG>@A;9?G *GN=E:=J 

 )9F9?AF?JAKCL@JGM?@=L@A;9DHJ9;LA;= %/)%!)MLM9D%FKMJ9F;=GEH9FQ @A;9?G %( 

 +N=JNA=OG>DAFA;9D!HA<=EAGDG?Q AF"MF<9E=FL9DKG>!HA<=EAGDG?Q &G@FK$GHCAFK'JA=?=J/;@GGD
    G>JLK9F</;A=F;=K *GN=E:=J 

                                                     47
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 0@=,J=K;JAHLAGF+HAGA<!HA<=EA;%F/=9J;@G>)AKKAGFGFLJGD 
    • &G@FK$GHCAFK3=D;@=FL=J>GJ,J=N=FLAGF !HA<=EAGDG?Q9F<DAFA;9D.=K=9J;@#J9F<.GMF<K 
          =;=E:=J 
    • 1FAN=JKALQG>)9JQD9F< =H9JLE=FLG>,@9JE9;=MLA;9D$=9DL@/=JNA;=K.=K=9J;@ HJAD 
    • &G@FK$GHCAFK =H9JLE=FLG>)=<A;AF=+KD=J#J9F<.GMF<K +;LG:=J 
    • FF=JMF<=D)=<A;9D=FL=J =H9JLE=FLG>)=<A;AF=#J9F<.GMF<K &9FM9JQ 

  JM?K9F<?AF? AF!HA<=EAGDG?QG>?AF? &G@FK$GHCAFKDGGE:=J?/;@GGDG>,M:DA;$=9DL@ )9Q
     
    
 9J==J =N=DGHE=FL AF,M:DA;$=9DL@!;GFGEA;K/=EAF9J &G@FK$GHCAFKDGGE:=J?/;@GGDG>,M:DA;
    $=9DL@ /=HL=E:=J 
    
 0@=!>>=;LG>" .AKCGEEMFA;9LAGFKGF,9LA=FL ,JGNA<=J9F<"AJE=@9NAGJ &G@FK$GHCAFK
      =H9JLE=FLG>,KQ;@A9LJQ.=K=9J;@GF>=J=F;=  =;=E:=J 
    
 )9F9?AF?,J=K;JAHLAGF+HAGA<K%F3GJC=JKGEH=FK9LAGF,JG?J9EK E=JA;9F%FKMJ9F;=KKG;A9LAGF 
    39K@AF?LGF   &MF= 

 /=;GF<9JQ 9L9F9DQKAK #=F=J9D%FL=JF9D)=<A;AF="=DDGOKGF>=J=F;= &G@FK$GHCAFK)=<A;AF= 
    9DLAEGJ= ) /=HL=E:=J 

 =FL=J>GJ)=<A;9D0=;@FGDG?Q,GDA;Q)0, #J==F,9JCGDD9:GJ9LAN=FFM9D)==LAF? X.=9D
    3GJD<!NA<=F;=V =>AFAF?3@9LX#GG<Y(GGCK(AC=Y ,9F=D AK;MKKAGF HJAD 

 /9>=LQ !>>A;9;Q9F<,@9JE9;GCAF=LA;AG=IMAN9D=F;=G>AGKAEAD9J0*" \%F@A:ALGJKGEH9J=<OAL@
    L@=AJ.=>=J=F;=AGDG?A;K/QKL=E9LA;.=NA=O  =H9JLE=FLG>DAFA;9D,@9JE9;GDG?Q &G@FK$GHCAFK
    $GKHAL9D "=:JM9JQ 

 .=<M;AF?,J=K;JAHLAGF JM?/H=F<AF?.=NA=OG>,GDA;Q+HLAGFK &G@FK$GHCAFKDGGE:=J?/;@GGD
    G>,M:DA;$=9DL@ )9J;@ 

 '=QFGL= )9F9?AF?L@=1FE9F9?=9:D=.=AFAF?AFL@=+HAGA<!HA<=EA; 9J="AJKL 9DLAEGJ= 
    )9JQD9F< &MF= 

 )G<=J9LGJ !HA<=EAGDG?Q%F;DMKAGF  AN=JKALQ !IMALQ/;A=F;=!HA% !/ GEEMFA;9LAGFOAL@
    ,GDA;Q)9C=JK0@=+HAGA<!HA<=EA; ,9F=D AK;MKKAGF>=9LMJAF?(9MJ=F&==9F<E9F<9(9LAEGJ= 
    &G@FK$GHCAFKDGGE:=J?/;@GGDG>,M:DA;$=9DL@ 9DLAEGJ= )9JQD9F< &9FM9JQ

 .GMF<09:D=,9JLA;AH9FL *9LAGF9D=FL=J>GJ$=9DL@/L9LAKLA;K  9L9 AKK=EAF9LAGFG>*=O 9L9
    DA?FE=FLG>%F>J9KLJM;LMJ=%EHJGN=E=FLKGF+HAGA<1K=9F<+N=J<GK=OAL@.=K=9J;@=JKZ*==<K9F<
    %FL=J=KLK .G;CNADD= )9JQD9F< &MDQ 
    
 &G@FK$GHCAFK =H9JLE=FLG>,9L@GDG?Q/QEHGKAME 0@=+HAGA<!HA<=EA; 9DLAEGJ= )9JQD9F< 
    /=HL=E:=J

 &G@FK$GHCAFK =H9JLE=FLG>!HA<=EAGDG?Q ,ANGL9D0JA9DK>GJ"  HHJGN=<*GN=D0@=J9H=MLA;
    ?=FLK$GO#GG<AKL@=/;A=F;= 9F<3@9L G=K%LGKL9DLAEGJ= )9JQD9F< /=HL=E:=J
    

                                                    48
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,$('%(*', *',$('%


 ,9F=D<AK;MKKAGFG>AFL=J<AK;AHDAF9JQ@=9DL@HJG>=KKAGFK=<M;9LAGF +@AG(=9?M=G>*MJKAF?FFM9D
    )==LAF? D=N=D9F< +@AG +;LG:=J 
    
 #J9F<.GMF<K  =H9JLE=FLG>)=<A;AF= 1FAN=JKALQG>,=FFKQDN9FA9,@9JE9;=MLA;9DAF<MKLJQ
    KHGFKGJK@AHG>;GFLAFMAF?E=<A;9D=<M;9LAGFLJ9AFAF?H@QKA;A9FKGJE9JC=LAF?HJG<M;LK&MF= 
    
 ,9LA=FL H@QKA;A9F;GEEMFA;9LAGF9:GMLGML G> HG;C=L;GKLK 1FAN=JKALQG>)A;@A?9F &9FM9JQ 
    
 ,9LA=FL H@QKA;A9F;GEEMFA;9LAGF9:GMLGML G> HG;C=L;GKLK )=LJG$=9DL@)=<A;9D=FL=J &9FM9JQ
     
    
 X(MPMJQ;9J=Y HJG>=KKAGF9DKL9F<9J<K 9F<H=JKGF9D;@GA;==L@A;9D9F<HJG>=KKAGF9DAKKM=KAFJ=L9AF=J
    E=<A;9DHJ9;LA;=K ,9F=D<AK;MKKAGF9LL@=E=JA;9F/G;A=LQG>AG=L@A;K9F<$ME9FALA=KFFM9D
    )==LAF? +;LG:=J 
    
 <@G;H@9JE9;G=;GFGEA;KOGJCAF??JGMH KLJ96=F=;9(, ,9LA=FL H@QKA;A9F;GEEMFA;9LAGF9:GML
    GML G> HG;C=L;GKLK &MF= 
    
 $GOEM;@K@GMD<:ADDAGF:MQ0@=MHL9C=9F<AEH9;LG>L@=)=<A;9J=,9JL ,J=K;JAHLAGF=F=>AL 
      =H9JLE=FLG>)=<A;AF= 2=FL=J>GJ$=9DL@!IMALQ,JGEGLAGF9F<.=K=9J;@9F<1FAN=JKALQG>
    ,ALLK:MJ?@ =H9JLE=FLG>)=<A;AF=  =;=E:=J 
    
 0@=)=<A;9J=)G<=JFAR9LAGF;L,J=K;JAHLAGF JM?=F=>AL  =H9JLE=FLG>E:MD9LGJQ9J=9F<
    ,J=N=FLAGF $9JN9J<)=<A;9D/;@GGD &9FM9JQ 

 ,JAF;AHD=KG>KMJN=QJ=K=9J;@ ,9L9F;9<=EQG>$=9DL@/;A=F;=K '9L@E9F<M *=H9D HJAD 
    
 $=9DL@;9J=HM:DAK@AF?AFL@=H==J J=NA=O=<DAL=J9LMJ= ,9L9F;9<=EQG>$=9DL@/;A=F;=K '9L@E9F<M 
    *=H9D HJAD 

 %EH9;LG>" J=?MD9LGJQ9<NAKGJA=KGFH9LA=FL HJGNA<=J9F<>AJE:=@9NAGJ )9QGDAFA; HJAD
    2AJ?AFA9GEEGFO=9DL@1FAN=JKALQ +;LG:=J59D=1FAN=JKALQ *GN=E:=J&G@FK$GHCAFK
    1FAN=JKALQ/;@GGDG>)=<A;AF= *GN=E:=J&G@FK$GHCAFK1FAN=JKALQ/;@GGDG>,M:DA;$=9DL@ 
    &MF= 

 /H=;A9D#M=KL"! 1,.9DDQ>GJ9"=<=J9D.=KHGFK=LGL@=+HAGA<!HA<=EA; *9LAGF9D/QDN9F0@=9L=J
    /L9?=9LL@=39K@AF?LGF)GFME=FL 39K@AF?LGF  /=HL=E:=J 

 ,9F=DAKLJL9F</;A=F;=G>/;A=FLA>A;GEEMFA;9LAGFK %<N9FKL9J ,M:DA;9LAGF,D9FFAF?"GJME 
    ,@AD9<=DH@A9 ,  =;=E:=J 

 )/#J9F<.GMF<K0@=+HAGA<!HA<=EA; )/$=9<IM9JL=JK 9DLAEGJ= ) *GN=E:=J 

 ,9F=DAKL JM?/9>=LQ9F</MJN=ADD9F;= " )//MEEAL %%.%(A>=/;A=F;=K .ALR9JDLGF
    $GL=D 39K@AF?LGF   =;=E:=J 

 /H=;A9D#M=KL0@=+HAGA<!HA<=EA; E=JA;9F%FKMJ9F;=KKG;A9LAGF3GJC=JKZGEH=FK9LAGF
    GEEALL== 39K@AF?LGF  "=:JM9JQ 

                                                       49
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 /9>=LQ !>>A;9;Q9F<,@9JE9;GCAF=LA;AG=IMAN9D=F;=G>AGKAEAD9J0MEGJ*=;JGKAK"9;LGJ 9DH@9
    %F@A:ALGJKGEH9J=<OAL@L@=AJ.=>=J=F;=AGDG?A;K/QKL=E9LA;.=NA=O $9JN9J<,AD?JAE$=9DL@
    9J= )9J;@ 

 0@=+HAGA<!HA<=EA; &G@FK$GHCAFK =H9JLE=FLG>,@9JE9;Q#J9F<.GMF<K )9Q 

 #M=KL/H=9C=J%FFGN9LAGFKAF A9:=L=K9J= ;9<=EQG>)9F9?=<9J=,@9JE9;Q D=P9F<JA9 
    2AJ?AFA9 &MDQ 

 ,9F=DAKL*==<=<@9F?=KAF"=<=J9D,GDA;Q9F<(=?AKD9LAGFLG<<J=KK*9LAGFZK+HAGA<JAKAK 
    !<M;9LAGF9DJA=>AF?>GJGF?J=KKAGF9D)=E:=JK9F</L9>> 39K@AF?LGF   /=HL=E:=J 

 ,9F=DAKL9D9F;AF?+HAGA<;;=KK9F<1K= ;9<=EQG>)9F9?=<9J=,@9JE9;QFFM9D.=K=9J;@
    /QEHGKAME D=P9F<JA9 2AJ?AFA9 +;LG:=J 

 '=QFGL= F!NA<=F;= 9K=<HHJG9;@LGL@=+HAGA<!HA<=EA; *9LAGF9D;9<=EQ>GJ/L9L=$=9DL@
    ,GDA;Q ,ALLK:MJ?@ ,=FFKQDN9FA9 +;LG:=J 

 /H=;A9D#M=KL/H=9C=J /;A=F;= ,M:DA;$=9DL@9F<L@=,J=K;JAHLAGF+HAGA<%F<MKLJQ )GLD=Q.A;=(( 
    39K@AF?LGF   &MF= 

 #M=KL/H=9C=J +HAGA<,J=K;JA:AF?,J9;LA;=K DGGE:=J?,@AD9FL@JGHA=K &9FM9JQ 
    
 ,D=F9JQ/H=9C=J GFMF<JMEKAFAGL=;@FGDG?Q$GO G=K-M9DALQ%EH9;L/9>=LQ 3GJD<GF?J=KKG>
    AGH@9JE9;=MLA;9DK 39K@AF?LGF   "=:JM9JQ 

 /H=;A9D%FNAL=</H=9C=J XGN=JAF?L@=+HAGA<JAKAKY *9LAGF9D,J=KK"GMF<9LAGF 39K@AF?LGF   
    "=:JM9JQ 

 #M=KL,9F=DAKL X<<J=KKAF?,J=K;JAHLAGF JM?GKLKY &G@FK$GHCAFK9J=Q/;@GGDG>MKAF=KK JM?
    ;;=KKA:ADALQ9F<,JA;AF?/QEHGKAME 9DLAEGJ= ) )9J;@ 

 #M=KL,9F=DAKL X=KL,J9;LA;=KAF+HAGA<,J=K;JAHLAGF ,9AF)9F9?=E=FL )=<A;AF= KKAKL=<0J=9LE=FL
    9F<.=;GN=JQ*=O)G<=DKG>9J=>GJ+HAGA<1K= AKGJ<=JY )G<=JF$=9DL@;9J=+HAGA</QEHGKAME 
    9DLAEGJ= ) HJAD 

 %FNAL=</H=9C=J XGEH9J9LAN=/9>=LQG>*/% K9F<+HAGA<KEGF?$GKHAL9DAR=<,9LA=FLK9K=
    /LM<QY ,J=EA=JFFM9DJ=9CL@JGM?@KGF>=J=F;= *9K@NADD= 0* &MF= 

 #M=KL/H=9C=J *9LAGF9D#GN=JFGJZKKKG;A9LAGF +HAGA<GN=J9?=,GDA;Q.GMF<9:D= 39K@AF?LGF   
    &MF= 

 %FNAL=<,9F=DAKL *9LAGF9DD9;C9M;MK"GMF<9LAGF ,JGL=;LAF?L@=$=9DL@ /9>=LQ9F</=;MJALQG>
    >JA;9FE=JA;9FGEEMFALA=K $=9DL@9F<3=DDF=KK(MF;@=GF 39K@AF?LGF   /=HL=E:=J 

 /=KKAGF)G<=J9LGJ /L9L=(=?AKD9LAN=(=9<=JK"GMF<9LAGF/((" "9DD%KKM=K/MEEAL <<J=KKAF?L@=
    +HAGA<JAKAK 9DLAEGJ= ) /=HL=E:=J 




                                                    50
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 ,9F=DAKL X<<A;LAGF.=K=9J;@V3@9LAK*=O9F<3@9LAK%FL=J=KLAF?Y9F<X3@Q.=;GN=JQ.=K=9J;@
    )9LL=JK9F<3@Q.=KA<=FLK9F<DMEFA/@GMD<,9JLA;AH9L=Y +P>GJ<$GMK=3GJD<GFN=FLAGF 
    '9FK9KALQ )+ +;LG:=J 

 "9;ADAL9LGJ ;9<=EQG>)9F9?=<9J=,@9JE9;Q,9JLF=JK@AH"GJMEXMAD<AF?L@="GMF<9LAGF>GJ
    ,9LA=FL .=HGJL=<+ML;GE=K%F>J9KLJM;LMJ=9F<)=L@G<GDG?A=KY +JD9F<G "( *GN=E:=J 

 %FNAL=<,9F=DAKL *9LAGF9D;9<=EA=KG>/;A=F;= !F?AF==JAF?9F<)=<A;AF= X0@=.GD=G>
    *GFH@9JE9;GDG?A;9DHHJG9;@=KLG,9AF)9F9?=E=FL Y39K@AF?LGF    =;=E:=J 

 )=<A;AF=#J9F<.GMF<K 3=ADDGJF=DD)=<A;AF= X0@=+HAGA<!HA<=EA;#JA=>9F<$GH=AFL@=*=O
    5=9JY *=O5GJC *5 &9FM9JQ 
        
 %FNAL=<,9F=DAKL +HAGA<4*=OHHJG9;@=KLG<<J=KKAF?L@=+HAGA<JAKAK )%0/DG9F/;@GGDG>
    )9F9?=E=FL (9:GJ9LGJQ>GJ"AF9F;A9D!F?AF==JAF? GKLGF ) *GN=E:=J 
        
 %FNAL=<,9F=DAKL !D=;LJGFA;,J=K;JA:AF?G>GFLJGDD=</M:KL9F;=K!,/ E=JA;9F)=<A;9D
    %F>GJE9LA;KKKG;A9LAGF *GN=E:=J 
        
 %FNAL=<%FKLJM;LGJ ;9<=EQG>)9F9?=<9J=,@9JE9;Q), FFM9D)==LAF? !NA<=F;=:=@AF<
    +2% 0J=9LE=FLK9F<29;;AF=K )9J;@ 


  

#  9D=: D=P9F<=J  )  )/ AK 9 ,JG>=KKGJ G> !HA<=EAGDG?Q 9F< )=<A;AF= 9L &G@FK $GHCAFK DGGE:=J?
/;@GGD G> ,M:DA; $=9DL@  O@=J= @= K=JN=K 9K 9 >GMF<AF? ;G AJ=;LGJ G> L@= =FL=J >GJ JM? /9>=LQ 9F<
!>>=;LAN=F=KK 9F< ,JAF;AH9D %FN=KLA?9LGJ G> L@= &G@FK $GHCAFK =FL=J G> !P;=DD=F;= AF .=?MD9LGJQ /;A=F;=
9F< %FFGN9LAGF !./%  $= AK 9 HJ9;LA;AF? ?=F=J9D AFL=JFAKL 9F< H@9JE9;G=HA<=EAGDG?AKL 9F< AK
AFL=JF9LAGF9DDQJ=;G?FAR=<>GJ@AKJ=K=9J;@=P9EAFAF?HJ=K;JAHLAGF<JM?MLADAR9LAGF K9>=LQ9F<=>>=;LAN=F=KK 
  J  D=P9F<=J AK L@= 9ML@GJ G> GN=J  K;A=FLA>A; 9JLA;D=K 9F< :GGC ;@9HL=JK  E9FQ MKAF? HJAE9JQ GJ
K=;GF<9JQ<9L9LG;@9J9;L=JAR=L@==HA<=EAGDG?QG>HJ=K;JAHLAGFGHAGA<MK=AFL@=1FAL=</L9L=K9KO=DD9KLG
=N9DM9L=L@==>>=;LG>>=<=J9D9F<KL9L=J=?MD9LGJQ9F<H9QE=FLHGDA;A=KGFGHAGA<HJ=K;JA:AF? <AKH=FKAF?9F<
MLADAR9LAGF $=@9K=PL=FKAN==PH=JA=F;=<AKK=EAF9LAF?L@=K=>AF<AF?KLG:GL@HJG>=KKAGF9D9F<D9Q9M<A=F;=K
9F<@9KL=KLA>A=<AF>JGFLG>:GL@L@=1 / $GMK=G>.=HJ=K=FL9LAN=K9F<L@=1 / /=F9L=J=?9J<AF?@AKL=9EZK
OGJC  $= AK 9DKG GF= G> L@J== =<ALGJK G> 9 OA<=DQ ;AL=< EGFG?J9H@ HJG<M;=< :Q L@= &G@FK $GHCAFK
DGGE:=J? /;@GGD G> ,M:DA; $=9DL@ L@9L @9K HJGNA<=< ;GEHJ=@=FKAN= 9F< ;GF;J=L=  =NA<=F;= :9K=<
J=;GEE=F<9LAGFK>GJ9<<J=KKAF?L@=GHAGA<=HA<=EA;  J D=P9F<=JJ=;=AN=<@AK  ;MED9M<=>JGEL@=
1FAN=JKALQG>,=FFKQDN9FA9 9F) >JGE9K=3=KL=JF.=K=JN=1FAN=JKALQ 9F<9)9KL=JG>/;A=F;=>JGE
L@=1FAN=JKALQG>@A;9?G 


" 

,@9JE9;G=HA<=EAGDG?Q H@9JE9;=MLA;9DHGDA;Q J=?MD9LAGF AFL=JF9DE=<A;AF= GHAGA<K GHAGA<MK=<AKGJ<=J

                                                         51
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     Abatement Plan for Addressing the Opioid Crisis in Lake County and Trumbull County



                   Expert Witness Report of G. Caleb Alexander, MD, MS



                         Appendix C: Expert Witness Engagements




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 State of Washington v. McKesson Corp. et al., Case No. 19-2-06975-9
 Washington Superior Court, King County
     Testimony regarding abatement
     Report submitted January 20, 2021

 People of California, acting by and through Santa Clara County et al. v. Purdue Pharma L.P. et
 al., Case No. 30-2014-00725287-CU-BT-CXC
 California Superior Court, Orange County
      Testimony regarding abatement
      Deposed on February 16, 2021
      Report submitted November 13, 2020

 In re: National Prescription Opiate Litigation, Case No. 1:17-MD-2804
 U.S. District Court for the Northern District of Ohio
     Second bellwether trial track involving Cabell County and City of Huntington, West Virginia
     Testimony regarding abatement
     Deposed on September 20, 2020
     Report submitted August 3, 2020

 Tucson Medical Center v. Purdue Pharma L.P. et al., Case No. C20184213
 Arizona Superior Court, Pima County
    Testimony regarding abatement
    Report submitted August 10, 2020

 State of Montana v. Purdue Pharma L.P. et al., Case No. 1:17-md02804
 Montana First Judicial District Court, Lewis & Clark County
     Disclosed; no testimony given

 State of Washington v. Purdue Pharma L.P. et al., Case No. 17-2-255055-0 SEA
 Washington Superior Court, King County
     Testimony regarding abatement
     Report submitted July 8, 2019




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 In re: National Prescription Opiate Litigation, Case No. 1:17-MD-2804
 U.S. District Court for the Northern District of Ohio
     First bellwether trial track involving Cuyahoga County and Summit County, Ohio
     Testimony regarding abatement
     Deposed on April 26, 2019
     Report submitted March 25, 2019
     Supplemental Report submitted April 3, 2019




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                                                                                                                        Materials Relied Upon - Report


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       :/;/53:3;A /;2 ?7@8 :7A75/A7<; =?<5?/:@ D7A67; A63 =6/?:/13BA71/9 @B==9F 16/7; #;3
       :3A6<2 A< 723;A74F @B16 6756?7@8 B@3 7@ A6?<B56 A63 /==971/A7<; <4 I7;271/A<?@J A6/A :3?7A
       4B?A63? 7;>B7?F /;2 A6/A /?3 0/@32 <; =/AA3?;@ <4 =6/?:/13BA71/9 27@A?70BA7<; 27@=3;@7;5
       =?3@1?707;5 <? BA797G/A7<;   ?3C73D32 A63 =<?A7<; <4 /?:3; /A7G<;3K@ E=3?A &3=<?A 7;
       D6716 63 723;A7473@ 7;271/A<?@ A6/A /?3 A?7553?32 0/@32 <; 7;4<?:/A7<; /0<BA =?3@1?7=A7<;@
       =/A73;A@ /;2 =?3@1?703?@ /;2 D6716 6/C3 033; ?31<5;7G32 0F 343;2/;A@ /;2<? 9/D
       3;4<?13:3;A(63@37;271/A<?@/?397@A327;(/093 039<D@23@1?70327;A67@/==3;27E
       A63@3AF=3@<47;271/A<?@?39F<;/;3EA3;@7C33C723;130/@3A6/A97;8@A63:D7A6/;7;1?3/@32
       ?7@8<4<=7<72?39/A32/2C3?@33C3;A@7;19B27;5/2271A7<;<C3?2<@3/;223/A6(63@37;271/A<?@
       6/C3033;<?1/;03B@32A<:/;/53/;27:=?<C3A63@/43AF/;2>B/97AF<463/9A61/?32397C3?F

      ?3>B3;1F 2<@3 /;2 2B?/A7<; '<:3 7;271/A<?@ 1/=AB?3 =<A3;A7/99F 7;/==?<=?7/A3 <? I6756
       ?7@8J <=7<72 =?3@1?707;5 E/:=93@ <4 @B16 7;271/A<?@ 7;19B23 A6<@3 A?7553?32 0/@32 <;
       4?3>B3;1F<4<=7<724799@C<9B:3<4<=7<72@<?1<;A?<9932@B0@A/;13@=?3@1?70326756:<?=67;3
       :79975?/:3>B7C/93;A@!!=3?2/F/;2<=7<722B?/A7<;:3/@B?327;2/F@K@B==9F 
       67563?4?3>B3;1F<4<=7<724799@:/F03/;7;271/A<?4<?<=7<72:7@B@323=3;23;13<?=/7;
       1<;A?<9A6/A:/F0303AA3?:/;/5320F;<;<=7<72A?3/A:3;A/;2D/??/;A@=?3@1?703?4<99<D
       B=  227A7<;/99F / 67563? 4?3>B3;1F <4 <=7<72 4799@ :/F ?3@B9A 7; / 5?3/A3? 9783976<<2 <4
       <C3?9/==7;5 2/F@K @B==9F /;2 67563? !! =3? =/A73;A ?7A3?7/ 0/@32 <; <=7<72 2<@3 /;2
       2B?/A7<;/?3/9@<7:=<?A/;A031/B@3A63?37@/;B;3>B7C<1/92<@3?3@=<;@3/@@<17/A7<;03AD33;
       <=7<722<@3/;22B?/A7<;/;2<=7<72?39/A32:<?0727AF/;2:<?A/97AF  <?3E/:=93
       7;/@AB2F<4!3271/?303;34717/?73@4?<:         A<       A6<@3D6<6/2<=7<72=?3@1?7=A7<;@
       A6/A @B::32 A<        2/F@ D7A67; /  2/F =3?7<2 6/2 / A7:3@ 67563? ?7@8 <4 <=7<72
       <C3?2<@3?39/A7C3A<=/A73;A@A?3/A32D7A6<=7<72@D6<272;<A6/C3/@B?=9B@<42/F@K@B==9F
       '7:79/?9F7;/;/;/9F@7@<47;27C72B/9@D7A616?<;71=/7;D7A6<BA@B0@A/;13B@327@<?23?A6<@3
       A?3/A32D7A69<;5/1A7;5<=7<72@6/2/A93/@A/A6?334<9267563??/A3<4B;7;A3;A7<;/9<C3?2<@3
       1<:=/?32A<A6<@3A?3/A32D7A6;<;<=7<72=6/?:/1<9<571A?3/A:3;A@  /;/9F@7@B@7;5
       !/?F9/;2K@$?3@1?7=A7<;?B5!<;7A<?7;5$?<5?/:$!$4<B;2=/A73;A@A?3/A32D7A6H
       !! =3? 2/F 6/2 ;3/?9F AD<A7:3@ 67563? ?7@8 <4 4/A/9 <=7<72 <C3?2<@3 A6/; A6<@3 D6<
       ?3137C32 !!=3?2/FA63/;/9F@7@/9@<723;A74732AD<A7:3@67563?<22@<4<C3?2<@3
       /:<;57;27C72B/9@?3137C7;5  @6<?A/1A7;5<=7<724799@7;@7E:<;A6@/;2A6?33A7:3@67563?
       <22@ <4 <C3?2<@3 /:<;5 7;27C72B/9@ ?3137C7;5  <? :<?3 @6<?A/1A7;5 <=7<72 4799@ 7; @7E
       :<;A6@ !<?3<C3?/;/;/9F@7@<4!/@@/16B@3AA@K$!$2/A/4?<:                   A<     4<B;2A6/A
       =/A73;A@D6<?3137C32H        !!4<?A6?33<?:<?3:<;A6@6/2@7EA7:3@67563??7@8<44/A/9
       <=7<72 <C3?2<@3 A6/; A637? 1<B;A3?=/?A@  7;/99F / 9<;57AB27;/9 =?<@=31A7C3 1<6<?A @AB2F
       4?<:      A<     4<B;2A6/A=?7<??3137=A<467562<@3<=7<72=?3@1?7=A7<;@H !!=3?
       2/F D/@ /@@<17/A32 D7A6 A7:3@ 67563? ?7@8 <4 @B0@3>B3;A 63?<7; B@3 1<:=/?32 A<
       =/?A717=/;A@D6<272;<A?3137C367562<@3=?3@1?7=A7<;<=7<72@

      <;1<:7A/;A=?3@1?7=A7<;@(631<;1<:7A/;AB@3<4<=7<72@D7A6<A63?1<;A?<9932@B0@A/;13@
       @B16/@03;G<27/G3=7;3@/;2<A63?@32/A7C3@6/@9<;5033;8;<D;A<@75;7471/;A9F7;1?3/@3
       A63 ?7@8 <4 ?3@=7?/A<?F 23=?3@@7<; /;2 7@ 1/BA7<;32 /5/7;@A 0F A63 )' <<2 /;2 ?B5
       2:7;7@A?/A7<; A63 3;A3?@ 4<? 7@3/@3 <;A?<9 /;2 $?3C3;A7<; /;2 <A63? /BA6<?7A/A7C3

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                        
     


                                                                                                          $/53 <4        
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    0<273@ /A//;2@F@A3:@93C39/==?</163@A<723;A74FA63?7@8<427443?3;AAF=3@<4
    <=7<72@/;21<;1B??3;AB@3<4<=7<72@D7A6:3271/A7<;@@B16/@03;G<27/G3=7;3@6/C3033;
    /C/79/093 A< A63 63/9A61/?3 @31A<? 4<? 231/23@   ;     <4 =?3@1?7=A7<; <=7<72
    <C3?2<@323/A6@7;A63);7A32'A/A3@)'7;C<9C3203;G<27/G3=7;3@0F A63=?3C/93;13
    <4 03;G<27/G3=7;3 1<7;C<9C3:3;A /:<;5 =?3@1?7=A7<; <=7<72 <C3?2<@3 23/A6@ 7;1?3/@32 A<
         @AB2FB@7;5!/?F9/;2K@$!$2/A/4<B;2A6/A=/A73;A@A?3/A32D7A6<=7<72@D6<
    ?3137C32AD<<?:<?303;G<27/G3=7;34799@D7A67;@7E:<;A6@6/2<C3?A6?33A7:3@5?3/A3?<22@
    <44/A/9<=7<72<C3?2<@3/;2@3=/?/A39F799717A<=7<72<C3?2<@31<:=/?32A<=/A73;A@D6<272
    ;<A?3137C303;G<27/G3=7;3@7;27C72B/9@D7A6/A93/@A<;3:B@193?39/E/;A47996/2<C3?AD<
    A7:3@5?3/A3?<22@<4<=7<72<C3?2<@31<:=/?32A<A6<@3D6<272;<A?3137C3:B@193?39/E3?@
    ;<A63? @AB2F 4<B;2 A6/A 7;27C72B/9@ D6< ?3137C32 <C3?9/==7;5 <=7<72 /;2 03;G<27/G3=7;3
    =?3@1?7=A7<;@<C3?A6?33:<;A6@6/2AD<A7:3@67563??7@8<4;<;4/A/9<=7<72<C3?2<@3/;2
    @3C3;A7:3@ 67563? ?7@8 <4 4/A/9 <=7<72 <C3?2<@3 1<:=/?32 A< =/A73;A@ D6< 272 ;<A ?3137C3
    03;G<27/G3=7;3@;/227A7<;A</;7;1?3/@32?7@8<4<C3?2<@3A631<;1<:7A/;AB@3<4<=7<72@
    /;2<A63?1<;A?<9932@B0@A/;13@:/F/9@<7;271/A3;<;:3271/9B@3

   $?3@1?703?/1A7C7AF!B9A7=93=?3@1?7=A7<;@D?7AA3;0F/@7;593=?3@1?703?4<?A63@/:3<=7<72
    2<@3/;22B?/A7<;:/F/9@<03/@@<17/A32D7A6<=7<72;<;:3271/9B@3/;227C3?@7<;(67@
    036/C7<?:/F03/@@<17/A32D7A6D6/A6/C3033;1<99<>B7/99FA3?:32I=799:799@J<?9<1/A7<;@
    D63?3 A63 =?3@1?707;5 <4 9/?53 >B/;A7A73@ <4 1<;A?<9932 @B0@A/;13@ <BA@723 <4 A63 @1<=3 <4
    @A/;2/?2 :3271/9 =?/1A713 A/83@ =9/13 ?/182<D;@ <; I=799 :799@J ?3137C32 @B0@A/;A7/9
    :327/ /AA3;A7<; /;2 ?3@B9A32 7; 7;1?3/@32 @1?BA7;F /;2 ?B5 ;4<?13:3;A 2:7;7@A?/A7<;
    ?35B9/A7<;@@B??<B;27;5A63=?3@1?707;5<4<=7<72@/;2<A63?1<;A?<9932@B0@A/;13@7;
    A63 9/A3    @ /;2 3/?9F      @ <D3C3? /@ D7A6 I<=7<72 @6<==7;5J A67@ 036/C7<? /;2
    27C3?@7<; ?3=?3@3;A / @:/99 =?<=<?A7<; <4 =?<C723?@ A6/A =?3@1?703 <=7<72@ /;2 =/A73;A@ A6/A
    ?3137C3<=7<72@

  <;C3?@39F=/A73;A@A6/A6/C3=?3@1?7=A7<;@4<?1<;A?<9932@B0@A/;13@4?<::B9A7=93=?<C723?@
    :/F 03 /; 7;271/A7<; <4 ;<;:3271/9 B@3 /;2 6/@ 033; ?343??32 A< 0F @<:3 /@ I2<1A<?
    @6<==7;5J<?I<=7<72@6<==7;5J+7A67;A6397A3?/AB?37A7@1<::<;A<B@31BA<44@<4H <?H
    27443?3;A=?3@1?703?@4<?1<;A?<9932@B0@A/;13@D7A67;/@=317471A7:34?/:3@B16/@A6?33<?@7E
    :<;A6@/@/=<A3;A7/97;271/A<?<4:7@B@3   ;/;/9F@7@<4!3271/?303;34717/?73@D6<
    D3?3 A?3/A32 D7A6 <=7<72@ 03AD33;      /;2       4<B;2 A6/A A6<@3 D6< ?3137C32 <=7<72
    =?3@1?7=A7<;@4?<:47C3<?:<?3=?3@1?703?@6/2<C3?/4<B?A7:3@67563??7@8<4<=7<72<C3?2<@3
    1<:=/?32A<A637?1<B;A3?=/?A@D7A643D3?=?3@1?703?@

  "B:03?<4=6/?:/173@B@327997;5=?3@1?7=A7<;@/A/@7;593=6/?:/1F=?<:<A3@1<;A7;B7AF<4
    1/?3/@D399/@5?3/A3?@B=3?C7@7<;/;2:<;7A<?7;5<4/;7;27C72B/9K@=?3@1?7=A7<;@@AB2F<4
    !/@@/16B@3AA@K$!$2/A/4?<: A<         4<B;2A6/A;3/?9F <4=/A73;A@B@32<;9F
    <;3=6/?:/1F/;2A6?33<?43D3?=?3@1?703?@4<?A637?1<;A?<9932@B0@A/;13@F1<;A?/@AA63
    ?7@8<4=<A3;A7/9<=7<72:7@B@327C3?@7<;/;2<C3?2<@3<4A3;7;1?3/@3@D7A6A63;B:03?<4
    =6/?:/173@B@32<?3E/:=937;/9<;57AB27;/9:B9A7@A/A31<6<?A<4!3271/723;?<9933@A63
    B@3<4:B9A7=93=6/?:/173@D/@/@@<17/A32D7A6@75;7471/;A9F393C/A32?7@8<4<=7<72<C3?2<@3
    1<:=/?32 A< 7;27C72B/9@ B@7;5 <;3 =6/?:/1F /9<;3 /4A3? /11<B;A7;5 4<? 2<@3 93C39
    23:<5?/=67116/?/1A3?7@A71@/;2=?33E7@A7;567@A<?F<4/2271A7C3036/C7<?@'7:79/?9F7;/;
    /;/9F@7@<463/9A67;@B?/;1319/7:@6/C7;54<B?<?:<?3=6/?:/173@4<?A63@/:32?B5D/@



                                                                                              $/53 <4   
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     /@@<17/A32D7A67;1?3/@32<=7<72:7@B@31/@31<;A?<9@AB2FB@7;5$!$2/A/4?<:+3@A
     *7?57;7/4<B;2A6/A7;27C72B/9@D7A62?B5?39/A3223/A6D3?3 A7:3@:<?397839FA<C7@7A4<B?
     <?:<?3=6/?:/173@D7A67;A63@7E:<;A6@=?7<?A<A637?23/A61<:=/?32A</5?<B=<4@7:79/?
     7;27C72B/9@D6<272;<A273;<A63?@AB2F4<B;2A6/A=/A73;A@D6<479932A637?<=7<72@/A4<B?
     <?:<?3=6/?:/173@D7A67;A6?33:<;A6@6/2AD<A7:3@67563??7@8<4;<;4/A/9<=7<72<C3?2<@3
     /;2;3/?9F47C3A7:3@67563??7@8<44/A/9<=7<72<C3?2<@3,3A/;<A63?/;/9F@7@<47;27C72B/9@
     A?3/A32D7A6<=7<72@03AD33;     /;2       4<B;2A6/AA6<@3D6<<0A/7;32<=7<72@4?<:47C3
     <?:<?3=6/?:/173@6/2A7:3@67563??7@8<4<=7<72<C3?2<@31<:=/?32A<A6<@3D6<B@32
     43D3?A6/;47C3=6/?:/173@ (63@3@AB273@@B==<?A:/;F<A63?@23:<;@A?/A7;5A6/AA63B@3<4
     :B9A7=93=6/?:/173@7@/;7;23=3;23;A?7@84/1A<?4<?<=7<72:7@B@3  ;<;4/A/9<C3?2<@3 
     /;223/A6

  7@A/;13A?/C3932#A63?7;271/A<?@:/F030/@32<;A6327@A/;13A6/A7;27C72B/9@6/C3A?/C3932
    A< <0A/7; <? 4799=?3@1?7=A7<; <=7<72@;27C72B/9@:/F B@3 :B9A7=93 =?<C723?@ <? =6/?:/173@
    4B?A63?4?<:A637?6<:3@7;<?23?A</113@@=?<C723?@D7A6/5?3/A3?D7997;5;3@@A<=?3@1?703
    1<;A?<9932 @B0@A/;13@ <? A< 3C/23 23A31A7<; <4 :7@B@3 <? 27C3?@7<; ; :<;A6
    ?3A?<@=31A7C3 1<6<?A @AB2F 7;       B@7;5 / 9/?53 )' =?3@1?7=A7<; 2/A/0/@3 23A3?:7;32 A6/A
    I<=7<72 @6<==7;5J 2347;32 /@ A63 <C3?9/==7;5 @B==9F <4 <=7<72@ D?7AA3; 0F :<?3 A6/; <;3
    =?3@1?703? /A A6?33 <? :<?3 =6/?:/173@ D/@ /@@<17/A32 D7A6 @75;7471/;A9F 5?3/A3? 27@A/;13
    A?/C3932"3/?9F<;37;47C3I@6<==3?@J/;2;3/?9F<;37;4<B?I63/CF@6<==3?@J7;27C72B/9@
    D7A647C3<?:<?3I@6<==7;5J3=7@<23@A?/C3932A<AD<<?:<?3@A/A3@(63@AB2F4<B;2A6/A
    43D3?A6/;<;37;AD3;AFI;<;@6<==3?@JA?/C3932A<AD<<?:<?3@A/A3@4<?=?3@1?7=A7<;@(63
    :327/; <4 A63 :/E7:B: 27@A/;13 A6/A I@6<==3?@J /;2 I63/CF @6<==3?@J A?/C3932 D/@ 
    :793@ 7;A3?>B/?A793 ?/;53 -%&.    /;2   :793@ %&   ?3@=31A7C39F ;
    1<;A?/@AI;<;@6<==3?@JA?/C3932/:327/;<4  :793@%&  '7:79/?9F/                  
    /;/9F@7@ <4 ?8/;@/@ $!$ 2/A/ 16/?/1A3?7G32 7;27C72B/9@ D7A6 /0<C3 /C3?/53 =/A73;AA<
    =?3@1?703?A?/C39D63?37;=/A73;A@0F=/@@;3/?0F=?3@1?703?@7;4/C<?<4:<?327@A/;A<;3@'B16
    7;27C72B/9@ D3?3 /@@<17/A32 D7A6 6756?7@8 <=7<72 B@3 @B16 /@ 1<;1<:7A/;A 03;G<27/G3=7;3
    <=7<72B@3<?A63B@3<4H !!=3?2/F'3=/?/A39F/;/;/9F@7@<4!3271/?303;34717/?73@
    A?3/A32D7A6<=7<72@03AD33; /;2               4<B;2A6/AA6<@3D7A6/;<BA<4@A/A3=?3@1?703?<?
    =6/?:/1F ?3@=31A7C39F 6/2   /;2 A7:3@ 67563? ?7@8 <4 <=7<72 <C3?2<@3 1<:=/?32 A<
    A6<@3D6<272;<AA?/C39<BA<4@A/A3

  /?9F ?34799@ /?9F ?34799@ <4 <=7<72@ 6/C3 9<;5 033; ?31<5;7G32 /@ /; 7;271/A<? 4<? <=7<72
    :7@B@3/;227C3?@7<;   ;/;/9F@7@<4A631<::3?17/99F7;@B?327;!/7;3@B553@A32A6/A
    A6<@3 D7A6 3/?9F <=7<72 ?34799@ 6/2 :<?3 A6/; A6?33A7:3@ 5?3/A3? <22@ <4 <=7<72 :7@B@3
    1<:=/?32D7A6A637?1<B;A3?=/?A@  /;/9F@7@B@7;5/99=/F3?27@=3;@7;52/A//;2D6716
    2347;323/?9F?34799@/@/?34799<11B??7;5/A93/@A47C32/F@034<?3A633;2<4A637;7A7/92/F@K
    @B==9F4<B;2A6/A/:<;5=/A73;A@D6<?3137C32/A93/@AAD<<=7<72=?3@1?7=A7<;@6/2/;
    3/?9F<=7<72?34799/;2  6/2AD<<?:<?33/?9F?34799@7;<;3F3/? 

  !3A6<2<4=/F:3;A/@6=/F:3;A4<?=?3@1?7=A7<;@23@=7A363/9A67;@B?/;131<C3?/536/@
    /9@<033;/@@<17/A32D7A6<=7<7227C3?@7<; /;24/A/9/;2;<;4/A/9<=7<72<C3?2<@3@; 
    :<;A6/;/9F@7@<4 9<;57AB27;/9/99=/F3?=6/?:/1F19/7:@4<B;2A6/A;3/?9F6/94 
    <47;27C72B/9@D7A6I<=7<72@6<==7;5J036/C7<?=/727;1/@61<:=/?32A<<;37;47C3 
    7;27C72B/9@D7A6<BA@B16036/C7<? ;/4<99<DB=@AB2F7;27C72B/9@=/F7;51/@6/9@<6/2



                                                                                               $/53 <4    
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    5?3/A3? <22@ <4 ;<;:3271/9 <=7<72 B@3 A6/; A637? !3271/?3 <? 1<::3?17/99F 7;@B?32
    1<B;A3?=/?A@ 227A7<;/99F/@AB2F<4$!$2/A/4?<:      A< 4<B;2A6/A=/A73;A@D6<
    479932<=7<72@/;26/2A6?33<?:<?31/@6=/F:3;A@4<?:3271/A7<;@7;A6?33:<;A6@6/2/ 
    67563??/A3<4;<;4/A/9<=7<72<C3?2<@3/;2  67563??/A3<44/A/9<=7<72<C3?2<@3 

    &<93 <4 =6/?:/173@ /;2 =6/?:/17@A@ 7; /22?3@@7;5 A63 <=7<72 3=723:71 $6/?:/173@ /;2
     =6/?:/17@A@ =9/F /; 7:=<?A/;A ?<93 7; /22?3@@7;5 A63 <=7<72 3=723:71 57C3; A637? =<@7A7<;
     D7A67;A63=6/?:/13BA71/9@B==9F16/7;/;24/13A<4/137;A3?/1A7<;@D7A6=/A73;A@7?@A/;2
     4<?3:<@A=6/?:/173@/;2=6/?:/17@A@@6<B924<99<DB=<;7;271/A<?@<4<=7<72:7@B@3@7;13
     A63F6/C3A63/BA6<?7AFA<?34B@3=?3@1?7=A7<;4799@<?A<5/A63?4B?A63?7;4<?:/A7<;@</@A</99<D
     4<?A6327@=3;@7;5<41<;A?<9932@B0@A/;13@B;23?A63@/43@A1<;27A7<;@=<@@7093 $6/?:/173@
     /;2=/?A71B9/?9F=6/?:/17@A@/?3/9@<723/9=<7;A@4<?=/A73;A32B1/A7<;/;2<BA?3/16<;A63
     ?7@8@<4<C3?2<@3 /;2A<7:=93:3;A=?<5?/:@4<?@1?33;7;5/;2?343??/9@A<#)A?3/A:3;A
     $6/?:/173@/?3/9@<D399=<@7A7<;32A<7:=93:3;A2?B527@=<@/9<?23/1A7C/A7<;=/183A@4<?
     7;27C72B/9@ 47997;5 =?3@1?7=A7<;@ 4<? 1<;A?<9932 @B0@A/;13@ @33 /9@< '31A7<;  <4 E=3?A
     &3=<?A /@D399/@6/?:?32B1A7<;7;7A7/A7C3@@B16/@;/9<E<;3=?3@1?707;5/;227@=3;@7;5
     @33 /9@< '31A7<;  <4 E=3?A &3=<?A     <D3C3? =6/?:/17@A@ ?3=<?A A6/A A7:3
     1<;@A?/7;A@A6/A?3@B9A4?<:<?5/;7G/A7<;/9=<97173@@B16/@A6<@3A6/A/?7@34?<:7;@B447173;A
     @A/447;5 <? A7:3 ?3>B7?3:3;A@ 4<? 47997;5 / =?3@1?7=A7<; 67;23? A637? ?3C73D <4 1<;13?;7;5
     =/A73;A036/C7<?<?=?3@1?707;5=?/1A713@  




                                                                                              $/53<4   
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         '3931AE/:=93@<4$<A3;A7/9;271/A<?@A<'/435B/?2A63$6/?:/13BA71/9'B==9F6/7;

                
     ?3>B3;1F       • /?53<=7<72=?3@1?7=A7<;C<9B:335H !!=3?2/F
     <@3/;2        • '3C3?/9 9<;5 <? @6<?A/1A7;5 <=7<72 =?3@1?7=A7<;@ D7A67; / A6?33 <? @7E
     B?/A7<;           :<;A6D7;2<D
                       • B:B9/A7C32/F@K@B==9FD7A67;/A6?33<?@7E:<;A6D7;2<D

     <;1<:7A/;A      • <:07;/A7<;@<4<=7<72@03;G<27/G3=7;3@<?<A63?@32/A7C3@/;2:B@193
     $?3@1?7=A7<;@      ?39/E/;A@4?<:<;3<?:<?3=?<C723?
                       • <;1<:7A/;A4799@<4@6<?A<?9<;5/1A7;5<=7<72=?3@1?7=A7<;@

     $?3@1?703?       • )@3<4:B9A7=93=?3@1?703?@35H H4<?1<;A?<9932@B0@A/;13@D7A67;/
     1A7C7AF           A6?33<?@7E:<;A6D7;2<D
                       • !B9A7=937;27C72B/9@6/C3=?3@1?7=A7<;@4?<:/@7;593=?3@1?703?<;A63@/:3
                         2/F<?D7A67;/@7;593D338D7A6A634<99<D7;516/?/1A3?7@A71@
                            o '7;593AF=3<4<=7<72@356F2?<1<2<;3@6<?A/1A7;5<=7<72@9<;5
                                /1A7;5<=7<72@
                            o '/:32<@3
                            o '/:32B?/A7<;
                            o /@6=/F:3;A

     "B:03?<4        • )@3<4:B9A7=93=6/?:/173@A<47991<;1B??3;A=?3@1?7=A7<;@<4
     $6/?:/173@            o #=7<72@3527443?3;A4<?:B9/A7<;@@6<?A/1A7;59<;5/1A7;5
     )@32                  o #=7<72@ D7A6 <A63? 1<;A?<9932 @B0@A/;13@ 35 03;G<27/G3=7;3
                                @32/A7C3<?:B@193?39/E3?
                       • $6/?:/173@:/F034B?A63?19/@@747320F=6/?:/1FAF=33516/7;-@/:3
                         =/?3;A27443?3;A=/?3;A.7;23=3;23;A:/@@:3?16/;27G3?

     7@A/;13         • ;27C72B/9 97C3@ @75;7471/;A 27@A/;13 4?<: =?<C723? 7@@B7;5 <=7<72
     (?/C3932           =?3@1?7=A7<;/;2<?=6/?:/1FD63?3A63=?3@1?7=A7<;7@479932
                       • $?<C723?7@@B7;5<=7<72=?3@1?7=A7<;7@9<1/A327;/27443?3;A@A/A3<?1<B;AF
                         4?<:A63=6/?:/1F27@=3;@7;5

     /?9F&34799@    • /?9F ?34799 ?3>B3@A@ 4<? <=7<72@ <? 1<;1B??3;A 4799@ <4 <=7<72@ /;2 <A63?
                         1<;A?<9932@B0@A/;13@

     !3A6<2<4        • ;27C72B/9@D7A616?<;71=/7;<?=?7<?<=7<724799@=/F7;5D7A61/@6
     $/F:3;A          • ;27C72B/9@ =/F7;5 4<? 1<;A?<9932 @B0@A/;13@ D7A6 1/@6 23@=7A3 6/C7;5
                         63/9A67;@B?/;131<C3?/53

 :<?=67;3:79975?/:3>B7C/93;A

 
                    
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                                                                                                  $/53<4       
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 
  $2E:@?2=DD@4:2E:@?@7@2C5D@7&92C>24J$&)E2<69@=56CD(6=62D6@?D6?DFD@4F>6?E@?E96
 92==6?86D2?5N(65=28O-2C?:?8):8?D(6=2E65E@&C6D4C:3:?82?5:DA6?D:?8@?EC@==65)F3DE2?46D
 &F3=:D965 G2:=23=62E9EEAD ?23AA92C>24J ?6HD ?6HDC6=62D6D ?23ADE2<69@=56CDC6=62D6
 4@?D6?DFD5@4F>6?E@?E96492==6?86D2?5C657=28H2C?:?8D:8?DC6=2E65E@AC6D4C:3:?82?5
 5:DA6?D:?84@?EC@==65DF3DE2?46D 446DD65#2C49      
 
  +)6A2CE>6?E@7 FDE:46656C2=(68:DE6C,@=$@ &F3=:D965   G2:=23=62E
 9EEAD HHH8@G:?7@8@G 4@?E6?E A<8 (            A57          A57446DD65#2C49       
 
  ?6C8J2?5@>>6C46@>>:EE66(65=28D2?5-2C?:?8):8?D8?@C65%A:@:5:DEC:3FE:@?2?5
 ?7@C46>6?E@?46C?D:?-6DE,:C8:?:2&F3=:D965 G2:=23=62E
 9EEAD HHHCFC2=962=E9:?7@@C8 2DD6ED    %A:@:5:DEC:3FE:@?(6A@CE:?2=(,A57446DD65
 #2C49       
 
  92?8/#FC:>: @?6D#=6I2?56C(6=2E:@?D9:A6EH66?:89(:D<&2E:6?ED(646:G:?8
 &C6D4C:AE:@?%A:@:5D2?5:89,@=F>6%A:@:5&C6D4C:36CD55:4E:@?  
 
  (@D6 6C?D@?9F:!!"2?5*-2==6J/"2(@496==6#()E6:?)E@A<2* &@E6?E:2==J
 ?2AAC@AC:2E6%A:@:5&C6D4C:3:?8%G6C5@D62?5#@CE2=:EJ:?#2DD249FD6EED L  @FC?2=@7
 6?6C2=?E6C?2=#65:4:?6    
 
     23F!#C6?E  FFC=:?<$&C6G6?E:@?@7%A:@:5%G6C5@D6$6H?8=2?5 @FC?2=@7#65:4:?6
            
 
 !6C?#6A652#))2=2D#&9:==:AD))64C6DE#-65:?&C6BF6?4J@72C=J(67:==D7@C
 %A:@:5D:?E96+?:E65)E2E6D&2:?#65:4:?6      

  H:C22F>3=2EE -:656>2?F?? ()49277?6C-&2F=@KK:"  @?6D*:89(:D<+D63J
 &2E:6?ED&C6D4C:365%A:@:5D7@C&2:?2?5:ED(@=6:?%G6C5@D662E9D #?E6C?2=#65:4:?6
       

  F??!#)2F?56CD!-(FEE6C#2?E2C66? #6CC:== %)F==:G2?#-6:D?6C#
 ):=G6C36C8# 2>A36==&D2EJ#,@?!@C77#%A:@:5&C6D4C:AE:@?D7@C9C@?:4&2:?2?5
 %G6C5@D6@9@CE)EF5J??2=D@7?E6C?2=#65:4:?6     
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